                                 EXHIBIT 7




Case 3:23-cv-00243   Document 219-7   Filed 07/03/24   Page 1 of 386 PageID #: 4055
                                                                 Page 1

 1                UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF TENNESSEE
 2                     NASHVILLE DIVISION
 3     - - - - - - - - - - - - - - - :
       JOHNNY M. HUNT,               :
 4                                   :
                 Plaintiff,          : CASE NO.
 5                                   :
                 vs.                 : 3:23-cv-0000243
 6                                   :
       SOUTHERN BAPTIST CONVENTION, :
 7     GUIDEPOST SOLUTIONS LLC and   :
       EXECUTIVE COMMITTEE OF THE    :
 8     SOUTHERN BAPTIST CONVENTION   :
                                     :
 9               Defendants.         :
                                     :
10     - - - - - - - - - - - - - - - :
11          VIDEO DEPOSITION OF SAMANTHA KILPATRICK
12
13     DATE:                       February 2, 2024
14     TIME:                       9:12 a.m.
15     LOCATION:                   Veritext Legal Solutions
                                   1250 I Street, NW
16                                 Suite 901
                                   Washington, DC 20005
17
18
19     REPORTED BY:                Constance H. Rhodes
                                   Reporter, Notary
20
21                      Veritext Legal Solutions
                        1250 Eye Street, Northwest
22                         Washington, DC 20005

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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 2 of 386 PageID #: 4056
                                                                 Page 2

 1                   A P P E A R A N C E S
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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 3 of 386 PageID #: 4057
                                                                 Page 3

 1
 2     ALSO PRESENT (Via Zoom)
 3            Scott Murray
              Kathy Klein
 4            Ella Merritt
              Jon Anderson
 5            Johnny Hunt
 6
 7                                  * * * * *
 8
 9
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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 4 of 386 PageID #: 4058
                                                                  Page 4

 1                         C O N T E N T S
 2     EXAMINATION BY:                                                 PAGE
 3          Counsel for Plaintiff                                           6
 4          Counsel for Defendant EC                                    304
 5
 6     KILPATRICK DEPOSITION EXHIBITS:*
 7     Exhibit 23    Interview Notes for Johnny Hunt                       75
       Exhibit 24    Draft of Facts sent to REDACTED                    103
 8     Exhibit 25    Redlined draft of facts by REDACTED                129
       Exhibit 26    Rewrite of Facts                                   139
 9     Exhibit 27      REDACTED     email 4/4/22 to Kilpatrick
                     re: Update and Recomendations to the SBC           201
10     Exhibit 28       REDACTED       unsent peacemaking
                     proposal                                           214
11     Exhibit 29    Text exchange 5/16/22                              244
       Exhibit 30      REDACTED     5/31/22 email with article          259
12     Exhibit 31    Op-Ed article Protestia                            260
       Exhibit 32    Text exchange 5/24/22                              284
13     Exhibit 33    Holske 5/10/22 email re edited Hunt rpt.           299
14     EXHIBITS PREVIOUSLY MARKED:
15     Exhibit 1     Guidepost Responses to Plaintiff's First
                     Interrogatories
16     Exhibit 2     Engagement letter
       Exhibit 8     Guidepost Final Report
17     Exhibit 9       REDACTED     Journal
       Exhibit 18    Text Exchange 5/12/22
18     Exhibit 20    Interview notes re: REDACTED
19
20
21
22     (* Exhibits attached to transcript.)

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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 5 of 386 PageID #: 4059
                                                                 Page 5

 1                       P R O C E E D I N G S

 2                  VIDEOGRAPHER:       Good morning.       We are going

 3     on the record at 9:12 a.m., on February 2nd, 2024.

 4     This is media unit one for the video-recorded

 5     deposition of Samantha Kilpatrick, taken by counsel

 6     for the plaintiff in the matter of the Johnny Hunt

 7     versus Southern Baptist Convention, filed in the US

 8     District Court for the Middle District of Tennessee.

 9     Case Number 3:33-cv-0024.

10                  The location of the deposition is at

11     1250 I Street, Northwest, Suite 901, Washington,

12     DC.   My name is Warren Brey, representing Veritext

13     Legal Solutions.       I'm the videographer.          The court

14     reporter is Connie Rhodes from the firm Veritext

15     Legal Solutions.

16                  Counsel, please introduce yourselves for

17     the record.

18                  MR. MACGILL:      Good morning, Rob MacGill

19     and Patrick Sanders representing plaintiff Pastor

20     Johnny Hunt.

21                  MR. KLEIN:      And representing the witness,

22     Samantha Kilpatrick, Scott Klein and Alex Otchy for




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 6 of 386 PageID #: 4060
                                                                 Page 6

 1     Mintz & Gold.

 2                   MS. CALLAS:       Gretchen Callas for the

 3     Executive Committee.

 4                   MR. BUNDREN:       Brandon Bundren for the

 5     Executive Committee.

 6                   VIDEOGRAPHER:        Will the court reporter

 7     please swear in the witness?

 8     WHEREUPON,

 9                          SAMANTHA KILPATRICK

10     called as a witness, and having been first duly

11     sworn, was examined and testified as follows:

12                   EXAMINATION BY COUNSEL FOR PLAINTIFF

13     BY MR. MACGILL:

14            Q      Good morning, ma'am.

15            A      Good morning.

16            Q      Could you state your name for the

17     record, please?

18            A      Samantha Kilpatrick.

19            Q      All right.      And where are you employed,

20     ma'am?

21            A      I'm employed with Guidepost Solutions.

22            Q      And what is your role with Guideposts?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 7 of 386 PageID #: 4061
                                                                 Page 7

 1           A      I'm the senior managing director of the

 2     faith-based practice.

 3           Q      Of the what based?

 4           A      Faith-based --

 5           Q      Faith-based practice.

 6           A      -- practice.

 7           Q      And what is the faith-based practice?

 8           A      The faith-based practice is just an

 9     area, a group of us who work on primarily cases

10     that involve faith-based institutions.

11           Q      Have you yourself worked on more than

12     one faith-based institution?

13           A      Yes.

14           Q      Which faith-based institutions have you

15     worked on?

16           A      I've worked on a number of them.               The

17     ones that are public facing -- I've have worked on

18     Christianity Today faith-based matter; United

19     Methodist Church matter; several individual

20     Baptist church matters; some PCA -- Presbyterian

21     Churches of America matters; and some PRCA matters

22     -- Presbyterian Reform Churches of America.                  I've




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 8 of 386 PageID #: 4062
                                                                 Page 8

 1     worked with camps, schools.

 2           Q      What's the last one?

 3           A      Schools.

 4           Q      What schools?

 5           A      Faith-based schools.

 6           Q      Faith-based schools.          Okay.     Is there a

 7     name for the faith-based schools?

 8           A      We just have had -- we've had -- I've

 9     had clients in the past and with Guidepost that

10     have been faith-based schools.

11           Q      Okay.     Fair enough.       Now, how long have

12     you worked with Guidepost?

13           A      I have been employed by Guidepost as

14     senior managing director since November of 2022.

15           Q      And did you -- when did you become

16     involved with the investigation involving the SBC?

17           A      In the fall of 2021.

18           Q      In the fall of 2021?

19           A      Yes.

20           Q      What was your role in -- what role did

21     you have before you were senior managing director?

22           A      I worked with Guidepost as an




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 9 of 386 PageID #: 4063
                                                                 Page 9

 1     independent contractor.

 2            Q      And for how long did you work with

 3     Guidepost as an independent contractor?

 4            A      From the fall of 2021 through November

 5     of 2022 when they hired me.

 6            Q      Where did you work before Guidepost as

 7     an independent contractor?

 8            A      I had a law practice in North Carolina.

 9            Q      In North Carolina?

10            A      Uh-huh.

11            Q      And let's go through your education

12     background and we'll talk about your law practice?

13            A      Sure.

14            Q      Where were you educated, ma'am.

15            A      I attended Meredith College in Raleigh

16     North Carolina.

17            Q      When it you graduate?

18            A      1993.

19            Q      And what was your field of study?

20            A      I received a BA in political studies and

21     psychology.

22            Q      And did you pursue a postgraduate




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 10 of 386 PageID #: 4064
                                                                Page 10

 1     education?

 2             A     I did.

 3             Q     Law school?

 4             A     Yes, sir.

 5             Q     Where did you graduate from law school.

 6             A     University of New Carolina at Chapel

 7     Hill.

 8             Q     In what year.

 9             A     1996.

10                   (Technical issues.)

11                   VIDEOGRAPHER:       Going off the record at

12     9:17 a.m.

13                   (Whereupon, a brief recess was taken.)

14                   VIDEOGRAPHER:       We're now back on the

15     record as 9:18 a.m. you may proceed.

16     BY MR. MACGILL:

17             Q     You graduated from law school in the

18     1996; is that right?

19             A     That's correct.

20             Q     What did you do after your law school

21     graduation?

22             A     After law school graduation I worked for




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 11 of 386 PageID #: 4065
                                                                Page 11

 1     a small family law firm for six months.

 2            Q      Where did you go?

 3            A      I went to the Wake County district

 4     attorney's office.

 5            Q      Wait, W-A-I-T?

 6            A      Wake, W-A-K-E.

 7            Q      Thank you.      And how long did you work at

 8     the district attorney's office in Wake.

 9            A      I worked at the district attorney's

10     office from 19 -- early 1997 to mid-2001.

11            Q      And where did you go in 2001?

12            A      In 2001 I went and started doing solo

13     practice on a less full-time basis.

14            Q      And for how many years did you do the

15     solo practice?

16            A      2001 until 2012.

17            Q      And where did you go in 2012?

18            A      In 2012 I formed a law practice with my

19     husband, who is also an attorney.               We formed that

20     practice in 2012.

21            Q      And you continued in that practice until

22     you joined as an independent contractor for




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 12 of 386 PageID #: 4066
                                                                Page 12

 1     Guidepost?

 2            A      Yes.    There was a short time frame

 3     towards the end, where I did some work -- I did --

 4     I was employed by GRACE, Godly Response to Abuse

 5     in Christian Environments.

 6            Q      In what year did you do that?

 7            A      May -- I was with them from May of 2021

 8     until August of 2021.

 9            Q      All right.      So with respect to -- and

10     does your husband still have the law firm?

11            A      No.

12            Q      And so the law firm was dissolved?

13            A      Yes.

14            Q      Now, you're married?

15            A      Yes.

16            Q      And children?

17            A      Yes.

18            Q      How many children?

19            A      Two.

20            Q      All right.      And where do you live,

21     ma'am?

22            A      Raleigh, North Carolina.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 13 of 386 PageID #: 4067
                                                                Page 13

 1            Q      And do you work remotely for Guidepost?

 2            A      Yes, I do.

 3            Q      Now, you understand you are being --

 4     going to be asked today about the work that you

 5     did and that your company did in connection with

 6     some publications that were made about Pastor

 7     Johnny Hunt.         Is that your general understanding?

 8            A      Yes.

 9            Q      What have you done to prepare for your

10     testimony today?

11            A      I had a few prep sessions with Scott and

12     Alex and reviewed documents with them.

13            Q      And who is Scott and who is Alex?

14            A      Scott Klein who is an attorney

15     representing Guidepost and Alex as well is an

16     attorney.

17            Q      Alex's last name, do you remember?

18            A      I'm drawing a blank.         I'm sorry.

19                   MR. OTCHY:      I'm not offended.

20     BY MR. MACGILL:

21            Q      It's Alex Otchy, right?

22            A      Yes.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 14 of 386 PageID #: 4068
                                                                Page 14

 1            Q      Okay.    Fair enough.       So these two

 2     gentleman are the gentlemen that you met with to

 3     prepare; is that right?

 4            A      Yes, sir.

 5            Q      And you said you reviewed some documents

 6     to prepare to give testimony?

 7            A      Yes, sir.

 8            Q      First of all, how many meetings did you

 9     have with Mr. Klein and Mr. Otchy?

10            A      I had two meetings with them.

11            Q      When were they, ma'am?

12            A      I had a meeting last Friday with them

13     and then a meeting on Monday morning.

14            Q      And how long was the meeting on Friday.

15            A      I think the meeting on Friday was around

16     three hours.

17            Q      And how long was the meeting on Monday.

18            A      Around two.

19            Q      And was it -- were these meetings by

20     Zoom or virtually?

21            A      They were virtual, yes.

22            Q      And you said you reviewed documents.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 15 of 386 PageID #: 4069
                                                                Page 15

 1     Describe the documents you reviewed to give

 2     testimony today?

 3            A      I reviewed some emails and some

 4     documents that -- where I had taken notes on

 5     matters related to this.

 6            Q      What was the subject matter of the

 7     emails?

 8            A      The subject matter of the emails.                    I

 9     believe that the secretary matter of the emails

10     had to do with communications with the REDACTED

11     that I was part of those emails.

12            Q      You said you reviewed documents.                 What

13     documents did you review?

14            A      Those emails and then some photocopied

15     notes that I had submitted as part of discovery.

16            Q      Did you put notes on the            REDACTED   story,

17     so to speak?

18            A      I did.

19            Q      And you recognize your own handwriting

20     in that    REDACTED   story?

21            A      Yes, sir.

22            Q      And that was pertaining to a              REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 16 of 386 PageID #: 4070
                                                                Page 16

 1     story dated March 31, 2022; is that right?

 2            A      Yes, sir.

 3            Q      Did you do typewritten notes of the

 4     interview on March 31, 2022 with the REDACTED ?

 5            A      I did do some typewritten notes on that

 6     interview.       Yes.

 7            Q      I'm going to hand you Exhibit 20 that

 8     was marked yesterday and I'm going to ask you,

 9     Exhibit 20, are those typewritten notes that you

10     prepared?

11            A      Yes, sir.

12            Q      So with respect to those notes were

13     they -- did you endeavor in preparing these notes

14     to be accurate and truthful in terms of

15     information you provided?

16            A      Yes, sir.

17            Q      So at the time that you created these

18     notes, Exhibit 20, you did so in the ordinary

19     course of your work at Guidepost?

20            A      Yes, sir.

21            Q      And when I say at Guidepost, you

22     prepared Exhibit 20 in connection with your role




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 17 of 386 PageID #: 4071
                                                                Page 17

 1     as you've described it on this record in working

 2     on the investigation that's at issue in this case;

 3     is that right?

 4            A      Yes, sir.

 5            Q      And did you circulate these notes of the

 6     interview and materials provided on March 31,

 7     2022, to anyone else at Guidepost?

 8            A      Yes.

 9            Q      Who?

10            A      Russ -- Russell Holske.

11            Q      Anyone else?

12            A      I don't recall.

13            Q      Okay.    Now, looking at these notes, I

14     just want to understand the process that you

15     engaged yourself in on March 31.              On March 31,

16     2022, you were in person with the REDACTED ; is that

17     right?

18            A      Yes.

19            Q      Second, this was an all-day meeting,

20     wasn't it?

21            A      Yes.

22            Q      Third.    At the time that you had this




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 18 of 386 PageID #: 4072
                                                                Page 18

 1     all-day meeting with the REDACTED you had the

 2     REDACTED   story in front of you as well, right?

 3            A      Yes, sir.

 4            Q      And as you took your notes did you have

 5     their "story" in front of you?

 6            A      Yes, I did.

 7            Q      And I'm going to ask you if this is the

 8     REDACTED   story that you had in front of you at the

 9     time that you created Exhibit 20.

10            A      Yes, it is.

11            Q      Now, ma'am, I want to be somewhat

12     specific about this.          With respect to the

13     materials you had in front of you on that March 31

14     meeting you had Exhibit 7 in front of you, right,

15     as you just confirmed, right?

16            A      Yes.

17            Q      And you were listening to what they had

18     to say, the REDACTED ?

19            A      Yes.

20            Q      And at the same time, while having those

21     materials, Exhibit 7, in front of you and

22     listening to their words spoken, you were creating




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 19 of 386 PageID #: 4073
                                                                Page 19

 1     Exhibit 20; is that right?

 2                  MR. KLEIN:      Objection as to form.         You can

 3     answer.

 4                  THE WITNESS:       Can want ask that question

 5     again.

 6     BY MR. MACGILL:

 7            Q     Did you create the document as the

 8     meeting was progressing or once you got back to

 9     Raleigh.

10            A     No, I did not create that document as

11     the meeting was progressing.

12            Q     You did afterwards.

13            A     Yes.

14            Q     Now, where are the -- did you create --

15     take notes?

16            A     I took notes on this document that's

17     Exhibit 7, and I had a note pad with me that I

18     also took notes on.

19            Q     Did you turn over the note pad with your

20     notes to counsel?

21            A     I don't have those notes.           I didn't have

22     those notes.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 20 of 386 PageID #: 4074
                                                                Page 20

 1            Q      Now, when you created Exhibit 20, did

 2     you make use of the notes on the notepad that you

 3     had during the meeting on March 31?

 4            A      I did.

 5            Q      And did you make use of Exhibit 7 in

 6     creating the document Exhibit 20?

 7            A      Yes, sir.

 8            Q      So the sources for Exhibit 20 -- you had

 9     three sources at least for Exhibit 20, what you

10     heard during that meeting; is that right?

11            A      Yes.

12            Q      You had the Exhibit 7 as a source for

13     Exhibit 20?

14            A      Yes.

15            Q      And you had your recollections as you

16     reflected on them when you created Exhibit 20,

17     right?

18            A      Yes.

19            Q      All right.      So was Exhibit 20 prepared

20     with the aim of being accurate in all respects in

21     what you reported?

22            A      Yes.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 21 of 386 PageID #: 4075
                                                                Page 21

 1            Q     And now I want to refer you to Exhibit 7

 2     specifically, and I'd like to refer you to the

 3     entry of the REDACTED pertaining to August 5th?

 4                  Could you please turn to that.            And if it

 5     would help you, I can give you a page number.

 6            A     If you could give me a page number,

 7     please.

 8            Q     Yes.        It's page number 16.

 9            A     Yes.

10            Q     Now, as we look at page 16 of Exhibit 7,

11                                 REDACTED

12                                 REDACTED

13                 REDACTED
                    REDACTED
14            A

15            Q                    REDACTED

16            A                     REDACTED

17            Q                           REDACTED

18        REDACTED
                    REDACTED
19            A

20            Q                REDACTED
                    REDACTED
21            A

22            Q                 REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 22 of 386 PageID #: 4076
                                                                Page 22

 1            A                 REDACTED

 2            Q       REDACTED

 3            A      REDACTED

 4            Q                 REDACTED

 5                                    REDACTED

 6     REDACTED
                     REDACTED
 7            A

 8            Q      REDACTED


 9                                 REDACTED

10     REDACTED

                     REDACTED
11            A

12            Q      Now, I want to refer you to some

13     specific language here.                      REDACTED

14                                  REDACTED

15                                  REDACTED

16                                  REDACTED

17           REDACTED

18            A      I did not write this document, but...

19            Q                      REDACTED

20        REDACTED

21            A                            REDACTED

22            Q      Did you have any reason to challenge




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 23 of 386 PageID #: 4077
                                                                Page 23

 1     what                         REDACTED

 2                            REDACTED

 3                              REDACTED

 4            REDACTED

 5             A    Can you repeat that?

 6             Q    Did you challenge or disagree with these

 7     words written by                     REDACTED

 8                        REDACTED

 9                            REDACTED

10     REDACTED

11                  MR. KLEIN:      Objection as to form.         You can

12     answer.

13                  THE WITNESS:       Did I challenge is at the

14     time.

15     BY MR. MACGILL:

16             Q    At the time.

17             A    No, sir.

18             Q    Did you challenge it in terms of the

19     words you wrote yourself in creating a report in

20     Exhibit 20?

21                  MR. KLEIN:      Objection as to form.         You can

22     answer.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 24 of 386 PageID #: 4078
                                                                Page 24

 1                  THE WITNESS:       Do you have a specific place

 2     that you want me to reference?

 3     BY MR. MACGILL:

 4             Q    Well, yes.      I mean if you look at your

 5     own entry on Exhibit 20 you can see that you

 6     yourself in Exhibit 20 describe the August 5th

 7     events, right?       And I'll refer you to Bates number

 8     GP7650?

 9             A    Okay.

10             Q    Do you see your entry about August 5,

11     2010?

12             A    Yes.

13             Q    You didn't make any report of any kind

14     about                         REDACTED

15                          REDACTED

16                               REDACTED

17     REDACTED    You didn't make any reference to that in

18     your own notes about the August 5th events in your

19     Exhibit 20, did you?

20             A    No, sir.

21             Q    And in fact, ma'am, this description of

22                               REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 25 of 386 PageID #: 4079
                                                                Page 25

 1                                REDACTED

 2                REDACTED             So you agree with that?

 3                   MR. KLEIN:     Objection as to form.         You can

 4     answer.

 5                   THE WITNESS:      I don't.

 6     BY MR. MACGILL:

 7            Q      You don't agree with that.            REDACTED

 8                                REDACTED

 9                REDACTED

10            A      In -- in the work that I do, REDACTED

11                                REDACTED

12                                REDACTED                              .

13            Q      I didn't ask about          REDACTED

14                            REDACTED

15                                REDACTED

16                            REDACTED

17                           REDACTED

18                                REDACTED

19         REDACTED

20            A      I would repeat.            REDACTED

21                               REDACTED

22                              REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 26 of 386 PageID #: 4080
                                                                Page 26

 1                                REDACTED

 2                  REDACTED

 3             Q    And you made no reference -- when it

 4     came to your part you made no reference in your

 5     notes                          REDACTED

 6                    REDACTED

 7                  MR. KLEIN:      Are you talking about just on

 8             REDACTED

 9     BY MR. MACGILL:

10             Q              REDACTED

11             A      REDACTED

12             Q    No.    So we can read with our own eyes

13     that when you reported the events                 REDACTED

14                              REDACTED

15                           REDACTED

16                                REDACTED

17             A    No, I did not.

18             Q    Now, let's be more specific.            If you

19     look at what your notes on Exhibit 7, the second

20     line, if you look at                  REDACTED

21                             REDACTED

22         REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 27 of 386 PageID #: 4081
                                                                Page 27

 1                    Do you see that?

 2                A   I do.

 3                Q   So did you hear with your own ears,

 4     ma'am, that this is what had occurred,                REDACTED

 5                                 REDACTED

 6         REDACTED

 7                    Do you see the reference I'm --

 8                A   I do.     I do.   I don't recall.

 9                Q   Well, but let's look at what you

10     actually did.

11                A   Uh-huh.

12                Q   Okay.     When it came time for you to

13     write about                       REDACTED

14       REDACTED

15                        REDACTED                      , which are

16     Exhibit 20, please read to the court what you

17     wrote as the first bullet entry under REDACTED

18     REDACTED


19                A             REDACTED

20                Q                  REDACTED

21         REDACTED

22                A      REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 28 of 386 PageID #: 4082
                                                                Page 28

 1             Q                         REDACTED

 2             REDACTED

 3             A      Yes, sir.

 4             Q      So this is what you then heard with your

 5     own ears.       You listened to them and you heard that

 6                                REDACTED

 7                              REDACTED

 8     REDACTED


 9             A      Yes.

10             Q      So looking back at Exhibit 7, now what

11     you wrote -- I just want to pause here for a

12     minute -- exhibit 20 is your document.               You said

13     that.       Now, this portion of Exhibit 20 of your

14     exhibit, where you said                   REDACTED

15                              REDACTED

16                             REDACTED

17                 REDACTED

18                    MR. KLEIN:    Objection as to who wrote the

19     other document.        You can answer.

20     BY MR. MACGILL:

21             Q      The REDACTED , for their part, in Exhibit

22     7 confirmed what you said in your document in




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 29 of 386 PageID #: 4083
                                                                Page 29

 1     Exhibit 20 when you described the                   REDACTED

 2     right?

 3                   MR. KLEIN:       Same objection.         You can

 4     answer.

 5                   THE WITNESS:        Yes.

 6     BY MR. MACGILL:

 7            Q      And let's talk about the specific

 8                                REDACTED

 9                REDACTED                 If you look about four

10     lines down on the            REDACTED         that is Exhibit

11     7, do you see the sentence beginning REDACTED

12     REDACTED


13            A      Yes.

14            Q                          REDACTED

15                                REDACTED

16       REDACTED        You understood that that was a

17     rendition of what occurred by the REDACTED ?

18                   MR. KLEIN:       Objection.       Competence to

19     speak to that, but you can answer.

20                   THE WITNESS:        That is what I understood

21     based on this document.

22




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 30 of 386 PageID #: 4084
                                                                Page 30

 1     BY MR. MACGILL:

 2             Q     And you understood that based on what

 3     the REDACTED told you at the time on March 31,

 4     2022?

 5             A     Yes.

 6             Q     And that is consistent with what you

 7     wrote in your Exhibit 20, right?

 8             A     Yes.

 9             Q     And in fact, I want to remind you of

10     something.      In your exhibit 20 not only was this

11     in the document that the REDACTED prepared, you

12     recited that for your part in your Exhibit 20,

13     didn't you,                 REDACTED              .

14                   Do you see it?

15             A     Yes.

16             Q     And what you wrote -- you repeated

17     this -- you said,                      REDACTED

18                               REDACTED

19                      REDACTED

20                             REDACTED

21            REDACTED            You recorded that in your

22     Exhibit 20, right?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 31 of 386 PageID #: 4085
                                                                Page 31

 1             A    Yes.

 2             Q    Now, ma'am, none of these details -- to

 3     repeat -- not one of these details that we just

 4     covered appears in the final Guidepost report,

 5     does it?

 6             A    I would have to see the report.             I don't

 7     know.

 8             Q    Ma'am, I'm going to hand you Exhibit 8

 9     from yesterday.       I'm going to open it for your

10     reference to page 153.

11                  And ma'am, I've handed you now, Exhibit 8,

12     and I've opened it to page 153.             Do you see that?

13             A    Yes.

14             Q    Focusing on this topic of who forgave

15     who, the final report which is Exhibit 8 on page

16     153 makes a specific reference to forgiveness,

17     doesn't it?

18                  MR. KLEIN:      I'm going to object and just

19     allow the witness the opportunity to read other

20     portions of the document if she feels that will help

21     her answer your question in proper context.

22




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 32 of 386 PageID #: 4086
                                                                Page 32

 1     BY MR. MACGILL:

 2            Q      We are just focusing on this at this

 3     point, ma'am.         Do you have that in front of you?

 4     Do you have page 153 in front of you?

 5            A      I do.

 6            Q      And do you see where there's a reference

 7     to forgiveness?

 8            A      Yes.

 9            Q      And do you see that there's a reference

10     on August -- in the final Guidepost report,

11     Exhibit 8:      On August 5, Mr. Blankenship brought

12     Dr. Hunt, his wife, pastor, and survivor in for

13     another meeting at Hope Quest, a counseling

14     ministry to bring closure to the events on the

15     25th of July.

16                   Do you see that?

17            A      Yes.

18            Q      Dr. Hunt and Mr. Blankenship stated they

19     could never talk about what happened and if they

20     did it would negatively impact over the 40,000

21     churches Dr. Hunt represented.

22                   Do you see that?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 33 of 386 PageID #: 4087
                                                                Page 33

 1            A     Yes.

 2            Q     And then ma'am, the sentence that I want

 3     to focus you on, in contract to what was written

 4     by the REDACTED and in contrast to what was written

 5     by you in Exhibit 20, it says -- the report says:

 6     "Dr. Hunt asked for pastor's forgiveness, and

 7     pastor said he agreed.

 8                  Do you see that?

 9                  MR. KLEIN:      Objection as to your

10     characterization of the facts.            You can answer.

11     BY MR. MACGILL:

12            Q     Let me restate just so we're clear and

13     there's a -- we obviate the objection on this

14     important point of your testimony.

15                  So ma'am, the jury can see this on the

16     screen here in the courtroom today, and what I want

17     the jury to focus on is the following sentence:

18     Dr. Hunt asked for pastor's forgiveness and pastor

19     said he agreed.

20                  That is the language of the final

21     Guidepost report, isn't it?

22            A     Yes.    The report says Dr. Hunt asked for




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 34 of 386 PageID #: 4088
                                                                Page 34

 1     Pastor's forgiveness and pastor said he agreed.

 2            Q     And you will admit without any

 3     equivocation on your part that that is different

 4     from what you wrote on your own computer in

 5     Exhibit 20.

 6                  MR. KLEIN:      Objection as to form.         You can

 7     answer.

 8                  THE WITNESS:       The words are different.

 9     BY MR. MACGILL:

10            Q     Okay.    And then --

11            A     But --

12            Q     Okay.    Please continue.        The words are

13     different but what?

14            A     The words are different, but on the

15     Exhibit 20 where it says                 REDACTED

16                                REDACTED

17                                REDACTED

18                             REDACTED

19                               REDACTED

20            Q     Now, let's talk about -- perhaps what

21     the jury might find to be licenses that you took

22     in connection with the final report yourself and




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 35 of 386 PageID #: 4089
                                                                Page 35

 1     those acting in concert with you --

 2                    MR. KLEIN:     I'll object to that

 3     non-question.       You can ask now a question.

 4     BY MR. MACGILL:

 5             Q      Okay so --

 6                    MR. KLEIN:     I just want to make sure it's

 7     a question, Rob -- that's all -- that she's getting.

 8     That was a statement it appeared to me.               That's all.

 9                    MR. MACGILL:     That's fair.

10     BY MR. MACGILL:

11             Q      So let me see -- make sure I can

12     understand.       I want to focus very specifically

13     here at this point on your testimony.              So I want

14     to focus again on the Guidepost report.               Okay?

15     This particular sentence.           And I want to compare

16     it now not to what you wrote in Exhibit 20; I want

17     to compare it what the REDACTED wrote in Exhibit 7.

18     Okay?       Do you understand where we're going?

19             A      Yes, sir.

20             Q      All right.     Now, making sure we're

21     really cautious and very careful about all of this

22     and very literal as counsel has insisted, which is




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 36 of 386 PageID #: 4090
                                                                Page 36

 1     fair, I want to now very carefully go through what

 2     the REDACTED wrote in Exhibit 20 -- 7.             And in

 3     Exhibit 7, just to remind this jury, what it says

 4     is                          REDACTED

 5                 REDACTED

 6                  Do you see that?

 7            A     Yes.

 8            Q     And ma'am, I've put that up on the

 9     courtroom -- on the screen here in the courtroom

10     so the jury can see that.                   REDACTED

11                              REDACTED

12          REDACTED       Okay.    That's up.

13                  Now, let's put this -- let's compare this

14     to what the Guidepost report said.             The Guidepost

15     final report, Exhibit 8, page 151, says

16     Mr. Blankenship -- well, it says the following:

17     Dr. Hunt asked for pastor's forgiveness, and pastor

18     said he agreed.

19                  That's what the report says, right?

20            A     Uh-huh.

21            Q     And you'll agree, ma'am, that what the

22     REDACTED   wrote in Exhibit 7 is different from what




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 37 of 386 PageID #: 4091
                                                                Page 37

 1     the Guidepost final report says on the issue of

 2     forgiveness, right?

 3                  MR. KLEIN:      Objection.      Asked and answered

 4     you can answer.

 5                  THE WITNESS:       The words are different.

 6     BY MR. MACGILL:

 7            Q     Okay.    Now, ma'am, I want to ask you a

 8     few other things about your work.             If we look now

 9     at -- let me ask this first.            Did you participate

10     in the answering of interrogatories in this case?

11            A     I did work with counsel, yes.

12            Q     I'm going to hand you Exhibit 1.             Did

13     you participate in preparing these answers, ma'am?

14            A     I participated in providing some

15     answers.     I don't recall seeing the final version

16     of this document.

17            Q     Of that document.        All right.      Could you

18     hand me back the exhibits.           I don't want to have

19     too many papers in front of you.             I'd like to

20     bring some more documents to you, but could you

21     hand me back these exhibits, please?

22            A     All of them?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 38 of 386 PageID #: 4092
                                                                Page 38

 1            Q     Yes, please.        And I'm going to hand you

 2     another one here.        Okay?

 3            A     Uh-huh.

 4            Q     And by the way, I think I had mentioned

 5     that the -- in the last question that the

 6     quotation "Dr. Hunt asked for pastor's forgiveness

 7     and Pastor said he agreed," I made reference to

 8     that as being the Guidepost final report on

 9     page 151.      It was actually page 153.

10            A     That's correct.

11            Q     Okay.     Sorry about that.

12                  Now, ma'am, I want to talk about your work

13     in some additional respects.            I want to talk about

14     whether      REDACTED       provided you with a REDACTED ?

15            A       REDACTED       did not provide me with a

16     REDACTED .

17            Q     All right.      I'm going to hand you the

18     next Exhibit 9.        I'm going to hand you Exhibit 9.

19     Did you ever receive Exhibit 9 before?

20            A     Yes, I did.

21            Q     And when did you ask for this Exhibit 9?

22                  MR. KLEIN:      Objection as to form.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 39 of 386 PageID #: 4093
                                                                Page 39

 1     BY MR. MACGILL:

 2            Q     Yeah.       Let me back up.      Is this REDACTED

 3          REDACTED        ?

 4                  MR. KLEIN:       Objection as to form.        You can

 5     answer.

 6                  THE WITNESS:       My understanding is that

 7     this is             REDACTED              .

 8     BY MR. MACGILL:

 9            Q     Tell the court how you got that

10     understanding.

11            A     My understanding is that my colleague,

12     Russell Holske, received this and then -- I'm not

13     sure -- then I received it in some fashion.                I

14     don't know if it was through email or through a

15     shared folder.

16            Q     Did you yourself make any requests

17     regarding the            REDACTED     ?

18            A     I don't understand your question.

19            Q     Did you use this REDACTED in connection

20     with your work?

21            A     Yes.

22            Q     How did you use this REDACTED ?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 40 of 386 PageID #: 4094
                                                                Page 40

 1            A      But we reviewed all the documents that

 2     we were given.

 3            Q      Now, the                  REDACTED                ?

 4            A              REDACTED

 5            Q      And was there a forensic examination

 6     conducted by your company as to when the document

 7     was created?

 8            A      I'm aware that there was a forensic

 9     analysis of what was provided, but I was not

10     personally involved in that.

11            Q      Did you come to understand what the

12     forensic examination showed in terms of when this

13     REDACTED was created?

14            A      I understood that it was created within

15     a time frame I think           REDACTED .

16            Q      You don't recall that the forensic

17     examination showed that this document that you

18     have in front of you, Exhibit 9, was created in

19     the year REDACTED ?

20            A      That may be true.

21            Q      Did you ever learn yourself that this

22     document was created in REDACTED ?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 41 of 386 PageID #: 4095
                                                                Page 41

 1             A       I did not.     I don't remember.      I really

 2     don't.

 3             Q       Ma'am, with respect to your work, didn't

 4     you come to understand that your forensic team had

 5     specifically ascertained, at least according to

 6     them, that the data on the hard drive showed that

 7     this particular REDACTED was in fact created in the

 8     years            REDACTED          ?

 9                     MR. KLEIN:     Objection as to form.       Asked

10     and answered.           You can answer.

11                     THE WITNESS:     I did become aware of that.

12     BY MR. MACGILL:

13             Q       And in fact, the final Guidepost report

14     says that on page 153.           It says -- I'll quote for

15     you:        "Guidepost has confirmed forensically that

16     the data on the hard drive was in fact created in

17     2009-2011, which corroborates the counseling

18     relationship between Mr. Blankenship and the

19     couple."

20                     Do you remember those words in your

21     report?

22             A       I do.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 42 of 386 PageID #: 4096
                                                                Page 42

 1            Q      Now, you testified to this court today

 2     that you understood -- or that the REDACTED itself

 3     is stated to have started on                 REDACTED        ; is

 4     that correct?

 5            A      Yes.     That's the date that's on the

 6     document that you gave me.

 7            Q      May I see that document, please?

 8            A      Yes.

 9            Q      Thank you.        And this is the Exhibit 9

10     that I had just given you?

11            A      Yes.

12            Q      Okay.     And the        REDACTED

13         REDACTED         , right?

14            A      Yes.

15            Q      Now, did you have this document prior to

16     the time the final Guidepost report was issued?

17            A      Yes.

18            Q      Now, as an investigator, your job was

19     you were one of the lead investigators on this

20     case; is that right?

21            A      That's true.

22            Q      And you were one of the lead




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 43 of 386 PageID #: 4097
                                                                Page 43

 1     investigators with respect to the statements and

 2     the claims made as to the incident involving

 3     Pastor Johnny Hunt and           REDACTED     ; is that

 4     right?

 5            A     Could you restate that question?

 6            Q     Your work was focused, among other

 7     things, on Pastor Johnny Hunt, was it not?

 8                  MR. KLEIN:      Objection as to form.         You can

 9     answer.

10                  THE WITNESS:       Yes.     I was assigned to that

11     part of the investigation.

12     BY MR. MACGILL:

13            Q     Now, in determinating Mr. REDACTED 's

14     credibility -- strike that.

15                  I take it as a part of your role as being

16     a lead investigator that it was important, in fact

17     critical to you, to make sure that you assessed the

18     credibility of        REDACTED         in his reports to your

19     and your company, right?

20            A     Yes.

21            Q     And let's emphasize the word critical.

22     It was critical for you as a lead investigator to




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 44 of 386 PageID #: 4098
                                                                 Page 44

 1     determine the credibility of what              REDACTED

 2     reported, right?

 3                  MR. KLEIN:      Objection.      Asked and

 4     answered.      You can answer again.

 5                  THE WITNESS:       Absolutely.      It was

 6     important for us to determine credibility for each

 7     person that we interviewed.

 8     BY MR. MACGILL:

 9            Q     Now, as you assessed in this critical

10     matter of      REDACTED      's credibility on Exhibit 9,

11     did you challenge him in any way to say why do you

12     have an August 2nd, 2010, date on Exhibit 9 when

13     this document had been created during the year --

14     at least in part during the year 2009?

15                  MR. KLEIN:      Objection as to form as to her

16     personal competence to answer that.              You can.

17                  THE WITNESS:       I don't know.      I was -- I

18     did not deal directly with Mr. REDACTED regarding this

19     document.

20     BY MR. MACGILL:

21            Q     But as a lead investigator, ma'am, you

22     knew specifically that your own company had




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 45 of 386 PageID #: 4099
                                                                Page 45

 1     identified that Exhibit 9 had been created in the

 2     year 2009 -- beginning in the year 2009, right?

 3                  MR. KLEIN:      Objection as to form.         You can

 4     answer that question.

 5                  THE WITNESS:       That's what the forensic

 6     review showed, yes.

 7     BY MR. MACGILL:

 8            Q     And you understood that before the

 9     Guidepost report was published, right?

10            A     Yes.

11            Q     And in fact, not only did you understand

12     that, the Guidepost publication represented in

13     fact that forensically your company had identified

14     that Exhibit 9 was created in the years 2009

15     through 2011, right?

16                  MR. KLEIN:      Objection.      Asked and

17     answered.      You can answer again.

18                  THE WITNESS:       That is true.

19     BY MR. MACGILL:

20            Q     With that context in mind, as your role

21     as a lead investigator on this matter, didn't that

22     concern you about the credibility of Mr. REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 46 of 386 PageID #: 4100
                                                                Page 46

 1     and the information in Exhibit 9 when you indicate

 2     -- when you see that it was not                 REDACTED

 3     REDACTED .

 4             A    That is something to consider and that

 5     we considered, but we don't know -- we don't know

 6     exactly when each word on that document was

 7     created.

 8             Q    Right.     And because of that, you had to

 9     cast some doubt on what he was writing, correct?

10                  MR. KLEIN:      Objection as to form.         You can

11     answer.

12                  THE WITNESS:       That was one of the things

13     that we had to evaluate as we were going through

14     this.

15     BY MR. MACGILL:

16             Q    And did you come to look at that

17     Mr. REDACTED , at least at some point in time, asked

18     your company, specifically Mr. Holske, to destroy

19     documents?

20             A    I am aware of that message.

21             Q    That text message?

22             A    Yes.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 47 of 386 PageID #: 4101
                                                                Page 47

 1            Q      You were aware specifically as you sit

 2     here this morning and testifying in this court

 3     that Mr. REDACTED , at least at one point in time,

 4     had sent a message to Mr. Holske asking to confirm

 5     that certain documents that he had provided had

 6     been destroyed "as requested."

 7            A      I'm aware of that text message.

 8            Q      And when did you become aware of that

 9     text message?

10            A      I'm not sure.       I'd have to see the date

11     of the text message.

12            Q      Who told you about that text message?

13     And I don't want -- I don't want you to provide

14     any communications with your counsel, but just did

15     somebody other than your counsel tell you that or

16     somebody other than Guidepost's counsel?

17            A      I can't recall who -- how -- I don't

18     recall how I first learned about the text message.

19            Q      Okay.    Let me ask another thing about

20     the credibility of Mr. REDACTED .          Did you learn he

21     at one point asked to use Mr. Holske as a

22     reference for a job at your company Guidepost?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 48 of 386 PageID #: 4102
                                                                Page 48

 1            A     I don't recall that.         No, I don't.

 2            Q     I'd like you to tell the jury here, now

 3     that you are here with us all this morning, do you

 4     believe that your company and you -- strike that.

 5                  Do you believe that you yourself had an

 6     arm's length relationship with the REDACTED ?

 7                  MR. KLEIN:      Objection as to form.         Calls

 8     for a legal conclusion.          You can answer.

 9                  THE WITNESS:       I believe that we had good

10     rapport with the REDACTED .

11     BY MR. MACGILL:

12            Q     Now, if you had -- if you are assessing

13     the credibility of a witness -- strike that.

14                  Is it your general experience, ma'am, in

15     your line of work as a lawyer or as a person who is

16     doing investigatory work, is it your experience that

17     a credible witness needs to be interviewed perhaps

18     as many as nine times?

19            A     I think a witness needs to be

20     interviewed multiple times.           Nine doesn't -- I'm

21     not going to say nine times, but you need to have

22     multiple encounters with the people that you are




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 49 of 386 PageID #: 4103
                                                                Page 49

 1     interviewing.

 2            Q        How many encounters did you have Johnny

 3     Hunt on the sexual abuse, as you say it,

 4     allegations here?

 5            A        We had two.

 6            Q        When were they?

 7            A        We interviewed Mr. Hunt, I believe, at

 8     the end of April 2022 and the first week of

 9     May 2022.

10            Q        But ma'am, the interview on April '22

11     you did not raise the issue of the incident

12     involving Mrs. REDACTED , right?

13            A        We did not.

14            Q        So the interviews -- the only interviews

15     that you had -- you had only -- strike that.

16                     You had only one interview with REDACTED

17     REDACTED     -- pardon me.     Let's try a third time.

18                     You had only one interview with Pastor

19     Johnny Hunt pertaining to the allegations of REDACTED

20     REDACTED ;    is that right?

21            A        We had one interview with Mr. Hunt that

22     was primarily related to the report from REDACTED




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 50 of 386 PageID #: 4104
                                                                Page 50

 1     REDACTED .   However, in the earlier interview with

 2     Mr. Hunt, we asked him about the pastor who had

 3     resigned from Rehobeth, and we did not refer to

 4       REDACTED      , but it was Mr. REDACTED that we were

 5     asking about and gave him a time frame.               And he

 6     said to us that he didn't know who that pastor was

 7     or anything about that.          And --

 8            Q      And who was --

 9                   MR. KLEIN:     I think she wasn't finished

10     with her answer, Rob.         If you could just allow her

11     to finish her answer.

12     BY MR. MACGILL:

13            Q      All right.     Let's read the question back

14     and the answer to extent you gave it, and then

15     let's have to add to it.

16                   MR. KLEIN:     Hold on.     She's in the middle

17     of her answer.       She doesn't need it read back.            She

18     understood the question.

19     BY MR. MACGILL:

20            Q      Do you want it read back?          Okay.    Please

21     Continue.

22            A      So in our first interview with Mr. Hunt,




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 51 of 386 PageID #: 4105
                                                                Page 51

 1     we asked him, without naming              REDACTED      , about a

 2     pastor that resigned and went on sabbatical in a

 3     specific time frame, which I believe was 2010.

 4     And he stated that he did not know who that pastor

 5     was, and he did not know anything about that.                   And

 6     we also, I believe, asked him if it was related to

 7     sexual abuse, and he said no.

 8                   At that point, based on the information

 9     that we had, we believed that Mr. Hunt was being

10     untruthful with us about knowing the REDACTED even

11     though we had not mentioned their name.

12     BY MR. MACGILL:

13             Q     Okay.    Let's make sure we understand

14     what you just said.          He was being untruthful --

15     Pastor Johnny Hunt was being untruthful to you in

16     April of 2022 because why?

17             A     Because we asked him if he knew anything

18     about a pastor who had gone on sabbatical at

19     Rehobeth Baptist church in Georgia and whether he

20     knew anything about that.            And he said he did not

21     know the pastor.        He didn't know anything about

22     that.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 52 of 386 PageID #: 4106
                                                                Page 52

 1            Q     All right.      Why did you think that was

 2     an indication that he had been untruthful.                You

 3     didn't name a pastor in your question, right?

 4            A     Correct.

 5            Q     And you -- tell the court and jury why

 6     you didn't name the pastor that you were asking

 7     him about so he would understand specifically what

 8     you were asking about?          Why did you do that?

 9            A     Well, part of our work, we try our best

10     to keep survivor's names and those who reported

11     abuse confidential.         And at that point, we were

12     trying to keep the REDACTED ' information

13     confidential until we were able to corroborate

14     more of their story.         And so that's why we didn't

15     name the name.

16                  The reason we thought that he would know

17     exactly who we were talking about is because we had

18     information that there had been a longstanding

19     relationship between the REDACTED and Mr. Hunt and

20     that heave would know, because of his position in

21     the Georgia Baptist world and the fact that he had

22     been to that church, we had pretty good information




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 53 of 386 PageID #: 4107
                                                                Page 53

 1     that he knew exactly who had been the pastor there

 2     at that time.

 3            Q     You had pretty good information?

 4            A     Yes.

 5            Q     When you say you had pretty good

 6     information, what are you referring to?

 7            A     Well, the REDACTED had shared with us

 8     about their relationship with Johnny Hunt, and

 9     Mr. Hunt had helped Mr. REDACTED get some positions,

10     and I believe that they told us that they -- I

11     can't remember which church this happened at,

12     whether it was Mr. Hunt's church or the REDACTED 's

13     church, but that they had been in each other's

14     churches in different ways.

15            Q     So the jury understands, I just want to

16     follow up on your claim -- your claim that you had

17     quote "pretty good information" to suggest that

18     Pastor Johnny Hunt was untruthful in April of

19     2022, right?

20                  MR. KLEIN:      Objection as to form, the word

21     claim, but you can answer.

22




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 54 of 386 PageID #: 4108
                                                                Page 54

 1     BY MR. MACGILL:

 2            Q     Well, let me restate.

 3                  You made a statement under oath just now

 4     to this court and to this jury that you had "pretty

 5     good information" that Pastor Johnny Hunt had not

 6     been honest with you in April 2022 during an

 7     interview; is that right?

 8            A     We felt like --

 9            Q     Is that right?

10            A     Yes.    I said that.

11            Q     Okay.    Now, when you had pretty good

12     information about what you claim to be indicia of

13     being untruthful, did you understand what church

14     that pastor had founded in Georgia?

15            A     Yes.

16            Q     What was the name of that church?

17            A     First Baptist Church, Woodstock.

18            Q     First Baptist Church, Woodstock.             All

19     right.     Where at the time of the interview did

20       REDACTED      , Pastor REDACTED , work?

21            A     I believe at the time of the interview

22     Mr. REDACTED worked at a church in Eastern North




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 55 of 386 PageID #: 4109
                                                                Page 55

 1     Carolina.

 2             Q     And what church were you asking about

 3     when you made an inquiry in April 2022 about an

 4     unnamed pastor, did you make a reference to a

 5     specific church when you were talking to Pastor

 6     Johnny Hunt about some unnamed pastor?                What

 7     church were you talking about?

 8             A     Rehobeth Baptist Church.

 9             Q     All right.      Let's spell that together.

10     Would you please spell it?

11             A     R-E-H-O-B-E-T-H.

12             Q     So Rehobet Baptist Church.            Where is

13     Rehobet Baptist Church?

14             A     I believe there's an H on the end of

15     that.

16             Q     I'm sorry.

17             A     I think there's an H on the end of that.

18             Q     Rehobeh Baptist Church.           Thank you.      And

19     where was Rehobeh Baptist Church located at the

20     time of your inquiry?

21             A     I don't recall.        It's in Georgia.

22             Q     It was in Georgia.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 56 of 386 PageID #: 4110
                                                                Page 56

 1             A      It's in Georgia.

 2             Q      Now, let's just make sure we understand

 3     this.       So you're saying that you had "pretty good

 4     information" that Pastor Johnny Hunt was being

 5     untruthful to you because you asked him about an

 6     unnamed pastor at Rehobeh Baptist Church; is that

 7     right?

 8             A      Yes.

 9             Q      In what year?       What year did you ask?

10             A      2010.

11             Q      Okay.    So let's set the scene.            So

12     you're interviewing Johnny Hunt how many years

13     after the event that you were making an inquiry

14     about this unnamed pastor?

15             A      2022.

16             Q      How many years?

17                    MR. KLEIN:      Objection.       The record will

18     reflect that that's 12 years.              I'll stipulate to

19     that.

20     BY MR. MACGILL:

21             Q      Is that 12 years?         I'm not very good at

22     math.       Is it 12 years?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 57 of 386 PageID #: 4111
                                                                Page 57

 1            A     Yes.

 2            Q     Okay.    So you had a conversation with

 3     Pastor Johnny Hunt 12 years after -- 12 years

 4     later about an unnamed pastor; is that right?

 5            A     Yes.

 6            Q     And you had a conversation with Pastor

 7     Hunt about -- you asked him what about events 12

 8     years ago and this unnamed pastor.             What did you

 9     ask him in April of 2022?

10                  MR. KLEIN:      Objection.      Asked and

11     answered.      You can answer again.

12                  THE WITNESS:       We asked him about a pastor

13     who took a sabbatical and resigned in 2010 from that

14     church.

15     BY MR. MACGILL:

16            Q     So in 2022 you asked Pastor Johnny Hunt

17     about an unnamed pastor who had taken a sabbatical

18     and resigned at the Rehobeth Baptist Church in the

19     year 2010; is that correct?

20            A     Yes.

21            Q     Okay.    Now, when you asked him that were

22     you there in person with him?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 58 of 386 PageID #: 4112
                                                                Page 58

 1            A     Yes.

 2            Q     Who was with you?

 3            A     Russell Holske.

 4            Q     What did he say when you asked him

 5     that -- let me ask -- let me back up.

 6                  Tell the court and jury exactly what you

 7     said to him when you made this inquiry.

 8                  MR. KLEIN:      Objection.      I believe that's

 9     been asked and answered.

10     BY MR. MACGILL:

11            Q     Exactly this time, not generally.

12     Please tell the jury what you asked Pastor Johnny

13     Hunt during your interview of April 2022.

14                  MR. KLEIN:      I'll just note that there's no

15     indication that she gave an exact or a general

16     answer, but she can answer the question again.

17     BY MR. MACGILL:

18            Q     Of course.      We want your -- I want to

19     make sure -- I don't want the lawyer speaking to

20     influence you, any of them, any of these lawyers

21     here in the room -- I just want you to answer for

22     your own part.       Please tell the jury exactly what




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 59 of 386 PageID #: 4113
                                                                Page 59

 1     you asked Pastor Johnny Hunt in April 2022 during

 2     your meeting with him on this topic?

 3                  MR. KLEIN:      Objection.      Asked and

 4     answered.

 5                  THE WITNESS:       I cannot give you the exact

 6     words I asked Johnny Hunt on that day.               I've given

 7     you the summary of what was asked at that time.

 8     BY MR. MACGILL:

 9            Q     One moment, please.         Did you take notes

10     of in interview of Pastor Johnny Hunt?

11            A     Which one are you talking about?

12            Q     The interview that you just indicated

13     that you interviewed Pastor Johnny Hunt on April

14     26th, 2022.

15            A     Yes.

16            Q     And did you type those notes up?

17            A     Yes.

18            Q     And this interview took place in

19     Branson, Missouri; is that right?

20            A     That's correct.

21            Q     And when you created these notes did you

22     create them at or near the time that the meeting




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 60 of 386 PageID #: 4114
                                                                Page 60

 1     took place?

 2             A      Yes.

 3             Q      And did you review those notes in

 4     preparation for your testimony today?

 5             A      I don't -- no, I didn't.

 6             Q      You did not.

 7             A      I don't think I did.

 8             Q      Okay.

 9                    Now, just focusing on -- I want to ask you

10     about your memory of this interview of Pastor Johnny

11     Hunt.       Did you interview him about whether Rehobeth

12     Baptist Church had a history that included the abuse

13     of several young boys?

14             A      I don't recall the exact questions that

15     we asked, but that may have been a question.                 I'm

16     happy to look at the document.

17             Q      No need, ma'am.      Do you remember whether

18     you asked during the interview of Pastor Johnny

19     Hunt whether in fact the Rehobeth Baptist Church

20     had a history that included the abuse of several

21     young boys by a music minister named --

22                    MR. KLEIN:     Hold on.    I'd ask you not to




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 61 of 386 PageID #: 4115
                                                                Page 61

 1     the minister.       I don't know if that document is

 2     identified as attorney's eyes only, Robert.

 3                  MR. MACGILL:       It's not.     It is not.

 4                  MR. KLEIN:      I would ask, though, that the

 5     name of the minister not be revealed.              I don't

 6     believe there's any need --

 7     BY MR. MACGILL:

 8            Q     It's confidential.         It is only

 9     confidential.       It's going to be revealed here in

10     this deposition.        These are interview notes that

11     she took of our client.          They are going to be

12     public.

13                  MR. BUNDREN:       Can you give me the Bates

14     number?

15                  MR. MACGILL:       It's 441.     Do you want to

16     have a minute to look at this?

17                  MR. BUNDREN:       This is Hunt's documents?

18                  MR. MACGILL:       This is guidepost's.

19     Everybody all right?

20                  MR. KLEIN:      I just want to get a second

21     just to -- because I don't have a copy.               Do you have

22     a copy of it to show me?          I take you at your word.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 62 of 386 PageID #: 4116
                                                                Page 62

 1                   MR. MACGILL:       You take me at my word.

 2                   MR. KLEIN:      Meaning that it is not

 3     designated at attorney's eyes only.

 4                   MR. MACGILL:       Confidential.       It's only

 5     confidential.

 6                   MR. KLEIN:      So I'd ask that it remain

 7     confidential as described in the protective order.

 8                   MR. MACGILL:       No objection to that.

 9     BY MR. MACGILL:

10            Q      All right, ma'am.        So did you -- in your

11     April -- so in your interview, ma'am, of Pastor

12     Johnny Hunt did you ask him about whether the

13     Rehobeth Baptist Church had a history that

14     included the abuse of several young boys by a

15     music minister, Mr. Frankie Wiley that came to

16     light in 2012 when David Pitman made his case

17     public?

18            A      I don't recall.

19            Q      Did you make reference in your meeting

20     in April of 2022 with Pastor Johnny Hunt that

21     Wiley is "known, confessed, to have molested many

22     young boys while working as a music minister at




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 63 of 386 PageID #: 4117
                                                                Page 63

 1     multiple Georgia Southern Baptist churches."                 Did

 2     you raise that with him, too?

 3             A    I don't recall if I raised that to him.

 4             Q    Did you say to him, ma'am, in contrast

 5     to what you testified to today, that there was a

 6     time in last -- in last 2010 when the pastor at

 7     Rehobeth stepped down.          Did you make reference to

 8     that?

 9                  MR. KLEIN:      Objection as to -- it

10     mischaracterized her testimony, but you can answer.

11                  THE WITNESS:       Can you restate the

12     question?

13     BY MR. MACGILL:

14             Q    Did you specifically confer with Pastor

15     Johnny Hunt and state to him specifically with

16     respect to the Rehobeth Baptist Church that

17     specifically "there was a time in last 2010 when

18     the pastor of Rehobeth stepped down."              Did you ask

19     him that?      Did you make mention of that?

20             A    We did make mention of a pastor stepping

21     down and going on -- going on sabbatical and

22     stepping down.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 64 of 386 PageID #: 4118
                                                                Page 64

 1             Q    Now, you then said we understand that

 2     you came in to help Rehobeth in the interim and

 3     were recognized there for your efforts by Pastor

 4     Troy Bush in 2012.        Do you remember referencing

 5     that?

 6             A    I do remember referencing Troy Bush in

 7     that interview.

 8             Q    Now, speaking of Troy Bush specifically,

 9     did you ask with respect to Mr. Bush, Mr. Troy

10     Bush, do you know any of the circumstances as why

11     that pastor left in 2010?

12             A    Can you repeat that?

13             Q    Do you remember writing or confirming --

14     strike that.

15                  Do you remember stating to Pastor Johnny

16     Hunt asking him if he knew of the circumstances of

17     why that pastor left Rehobeth in 2010?

18             A    We asked him about the pastor in 2010 if

19     he knew why he left.

20             Q    So in 2012 do you remember recording in

21     your interview notes -- strike that.

22                  In 2022 in this interview do you remember




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 65 of 386 PageID #: 4119
                                                                Page 65

 1     recording in the interview notes that Pastor Johnny

 2     Hunt does not remember the circumstances of that

 3     pastor leaving but remembers coming in to help that

 4     church.     Do you remember making such a notation in

 5     your notes, ma'am?

 6            A     I do not specifically remember making a

 7     notation in my notes.

 8            Q     Okay.    Now, and it's on the basis of

 9     what we just described that you claim today in

10     your testimony that you feel that there was in

11     your words pretty good information -- "pretty good

12     information" that Pastor Johnny Hunt was not

13     honest with you in the April 26, 2022 interview;

14     is that right?

15                  MR. KLEIN:      Objection as to form.         You can

16     answer.

17                  THE WITNESS:       Yes.

18     BY MR. MACGILL:

19            Q     Now, specifically in your notes you

20     indicate -- in your own notes in this interview

21     you indicate that Dr. Hunt stated -- strike that.

22                  Now, in the final report, and you are




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 66 of 386 PageID #: 4120
                                                                Page 66

 1     welcome to look at it, you indicated on page 158,

 2     that Dr. Hunt stated to you he did not know who the

 3     pastor was.      Do you remember that?

 4                  MR. KLEIN:      Before you answer, feel

 5     free -- if you need to look at the report, it's no

 6     longer in front of you.

 7     BY MR. MACGILL:

 8            Q     Do you remember that?

 9            A     If you'll let me see the report.

10            Q     Just first, do you remember that, and

11     then we'll get into the report.             Do you

12     remember --

13            A     Ask the question again, please.

14            Q     Do you remember the final Guidepost

15     report saying that Dr. Hunt stated he did not know

16     who the pastor was that was referenced in this

17     2010 event?

18            A     Yes.

19            Q     Now, in the interview you had in May

20     before the report was published -- let's make sure

21     we're precise -- after this interview on April 26

22     that we just covered, you had an interview about




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 67 of 386 PageID #: 4121
                                                                Page 67

 1     the allegations of the REDACTED with Pastor Johnny

 2     Hunt on May 10, 2022, right?

 3             A      I know that I had an interview with

 4     Johnny in May.        I'd have to have my memory

 5     refreshed to give you the exact date.

 6             Q      But this was -- the only interview you

 7     had with Pastor Johnny Hunt on the allegations of

 8     the     REDACTED       was in May 2022?

 9             A      Yes.   That second interview.

10             Q      I'm going to hand you back Exhibit 1,

11     the interrogatories answers, and I'm going to ask

12     you to look at page 4 and ask if you can confirm

13     the date.

14             A      I believe that May 12 is correct as the

15     date.       So the date of your interview, the only

16     interview that was conducted of Pastor Johnny Hunt

17     by you or those at Guidepost was on May 12, 2022;

18     is that right?

19                    MR. KLEIN:     Objection.     Mischaracterizes

20     her statement, but you can answer.             You had said the

21     only interview at all.          You didn't focus it.

22                    MR. MACGILL:     Fair objection.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 68 of 386 PageID #: 4122
                                                                Page 68

 1     BY MR. MACGILL:

 2             Q    So counsel's corrected me.           The only

 3     interview that you had ever of Pastor Johnny Hunt,

 4     dealing specifically with the allegations

 5     pertaining to the incident with             REDACTED       was

 6     on what date?

 7             A    May 12.

 8             Q    Now, with respect to that only

 9     interview -- and I want to focus on this issue

10     about the 2010 pastor sabbatical and resignation.

11     Okay?

12                  Now, on this issue of the -- what Pastor

13     Johnny Hunt had to say to you about the 2010

14     sabbatical and resignation, in this interview on

15     May 12, 2022, Pastor Johnny Hunt acknowledged to you

16     at that time in that interview on this particular

17     series of allegations that he knew the pastor,

18     didn't he?

19             A    He did.

20             Q    So at that time then you knew that now

21     that there was further context and more detailed

22     context brought to your question of the 2010




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 69 of 386 PageID #: 4123
                                                                  Page 69

 1     sabbatical and resignation, he told you exactly

 2     what had happened, right?

 3                  MR. KLEIN:      Objection as to form.          You can

 4     answer.

 5     BY MR. MACGILL:

 6            Q     Let me ask a better question.            On

 7     May 12, 2022, Pastor Johnny Hunt explained to you

 8     that, yes, he did know the pastor that you had

 9     asked about in the 2010 period.

10            A     He did.

11            Q     Looking at the final report, you didn't

12     confirm that in your final report, did you?

13            A     I'd have to read the report.

14            Q     Well, ma'am, at page 158 of the report,

15     you said Dr. Hunt stated that he did not know who

16     the pastor was, right?

17            A     And I believe that that part of the

18     report references in that first interview.

19            Q     Okay.     Let's talk about whether you were

20     being fair or those acting in concert with you at

21     Guidepost were being fair or not, now I'm going to

22     hand page 158 of your report.            Okay?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 70 of 386 PageID #: 4124
                                                                Page 70

 1            A      Uh-huh.

 2            Q      Before I do that, let me ask you

 3     something, because everybody in this room, there's

 4     lots of lawyers here.          We're all lawyers.         You are

 5     still a practicing lawyer, right?

 6            A      I am not practicing.

 7            Q      Not practicing, but you are still a

 8     member of the bar; is that right.

 9            A      Yes.

10            Q      In terms of your commercial

11     relationships be it inside a company or outside a

12     company, you need to be forthright in your

13     transactions, do you not?

14            A      Correct.

15            Q      And you need to be acting in good faith

16     to describe fully and fairly circumstances of your

17     business, right?

18                   MR. KLEIN:      Objection as to form.

19                   THE WITNESS:       Yes.

20     BY MR. MACGILL:

21            Q      So when to came to do your work at

22     Guidepost, you understood that you needed to be




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 71 of 386 PageID #: 4125
                                                                Page 71

 1     fair to the facts and the circumstances of your

 2     investigation, right?

 3            A     Yes.

 4            Q     And that was true whether you were an

 5     ordinary citizen or a lawyer, right?

 6            A     Yes.

 7            Q     And it was also true that you needed to

 8     be fair and full in your representation of facts

 9     as an investigator, right?

10            A     Yes.

11            Q     All right.      Now, let's look at page --

12     together -- let's look at page 158.              And again,

13     ma'am, what I'm going to do here in this case is

14     I'm going to open it to page 158, and this is in

15     Exhibit 8, and I'm going to hand to you page 158.

16                  MR. KLEIN:      In answering the question that

17     comes, if you need to review other portions of the

18     report, feel free.

19     BY MR. MACGILL:

20            Q     All right.      Are you there?

21                  Now, ma'am, I'm going to refer you -- see

22     that top paragraph?         During the first interview, did




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 72 of 386 PageID #: 4126
                                                                Page 72

 1     Dr. Hunt acknowledge?

 2            A      Yes.

 3            Q      Then if you continue down with that

 4     paragraph with that heading I just referenced, you

 5     make reference about seven lines down:                Dr. Hunt

 6     stated he did not know who Pastor was or why he

 7     had resigned.

 8                   Do you see that?

 9            A      Yes.

10            Q      Now, ma'am, you did not describe in the

11     report, you or those acting in concert with you,

12     you did not describe in the report specifically,

13     that in the interview associated with this

14     particular incident, in the second interview on

15     May 12, 2022, Pastor Johnny Hunt acknowledged that

16     he knew who the pastor was.            You did not say that

17     in this report, did you?

18            A      In this report down in the third

19     paragraph it says:         In the second interview Dr.

20     Hunt acknowledged this time that he knew Pastor.

21            Q      Now, with respect to focusing further on

22     this during the first interview, you said Dr. Hunt




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 73 of 386 PageID #: 4127
                                                                Page 73

 1     stated that he did not know who Pastor was, right?

 2            A      Correct.

 3            Q      Why didn't you tell the readers of the

 4     report that you didn't disclose the name of the

 5     pastor in April of 2022?

 6                   MR. KLEIN:      Objection.      Asked and

 7     answered.      You can answer again.

 8                   THE WITNESS:       Restate your question,

 9     please.

10     BY MR. MACGILL:

11            Q      I'm sorry?

12            A      Restate your question.

13            Q      Why in that first paragraph did you not

14     make specific reference that you for your part in

15     that April interview did not make any reference to

16     the particular or specific name of the pastor

17     involved?

18            A      We did.     In line four it says:

19     Investigators asked Dr. Hunt several questions

20     about pastor's church without identifying pastor.

21            Q      Right.     And then when it came to your

22     interview notes, what you wrote is the following:




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 74 of 386 PageID #: 4128
                                                                Page 74

 1     Does not remember the circumstances of that pastor

 2     leaving, but remembers coming in to help that

 3     church.     Right?

 4            A     Correct.

 5            Q     You put none of that information in this

 6     paragraph here, did you?

 7                  MR. KLEIN:      Objection as to form.

 8     Mischaracterizes her testimony but you can answer.

 9                  THE WITNESS:       We put in the report that we

10     asked him questions about the pastor's church

11     without identifying the pastor.

12     BY MR. MACGILL:

13            Q     But ma'am, but the reality here is --

14     and again we're going to give you the note -- hoe

15     never denied knowing at any time the pastor,

16     right?

17                  MR. KLEIN:      Objection as to form.         Asked

18     and answered.        You can answer again.

19                  THE WITNESS:       Dr. Hunt stated that he did

20     not know who that pastor was or why he had resigned.

21     BY MR. MACGILL:

22            Q     Right.     So were you -- in terms of the




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 75 of 386 PageID #: 4129
                                                                Page 75

 1     impression you were attempting to create by those

 2     at Guidepost and those that acted with you at

 3     Guidepost, were you trying to convey in this

 4     paragraph at the top of page 158 that he was not

 5     honest or forthright in his answers to you.

 6                  MR. KLEIN:      Objection as to any impression

 7     they were trying to create, but you can answer the

 8     question.

 9                  THE WITNESS:       We were trying to report

10     back the findings of fact that we discovered during

11     our you investigation.

12     BY MR. MACGILL:

13            Q     Ma'am, I'm going to hand you -- and then

14     we're going to mark as the next exhibit -- 23.

15                  (KILPATRICK Exhibit Number 23 was marked

16                  for identification.)

17                  MR. SANDERS:       This is going to be

18     electronic.      The Bates first page is GP 000434, and

19     the last page is GP0000444.

20     BY MR. MACGILL:

21            Q     So ma'am, Mr. Sanders is going to put in

22     front of you an iPad with this document on it.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 76 of 386 PageID #: 4130
                                                                Page 76

 1     We'll provide a paper copy here in a few minutes.

 2                  Now, ma'am, are these your interview notes

 3     that you created associated with an interview on

 4     April 26, 2022?

 5            A     Yes.    They appear to be.

 6            Q     And these are notes that you created at

 7     or near the time of the interview?

 8            A     Yes.

 9            Q     And did you circulate these to people at

10     Guidepost?

11            A     Yes.

12            Q     Who did you send this document to?

13            A     Russell Holske and I would have shared

14     this document and then shared with -- I'm not --

15     actually, I don't recall exactly who it got shared

16     with past Russ and I.

17            Q     We'll be reviewing later today some

18     information that you sent to the CEO of the

19     company.     Do you remember sending in connection

20     with your work some information to the CEO?

21                  MR. KLEIN:      Some information or this

22     particular document.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 77 of 386 PageID #: 4131
                                                                Page 77

 1                  MR. MACGILL:       Some information.

 2                  THE WITNESS:       Yes, I do remember sending

 3     some information to the CEO.

 4     BY MR. MACGILL:

 5            Q     Looking at paragraph D that you were

 6     summarizing, did you summarize the scope of the

 7     investigation in your notes here at the bottom of

 8     page 1 at the top of page 2?

 9            A     Yes.

10            Q     Now Roman II says that this is the

11     summary where you summarize questions that he was

12     asked about being an SBC president?

13            A     I'm sorry --

14                  MR. KLEIN:      Can you just point to the page

15     if you would.

16     BY MR. MACGILL:

17            Q     Page 3, Roman II, you are summarizing in

18     this section a portion of the interview where you

19     were asking questions concerning being an SBC

20     president; is that right?

21            A     Yes.

22            Q     And looking at Roman III on page 6, you




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 78 of 386 PageID #: 4132
                                                                Page 78

 1     had questions about the Southern Baptist

 2     Convention Executive Committee questions, right;

 3     is that right?

 4            A      I'm trying to find where --

 5            Q      Page 6, Roman III?

 6            A      Okay.     I'm at Roman III.

 7            Q      So the second part of your interview --

 8     the first part is what you've referenced, the

 9     first part of your interview with Pastor Johnny

10     Hunt is you asked him questions concerning being

11     an SBC president, right?

12            A      We did.

13            Q      The next section of a portion of your

14     interview you've made reference had you've shown

15     here is you had questions for Pastor Johnny Hunt

16     about the Executive Committee; is that right?

17            A      Yes.

18            Q      And you summarized those questions and

19     his answers on pages six and seven; is that right?

20            A      Yes.

21            Q      If you go to page -- the next portion of

22     your interview with Pastor Johnny Hunt was




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 79 of 386 PageID #: 4133
                                                                Page 79

 1     pertaining to Roman IV Bylaws working group.

 2                   Do you see that?

 3            A      Yes.

 4            Q      Then the next section, Baptist Press

 5     Communication questions, that was also part of

 6     your interview, was it not?

 7            A      Yes.

 8            Q      And you summarize your questions and his

 9     answers there; is that right?

10            A      Correct.

11            Q      And then here you have review of Hunt

12     post-presidency activity in the Roman VI?

13            A      Yes.

14            Q      And there you asked him about his own

15     sabbatical; is that right?

16            A      Correct.

17            Q      You asked him about his work with FBC

18     Woodstock; is that right?

19            A      Yes.

20            Q      You asked him about being -- you asked

21     him about Roy Blankenship as well, agreed?

22            A      Correct.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 80 of 386 PageID #: 4134
                                                                Page 80

 1            Q      You also covered with him under this

 2     portion of the interview in this post-presidency

 3     activity, you spoke with him about the Rehobeth

 4     Baptist church history and its music minister; is

 5     that right?

 6            A      Yes.

 7            Q      And specifically, you spoke to him --

 8     you told him that you had understood that he had

 9     come to help the folks at Rehobeth in the interim

10     and was recognized for his efforts as a pastor,

11     right?

12            A      Yes.

13            Q      And then one question that you reference

14     here, and did you ask him this question:                 Do you

15     know any of the circumstances on why that pastor

16     left the Rehobeth in 2010?

17                   Is that the question you asked him?

18            A      Yes.

19            Q      He answered you -- according to his

20     answer, at least according to you, does not

21     remember the circumstances of that pastor leaving

22     but remembers coming in to help the church; do you




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 81 of 386 PageID #: 4135
                                                                Page 81

 1     see that?

 2            A      Yes.

 3            Q      Now, you knew when you asked that

 4     question that you were asking about events 12

 5     years prior, right?          Is that right?

 6            A      Yes.

 7            Q      And then you asked him about what Pastor

 8     Johnny Hunt had done to incorporate initiatives

 9     that involve sexual abuse; is that right?

10            A      Correct.

11            Q      And Roman VI, recommendations, closing

12     comments, you summarized those recommendations and

13     closing comments?

14            A      In Roman VII?

15                   MR. KLEIN:      I believe you said six.           Did

16     you mean roman numeral VII, Rob?

17                   MR. MACGILL:       Yes.    Roman VII.

18                   MR. KLEIN:      You said six.       That's what's

19     in the record.

20                   MR. MACGILL:       My mistake.

21                   MR. KLEIN:      That's okay.

22




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 82 of 386 PageID #: 4136
                                                                Page 82

 1     BY MR. MACGILL:

 2            Q      Roman VI -- pardon me.          You have two

 3     Roman VIIs, do you not?

 4            A      Yes, you're right.

 5            Q      Okay.    So Hunt-incorporated initiatives.

 6     That was part of your interview, right?

 7            A      Yes.

 8            Q      And then the second Roman VII is

 9     recommendation/closing, right?

10            A      Correct.

11            Q      Now, in these notes, now that you see

12     them again.       There's no express -- as you

13     testified, you made no express reference to the

14     allegations involving the REDACTED , right?

15            A      Correct.

16            Q      And with respect to this one question

17     that you asked about this pastor, you got an

18     answer within three weeks about whether he knew

19     that pastor, right?

20                   MR. KLEIN:      Objection as to form.

21     BY MR. MACGILL:

22            Q      Let me have a better question.             Within




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 83 of 386 PageID #: 4137
                                                                Page 83

 1     three weeks of you doing the interview on these

 2     general topics that we've now reviewed, Pastor

 3     Johnny Hunt did confirm to you that he knew about

 4     the pastor's sabbatical and resignation in 2010.

 5                  MR. KLEIN:      Objection.      Asked and

 6     answered.      You can answer again.

 7                  THE WITNESS:       Yes.

 8     BY MR. MACGILL:

 9            Q     Now, I want to ask you about a comment

10     you made to the jury and to the court here.                You

11     said that you had "pretty good information" about

12     Pastor Johnny Hunt not being credible.               Remember

13     that testimony?

14                  MR. KLEIN:      Objection.      I don't believe

15     those were exact words, but her memory will control.

16                  THE WITNESS:       I said I had pretty good

17     information that he might not have been truthful

18     with us in that first interview when we asked about

19     the pastor without identifying him.

20     BY MR. MACGILL:

21            Q     Using your words, you had pretty good

22     information Pastor Johnny Hunt might not have been




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 84 of 386 PageID #: 4138
                                                                Page 84

 1     truthful when asked about that pastor in 2010?

 2            A     Correct.

 3            Q     Now, were you yourself and Guidepost in

 4     the business of reporting pretty good information

 5     that might not have been truthful in a report that

 6     would be made public to millions of people?

 7                  MR. KLEIN:      Objection as to form.         You can

 8     answer in your individual capacity, not behalf of

 9     the Guidepost if you can answer.

10                  THE WITNESS:       Please ask the question

11     again.

12     BY MR. MACGILL:

13            Q     Did you understand, ma'am, that you

14     yourself were in the business of publishing to

15     millions of people "pretty good information" that

16     might not have been truthful?

17            A     I was not in the business of publishing

18     information to hundreds of people.

19            Q     But you understood that this document,

20     this was going to be published by Guidepost,

21     right?

22                  MR. KLEIN:      Objection as to form.         You can




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 85 of 386 PageID #: 4139
                                                                Page 85

 1     answer.

 2                  THE WITNESS:       Yes.

 3     BY MR. MACGILL:

 4            Q     And you understood just by the nature of

 5     this, that this publication by Guidepost was going

 6     to reach millions -- to repeat -- millions of

 7     people, right?

 8                  MR. KLEIN:      Objection as to form.         You can

 9     answer.

10                  THE WITNESS:       I don't -- I don't -- I

11     don't have an idea of how many people it would

12     reach, but it was going to be published.

13     BY MR. MACGILL:

14            Q     Okay.    And you knew that there was going

15     to be a detailed report which would be made

16     public, right?

17            A     Correct.

18            Q     And for your part, you were comfortable

19     for your part to include "pretty good information"

20     that might not have been truthful in a report that

21     you knew was going to be made public.

22            A     So let me explain.         You asked me after




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 86 of 386 PageID #: 4140
                                                                Page 86

 1     that first interview with Mr. Hunt, that was my

 2     impression after that first interview.               After we

 3     continued to interview and corroborate

 4     information, that information was then considered

 5     for the report.       That -- what's in the report is

 6     not based on a single interview of him in April.

 7     It's based on the totality of the investigation we

 8     did.

 9            Q     Right.     And you had no evidence that he

10     had been the untruthful with you on this topic

11     once it was confirmed who the pastor was and what

12     the year was, right?

13                  MR. KLEIN:      Objection as to form.

14     Mischaracterizes her testimony.

15                  THE WITNESS:       Please repeat the question?

16     BY MR. MACGILL:

17            Q     When the full reality, the full

18     disclosure by you about what you were actually

19     asking about in terms of the pastor in 2010 was

20     confirmed to Pastor Johnny Hunt, he told you

21     exactly what the reality was, didn't he?

22                  MR. KLEIN:      Objection as to form.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 87 of 386 PageID #: 4141
                                                                Page 87

 1                  THE WITNESS:       He -- he admitted that he

 2     knew who the pastor was, and we provided it in that

 3     second -- second paragraph of the report.

 4     BY MR. MACGILL:

 5            Q     Right.     And you were acting

 6     surreptitiously yourself in that interview in

 7     April 2022 when you did not disclose to him the

 8     particular pastor that you were asking about,

 9     right?

10                  MR. KLEIN:      Objection.      Argumentative.

11     You can answer.

12                  THE WITNESS:       I disagree with that

13     characterization.

14                  MR. MACGILL:       You wanted --

15                  MR. KLEIN:      I'd ask you to just let her

16     finish her answer, Rob, and then you can ask away.

17     BY MR. MACGILL:

18            Q     You wanted to create a false impression

19     to get a report out in the third week in May by

20     virtue of saying that you had "pretty good

21     information" that Pastor Johnny Hunt had not been

22     honest in circumstances where you didn't even give




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 88 of 386 PageID #: 4142
                                                                Page 88

 1     him the courtesy of telling him who the pastor was

 2     that you were asking about, right?

 3                  MR. KLEIN:      Objection.      Argumentive.

 4     Asked and answered.         You can answer.

 5                  THE WITNESS:       I disagree with your

 6     characterization.

 7                  MR. MACGILL:       Okay.    So we can go ahead

 8     and take a break.

 9                  VIDEOGRAPHER:       We're off the record at

10     10:35.

11                  (Whereupon, a brief recess was taken.)

12                  VIDEOGRAPHER:       We're back on the record at

13     10:53 a.m.      You may proceed.

14     BY MR. MACGILL:

15            Q     Now, I want to speak to you about your

16     investigative approach here and those that worked

17     in concert with you, including Mr. Holske.                Fair

18     enough?     Do you understand?

19            A     Yes.

20            Q     Okay.    Now, I want to focus on the way

21     in which you conducted yourself with the REDACTED .

22     I think you've confirmed earlier in your testimony




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 89 of 386 PageID #: 4143
                                                                Page 89

 1     and you've seen with your own eyes what your

 2     company said about how many interviews you and

 3     Mr. Holske had, right?

 4            A     Yes.

 5            Q     And combined, you had nine interviews

 6     with the REDACTED ?

 7                  MR. KLEIN:       Objection as to form.        You can

 8     answer.

 9     BY MR. MACGILL:

10            Q     Just by reference, I just want to ask

11     you generally, do you remember approximately five

12     interviews with the REDACTED .

13                  MR. KLEIN:       You said five.      Did you mean

14     nine, Rob.

15                  MR. MACGILL:       Yeah.

16                  MR. KLEIN:       And I apologize if I confused

17     you.

18                  MR. MACGILL:       No.     He's the police here.

19     BY MR. MACGILL:

20            Q     Nine.    Nine.     Do you recall

21     approximately nine?

22            A     I don't recall an exact number.             I know




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 90 of 386 PageID #: 4144
                                                                Page 90

 1     that there were several instances where we

 2     interacted with the REDACTED .

 3            Q      All right.      Now, as you went -- let me

 4     just make sure we understand the background.                  As

 5     of April of 2022, did you as an investigative team

 6     at Guidepost have any new information about the

 7     sexual abuse allegations that had not already been

 8     brought to the attention of the SBC prior to

 9     Guidepost?

10            A      I don't know the answer to that.

11            Q      You don't think so?

12            A      I don't know.

13            Q      Don't know.      Okay.     Can you identify for

14     the court here any instances of sexual abuse your

15     investigative team had identified between October

16     of 2021 and April 30 of 2022 that had not been

17     already identified by the SBC prior to Guidepost's

18     involvement.

19                   MR. KLEIN:      Objection.      Asked and

20     answered.      You can answer again.

21                   THE WITNESS:       I don't recall.

22




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 91 of 386 PageID #: 4145
                                                                Page 91

 1     BY MR. MACGILL:

 2            Q     Don't recall?

 3            A     Specifics, no.

 4            Q     Okay.      Now, during the deposition today

 5     we're going to go through some documents, but I

 6     would ask you, if you are willing, to volunteer at

 7     any time any sexual abuse allegation that is new

 8     that you discovered prior to April 30, 2022, in

 9     your work.      Okay?

10            A     Okay.

11                  MR. KLEIN:      And I'm going to say you

12     should answer the question asked and you don't need

13     to volunteer anything.          But you should fully answer

14     whatever question Rob asks you.

15     BY MR. MACGILL:

16            Q     So this is up to you, but would you be

17     willing to provide me a name of any such person if

18     it comes to mind?

19            A     I'll answer your questions.

20            Q     Okay.      Fair enough.     Okay.    So what I'll

21     do, just so we're clear, I don't want to violate

22     any procedural requirements or anything that the




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 92 of 386 PageID #: 4146
                                                                Page 92

 1     lawyers here are insisting on.            So what I'll do is

 2     I'll periodically ask you, now that we've spent

 3     another hour, do you remember.            Okay?

 4            A     Uh-huh.

 5            Q     I'm ask you just repeatedly that

 6     question.      And Patrick Sanders, my colleague, will

 7     remind me to do that.         All right?      Fair enough?

 8            A     Uh-huh.

 9            Q     Okay.     But remember, I'll be asking you

10     about whether any new sexual abuse allegations

11     came to light based on your many hours of work

12     from October 2021 to April 30 of 2022.

13                  MR. KLEIN:      She's answered that question

14     already, Rob.

15                  MR. MACGILL:       No, I know.

16                  MR. KLEIN:      So if you ask the

17     same question --

18                  MR. MACGILL:       She said no.      I'm just

19     saying all I want to know is when we go through more

20     documents does she remember something now.

21     BY MR. MACGILL:

22            Q     Okay?     Fair enough?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 93 of 386 PageID #: 4147
                                                                Page 93

 1            A      Fair.

 2            Q      Now, as an investigator working in this

 3     Guidepost effort, I want to see if we can't be a

 4     little more specific about how you communicated

 5     with the REDACTED ?      Did you email them on matters

 6     of substance pertaining to the details of what

 7     happened?

 8            A      I believe that we communicated with the

 9     REDACTED ,   some through text messaging.          I think

10     most of that was logistical in nature.               There were

11     probably some emails and then phone calls or Zoom

12     or Teams -- Team calls.

13            Q      However, you'll admit now, right now

14     while we're here with you under oath, that you

15     emailed them about draft of the facts of the

16     report?

17            A      Right.

18                   MR. KLEIN:     Objection.      I'm not sure that

19     was her testimony, but you can answer that question.

20                   THE WITNESS:      Yes, we did.

21     BY MR. MACGILL:

22            Q      Okay.    So just to be clear, you didn't




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 94 of 386 PageID #: 4148
                                                                Page 94

 1     just email pertaining to logistics of conferences

 2     or meetings or calls, you emailed with drafts of

 3     the facts of the report to the REDACTED ?

 4                  MR. KLEIN:      Objection.      That

 5     mischaracterizes her statement, but you can answer.

 6                  THE WITNESS:       I was referring to text

 7     messages being about logistics, not about emails.

 8     BY MR. MACGILL:

 9            Q     Okay.     But you admit you emailed the

10     REDACTED   and transmitted to them drafts of the

11     facts of the report?

12            A     We did.

13            Q     You did?

14            A     Yes.

15            Q     I want you to compare now.             Did you

16     ever, ma'am, ever email a draft of facts to Pastor

17     Johnny Hunt?

18            A     No.

19            Q     So it was one way as far as you were

20     concerned.      It was going to be draft of facts to

21     the REDACTED , never draft of facts to Pastor Johnny

22     Hunt, right?




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 95 of 386 PageID #: 4149
                                                                Page 95

 1            A     There was never a request for Mr. Hunt

 2     to view -- see anything with the facts.

 3            Q     Request or not you never gave him a

 4     draft of facts.

 5            A     We never gave him a draft.           The REDACTED

 6     requested to see a draft of their facts.

 7            Q     Now, that would be inappropriate to give

 8     them a draft of the facts, would it not, as an

 9     Investigator working as you did in something as

10     sensitive as this matter.

11                  MR. KLEIN:      Objection as to form.         You can

12     answer.

13                  THE WITNESS:       No.

14     BY MR. MACGILL:

15            Q     Now, we have in the room some esteemed

16     lawyers representing the SBC Executive Committee,

17     and on the phone are some lawyers representing I

18     believe to SBC.

19                  I want to know did you disclose to any of

20     the entities, the Executive Committee or the SBC,

21     that Guidepost, as a matter of its investigative

22     approach was sending a draft of the facts for the




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 96 of 386 PageID #: 4150
                                                                Page 96

 1     report to the REDACTED ?

 2            A     I'm not aware of that.

 3            Q     Now, wouldn't it be fair, if you were

 4     going to be fair to the lawyers here in the room

 5     or their clients or the lawyers on the phone or

 6     their clients, to inform them that you are

 7     communicating with drafts of facts to REDACTED and

 8       REDACTED      ?

 9            A     Please repeat the question.

10            Q     Can you admit now that it would have

11     been fair and appropriate to advise the SBC and

12     the Executive Committee that you were sending

13     draft facts to the REDACTED of the report?

14                  MR. KLEIN:      Objection as to form.         You can

15     answer.

16                  THE WITNESS:       No.

17     BY MR. MACGILL:

18            Q     It wouldn't be fair?

19            A     We were hired as an independent

20     third-party investigator, which means that we

21     control the methodology and the way that we

22     approach our work.        Who we interview, how we




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 97 of 386 PageID #: 4151
                                                                Page 97

 1     interview, how we put a report together, and that

 2     all.       They are not driving it and we don't -- we

 3     don't tell them how we're doing things.

 4            Q       Did you tell the Executive Committee or

 5     their lawyers or the SBC that you had interviewed

 6     the REDACTED on repeated occasions?

 7            A       I did not tell them anything.

 8            Q       Did anyone from your company to your

 9     knowledge advise the Executive Committee or the

10     SBC that there were perhaps as many nine

11     interviews of the REDACTED in connection with this

12     investigation?

13            A       I don't know what was told to the SBC.

14            Q       One last question on this line.            Now,

15     with respect to the manner in which you did your

16     work, did you disclose to the executive or they

17     SBC that you had conducted a single interview on

18     this incident of Johnny Hunt and that you had

19     elected to have as many as perhaps nine interviews

20     of the REDACTED individually or collectively?

21            A       I did not have interaction with the

22     Executive Committee or the SBC.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 98 of 386 PageID #: 4152
                                                                Page 98

 1            Q     Fair enough.       To your knowledge, did

 2     anybody at Guidepost so inform the Executive

 3     Committee or the SBC?

 4            A     I don't have any knowledge of that.

 5            Q     Now, you spoke about your methodology,

 6     and you said the methodology was up to Guidepost;

 7     that is right?

 8            A     Correct.

 9            Q     And do you believe that the -- under the

10     terms of engagement that you had been, as a

11     company, entrusted to use appropriate

12     investigatory techniques?

13            A     Yes.

14            Q     Did you believe, ma'am, that when you

15     did your work that you were doing it pursuant to a

16     chain of command inside Guidepost?

17                  MR. KLEIN:      Objection as to form.         You can

18     answer.

19                  THE WITNESS:       Yes.

20     BY MR. MACGILL:

21            Q     And the boss was?

22            A     Julie Myers-Wood.




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Case 3:23-cv-00243 Document 219-7 Filed 07/03/24 Page 99 of 386 PageID #: 4153
                                                                      Page 99

1            Q       Julie Myers-Wood was the CEO at that

2    time?

3            A       Yes.

4            Q       And was she involved in the manner in

5    which you did your investigation yourself as one

6    of the principal investigators?

7            A       I'm not sure what you are asking.

8            Q       Did she tell you what to do sometimes in

9    your investigation?

10           A       We discussed matters at times with

11   Ms. Myers Wood.

12           Q       And she would tell you what to do or, in

13   some cases, what not to do, right?

14           A       I don't recall it being directives or we

15   would -- we would meet and discuss the case on a

16   sporadic basis.

17           Q       But there were times or one at least one

18   time where she told you not to do certain things,

19   right?

20                   MR. KLEIN:       Objection as to form.             You can

21   answer.

22                   THE WITNESS:       I am not remembering




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 100 of 386 PageID #:
                                      4154
                                                                     Page 100

1    something specifically, but if you've got a document

2    I'm happy to look at it and see if I remember.

3    BY MR. MACGILL:

4           Q        Do you remember her telling you not to

5    do certain things or to take certain steps to the

6    REDACTED   specifically in this investigation?

7           A        I don't recall anything specific.                  But

8    like I said, I'm happy to look at the document.

9           Q        Do you believe that she would be in the

10   best position to determine for the company

11   Guidepost what was appropriate in terms of an

12   investigatory technique as compared to yourself?

13                   MR. KLEIN:       Objection as to form.

14   Competence.        But you can answer.

15                   THE WITNESS:       I think that Julie is very

16   competent and she is the CEO of the company.

17   BY MR. MACGILL:

18          Q        She's the boss?

19          A        Yeah.   She's the boss.

20          Q        And she would be better able to

21   determine for the company what was an appropriate

22   investigatory technique as to compared to one of




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 101 of 386 PageID #:
                                      4155
                                                                     Page 101

1    the investigators like yourself or Mr. Holske?

2    Fair statement?

3           A        She would have the final word.

4           Q        Now, I want to be little bit more

5    specific.        Do you recall writing an email to REDACTED

6    REDACTED   11 days prior to the publication of the

7    report, where you provided to him a draft of

8    facts?

9           A        I do recall us providing a draft of

10   facts.      I'd have to see documents to verify the

11   dates.

12          Q        And with respect to this is an

13   investigatory technique, are you, fairly stated,

14   way out of bounds at this point of any

15   investigatory technique that would be advised by

16   any accredited organization in providing a draft

17   of facts to a complainant's husband?

18                   MR. KLEIN:       Objection as to form.             You can

19   answer.

20                   THE WITNESS:       No.     We were communicating

21   with the REDACTED together.              And no, I would say we

22   were not out of bounds.             We had had conversations




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 102 of 386 PageID #:
                                      4156
                                                                      Page 102

1    and interviews with the REDACTED .                    And at any

2    point -- we told the REDACTED at any point prior to

3    us having to turn in the report, they could say no

4    that they didn't want to be part of it.

5                     So we provided a draft for the REDACTED ,

6    not for them to change anything or to put in what

7    they wanted.         The final decision was ours.                    But we

8    wanted to make sure to protect and respect REDACTED

9    REDACTED 's     story and just make sure that we had

10   gotten the facts correct and that if there was

11   anything nuanced or that we had mischaracterized

12   in some way we wanted to consider that.

13   BY MR. MACGILL:

14           Q        Let's talk about exactly what you asked

15   them.       And one point, 11 days prior to the report

16   being published, didn't you ask the REDACTED ,

17   specifically REDACTED and             REDACTED          , to review the

18   draft of facts, one, and to let those of you at

19   Guidepost know if they had any corrections or

20   clarifications or questions.

21           A        If that's what you are reading from the

22   email, then yes.           But what I'm telling you is that




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 103 of 386 PageID #:
                                       4157
                                                                     Page 103

1    was to give them a chance to give us comments for

2    them to see and for them to make a final decision

3    whether they were going to participate.                        So part

4    of working with survivors is that you want them to

5    have the ability to say, no, I don't want to go

6    forward with this.           And so we were giving her that

7    ability.

8                    (KILPATRICK Exhibit Number 24 was marked

9                    for identification.)

10   BY MR. MACGILL:

11           Q       I'm going to hand you Exhibit 24.                    And

12   before we get to the details of Exhibit 24 --

13   before we get to the details of Exhibit 24, I want

14   to go back to the question at the time as of

15   May 11, your company has not a single sexual abuse

16   incident to report that is in addition or

17   different to what the SBC already had, right?

18                   MR. KLEIN:       Objection as to form.               Asked

19   and answered.

20                   MR. MACGILL:        You may answer.

21                   MR. KLEIN:       You can answer.            I'm sorry.

22                   THE WITNESS:        So when you look at the




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 104 of 386 PageID #:
                                      4158
                                                                      Page 104

1    engagement scope of abuse allegations involving EC

2    members, at that point I was not aware of any other

3    allegations other than this one.

4    BY MR. MACGILL:

5           Q        Other than Pastor Johnny Hunt?

6           A        Correct.

7           Q        So as of May 11, 2022, you, as you sit

8    here today, having prepared to testify, having met

9    with the counsel here representing Guidepost for

10   two days or during two days, you have no -- you

11   cannot identify an additional sexual abuse

12   allegation other than what the SBC already knew

13   about as of this date May 11, 2022?

14                   MR. KLEIN:       And I just want to make

15   sure -- and Rob is not asking you for this, but make

16   sure that you are not revealing any communications

17   between us and yourself.              I'm mention that.             He's

18   not looking for that, but just make sure you don't

19   mention that.

20                   THE WITNESS:       For the portion of the

21   report that dealt with allegations of abuse against

22   Executive Committee members, at that point I knew of




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 105 of 386 PageID #:
                                      4159
                                                                     Page 105

1    no other -- no other situations other than the

2    situation with Mr. Hunt in that section.

3    BY MR. MACGILL:

4           Q        And you know, even outside the realm of

5    Executive Committee members, you knew of no other

6    abuse allegations that the SBC did not already

7    know about as of this date May 11.

8           A        I don't -- I don't know about that

9    question.

10          Q        . you don't know of any other person.

11   Your investigation didn't reveal any Executive

12   Committee member or anyone else that was involved

13   in any sexual abuse allegation that the SBC did

14   not already know about at of this date, May 11.

15          A        I don't -- I don't know that I can

16   answer that.        I don't know the answer to that

17   question.

18          Q        You don't have any person you can

19   identify?

20                   MR. KLEIN:       Objection.          I don't believe

21   that was her testimony, but you can answer.

22                   THE WITNESS:       I don't -- I don't know the




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 106 of 386 PageID #:
                                      4160
                                                                     Page 106

1    answer to the question that you are asking.

2    BY MR. MACGILL:

3            Q       Why?

4            A       Well, the scope of our engagement in

5    that first prong was abuse allegations involving

6    Executive Committee members.                  The other -- the

7    other things in our investigation were mishandling

8    of abuse, mistreatment of survivors, retaliation

9    resistance to initiatives, and those types of

10   things.

11           Q       Okay.    I understand?

12           A       Over the course of our engagement we

13   received calls from reporters of abuse, and we had

14   to sort through those to determine whether it fit

15   into that top prong.

16           Q       I see.

17           A       But some of the people we talked about,

18   the SBC may not -- that we talked to, the SBC

19   might not know about.              I don't know the answer to

20   that.

21           Q       I see.    I now understand your answer.

22   Okay.       So with that clarification we can move




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 107 of 386 PageID #:
                                      4161
                                                                      Page 107

1    forward.        Now, you have Exhibit 24 in front of

2    you.        All right.     Now, Exhibit 24, this is your

3        REDACTED           prior to the publication of the

4    report, right?

5            A       Publication on May 22nd.

6            Q       Yes.

7            A       Yes.

8            Q       And you are sending this to                    REDACTED

9    with a copy to your co-lead investigator; is that

10   right?

11           A       Yes.

12           Q       And it is -- you attached the REDACTED '

13   facts document, right?

14           A       I did.

15           Q       And you say to REDACTED -- this was

16   addressed to not just REDACTED but to also REDACTED .

17           A       Yes.

18           Q       So let's set the context for the jury

19   here.        So this is a        REDACTED          , and this is a

20   day after you had spoken to -- you yourself had

21   spoken to         REDACTED       ; is that right?

22           A       I'm want recalling exactly when I spoke




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 108 of 386 PageID #:
                                      4162
                                                                     Page 108

1    with her -- if I spoke with her before this or

2    after this.

3           Q        If you take a look at the

4    interrogatories, the interrogatories show that on

5    May 10, 2022, you talked to the complainant, you

6    yourself by telephone.

7                    MR. KLEIN:       I don't believe she has

8    Exhibit 1 in front of her.               I can show her mine,

9    Rob --

10                   MR. MACGILL:       Yeah, that would a good --

11                   MR. KLEIN:       -- to make it quick.             And then

12   if you can just ask your question again, Rob, once

13   she had the document in from of her.

14   BY MR. MACGILL:

15          Q        So you see complainant interview on

16   May 10, 2022?

17          A        Yes.

18          Q        Does this remind you that you spoke to

19                          REDACTED

20          A        Yes.

21          Q        And then so you say to them:                 REDACTED

22                            REDACTED                                    Do




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 109 of 386 PageID #:
                                      4163
                                                                        Page 109

1    you see that?

2               A       Yes.

3               Q       You spoke to both of them REDACTED

4    REDACTED       on May 10?

5               A       I would have to look at my notes on

6    that.

7               Q       But according to these interrogatories

8    and this email you had done so?

9               A       If that's what's there, then yes.

10              Q       Okay.    Then continuing,                 REDACTED

11                             REDACTED

12                    REDACTED                    Was this proposed

13   language pertaining to Pastor Johnny Hunt and the

14   REDACTED         for the final report which was going to be

15   published REDACTED later?

16              A       This was proposed language only for the

17   facts that the REDACTED were aware of from their

18   Interviews.

19              Q       But you, nevertheless, were giving the

20   person you regarded as the complainant and you

21   were                        REDACTED                         , were you

22   not?




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Case 3:23-cv-00243      Document 219-7    Filed 07/03/24                     888-391-3376
                                                             Page 110 of 386 PageID #:
                                         4164
                                                                      Page 110

1            A       We were                   REDACTED

2      REDACTED .

3            Q       Yeah.     And you were asking -- you were

4    asking them to REDACTED -- you said,                        REDACTED

5    Right?

6            A       Yes.

7            Q       And then you were calling them to

8    action.          REDACTED           right?

9                    MR. KLEIN:       Objection.           Asked and

10   answered.        You can answer again.

11                   THE WITNESS:        Yes.

12   BY MR. MACGILL:

13           Q       Yes.    Now, looking at what you asked

14   them to do, in this call to action REDACTED

15   REDACTED you said:                              REDACTED

16         REDACTED

17                   Do you see that?

18           A       Yes.

19           Q       By that you meant                  REDACTED

20               REDACTED

21           A       If they have                  REDACTED

22     REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 111 of 386 PageID #:
                                      4165
                                                                         Page 111

1                              REDACTED                             Yes.

2               Q       All right.       And             REDACTED

3                    REDACTED

4               A       Yes.

5               Q       And also tell -- you were                  REDACTED

6         REDACTED               prior to the publication if the

7    Guidepost report, if                      REDACTED                right?

8               A       Correct.

9               Q       Now, you then say:                     REDACTED

10                                REDACTED                                    Do

11   you see that?

12              A       Yes.

13              Q       When you said                 REDACTED                you

14   are referring to you and the REDACTED ?

15              A       No.     I was referring to myself and

16   Mr. Holske.

17              Q       But you addressed this to REDACTED and

18   REDACTED       and you said in the last line                 REDACTED

19      REDACTED              weren't you referring to them?

20                      MR. KLEIN:       Objection.           Asked and answered

21   she can answer again.

22




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Case 3:23-cv-00243      Document 219-7    Filed 07/03/24                      888-391-3376
                                                              Page 112 of 386 PageID #:
                                         4166
                                                                      Page 112

1    BY MR. MACGILL:

2               Q     Yeah.   I think that's a fair objection.

3                     Were you mistaken when you said to this

4    court that when you said -- you said REDACTED and

5    REDACTED   , in the last clause, you said,                 REDACTED

6      REDACTED          You were not referring to you and REDACTED

7    and REDACTED .     Is that your testimony?

8               A     That's correct.

9               Q     Okay.   So you were referring to we.                  Is

10   that who?         You and Mr. Holske and the Guidepost

11   team?

12              A     Myself, Mr. Holske, the Guidepost team

13   would decide what got shortened, what went into

14   the report, and like I said, we had talked to the

15   REDACTED       and had told them at any point they could

16   decide that they did not want to move forward and

17   that we would allow them to see a draft of the

18   facts prior to moving forward.

19              Q     But let's make it clear so there's no

20   question about what you were doing here.                        You

21   didn't ask them in a single line or word of this

22   Exhibit 24 about whether they wanted to move




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 113 of 386 PageID #:
                                       4167
                                                                      Page 113

1    forward, did you?

2           A        Not in this particular REDACTED .

3           Q        No, ma'am.       And had you intended to ask

4    them whether they wanted to move forward or not,

5    you as an investigator and as a citizen, would

6    have taken care to say we're asking you now to

7    tell us REDACTED before the publication of this

8    report whether you want to move forward or not?

9                    MR. KLEIN:       Objection as to form.              You can

10   answer.

11                   THE WITNESS:       Please ask the question.

12   BY MR. MACGILL:

13          Q        You didn't ask them whether they wanted

14   to move forward, did you, in this REDACTED ?

15          A        Not in this REDACTED .

16          Q        And in fact, you asked something very

17   different in this REDACTED .          You didn't ask them

18   whether they wanted to move forward.                      You called

19   them to action by saying                             REDACTED

20                             REDACTED

21    REDACTED .       Those were your words, right?

22                   MR. KLEIN:       Objection.          The REDACTED speaks




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 114 of 386 PageID #:
                                      4168
                                                                       Page 114

1    for itself.         She can answer the question.

2                     THE WITNESS:       Yes.      That's what I put in

3    the REDACTED .

4    BY MR. MACGILL:

5           Q         Now, it's worse than that, isn't it,

6    because you not only                        REDACTED                 ,

7    they gave you redline changes to the Guidepost

8    document, didn't they?

9           A         I'm not sure what you are referring to

10   as it's worse than that.

11          Q         It's much worse than you asking for

12                    REDACTED                     in sense that you

13   received and utilized red lines to the Guidepost

14   report from the REDACTED , did you not?

15                    MR. KLEIN:       Objection as to form.              You can

16   answer the question.

17                    THE WITNESS:       So --

18   BY MR. MACGILL:

19          Q         Let me restate.         What happened was you

20   received and made changes to the Guidepost request

21   made by the REDACTED , right?

22          A         We received -- we received a red line




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                      888-391-3376
                                                            Page 115 of 386 PageID #:
                                       4169
                                                                     Page 115

1    document back from the REDACTED .

2            Q       And you used the red line?

3            A       And we, Russell Holske and I, went

4    through it line by line and considered everything

5    they said and made decisions about what we were

6    going to use and what we were not going to use,

7    whether we felt like it lined up with the facts

8    that we had found that they had shared with us or

9    not.        Most of it was more about just -- I don't

10   know a good word for it.               Like their -- they

11   wanted a certain tone and wording.                      That was not

12   something that we changed.

13           Q       So ma'am, with respect to what happened,

14   in fact, you and Mr. Holske was emailing about

15   whether the draft report had "impact," right?

16           A       I'm not sure what you are referring to.

17           Q       So you exchanged some texts at this very

18   point in time, did you not, that is a day after

19   this email, you and Mr. Holske were texting one

20   another, and Mr. Holske said to you that the --

21   that the draft, even after edits, was "missing the

22   impact," right?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 116 of 386 PageID #:
                                      4170
                                                                     Page 116

1                    MR. KLEIN:       Objection as to form.             You can

2    answer.

3                    THE WITNESS:       I'm happy to take a look at

4    your document.

5    BY MR. MACGILL:

6           Q        You don't remember that?

7           A        I don't remember that specifically.                   I

8    mean I'm not saying -- there's a lot of

9    communication in this case about all different

10   types of matters unrelated to Hunt, so if you want

11   to let me look at the text message, I'm happy to

12   respond.

13          Q        Now one other context before we go to

14   how you and Mr. Holske were acting at the time, I

15   want to focus on something different.                      So at the

16   time that you asked for the facts to be reviewed,

17   the draft of facts to be reviewed by the REDACTED ,

18   you had not yet interviewed Pastor Johnny Hunt on

19   the issues pertaining to this matter, had you?

20          A        I believe that his interview came just

21   after -- like it may have been May 12th I think.

22          Q        Yes.   So you sent -- you sent Exhibit 24




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 117 of 386 PageID #:
                                      4171
                                                                     Page 117

1    before you interviewed Pastor Johnny Hunt on the

2    incident, didn't you?

3            A       That is correct.          That's why it's called

4    a draft because we knew that time was -- it was

5    coming time for us to turn in a report on the

6    14th.

7            Q       Ma'am, how in the world can you act as

8    an investigator in an independent investigation,

9    draft the facts, send it to complaining parties,

10   without having even interviewed Johnny Hunt about

11   this incident.         How could you do that?

12           A       We did this because that was the order

13   in which Mr. Hunt was available, and we knew that

14   if Mr. hunt were available, then we were going to

15   interview him, but we had to start getting some

16   things written for deadlines.                  These things were

17   not set in stone until we got the full

18   investigation finished and were not submitted

19   until we got everything done.

20           Q       Now, if you look at the draft of facts,

21   ma'am, you are very specific about the incident,

22   are you not?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 118 of 386 PageID #:
                                      4172
                                                                          Page 118

1               A         Yes.

2               Q         To be specific --

3               A         Yes.

4               Q         -- let me restate -- make a better

5    question.             Paragraph after paragraph after

6    paragraph, before you interviewed Dr. Johnny Hunt,

7    you make reference to the event as alleged by

8    REDACTED       and                    , right?
                           REDACTED

9               A         That's correct.        This was solely based

10   on their information.

11              Q         How many paragraphs -- let's count them.

12   How many paragraphs did you reference the events

13   involving Pastor Johnny Hunt and                          REDACTED        in

14   this draft of facts before you met with pastor

15   Johnny Hunt?

16                        MR. KLEIN:       Objection.          The document

17   speaks for itself.                I would also ask -- and you

18   haven't done so yet, Rob, I appreciate that -- that

19   if we're going to quote from the document --

20                        MR. MACGILL:       We're not.

21                        MR. KLEIN:       Great.     So then my only

22   objection is the document speaks for itself.                              I




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Case 3:23-cv-00243        Document 219-7    Filed 07/03/24                     888-391-3376
                                                               Page 119 of 386 PageID #:
                                           4173
                                                                     Page 119

1    would ask you also, Ms. Kilpatrick, not to read from

2    the document, but you certainly can answer Mr.

3    MacGill's questions.

4                    MR. BUNDREN:       Mr. MacGill, can I ask a

5    question?

6                    MR. MACGILL:       Yes.

7                    MR. BUNDREN:       Have you marked the email

8    and the facts or just the facts.

9                    MR. MACGILL:       Both.      The facts 13507

10   through 13510.

11                   MR. BUNDREN:       Thank you.

12   BY MR. MACGILL:

13          Q        Now, let's count together the number of

14   paragraphs in this draft of facts that is attached

15   to Exhibit 24.

16          A        I believe there are nine.

17          Q        Nine.   Thank you.         How many total

18   paragraphs are there in your draft of facts?

19                   MR. KLEIN:       Objection.          I think just asked

20   and answered unless there was a miscommunication

21   about the question.

22                   THE WITNESS:       There are nine.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 120 of 386 PageID #:
                                      4174
                                                                     Page 120

1    BY MR. MACGILL:

2            Q       So all nine paragraphs of this draft

3    involve the incident as between                        REDACTED        and

4    Pastor Johnny Hunt, right?

5            A       Yes.

6            Q       All right.        You sent this, as you've

7    testified, just to add some context to the next

8    question, so you sent Exhibit 24 before you met

9    with Pastor Johnny Hunt, right?

10                   MR. KLEIN:        Objection.           Asked and

11   answered.        You can answer.

12                   THE WITNESS:         Yes.

13   BY MR. MACGILL:

14           Q       Just for context?

15           A       Yes.

16           Q       And let me hand you Exhibit 18.                     Do you

17   have Exhibit 18 in front of you?

18           A       Yes, I do.

19           Q       Now, Exhibit 18.            Is this a          REDACTED

20                            REDACTED

21      REDACTED

22           A       Yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 121 of 386 PageID #:
                                      4175
                                                                     Page 121
                                                                          REDACTED
1            Q       And this is -- you see this?                  It's

2           REDACTED              Is this --                 REDACTED

3           REDACTED

4            A       I believe that's REDACTED

5            Q       Yes, ma'am.        And ma'am, we could show

6    you the metadata, but the metadata confirms you're

7    correct, that yes, that is REDACTED                        And then he

8                                     REDACTED

9                                 REDACTED

10     REDACTED

11                   Do you see that?

12           A       Yes.

13           Q       All right.        Now, so this is             REDACTED

14   Is this -- are these edits -- have you gotten

15   edits from the REDACTED at that point in time?

16           A       I don't know the answer to that.

17           Q       All right.        Now, ma'am, your job, was it

18   not, was to provide an independent investigation,

19   right?

20           A       Yes.

21           Q       You were to report facts, right?

22           A       Yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 122 of 386 PageID #:
                                      4176
                                                                     Page 122

1           Q        You were not -- to repeat -- you were

2    not, you nor your company, were not engaged to

3    create     REDACTED      were you?

4                    MR. KLEIN:       Objection as to form.             You can

5    answer.

6                    THE WITNESS:       I'm not sure -- no.             It was

7    not our job to create REDACTED .              But I'm not sure what

8    Mr. Holske actually meant by that.                     You would have

9    to asked him.

10   BY MR. MACGILL:

11          Q        That would not be up to the lawyers or

12   you or anyone else.          The jury will make that

13   determination.        But with respect to their role, I

14   just want to ask you a couple follow-up questions.

15                   The jury, ma'am, will determine what Mr.

16   Holske meant when he said that                       REDACTED

17                   REDACTED                        Did you at that

18   point, when you read with your own eyes that he was

19   making reference about his feeling in this REDACTED

20                     REDACTED                           Did you feel

21   compelled in a sense to raise your hand and say:

22   Let's stop.        We're not, Mr. Holske, we're not




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 123 of 386 PageID #:
                                      4177
                                                                     Page 123

1    attempting to create REDACTED               We're attempting to

2    create an independent valid report.

3                    Did you do any such thing?

4                    MR. KLEIN:       Objection as to form.

5    Compound question.           You can answer.

6                    THE WITNESS:       Flow.

7    BY MR. MACGILL:

8           Q        Now, I want to think about the other

9    defendants in this case for a minute.                      You did not

10   do that within Guidepost, you didn't raise your

11   hand, so to speak, and say my co-lead investigator

12   is searching for REDACTED                I don't think we

13   should do this.

14                   But my question is, did you raise your

15   hand, so to speak, and say we need to advise the SBC

16   or the Executive Committee that we have an

17   enterprise here that's working for REDACTED not

18   independent report.           Did you do anything like that

19   as to the other defendants in this case?

20                   MR. KLEIN:       Objection.          Mischaracterizes

21   her testimony, but you can answer.

22                   THE WITNESS:       No, I did not.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 124 of 386 PageID #:
                                      4178
                                                                     Page 124

1    BY MR. MACGILL:

2            Q       At any point afterwards did you yourself

3    or anybody at Guidepost reach out to the people of

4    the SBC or the people of the Executive Committee

5    of the SBC and say we've made a terrible mistake

6    here.       We weren't objective in our reporting and

7    we now know, seeing with these documents and what

8    we did at the time that we did the wrong thing

9    here.       We searched for REDACTED               We searched for

10   things like explosiveness.                We apologize.

11   Anything like that where you made an apology to

12   the SBC.

13                   MR. KLEIN:       Objection.          Mischaracterizes

14   the testimony, but you can answer.

15                   THE WITNESS:        I never had communications

16   with SBC or the EC.

17   BY MR. MACGILL:

18           Q       Even after the fact when you see what's

19   happened here in terms of what you did or how you

20   did it, did you remember making any entreaty, so

21   to speak, to apologize to the Executive Committee

22   that we as a company were working and looking for




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 125 of 386 PageID #:
                                      4179
                                                                     Page 125

1     REDACTED       explosiveness, those types of things.

2    We apologize to you, the members of the Executive

3    Committee?

4                    MR. KLEIN:       The fact that she answered

5    doesn't mean you have to repeat the exact same

6    question again.         However --

7                    MR. MACGILL:       This is EC only, not SBC.                I

8    think they're different.              I'll restate it.

9    BY MR. MACGILL:

10          Q        Did you make any -- let me just make

11   sure -- maybe I misstated.

12                   MR. KLEIN:       I thought you said the same

13   thing both times.         She gave you an answer to that

14   question.

15   BY MR. MACGILL:

16          Q        Did you make any apology at any point,

17   yourself, did you take any steps yourself to reach

18   out after the fact to the Executive Committee or

19   the SBC about these events?

20          A        I have not had communications with the

21   SBC or the EC about these events.

22          Q        One final question on the text.                  So with




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 126 of 386 PageID #:
                                      4180
                                                                      Page 126

1    respect to this              REDACTED                   -- he said --

2    Mr. Holske says                          REDACTED

3                REDACTED                   And then you responded

4    by saying                    REDACTED

5                    Do you see that?

6           A        Uh-huh.

7           Q        You are were referring to the REDACTED from

8    the REDACTED ?

9           A        Yes.

10          Q        And you then say:                    REDACTED

11                              REDACTED

12         REDACTED

13                   MR. KLEIN:       That's not what it said there.

14   It says           REDACTED               It does not say REDACTED

15         REDACTED

16                   MR. MACGILL:       My mistake.

17                   MR. KLEIN:       That's okay.

18   BY MR. MACGILL:

19          Q                            REDACTED

20                     REDACTED                            That's your

21   word, right?

22          A        Yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 127 of 386 PageID #:
                                      4181
                                                                       Page 127

1            Q        Now, had you done -- as of the time of

2    this text, had you taken in and reviewed the edits

3    from the REDACTED ?

4                     MR. KLEIN:       Objection.           I believe asked

5    and answered.            But you can answer again.

6                     THE WITNESS:       I don't -- I don't remember

7    in the time sequence whether I had looked at their

8    edits.      But from the point of that week of May

9    through the time we turned in the report, we were

10   constantly working on different parts of the report.

11   So I can't give you specifics.

12   BY MR. MACGILL:

13           Q        But I think you had their edits by this

14   time, didn't you?            Can't you tell by looking at

15   the REDACTED ?

16                    MR. KLEIN:       Objection.           Asked and

17   answered.         He's hoping for a different answer, but

18   answer his question.

19                    THE WITNESS:       I don't know the answer to

20   that.

21   BY MR. MACGILL:

22           Q        Okay.     Fair enough.         Not hoping for -- I




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                      888-391-3376
                                                            Page 128 of 386 PageID #:
                                       4182
                                                                     Page 128

1    know the facts.         Okay?

2                    MR. KLEIN:       Objection.          You are not

3    testifying, so she is.             So about the facts, if you

4    are called to testify we'll hear your side of the

5    facts, but at the moment it's only Ms. Kilpatrick.

6                    MR. MACGILL:       No.     I'm just answering

7    counsel.        You wanted to know, and I'm telling you I

8    know the facts, and you will too soon.

9                    MR. KLEIN:       I'm aware of the facts fully.

10   BY MR. MACGILL:

11          Q        All right.       So you -- will you stipulate

12   that your company had these edits before the text?

13                   MR. KLEIN:       Logistically that your client

14   lied about his conversation on May 12.

15                   MR. MACGILL:       He didn't.

16                   MR. KLEIN:       Well, then we won't have a

17   stipulation.        Let's just move forward, Rob.                  We can

18   talk offline.

19                   MR. MACGILL:       You should -- you should

20   stipulate -- okay.           We'll make the proof that you

21   should be admitting to.

22                   MR. KLEIN:       As will we.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 129 of 386 PageID #:
                                      4183
                                                                          Page 129

1                     (KILPATRICK Exhibit Number 25 was marked

2                     for identification.)

3    BY MR. MACGILL:

4               Q     Exhibit 25.           Do you see this is from

5       REDACTED            dated        REDACTED

6               A     Yes.

7               Q     Tell this court when it was that he sent

8    this to you.

9               A     The                        REDACTED

10              REDACTED

11              Q     So look at the                   REDACTED

12                   REDACTED                       When did you send REDACTED

13   REDACTED


14              A     I can tell a time that                        REDACTED

15   I can't see                    REDACTED

16              Q     When did he send              REDACTED

17                    MR. KLEIN:          You mean REDACTED

18   BY MR. MACGILL:

19              Q     REDACTED

20              A              REDACTED

21              Q     All right.          So that's after you had

22   received this; is that right?




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Case 3:23-cv-00243    Document 219-7      Filed 07/03/24                       888-391-3376
                                                               Page 130 of 386 PageID #:
                                         4184
                                                                         Page 130

1               A       It was after this email had come in, but

2    I can't give you -- I can't give you information

3    as to when I actually looked at this, and we did

4    anything with it.

5               Q       Now, ma'am, I am going to put up on the

6    courtroom -- through the ELMO system here, I'm

7    going to put up on the screen the attachment to

8    Exhibit 25.           This is -- just to repeat -- this

9                               REDACTED

10                      REDACTED                       Right?

11              A       Yes.

12              Q       And when you look at this, you can see

13   that this is --                  REDACTED                  -- let me ask

14   you this:           Can you confirm that                 REDACTED

15   REDACTED       that were described in the                                by
                                                              REDACTED

16   Mr. Holske about REDACTED ?

17                      MR. KLEIN:       Objection as to her personal

18   knowledge as to what Mr. Holske said, but you can

19   answer.

20                      THE WITNESS:       I don't know if this is what

21   we was talking about or -- I don't know, or he may

22   have been talking about something else.




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Case 3:23-cv-00243      Document 219-7    Filed 07/03/24                      888-391-3376
                                                              Page 131 of 386 PageID #:
                                         4185
                                                                      Page 131

1    BY MR. MACGILL:

2            Q       Now, can you look at REDACTED                   that were

3    provided by the REDACTED ?

4            A       Yes.

5            Q       Are these REDACTED             that you received on

6    proposed language for the Hunt-REDACTED section by

7    the REDACTED themselves?

8            A       Yes.

9            Q       Now, as an investigator could you tell

10   the court and jury what your reaction was when you

11   saw     REDACTED       ?

12           A       I was a little -- I was a little

13   frustrated.

14           Q       Why were you frustrated?

15           A       Because we -- our intent had been to

16   send the REDACTED the facts for kind of fact check

17   clarification, nuance, and we got back more

18   suggestions or contributions from their standpoint

19   than I expected.

20           Q       All right.       And in fact, they, in

21   essence, rewrote your report -- your draft report,

22   right?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 132 of 386 PageID #:
                                      4186
                                                                     Page 132

1                    MR. KLEIN:       Objection as to form, but you

2    can answer.

3                    THE WITNESS:       They inserted significant

4    portions of text into our report.

5    BY MR. MACGILL:

6            Q       Did you consider that they had

7    essentially attempted to rewrite your report?

8            A       It felt a little bit like that, yes.

9            Q       Okay.    Now, with respect to it feeling a

10   little bit like that on May 12, that was reason

11   for you to stop and say this is a problem.                        We've

12   got people who are not reporting objectively the

13   circumstances.          Right?

14                   MR. KLEIN:       Objection.

15   BY MR. MACGILL:

16           Q       Did you have that kind of reaction?

17                   MR. KLEIN:       My apologies.          Objection as to

18   form.       You can answer.

19                   THE WITNESS:       No.     I did not have that

20   opinion.

21   BY MR. MACGILL:

22           Q       So you will deny that any reasonable




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 133 of 386 PageID #:
                                      4187
                                                                      Page 133

1    person looking at this would have concluded that

2        REDACTED        and his wife at this time, REDACTED
     REDACTED
3               , 10 days prior to the publication of the

4    report had shown by this communication a lack of

5    objectivity to say the least?

6                     MR. KLEIN:       Objection as to form.               Calls

7    for a legal conclusion.                Argumentative.           You can

8    answer.

9                     THE WITNESS:        Please reask the question.

10   BY MR. MACGILL:

11               Q    Looking at this you understood that

12   there was an issue of credibility of the REDACTED

13   at the time you received this document.

14                    THE WITNESS:        No, I did not.            I did not

15   see this as a credibility issue with the REDACTED .

16   BY MR. MACGILL:

17               Q    You testified earlier that credibility

18   is critical to everyone who is a witness,

19   including the REDACTED , do you recall that line of

20   testimony?

21               A    That is correct.

22               Q    Based on the REDACTED ' information and




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 134 of 386 PageID #:
                                       4188
                                                                      Page 134

1    the details that they provided, you understood

2    that when you saw this -- this document that had

3    been sent to you on REDACTED , that there was a

4    credibility concern at least.

5                     MR. KLEIN:       Objection.          Asked and

6    answered.         You can answer.

7                     THE WITNESS:       There was not a credibility

8    concern with this document.

9    BY MR. MACGILL:

10          Q         Don't you agree that any reasonable

11   person, any reasonable person doing an

12   investigation would look at this document and come

13   to the conclusion that there was an issue of the

14   REDACTED '      credibility on the issues involving the

15   incident and Pastor Johnny Hunt at the time they

16   read with their own eyes this document?

17                    MR. KLEIN:       Objection.          Same question

18   that's been asked twice.               It's asked and answered.

19   You can answer one more time.

20                    THE WITNESS:       No.

21   BY MR. MACGILL:

22          Q         I want to talk for a minute about the




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 135 of 386 PageID #:
                                       4189
                                                                     Page 135

1    SBC.       When this came in did you put the SBC on

2    notice or did your company put SBC on notice of

3    this document and its contents?

4                    MR. KLEIN:       Objection.          You are speaking

5    on your individual behalf?

6                    MR. MACGILL:       Yes.

7                    MR. KLEIN:       If you know of conversation

8    with people at Guidepost you can answer.                       Otherwise

9    only answer in your individual capacity.

10                   THE WITNESS:       I did not have any

11   communication with the SBC or the EC, and I'm not

12   aware of any other communication that someone else

13   may have had.

14   BY MR. MACGILL:

15          Q        On this document once you received it?

16          A        On that document.

17          Q        Okay.   Is the same true of the Executive

18   Committee that you yourself nor anyone at

19   Guidepost put the Executive Committee on notice of

20   the contents of this particular document once it

21   was received?

22                   MR. KLEIN:       Objection.          That was not her




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 136 of 386 PageID #:
                                      4190
                                                                     Page 136

1    testimony, but she can answer that question if you'd

2    like.

3                    THE WITNESS:       Please ask the question

4    again.

5    BY MR. MACGILL:

6            Q       Did you take any steps once you received

7    this document to separately reach out to the

8    Executive Committee of SBC to put them on notice

9    of the contents of this document?

10           A       No.

11           Q       Do you know anybody at Guidepost that

12   did?

13           A       I don't have any information about that.

14           Q       Now, after these events that we've now

15   been covering involving you and the REDACTED and

16   involving Mr. Holske and the REDACTED that we've

17   just now been covering in your testimony, did the

18   CEO become aware that you had been providing

19   drafts of facts to the REDACTED ?

20                   MR. KLEIN:       Objection.          Asked and

21   answered.        You can answer.

22                   THE WITNESS:       I believe that she was made




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 137 of 386 PageID #:
                                      4191
                                                                     Page 137

1    aware.      I mean, we were communicating with the CEO

2    regularly on the status of where things were.

3    BY MR. MACGILL:

4            Q       Including these exchanges and providing

5    drafts of facts to the REDACTED ?

6            A       I believe that she was aware of this.

7            Q       Did you advise the CEO prior to sending

8    this draft of facts on May 12 -- pardon me.

9    Strike that.

10                   Did you advise the CEO of Guidepost that

11   you were going to provide a draft of facts on

12   May 11, 2022, before you did so?

13           A       I believe that we did make her aware we

14   were going to provide a draft of facts to them.

15           Q       Did she approve it before you sent

16   Exhibit 24?

17           A       I don't recall whether we -- I don't

18   recall whether she viewed this email before we

19   sent it or not.         I don't recall that part.

20           Q       But your recollection is that you got

21   the CEO's approval before you sent Exhibit 24.

22                   MR. KLEIN:       Objection.          Mischaracterizes




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 138 of 386 PageID #:
                                      4192
                                                                     Page 138

1    her testimony, you can answer.

2                    THE WITNESS:        I don't recall a direct

3    approval from the CEO.              I don't have a memory of

4    that.

5    BY MR. MACGILL:

6            Q       Do you recall -- did the CEO of the

7    company Guidepost ever instruct you that you were

8    not to send a draft of any Guidepost report for

9    line by line edits to the REDACTED .

10           A       I don't recall anything like that.

11           Q       Okay.   But whether that happened or not,

12   you did send to the REDACTED for review a draft of

13   facts and potentially line-by-line edits when you

14   asked for                              REDACTED

15   in Exhibit 24?

16           A       I did send them a draft of the facts.

17   It was not for a line-by-line corrections from

18   them, but I did send it, and that's what I got

19   back.

20           Q       Okay.   You anticipated my next question.

21   Whether you asked for it expressly or not in

22   Exhibit 24, what you got back was line-by-line




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 139 of 386 PageID #:
                                      4193
                                                                      Page 139

1    edits on the 12th of may?

2           A        Correct.

3           Q        From the REDACTED .

4           A        Yes.

5           Q        Okay.   Now, do you remember telling

6    Mr. Holske -- well, let me hand you Exhibit 26.

7                    (KILPATRICK Exhibit Number 26 was marked

8                    for identification.)

9                    Now, I'm asking you read the                   REDACTED

10   There's REDACTED at the bottom I want to ask you

11   about on                   REDACTED

12                   Do you see that?

13          A        Yes.

14          Q        All right.       Now, this is            REDACTED

15                           REDACTED

16                               REDACTED

17   is that right?

18          A        Yes.

19          Q        All right.       And so you shared the draft

20   of facts with the                 REDACTED               , right?

21          A        Yes.

22          Q        And then they came back to you with line




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 140 of 386 PageID #:
                                      4194
                                                                     Page 140

1    edits, line-by-line edits, right?                     REDACTED

2                    MR. KLEIN:       Objection.          Asked and

3    answered.        But if you are leading to a question,

4    I'll let you move there.              You can answer.

5                    THE WITNESS:       Yes.

6    BY MR. MACGILL:

7           Q        All right.       So then you took the REDACTED

8    line-by-line edits and created your own document,

9    right?

10                   MR. KLEIN:       Objection as to who the we is,

11   but you can answer.

12   BY MR. MACGILL:

13          Q        You created your own draft of facts

14   that's               REDACTED

15          A        I -- I -- I did this proposed language

16   for the Hunt-REDACTED that's                         REDACTED

17          Q        All right.       And your intention -- or

18   strike that.

19                   And Mr. Holske's intention then was to

20   then follow up with                          REDACTED

21                                REDACTED

22                                REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 141 of 386 PageID #:
                                      4195
                                                                      Page 141

1                    MR. KLEIN:       Objection.           Personal

2    knowledge.        Document speaks for itself you can

3    answer.

4                    THE WITNESS:       I mean, I can verify that

5    that's what             REDACTED          but I don't have any

6    recollection as far as a conversation about that.

7    BY MR. MACGILL:

8           Q        Okay.    So                   REDACTED

9                           REDACTED

10       REDACTED

11              REDACTED

12                   Do you see that?

13          A        Yes.

14          Q        And that's part of            REDACTED

15                   Take a look and see.             Let me know.

16                   And then does he continue:                    REDACTED

17                                    REDACTED

18                     REDACTED

19                   Is that right?        Is that what he said?

20          A        That's what REDACTED says, yes.

21          Q        So did you understand from                REDACTED

22   that he was going to                          REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 142 of 386 PageID #:
                                      4196
                                                                      Page 142

1    REDACTED    and provide this version to him now a day

2    later or two days later.

3                    MR. KLEIN:       Objection as to form.              You can

4    answer.

5                    THE WITNESS:       All I have is            REDACTED

6    That's what it says.

7    BY MR. MACGILL:

8           Q        Do you remember that that's what

9    happened, that Mr. Holske in fact provided the

10   REDACTED    with yet another draft of facts for their

11   review?

12          A        I don't know what he -- I don't know

13   what he did at that point and when he did it.                          But

14   based on        REDACTED     he's saying that              REDACTED

15         REDACTED             That's all I know.

16          Q        You don't know if he did give them yet a

17   second set of facts on May 13th or after?

18          A        I do not have an independent

19   recollection of that.

20          Q        Okay.   Now, you then responded REDACTED

21              REDACTED              right?

22          A        Yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 143 of 386 PageID #:
                                      4197
                                                                     Page 143

1           Q        So                    REDACTED

2    then write back to him:                         REDACTED

3                              REDACTED

4                    Who is Julie?

5           A        That would be our CEO.

6           Q        And your CEO -- had you spoken to your

7    CEO about sharing draft of the facts with the

8    REDACTED ?

9           A        I do not independently recall that

10   conversation, but on                         REDACTED

11                         REDACTED

12          Q        Now, did she tell you -- did she tell

13   you that                           REDACTED

14                              REDACTED

15           REDACTED             is that what she said?

16                   MR. KLEIN:       Objection.          Asked and

17   answered, but you can answer.

18                   THE WITNESS:       That is what REDACTED says,

19   yes.

20   BY MR. MACGILL:

21          Q        When did she tell you that REDACTED

22                           REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 144 of 386 PageID #:
                                      4198
                                                                      Page 144

1            REDACTED

2                    MR. KLEIN:       Objection.           Just asked and

3    answered.        You can answer again.

4                    THE WITNESS:        I don't know exactly when

5    that conversation occurred.

6    BY MR. MACGILL:

7            Q       Go back, if you would, to Exhibit 24.

8    Do you still have that in front of you?

9            A       Yes.

10           Q       You sent a draft of facts on REDACTED

11   Had the CEO of the company told you prior to

12   May 11th that you were not to send drafts of facts

13   to the REDACTED at that time?

14           A       I do not recall her telling us not to

15   send a draft of facts at that time.

16           Q       Okay.   So is it you just don't know when

17   she gave you the directive                            REDACTED

18                           REDACTED

19           A       Correct.

20           Q       Now, as you look at this sequence of

21   events, do you realize that as least as far as

22   your CEO is concerned that you should never have




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 145 of 386 PageID #:
                                      4199
                                                                      Page 145

1    sent your email dated              REDACTED           , sending this

2    document to the REDACTED .

3                    MR. KLEIN:       Objection as to form.              You can

4    answer.

5                    THE WITNESS:       No.

6    BY MR. MACGILL:

7           Q        So you don't regard, as you sit here

8    today, the directive from your CEO that you report

9    in this particular email, Exhibit 25, that REDACTED

10                             REDACTED

11           REDACTED             you don't look at that as a

12   prohibition to what you have done in Exhibit 24?

13          A        No, I don't.

14          Q        I'm sorry.       I spoke -- it was Exhibit 26

15   that is your               REDACTED                is that correct?

16          A        Exhibit 26 is the                     REDACTED

17          Q        Now, ma'am, I want to talk about the

18   "critical" nature of the credibility of the

19   REDACTED   in general terms.             Were you aware that

20      REDACTED           did not like his wife talking with

21   other men?

22          A        No.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 146 of 386 PageID #:
                                      4200
                                                                     Page 146

1           Q        Was he jealous with REDACTED ?

2           A        I don't recall that.

3           Q        Do you recall him writing the following

4    words:                REDACTED

5                          REDACTED                             .

6                    MR. KLEIN:       Objection.          If you are reading

7    from a document that is marked attorney's eyes only,

8    I would ask that you not read it into the record.

9    And so if you started to, that's -- we are where we

10   are.       But I would ask if you are reading from such a

11   document that we then you stop, and then you have

12   whatever options you want, Rob, to continue reading

13   or to -- continue reading and put Mr. Hunt in a

14   breakout room or not read from it.

15                   MR. MACGILL:       Hold on one minute.

16                   MR. KLEIN:       No problem.

17                   MR. MACGILL:       Pastor Hunt, I'd like you to

18   go in a breakout room for about three minutes.

19   BY MR. MACGILL:

20          Q        So ma'am, I want to -- if you -- may I

21   have those exhibits back.              I'll get those out of

22   your way.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 147 of 386 PageID #:
                                      4201
                                                                      Page 147

1                    MR. KLEIN:       Hold on one second.              He's

2    still showing on the screen.                 He's off.         Thank you.

3    BY MR. MACGILL:

4           Q        Ma'am, I want to hand you Exhibit 7,

5    page 17, and do you recognize this as the report

6    from the REDACTED themselves, that is the REDACTED and

7       REDACTED        story             REDACTED

8           A        Yes.

9           Q        Now, as to the credibility -- and had

10   you read this yourself?

11          A        Yes.

12          Q        And you read it in its entirety?

13          A        Yes.

14          Q        And you confirmed earlier to the court

15   that you placed your notes on this particular

16   document, right?

17          A        I did.

18          Q        And if you look at the                   REDACTED

19   you see that there are                        REDACTED                   and

20   he makes                     REDACTED                          -- or on

21       REDACTED           on this page 17, right?

22          A        There is a                   REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 148 of 386 PageID #:
                                      4202
                                                                     Page 148

1          REDACTED

2    REDACTED


3           Q        And then what Mr. REDACTED wrote, and you

4    read this --                       REDACTED

5            REDACTED

6                    Do you see that?

7           A        Yes.

8           Q        And you understood that Mr. REDACTED , Mr.

9                                 REDACTED

10   REDACTED ?

11                   MR. KLEIN:       Objection.          Lack of personal

12   knowledge.        You can answer.

13                   THE WITNESS:       I don't have the background

14   for what he -- I just have what's on this piece of

15   paper.                    REDACTED                          I don't have

16   any of his knowledge as to what's behind what he

17   wrote on this paper.

18   BY MR. MACGILL:

19          Q        Right.    But as an investigator you need

20   to understand what           REDACTED           understood to be

21       REDACTED           right?

22                   MR. KLEIN:       Objection as to form.             You can




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 149 of 386 PageID #:
                                      4203
                                                                      Page 149

1    answer.

2                    THE WITNESS:       I think that these are

3    things that should be considered as part of the

4    investigation, yes.

5    BY MR. MACGILL:

6           Q        So you understood that Mr. REDACTED

7    himself has described his                REDACTED           on this

8    page 17.

9           A        Yes.

10          Q        Let's review what he said about himself.

11   Everything written here on page 17 you knew prior

12   to the publication of the report?

13          A        I had read this document prior to the

14   publication of the report.

15          Q        And you knew that he said in his own

16   words:                 REDACTED

17                   Correct?

18                   MR. KLEIN:       Objection as to form.              You can

19   answer?

20                   THE WITNESS:       I read that in this report,

21   yes.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 150 of 386 PageID #:
                                      4204
                                                                     Page 150

1    BY MR. MACGILL:
                                                                         REDACTED
2            Q       You also had read his statement:

3            REDACTED

4                    You'd read that?

5            A       Yes.

6            Q       You also read:                       REDACTED

7                       REDACTED

8                    You read that.

9            A       Yes.

10           Q                              REDACTED

11        REDACTED

12                   Do you see that?

13           A       Yes.

14           Q                             REDACTED

15                            REDACTED

16                   Do you see that?

17           A       Yes.

18           Q                  REDACTED

19                   His words?

20           A       That's what's written here.

21           Q       And you understood based on what you

22   wrote that he is also a                      REDACTED               right?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 151 of 386 PageID #:
                                      4205
                                                                      Page 151

1                    MR. KLEIN:       Objection as to form.

2    Personal knowledge.           You can answer.

3                    THE WITNESS:       I don't know him to be

4       REDACTED            I know that on this document he writes

5          REDACTED

6    BY MR. MACGILL:

7           Q        Okay.         REDACTED

8                           REDACTED

9                    Do you see that?

10          A        Yes.

11   BY MR. MACGILL:

12          Q        These are his words according to what he

13   wrote, and you understood them to be his words,

14   right?

15                   MR. KLEIN:       Objection as to form.              Lack of

16   personal knowledge.

17                   THE WITNESS:       He and REDACTED gave us this

18   document and I can go -- it says up there REDACTED

19              REDACTED              and then this is what appears

20   below.

21   BY MR. MACGILL:

22          Q        Okay.                     REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 152 of 386 PageID #:
                                      4206
                                                                      Page 152

1                               REDACTED

2                             REDACTED

3                    Right?

4               A    Yes.     That's what's in the document.

5               Q    And then in point 5,                  REDACTED

6                               REDACTED

7    REDACTED
                                 REDACTED

8                   REDACTED

9                    Do you see that?

10              A    Yes.

11              Q               REDACTED

12                     REDACTED

13                   Do you see that?

14              A    Yes.

15              Q    Did this      REDACTED              self-description

16   cause you any concern that you evaluated what

17   Mr. REDACTED was saying?

18                   MR. KLEIN:        Objection as to form.             Lack of

19   personal knowledge.           You can answer.

20                   THE WITNESS:        I think everything that was

21   presented to us we took into account as data points

22   as we formed our opinions in this matter.




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 153 of 386 PageID #:
                                       4207
                                                                     Page 153

1    BY MR. MACGILL:

2           Q        And he also reports here:                 REDACTED

3                           REDACTED

4                    Do you see that?

5           A        Yes.

6           Q        So for your part, you were willing to

7    assess him as being a credible person on the

8    subject of        REDACTED         and the incident involved

9    described to you that occurred 12 years prior with

10   a gentleman who described himself this way on

11   page 17 of this report.

12                   MR. KLEIN:       Objection as to form.             You can

13   answer.

14                   THE WITNESS:       Please restate the question.

15   BY MR. MACGILL:

16          Q        You looked at Mr. REDACTED as credible in

17   terms of the reports that he made about this

18   incident involving his wife, notwithstanding what

19   the jury can see here on the screen about what he

20   wrote around himself on page 17?

21                   MR. KLEIN:       Objection as to form.             Lack of

22   personal knowledge.          You can answer.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 154 of 386 PageID #:
                                      4208
                                                                     Page 154

1                    THE WITNESS:       We made determinations of

2    credibility based on what we heard                      REDACTED        tell

3    us in person, the way she described her encounter

4    with Mr. Hunt in that condo.                And all of these other

5    things are data points that were considered as we

6    worked on the matter.             But     REDACTED         's

7    credibility in this matter was a significant piece

8    of this report.

9    BY MR. MACGILL:

10           Q       I'd like you to admit some things or not

11   as the case may be.          Would you admit that REDACTED

12   REDACTED    thought that REDACTED had placed her affection

13   on Pastor Johnny.

14           A       I don't remember him saying that, but

15   that -- there's a possibility it could be in the

16   document somewhere.

17           Q       All right.       Do you admit that you

18   understood that          REDACTED          was jealous of Pastor

19   Johnny?

20           A       If you would like to show me a document,

21   I'm happy to -- I mean there's so many pages in

22   this.       I don't have an independent recollection




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 155 of 386 PageID #:
                                      4209
                                                                      Page 155

1    specific to Mr. Hunt.

2            Q       You don't.       Okay.       Fair enough.          Did you

3    understand that           REDACTED           was jealous with the

4    success that Pastor Johnny had enjoyed in his

5    ministries?

6            A       I don't have a recollection of that.

7    I'm not saying that that's not in a document

8    somewhere, but I don't have an independent

9    recollection of that.

10           Q       And do you admit, ma'am, that REDACTED

11   REDACTED    was angry with Pastor Johnny's success?

12           A       I don't.

13                   MR. MACGILL:        Take our lunch break.

14                   VIDEOGRAPHER:         Off the record at

15   11:59 p.m.

16                   (Whereupon, a luncheon recess was

17                   taken.)

18                                * * * * *

19

20

21

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 156 of 386 PageID #:
                                      4210
                                                                      Page 156

1                    A F T E R N O O N          S E S S I O N

2                                                                 (1:18 p.m.)

3                     VIDEOGRAPHER:         We are now back on the

4    record at 1:18 p.m.               You may proceed.

5    WHEREUPON,

6                            SAMANTHA KILPATRICK

7    was called for continued examination, and having

8    been previously duly sworn, was examined and

9    testified further as follows:

10                    EXAMINATION BY COUNSEL FOR PLAINTIFF

11                    CONTINUED

12   BY MR. MACGILL:

13           Q        Welcome back, ma'am.               I want to -- I

14   asked you a series of questions before the lunch

15   break.      You recall that I asked you whether REDACTED

16   thought REDACTED had placed her infection on Pastor

17   Johnny.         Do you remember that line of questioning?

18           A        Yes.

19           Q        Do you recall, ma'am, that that question

20   or that circumstance was specifically referenced

21   in some of the materials that you read prior to

22   publication of the report?




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 157 of 386 PageID #:
                                       4211
                                                                       Page 157

1           A         Yes.

2           Q         And you also read prior to the

3    publication of the report that                      REDACTED

4    indicated he was jealous of Pastor Johnny

5    specifically?

6           A         Yes.

7           Q         And you read with your own eyes that

8       REDACTED         was jealous of Pastor Johnny's

9    success, that you read that prior to the time of

10   the publication of the report?

11          A         I don't recall.         I don't recall.            I may

12   have read it.            If you've got a document, I'm happy

13   to take a look at it.

14          Q         Okay.     If you take a look at page 36 of

15   your report -- I'm sorry -- of the March 22nd,

16   report.         This is Exhibit 7.           Do you have that

17   exhibit?

18                    MR. KLEIN:       She's has no exhibits in front

19   of her.

20   BY MR. MACGILL:

21          Q         Got it.     Ma'am, I've handed you Exhibit

22   7 and I've opened it to page 36, and I'm going to




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                      888-391-3376
                                                            Page 158 of 386 PageID #:
                                       4212
                                                                         Page 158

1    ask you about the                            REDACTED

2    REDACTED       Are you there?

3               A      Yes.

4               Q                              REDACTED

5    Exhibit 7,                                REDACTED

6                                REDACTED

7                      Do you see that?

8               A      Yes.

9               Q      What does the REDACTED refer to?                Do you

10   know?

11              A                    REDACTED

12              Q      And you report here                   REDACTED

13              REDACTED                Do you see that?

14              A      I don't report here.

15              Q      My mistake.        But this report that you

16   read prior to the publication of your report you

17   saw this entry that                             REDACTED

18   REDACTED   ?

19              A      Yes.
                                                                          REDACTED
20              Q      And you saw the next sentence.

21                    REDACTED                   , right?

22              A      Yes.   That's what's in this report.




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Case 3:23-cv-00243     Document 219-7    Filed 07/03/24                       888-391-3376
                                                              Page 159 of 386 PageID #:
                                        4213
                                                                     Page 159

1                    MR. KLEIN:       Before you go any further,

2    Rob, and my mistake for not seeing it earlier, that

3    this is also an attorney's eyes only document you

4    are reading from and Johnny Hunt is on there.                         So

5    again, I did notice it when you started this line of

6    questioning, so my apologies for that.                      But if you

7    want to continue with specifics of this document

8    like we did right before lunch, I would ask that you

9    move Mr. Hunt into separate Zoom room.

10                   MR. MACGILL:       Understood.

11                   MR. KLEIN:       Thank you.

12   BY MR. MACGILL:

13          Q        All right.       So with respect to your

14   understanding before the report was published, I

15   want to have you confirm or not confirm your

16   understanding on the motivations of the financial

17   -- strike that.

18                   Did you understand specifically that one

19   of the REDACTED ' goals in coming forward with the

20   allegations of Pastor Johnny Hunt was financial?

21          A        I understood from the REDACTED that their

22   first concern was to make peace and make peace




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 160 of 386 PageID #:
                                      4214
                                                                     Page 160

1    with Johnny.        And I believe that               REDACTED

2    listed out what their reasons for coming forward

3    were, and I think to make things right -- or I

4    think he may have used the word recompense was a

5    part of what he told us.

6           Q        Okay.   So as you went through your

7    process as far as          REDACTED           was concerned prior

8    to the publication of the report you knew that he

9    had expressed REDACTED right?

10                   MR. KLEIN:       Objection as to form.

11                   THE WITNESS:       I know that these documents

12   reference REDACTED

13   BY MR. MACGILL:

14          Q        That he had expressed -- you knew that

15   he had expressed REDACTED

16          A        In these documents, yes.

17          Q        And you knew that he had expressed

18   anger?

19                   MR. KLEIN:       Objection.          I just -- if we're

20   talking about the document, again, Rob, at least

21   she's referencing the document so I just want to be

22   careful -- it's not just you, Rob.                     I'm going to




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 161 of 386 PageID #:
                                      4215
                                                                     Page 161

1    caution my client as well if you don't find.

2    BY MR. MACGILL:

3           Q        You knew -- just I want -- I'm not

4    talking about the document now.                    You knew prior to

5    publication of the report that                     REDACTED       had

6    expressed anger, right?

7                    MR. KLEIN:       So I just want you to answer

8    without referencing the document if you can answer

9    that question to the best of your ability.

10                   THE WITNESS:       Yes.        REDACTED          expressed

11   anger.

12   BY MR. MACGILL:

13          Q        And you also knew that that anger was

14   expressed towards Johnny -- Pastor Johnny Hunt,

15   right?

16          A        Yes.

17          Q        And you also knew prior to the

18   publication of the report as far as Mr. REDACTED was

19   concerned, that there were certain features of

20   Johnny Hunt that were              REDACTED          to him, right?

21                   MR. KLEIN:       Again, without referring to

22   the document --




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 162 of 386 PageID #:
                                      4216
                                                                      Page 162

1    BY MR. MACGILL:

2            Q       Let me restate.             I don't want you to

3    refer to the document.              You knew separate and

4    apart from any documentation that you read prior

5    to the report that certain features of Pastor

6    Johnny Hunt and his work were                   REDACTED        to Mr.

7    REDACTED ;    is that right?

8            A       Yes.     They were       REDACTED          to both Mr.

9    REDACTED     and to     REDACTED        .

10           Q       Okay.     So you know there's REDACTED

11   there's angry -- there's anger, there's

12               REDACTED               and you also knew there was

13   financial motivations of the REDACTED as far as

14   Johnny Hunt was concerned, right?

15                   MR. KLEIN:       Objection as to form.

16   Mischaracterizes.           But you can answer.

17                   THE WITNESS:        Please ask the question

18   again.

19   BY MR. MACGILL:

20           Q       You knew there was anger, you knew there

21   was REDACTED           you knew that there was a reaction

22   of being REDACTED           to Pastor Johnny Hunt as far as




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 163 of 386 PageID #:
                                      4217
                                                                        Page 163

1    the REDACTED were concerned.                   Did you also know

2    that they had financial motivations in terms of

3    Pastor Johnny Hunt.

4               A      So I know that REDACTED had been

5    mentioned in this document.                    I know that REDACTED and

6    REDACTED       were both REDACTED         with the matters

7    involving Mr. Hunt.                 I know that REDACTED expressed

8    that he wanted for things to be made right.                             But

9    we never spoke about financial stuff with the

10   REDACTED .

11              Q      Well, prior to the report being

12   published, though, you had been advised and had

13   learned that Mr. REDACTED , for his part, wanted some

14   form of financial compensation, right?

15              A      I had -- I know that he said that he was

16   looking to make things right in recompense for the

17   harm, but I don't know -- he didn't express

18   directly to me what he wanted or what that meant.

19              Q      Well, you reported in your report, your

20   own memorandum, Exhibit 20, your memorandum from

21        REDACTED             you indicate that there was a goal

22   in coming forward that was financial, right?




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Case 3:23-cv-00243      Document 219-7    Filed 07/03/24                     888-391-3376
                                                             Page 164 of 386 PageID #:
                                         4218
                                                                     Page 164

1           A                             REDACTED

2               REDACTED

3           Q        So now you are admitting, are you not?

4    And if you are not, tell us.

5           A        That could be financial, yes.

6           Q        Okay.   All right.         So let's make sure we

7    understand.        So as of          REDACTED            you know

8    that one of the goals of the REDACTED in coming

9    forward to give you information was financial,

10   right?

11                   MR. KLEIN:       Objection as to form.             You can

12   answer.

13                   THE WITNESS:       I'm not sure exactly what I

14   knew as of REDACTED      I may have known that part.                   But

15   I'm not for certain.

16   BY MR. MACGILL:

17          Q        Let me see if I can remind you.                  I'm

18   going to give you back Exhibit 20.

19                   MR. KLEIN:       As you are getting that, Rob,

20   I would just note that this document is marked

21   attorney eyes only, so it can be used to refresh her

22   memory, but I would ask that neither you nor you,




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 165 of 386 PageID #:
                                      4219
                                                                      Page 165

1    Ms. Kilpatrick, read or reference specifically this

2    document.

3    BY MR. MACGILL:

4           Q        Now, ma'am, what we're going to do, you

5    understand your company does not want Pastor

6    Johnny Hunt to see the contents of your writings

7    on -- in Exhibit 20.             Do you understand that?

8           A        Yes.

9           Q        And they don't want to hear a word of

10   what's in Exhibit 20.

11          A        Okay.

12          Q        Do you understand that?

13          A        That's what you're telling me.

14          Q        No.     That's what they are telling us.

15                   MR. KLEIN:       Well, that's what the court

16   has ordered at our -- based on our motion, the court

17   order that so we have abided by the court --

18                   MR. MACGILL:       There is no order -- there

19   is no order to that effect.                 We'll litigate that

20   later, but there is no order that gives protection

21   to your conduct here, counsel.                   So we're going to

22   let -- we're going to make the arguments at a later




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 166 of 386 PageID #:
                                      4220
                                                                     Page 166

1    time.       I don't want to represent it on this record

2    that you have a court authority to do what you're

3    doing because you don't.              All right.

4                    MR. KLEIN:       There is an order in place.

5    We would disagree maybe as to the interpretation of

6    that order which we can leave for another time.

7                    MR. MACGILL:       Which is a pending motion.

8    BY MR. MACGILL:

9            Q       Now, ma'am, regardless of whether

10   counsel here is right to prohibit Pastor Johnny

11   Hunt from seeing your memorandum in Exhibit 20,

12   the fact is you knew that you are not allowed to

13   speak the words of what you wrote on Exhibit 20

14   while Pastor Johnny is hearing your testimony,

15   right?

16           A       Yes.

17           Q       And you're told that -- this is what

18   your lawyers have told you, right?                     The lawyers

19   for Guidepost have told you.

20                   MR. KLEIN:       Without waiving privilege.

21   I'm talking about right now if she's hearing me.

22   She's certainly hearing me now that that is our




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 167 of 386 PageID #:
                                      4221
                                                                     Page 167

1    request based on our interpretation of the order.

2    Correct.

3    BY MR. MACGILL:

4           Q        All right.       So what we are going to do,

5    ma'am, based on the fact that these lawyers and

6    Guidepost will refuse to allow Pastor Johnny Hunt

7    to hear your words or read your words, I'm going

8    to ask you to refresh your memory.

9           A        Okay.

10          Q        I'm going to hand you Exhibit 20.                  And

11   I'd ask you to turn to Bates number 7651.

12                   Are you reading the document regarding the

13   financial questions that I've asked you about?                           Do

14   you see the                  REDACTED                    in the bullet

15   point?

16          A        I do.

17          Q        All right.       So now you know that -- and

18   you can confirm now that you refreshed your memory

19   that you understood as of                  REDACTED            that one

20   of the interests that the REDACTED had was to make

21   a financial recovery, right?

22          A        Yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 168 of 386 PageID #:
                                      4222
                                                                     Page 168

1            Q       All right.       And the jury will have --

2    we're going to put this up on the board -- not the

3    board -- the screen so the jury can see this.                           Now

4    we put this up on the board so the jury can read

5    along with us.

6                    And it's also true that you knew that

7    there was not only financial motivation in the

8    REDACTED    but also that they wanted to seek

9    specifically some form of                REDACTED          right?

10           A       I think that's the word I used earlier

11   in my testimony is that that was -- that was

12   something that they were seeking.

13           Q       So the words that you had heard from the

14   REDACTED    prior to publication of the report

15   included the word REDACTED yes?

16           A       Yes.   I read REDACTED

17           Q       Included the word REDACTED

18           A       Yes.

19           Q       Included the word            REDACTED

20           A       Yes.

21           Q       Included the word financial interest?

22           A       There was communication about                  REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 169 of 386 PageID #:
                                      4223
                                                                      Page 169

1        REDACTED

2           Q        Interest of the REDACTED ?

3           A        I'm not sure exactly what words were

4    actually used, but                      REDACTED                   were

5    definitely used.

6           Q        Right.     And the jury can see with their

7    own eyes here that you -- what you've written in

8    the report, right?

9           A        Yes.

10          Q        So prior to the publication of the

11   report on the issue -- this critical issue

12   described about the REDACTED -- strike that.

13                   With respect to the critical nature of the

14   credibility of the REDACTED , part of the publication

15   of the report, you knew for your part as a lead

16   investigator here, that you had seen in the REDACTED

17   references to                              REDACTED

18        REDACTED            right?

19                   MR. KLEIN:        Objection.          Asked and

20   answered.        You can answer again.

21                   THE WITNESS:        Yes.

22




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Case 3:23-cv-00243   Document 219-7     Filed 07/03/24                     888-391-3376
                                                           Page 170 of 386 PageID #:
                                       4224
                                                                     Page 170

1    BY MR. MACGILL:

2           Q        Now, let's just talk for a minute about

3    these other parties.             With respect to the

4    Executive Committee did you make any reference to

5    any one of these five circumstances that you came

6    to learn prior to the publication of your report?

7                    MR. KLEIN:       Objection.          Asked and answered

8    with regard to communications with the EC, but she

9    can answer.

10                   THE WITNESS:       I did not have any

11   communications with the EC about what you just said.

12   BY MR. MACGILL:

13          Q        Those findings?

14          A        Right.   Those words.

15          Q        One more question with respect to the

16   SBC, did you have any communications prior to the

17   publication of the report about reference to

18                             REDACTED

19                        REDACTED

20          A        I did not have any conversations with

21   the SBC.

22          Q        Same question follow-up.               With respect




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 171 of 386 PageID #:
                                      4225
                                                                     Page 171

1    to these five forms of -- or five circumstances as

2    far as the REDACTED was concerned, did you

3    communicate internally to the CEO of your company

4    or any executive at your company at this time,

5    2022, about these specific circumstances that we

6    just described to literally or figuratively raise

7    your hand and a say, wait a minute, we need to not

8    do what we're planning to do.

9            A       Can you reask that question.                  It's

10   multiple parts.

11           Q       Sure.   With all of this, reference to

12                              REDACTED

13     REDACTED        did you go to anybody in the

14   management at Guidepost and say I am concerned

15   about the core witnesses here, the REDACTED .                        Did

16   you do anything like that?

17           A       No.

18           Q       Okay.   Now, ma'am, I want to make sure

19   the jury understands something else about what you

20   did as an investigator or what your company did as

21   an entity.        You've described in your prior

22   testimony the April interview of Pastor Johnny




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 172 of 386 PageID #:
                                      4226
                                                                      Page 172

1    Hunt in person.         Do you remember that?

2            A       Yes.

3            Q       When it came time to confront Pastor

4    Johnny Hunt about the incident involving REDACTED

5    REDACTED ,   this was by videoconference, was it not?

6            A       Yes.

7            Q       How long did that video conference last?

8            A       I don't remember how long it lasted.

9            Q       An hour?     Two hours?

10           A       I would think it probably lasted around

11   an hour.

12           Q       Around an hour?

13           A       I don't know.

14           Q       Now, we'd like to see the video, ma'am.

15   Did you take a video of this conference?

16           A       No, we do not.

17           Q       Why not?

18           A       Because that's not the way that we do

19   our videoconferences?

20           Q       Well, if you were going to be fair to

21   exactly to what Johnny Hunt said, why would you

22   not create a video record and indicate to him just




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 173 of 386 PageID #:
                                      4227
                                                                      Page 173

1    very fundamentally something like, Pastor Johnny

2    Hunt, we want you to be the first to know.                           We're

3    going to record this interview so we'll have a

4    record and you will too.

5                    Did you do anything like that?

6            A       No.     We were not recording interviews.

7            Q       But ma'am, you were planning in ten days

8    time to produce information about an accusation by

9       REDACTED       .     Why would you not give the courtesy

10   and the respect to the pastor, Johnny Hunt, by

11   simply doing this on video so there would be a

12   record of what you said and a record of what he

13   said.

14           A       We did not video the interviews.

15           Q       Now, instead, what you relied on were

16   your notes and recollections of what he said to

17   you, right?

18           A       Yes.

19           Q       And to err is human.               Fair statement?

20           A       Fair.

21           Q       You may have made an error in what you

22   said about what he said, right?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 174 of 386 PageID #:
                                      4228
                                                                     Page 174

1           A        To err is human, and that's a

2    possibility.        That's why we have two interviewers

3    on these interviews, so that we make sure that we

4    take notes and don't miss anything.

5           Q        And if a human, you, or another human,

6    Mr. Holske, were motivated to do something other

7    than give the unvarnished truth, that could cause

8    an error in the recording of what Pastor Johnny

9    Hunt said, right?

10                   MR. KLEIN:       Objection as to form.             You can

11   answer.

12                   THE WITNESS:       If someone were motivated.

13   But we were not motivated to do anything except to

14   provide an independent third-party investigation,

15   looking at the facts, looking for corroboration, and

16   including that in our report.

17   BY MR. MACGILL:

18          Q        Well, if you were interested of being

19   independent, why did you call the REDACTED after

20   you called -- had a video conference with Pastor

21   Johnny Hunt?        Why did you do that?

22          A        We were coming down to the end of time




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 175 of 386 PageID #:
                                      4229
                                                                     Page 175

1    to where the report was going to be submitted, and

2    we were having phone calls with all different

3    types of people during that time frame.                        And I'm

4    not sure how that phone call was scheduled.                          It

5    was not scheduled to discuss our interview with

6    Johnnie.        It was scheduled probably to talk about

7    their notes that they sent us.

8            Q       It certainly occurred after the

9    videoconference with Pastor Johnny Hunt, didn't

10   it?     Your call to the REDACTED .                Same day.

11           A       I would have to see -- I would have to

12   see the dates on that if you would like to refresh

13   my recollection.

14           Q       Do you remember doing taped notes of

15   that conversation with REDACTED after you spoke to

16   Pastor Johnny Hunt on May 12th, 2022?

17           A       Taped notes?

18           Q       Let me back up.          Let's talk about the

19   chronology again.          May 12, 2022, you had a

20   videoconference with Pastor Johnny Hunt, right?

21           A       Yes.

22           Q       And the next day you had a conference --




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 176 of 386 PageID #:
                                      4230
                                                                     Page 176

1    you had another -- you had a telephone conference

2    with the REDACTED , right?

3            A       I would have to look at the schedule.                       I

4    don't recall exactly the sequence.

5                    MR. MACGILL:        Could you hand her Exhibit

6    1, please?

7                    MR. KLEIN:       I believe you have the

8    exhibits.

9    BY MR. MACGILL:

10           Q       All right.       I'm going to hand you

11   Exhibit 1.        When did you -- you interviewed Pastor

12   Johnny Hunt on May 12, right?

13           A       Yes.

14           Q       All right.       And that was by video,

15   right?

16           A       We had a virtual meeting by video.                     We

17   did not video the call.

18           Q       Fair point.        Tell the jury when you next

19   spoke to the REDACTED ?

20           A       It looks like we spoke with the REDACTED

21   on the next day, May 13th.

22           Q       Do you recall why you spoke to the




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 177 of 386 PageID #:
                                      4231
                                                                       Page 177

1    REDACTED    the day after you spoke to Pastor Johnny

2    Hunt?

3            A        If I remember, let me think for a

4    second.         I don't recall that conversation.                   I

5    believe that there may be some notes to that, but

6    I don't recall right now offhand what we spoke

7    about.

8            Q        I have an important question for you

9    about what you wrote in the report.                       Did you

10   misrepresent your conversation with Pastor Johnny

11   Hunt the eligible in the Guidepost report?

12           A        No.

13           Q        In no res- -- are you denying that you

14   misrepresented your conversation with Pastor

15   Johnny Hunt on May 12th?

16                    MR. KLEIN:       Objection.           Asked and

17   answered.

18                    THE WITNESS:       No.      I did not represent our

19   conversation with Pastor Johnny Hunt.

20   BY MR. MACGILL:

21           Q        You did not misrepresent?

22           A        No, sir.




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                      888-391-3376
                                                            Page 178 of 386 PageID #:
                                       4232
                                                                     Page 178

1           Q        Now, you realize that there are

2    independent factors that indicate, at least by a

3    common logic, that your statements about your

4    report of the interview with Johnny Hunt make no

5    sense as an independent validation.                     Right?

6                    MR. KLEIN:       Objection.

7                    MR. MACGILL:       Let me ask a better

8    question.

9    BY MR. MACGILL:

10          Q        Evidence independent of what you said

11   Johnny Hunt said shows that there was no sexual

12   abuse or sexual assault in this case, right?

13          A        No.   I don't believe that.

14   BY MR. MACGILL:

15          Q        A day or two later           REDACTED          asked

16   Pastor Johnny Hunt to go on a jog with him, didn't

17   she?

18                   MR. KLEIN:       A day or two later after when?

19   After the conversation?

20   BY MR. MACGILL:

21          Q        After the incident -- after the incident

22   that you reported in the Guidepost report.                        Just a




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 179 of 386 PageID #:
                                      4233
                                                                      Page 179

1    few days later          REDACTED          asked Johnny Hunt to

2    go on a jog with him, didn't she?

3            A       That is what she shared with us.

4            Q       When did she share that with you?

5            A       The first time that we met with her.

6            Q       And as a reasonable person you thought

7    that would be counterintuitive to a claim of

8    sexual abuse, right?

9            A       Actually, no, I would not, because

10   survivors often have future contact with their

11   abusers.        They are often traumatized and continue

12   relationships for a long period of time with their

13   abusers.        And so that did not -- that did not

14   surprise me at all.              It's a factor.           It's

15   something to be considered but that did not

16   concern me.

17           Q       So let's talk about other indicia of

18   unreliability if the jury so considers them to be

19   indicia of unreliability of your report.                         So in

20   this case did you come to learn after the incident

21   whether Johnny Hunt described this event to his

22   wife?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 180 of 386 PageID #:
                                      4234
                                                                     Page 180

1            A       Can you give me more reference?

2            Q       Did Johnny Hunt describe to his wife

3    happened that evening with                REDACTED         ?

4                    MR. KLEIN:       At any point in time.

5                    MR. MACGILL:       Yeah.

6                    MR. KLEIN:       If you know.

7                    THE WITNESS:       I don't know.

8                    MR. BUNDREN:       Are you waiving privilege on

9    that conversation?

10   BY MR. MACGILL:

11           Q       When did you learn there was a

12   communication involving               REDACTED          and Johnny

13   Hunt after the event?             When first did they

14   communicate again.

15                   MR. KLEIN:       Objection as to form.             If you

16   know.

17                   THE WITNESS:       I'm not sure.           Like -- reask

18   your question.        I'm not sure the time frame what

19   you're asking.

20   BY MR. MACGILL:

21           Q       Was they a time after the incident where

22   there was a meeting involving Pastor Johnny Hunt,




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 181 of 386 PageID #:
                                      4235
                                                                     Page 181

1       REDACTED       , and her husband?

2            A       Yes.

3            Q       When?

4            A       We talked about meetings between REDACTED

5    and      REDACTED       and Mr. Hunt along with Roy

6    Blankenship.

7            Q       When?

8            A       When did we -- when did those happen?

9            Q       When did that meeting happen?                  Yeah.

10           A       We were told that those happened in

11   August after the July time in Panama City.

12           Q       How long after?

13           A       I'm not sure how long after.                  Not -- not

14   very long after.

15           Q       Did you report that in the Guidepost

16   report?

17           A       I'd have to read the report.                  I know

18   that we reported that there were two meetings.

19           Q       Two meetings with whom?

20           A       Two meetings that the REDACTED had with

21   Pastor Hunt and Roy Blankenship.

22           Q       And it's your view that those meetings




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 182 of 386 PageID #:
                                      4236
                                                                      Page 182

1    were consistent with sexual abuse?

2           A         Those meetings are not consistent or

3    inconsistent with sexual abuse.

4           Q         Now, what is your training on sexual

5    abuse in terms of determining whether sexual abuse

6    has occurred or not?

7           A         So I have worked with survivors for most

8    of my career, both in the prosecutor's office and

9    in private practice.              I've had many trainings on

10   trauma.         I'm actually a licensed marriage and

11   family therapist and so I've had training on

12   trauma and abuse.          And so that includes just

13   information about the way that survivors and

14   abusers report abuse, the way they share it when

15   they disclose it, and how to listen to that.

16          Q         Now, with respect to the incident

17   involving         REDACTED         and Pastor Johnny Hunt, how

18   did you characterize that?                Was it a sexual abuse

19   event?     What is the terminology that was used in

20   the report?

21                    MR. KLEIN:       Objection to her terminology.

22   You can answer in your individual capacity if you




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 183 of 386 PageID #:
                                       4237
                                                                     Page 183

1    know.

2    BY MR. MACGILL:

3            Q       In the report.

4                    MR. KLEIN:       Objection.          The document

5    speaks for itself, but you can answer.

6                    THE WITNESS:       I would have to refer back

7    to the document.

8    BY MR. MACGILL:

9            Q       You don't recall, as you sit here,

10   whether Guidepost characterized this event as

11   involving sexual abuse or something else?

12           A       I don't want to guess on the word that

13   was used.

14           Q       So there's a heading in this on page 149

15   that says Allegations of Abuse Committed by the

16   Executive Committee Members.                Do you recall that

17   heading?

18           A       Yes.

19           Q       Now, in the report the reference by

20   Guidepost is that you found the sexual --

21   Guidepost found the sexual -- strike that.

22                   There's reference in the Guidepost report




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 184 of 386 PageID #:
                                      4238
                                                                     Page 184

1    to this incident involving Pastor Johnny Hunt and

2       REDACTED        as a sexual assault.               Do you understand

3    that's the language that was used in the Guidepost

4    report?

5                    MR. KLEIN:       Objection.          Asked and

6    answered.        You can answer.

7                    THE WITNESS:       Yes.

8    BY MR. MACGILL:

9            Q       Now, did you agree to that language

10   sexual assault?

11           A       Agree to the language of sexual assault?

12           Q       Right.   The word -- these are words that

13   were used in the report.              Are these words that you

14   agreed should be used.

15           A       I do agree they should be used.

16           Q       Did you at that time?

17           A       Yes.

18           Q       Now, what did sexual -- at the time you

19   made that agreement for your part, what did you

20   understand sexual assault to mean?

21           A       Sexual assault was what was described to

22   me by       REDACTED      when I met with her personally




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 185 of 386 PageID #:
                                      4239
                                                                     Page 185

1    on March 31.

2            Q       What does it mean?          Is it defined in the

3    law somewhere?

4            A       So she -- she described a sexual battery

5    of Mr. Hunt touching her in sexual ways, pulling

6    her pants down, touching her breast, turning her

7    over and kissing her and pulling her shirt off of

8    her shoulder and that she did not consent to that.

9    So that is why I would describe that as sexual

10   assault.

11           Q       Now, is that defined in the law

12   somewhere or is this just a definition that you

13   use for your own purposes in reports like this?

14                   MR. KLEIN:       Objection.          Calls for a legal

15   conclusion.        You can answer.

16                   THE WITNESS:       We did not base the

17   definition on a particular jurisdiction's law, but

18   that a sexual assault is a pretty general definition

19   and those things that she described to us would fit

20   that.

21   BY MR. MACGILL:

22           Q       So you used no legal standard yourself




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 186 of 386 PageID #:
                                      4240
                                                                     Page 186

1    in approving the language sexual assault.                        There

2    was no legal reference to that for your part.

3           A        We did not reference anything legal in

4    the report, no.

5           Q        And you didn't -- I mean I'm just saying

6    you agreed to the terms of this report -- when you

7    agreed to the use of the phrase sexual assault,

8    you didn't make any reference to any particular

9    law?

10          A        No, we did not.

11          Q        You just used your common understanding

12   of the term?

13                   MR. KLEIN:       Objection as to that question

14   as to form.        You can answer.

15                   THE WITNESS:       Yes.     The common

16   understanding, the things that                     REDACTED

17   described to us, would fit a general definition of

18   sexual assault.

19   BY MR. MACGILL:

20          Q        Fit a general definition of a sexual

21   assault.        That's your testimony?

22          A        Yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 187 of 386 PageID #:
                                      4241
                                                                     Page 187

1           Q        What definition would it meet?

2           A        Well, I think if you were to talk to any

3    prosecutor across the country that what she

4    described to us would meet the definition of

5    sexual assault.         Now, it might be in different

6    degrees, but that would be a definition of sexual

7    assault.

8           Q        Where would it be defined?               Where would

9    it be written?        Where would this jury find a

10   definition of the term "sexual assault"?

11                   MR. KLEIN:       Objection as to form.             You can

12   answer.

13                   THE WITNESS:       I mean, there's all kinds of

14   places you can look for a definition of sexual

15   assault.

16   BY MR. MACGILL:

17          Q        Where did you -- what definition did you

18   rely on, ma'am, in determining that it was

19   appropriate, as you saw it, to include the word

20   sexual assault?

21          A        I relied on my understanding of sexual

22   assault and what it --




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 188 of 386 PageID #:
                                      4242
                                                                     Page 188

1           Q        Your understanding of sexual assault.

2           A        Yes.

3           Q        Where did you get the understanding?

4    Does your understanding have any reference in any

5    legal standard?

6                    MR. KLEIN:       Objection.          Compound question.

7    You can answer.

8                    THE WITNESS:       We did not reference any

9    legal standard.

10   BY MR. MACGILL:

11          Q        You did not?

12          A        I did not.

13          Q        And Guidepost did not to your knowledge?

14          A        I don't know what Guidepost did.

15          Q        Now, you had -- there's a chief

16   operating officer of this business, Mr. Collura

17   right?

18          A        Yes.

19          Q        Did he sign off on this report?

20          A        I don't know how to answer that.

21          Q        Sexual assault requires -- for there to

22   be a sexual assault there has to be a situation




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 189 of 386 PageID #:
                                      4243
                                                                     Page 189

1    where there was not consent, right?

2           A        That's correct.

3           Q        Okay.   Now, I'd like you to tell us what

4    evidence you had that perhaps there was consent by

5       REDACTED        to the encounter that evening?

6                    MR. KLEIN:       Objection as to form.             You can

7    answer.

8                    THE WITNESS:          Can you ask your question

9    again?

10   BY MR. MACGILL:

11          Q        Tell us what evidence you have that

12   there was -- that indicated there may have been

13   consent by        REDACTED        ?

14                   MR. KLEIN:       Objection as to form.             You can

15   answer.

16   BY MR. MACGILL:

17          Q        To the events that occurred on that

18   evening?

19          A        And you are talking about July 25th, the

20   evening in question is what you're talking about?

21          Q        Yeah.   2010.

22          A        Yes, yes.    So I think the -- looking at




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 190 of 386 PageID #:
                                      4244
                                                                        Page 190

1    the totality of the things she talked to us about

2    REDACTED       provided us details that, you know, are

3    details that some could argue may be represented

4    or showed or could be used as evidence of consent.

5               Q       What would those be?

6               A       Potentially her inviting him over onto

7    her balcony.

8               Q       Anything else, ma'am?

9               A       Potentially -- and these are things that

10   someone else could use.

11              Q       Understood.

12              A       Continuing the conversation with him,

13   having him come into the condo -- right now, those

14   are the ones I can think of.

15              Q       What about put being her necklace on his

16   side of the couch as compared to her own side of

17   the couch?           Would that be consent in your mind?

18                      MR. KLEIN:       Objection as to form.             You can

19   answer.

20                      THE WITNESS:       No.     I don't think so.

21   BY MR. MACGILL:

22              Q       Tell the jury what you understand about




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Case 3:23-cv-00243      Document 219-7    Filed 07/03/24                     888-391-3376
                                                             Page 191 of 386 PageID #:
                                         4245
                                                                     Page 191

1    when she removed her necklace and where she placed

2    the necklace?

3                    MR. KLEIN:       Objection as to form.             You may

4    answer.

5                    THE WITNESS:       I recall her talking about

6    taking off her necklace because it was bothering

7    her.

8    BY MR. MACGILL:

9           Q        Right.

10          A        And she laid it on a table.

11          Q        Which table, ma'am?           Isn't that an

12   important fact for you as an investigator to

13   understand specifically which table she placed her

14   necklace on?

15          A        I don't recall right this minute which

16   table she put it on.             I'm happy to take a look at

17   every notes and refresh my memory.

18          Q        Well, wait a minute.            You don't know

19   those facts as to where they were sitting on the

20   couch?     Were they sitting close to one other on

21   the couch?

22                   MR. KLEIN:       Objection.          Compound




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 192 of 386 PageID #:
                                      4246
                                                                     Page 192

1    questions.

2    BY MR. MACGILL:

3            Q       That's fair.        Break it down.            Are you

4    even able to tell this jury where they were seated

5    on the couch, ma'am, on the night of this

6    incident?

7            A       Well, I think that they started off at

8    separate places.          She told us they started out in

9    at separate locations on the couch.

10   BY MR. MACGILL:

11           Q       Who was where?

12           A       Well, she was on one side and he was on

13   the other.

14           Q       What side -- looking at the couch,

15   ma'am, which side was she on?

16           A       I can't tell you that today what side of

17   the couch that she was on.

18           Q       Let's see what else you know or don't

19   know about really what happened.                     Okay?     Was there

20   an end table on each side of the couch?

21           A       I do not have an independent

22   recollection of that as I sit here today.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 193 of 386 PageID #:
                                      4247
                                                                     Page 193

1           Q        Well, ma'am, you did an investigation.

2    You referenced sexual abuse in a report that went

3    to millions of people, and you can't tell this

4    jury whether there were end tables on each side of

5    the couch one way or another?

6                    MR. KLEIN:       Objection.          Argumentative.

7    You can answer.

8    BY MR. MACGILL:

9           Q        Now, let's talk about what else you

10   don't know.

11                   MR. KLEIN:       Objection.          Is that a question

12   or is that a lead in to a proper question.

13   BY MR. MACGILL:

14          Q        It's a lead in to a proper question.

15   It's also true that you don't know which end table

16   she placed her necklace on, do you?

17                   MR. KLEIN:       You can answer.           Objection as

18   to form, but you can answer if you remember today.

19                   THE WITNESS:       I don't remember.

20   BY MR. MACGILL:

21          Q        Ma'am, the evidence in this case is that

22   she -- as you look at the couch is that she was




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 194 of 386 PageID #:
                                      4248
                                                                     Page 194

1    seated on left side of the couch.                      All right?       I

2    want you to assume that's true.                      And I want you to

3    assume that's been documented in this case by the

4    documentary evidence.              Okay?      Would you make that

5    assumption?

6                    MR. KLEIN:       Objection.           Calls for

7    speculation and assumptions.                  You can ask this

8    witness of her observations and memories and ask a

9    proper question with regard to that.

10   BY MR. MACGILL:

11           Q       Okay.   Let's just then deal with what

12   you don't know.         You don't know where she was

13   seated on the couch, right?

14                   MR. KLEIN:       Objection.

15   BY MR. MACGILL:

16           Q       You don't know that.

17                   MR. KLEIN:       Objection.           Mischaracterizes

18   her testimony.

19                   MR. MACGILL:        I'm not with your

20   objections.        You need to be quiet now.

21                   MR. KLEIN:       I just want you to

22   characterize --




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 195 of 386 PageID #:
                                      4249
                                                                     Page 195

1    BY MR. MACGILL:

2           Q        You don't know --

3                    MR. KLEIN:       -- testimony properly, Rob, if

4    you are going to refer to her question.                       That's all.

5                    MR. MACGILL:       Enough.

6    BY MR. MACGILL:

7           Q        You don't know where she was seated on

8    the couch, do you, ma'am.

9           A        I know that she was seated on one side,

10   and he was seated on the other.

11          Q        You don't know whether she leaned over

12   him to place her necklace on the end table next to

13   him, do you?

14          A        I don't recall that.

15          Q        Now, wouldn't that be another fact that

16   would be perhaps a detail or evidence potentially

17   of consent?

18          A        I don't believe that it would.

19          Q        Well, ma'am, if you were seated next to

20   a man on a couch and you leaned over that

21   gentleman and placed a necklace that you had just

22   taken off and leaned over him and put your




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 196 of 386 PageID #:
                                      4250
                                                                     Page 196

1    necklace on the end table next to him when you

2    were seated on the opposite side of the couch,

3    wouldn't that be indicative of some kind of

4    conduct that might mean consent?

5                    MR. KLEIN:       Objection.          Asked and

6    answered.

7                    THE WITNESS:       I disagree.

8    BY MR. MACGILL:

9           Q        You disagree.       But you don't know what

10   happened with respect to the necklace in any

11   material respect, do you?

12                   MR. KLEIN:       Objection.          Mischaracterizes.

13   You can answer.

14                   THE WITNESS:       I don't recall all the

15   details sitting here today about the necklace.                          I

16   know she took it off, and she placed it on a table.

17   BY MR. MACGILL:

18          Q        You will admit -- you've already

19   admitted that she invited Johnny into her

20   condominium, right?

21          A        She told us that she asked him over onto

22   her balcony.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 197 of 386 PageID #:
                                      4251
                                                                     Page 197

1            Q       Into her balcony or into her condo?

2            A       Well, he -- she told us that he had to

3    actually come through the front door to get to the

4    balcony because it was not a cross-through

5    balcony.

6            Q       She consented to him coming into her

7    condominium?

8            A       She unlocked the door for him and let

9    him come into her condominium.

10           Q       She consented to him sliding closer on

11   the couch, right?

12           A       Yes.   I believe she told us that she

13   told him he could -- he could sit closer to her.

14           Q       And you've already confirmed and

15   admitted here that she consented to continuing

16   conversation with him in her condominium, right?

17           A       Yes.

18           Q       You admit also that she told him, with

19   respect to her allegation that he has sex three

20   times a day, that she said I'll try to keep up.

21           Q       You understand that occurred, right?

22           A       She told us about that, yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 198 of 386 PageID #:
                                      4252
                                                                     Page 198

1           Q        And the very next day -- the very next

2    day after what you are claiming to be a sexual --

3    let me use your words -- what you are claiming to

4    be a "sexual assault," the very next day she asked

5    to go on a run with him, right?

6                    MR. KLEIN:       Objection.          Those are not her

7    words; those are Guidepost's words.                     But she can

8    answer the question.

9    BY MR. MACGILL:

10          Q        Fair enough.       Let's restate to comply

11   with counsel's objection.              So Guidepost put in the

12   final report the words sexual assault, right?

13          A        Yes.

14          Q        And you agreed to the use of the words

15   sexual assault in the report, final report, right?

16                   MR. KLEIN:       Objection.          Asked and

17   answered.        You can answer one more time.

18                   THE WITNESS:       I didn't agree to the -- to

19   anything about the final report, but I agree that

20   what       REDACTED      described to us was sexual

21   assault.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 199 of 386 PageID #:
                                      4253
                                                                      Page 199

1    BY MR. MACGILL:

2           Q        Do you agree that the word sexual

3    assault never should have been used in the

4    Guidepost report based on the investigation that

5    you did?

6           A        No.

7           Q        So you agree -- you're okay with the

8    word sexual assault in the final Guidepost report.

9                    MR. KLEIN:       Objection.           I direct you not

10   to answer that question.              We've gone over it five

11   times, Rob.           I've asked you politely to move on now.

12   BY MR. MACGILL:

13          Q        So ma'am, so you have no reason to

14   disagree with the term sexual assault based on

15   your testimony today, right?

16                   MR. KLEIN:       Objection.           I'm directing you

17   not to answer the question.

18                   Rob, I'd ask you professionally to move

19   on.    I think you've established that she's given

20   you answers to those questions.

21   BY MR. MACGILL:

22          Q        The next day after the alleged sexual




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 200 of 386 PageID #:
                                      4254
                                                                     Page 200

1    assault, she in fact asked Pastor Johnny Hunt to

2    go on a run with him, agreed?

3            A       She told us that.           I believe he somehow

4    communicated to her that he was going on a run and

5    she asked to go with him.

6            Q       And you could agree that that could be

7    evidence that might -- to repeat -- might be

8    evidence of consent.

9            A       That might be evidence that someone

10   would use to argue that it's consent.

11           Q       And did you read in her report that she

12   French kissed him back at some point during this

13   alleged sexual assault?

14           A       Yes.

15           Q       And would someone who French kissed the

16   alleged assailant back, would that be potential

17   evidence that might indicate consent?

18           A       I think it would be potential evidence

19   that might indicate consent, but it could also be

20   evidence that there was not consent and that the

21   person who was being assaulted was trying to get

22   it over with quickly and hopefully things would




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 201 of 386 PageID #:
                                      4255
                                                                     Page 201

1    end sooner rather than later.

2                    (KILPATRICK Exhibit Number 27 was marked

3                    for identification.)

4    BY MR. MACGILL:

5            Q       I'm going to hand you Exhibit 27.

6    Ma'am, before we go to that, I want to review with

7    you the details of potential arguments in favor of

8    consent that you confirmed earlier.                       Fair enough?

9    You listed a variety of evidence that could be

10   potentially evidence of consent by                       REDACTED       .

11                   Do you remember that testimony?

12           A       Yes.

13           Q       And the jury has heard the testimony,

14   and you listed, by my count, five different

15   details of evidence or five different types of

16   evidence that perhaps could be evidence of

17   consent.        But my question is, do you agree that an

18   objective reader would want to know about this

19   evidence of potential consent in understanding

20   what happened between               REDACTED           on the one hand

21   and Pastor Johnny Hunt in this incident?

22           A       I'm not sure -- I'm not sure what a




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 202 of 386 PageID #:
                                      4256
                                                                       Page 202

1    reader -- I can't say what a reader is going to

2    expect.         What I can say is the things that we have

3    talked about that are potential arguments for

4    consent are things that we considered during our

5    investigation, and there were other things that we

6    also considered to determine that we felt like

7    that       REDACTED      's testimony to us was credible

8    and that she was describing a nonconsensual

9    assault.

10          Q         Well, ma'am, your -- the Guidepost role

11   was not to be judge and jury, was it?                       The

12   engagement letter didn't tell you that you were to

13   be judge and jury as to who was right and who was

14   wrong in any sex abuse incident, right?

15                    MR. KLEIN:       Objection.          Compound question.

16   BY MR. MACGILL:

17          Q         That's fair.

18                    There's nowhere -- there's not one word in

19   this engagement where you, the company -- you or the

20   company were instructed to be judge and jury as to

21   what happened in relation to any "sexual abuse"

22   allegation, right?




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 203 of 386 PageID #:
                                       4257
                                                                     Page 203

1                    MR. KLEIN:       Objection as to form.             You can

2    answer.

3                    THE WITNESS:       We were not judge and jury.

4    BY MR. MACGILL:

5           Q        Well, ma'am, you were, because -- we can

6    read the words back to you, but you said you found

7    Dr. Hunt not to be credible, right?

8                    MR. KLEIN:       Objection.          Argumentative.

9    BY MR. MACGILL:

10          Q        That's what Guidepost said, right?                   You

11   found Dr. Hunt not to be credible.

12          A        That's correct.

13          Q        Where in your engagement letter -- I'm

14   going to hand it to you -- where is it said that

15   you are to judge the credibility of witnesses.

16   Let's look together at the letter.                     It's Exhibit

17   2.    I'm going to hand you back Exhibit 2, and

18   could you point out to us where it is that you are

19   to judge the credibility of people involved in

20   sexual abuse allegations?

21                   MR. KLEIN:       If you need to read the entire

22   document you can.         Read whatever part you are




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 204 of 386 PageID #:
                                      4258
                                                                     Page 204

1    comfortable with to answer the question.

2    BY MR. MACGILL:

3           Q        And let me tell you, I'm going to focus

4    you on section 3.1 where you were indicated, as

5    directed by the SBC motion, Guidepost will

6    investigate allegations of abuse by the Executive

7    Committee members.

8                    Do you see that?

9           A        Yes.

10          Q        And when you were involved with Pastor

11   Johnny Hunt, that was a portion of the

12   investigation that caused the analysis that you

13   did pertaining to Pastor Johnny Hunt, right?

14          A        That's correct.

15          Q        And so the charge you had as a company

16   was to investigate allegations of abuse.                       You

17   weren't asked, were you, to be judge and jury

18   about those allegations, were you?

19          A        I was not asked to be judge and jury of

20   anything.

21          Q        Guidepost wasn't either, were they?

22                   MR. KLEIN:       Objection as to form.               You can




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 205 of 386 PageID #:
                                      4259
                                                                     Page 205

1    answer.

2                    THE WITNESS:       Guidepost was asked to

3    investigate allegations of abuse by Executive

4    Committee members.

5    BY MR. MACGILL:

6           Q        So I read here on page 161, the

7    investigators did not find Dr. Hunt to be credible

8    in their interviews with him, right?                     Part of the

9    report?

10          A        That's correct.

11          Q        Where is it written anywhere that that

12   was part of your job in this case to determine

13   whether Dr. Hunt was credible in interviews.

14   Where is that written, ma'am?

15          A        It's not written explicitly in this

16   letter of engagement.

17          Q        So it's just gratuitous on your part to

18   make mention of his credibility you felt you, as

19   an investigator, had a license to make such a

20   statement in a report that would go ultimately to

21   millions of people?

22                   MR. KLEIN:       Objection.          Argumentative and




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 206 of 386 PageID #:
                                      4260
                                                                     Page 206

1    compound, but you can answer.

2                    THE WITNESS:       Please restate your

3    question.

4    BY MR. MACGILL:

5           Q        So you -- you felt you had the right

6    yourself, as an investigator, to be a sponsor of

7    the sentence that investigators did not find

8    Dr. Hunt to be credible in their interviews with

9    him?

10          A        As an investigator, we were

11   investigating the facts, and we had to interview

12   witnesses.        And we were making determinations of

13   credibility of those witnesses that we spoke with.

14          Q        What authority did you have from

15   anywhere, ma'am, to make assessments of

16   credibility of witnesses.              I have the engagement

17   letter right here.           There's no reference to your

18   job being to assess credibility, is there?

19                   MR. KLEIN:       Objection.          Compound

20   questions.        You can answer if you can.

21                   THE WITNESS:       Please repeat your question.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 207 of 386 PageID #:
                                      4261
                                                                     Page 207

1    BY MR. MACGILL:

2           Q        There is no authorization anywhere in

3    this engagement letter, Exhibit 2, for you as an

4    investigator to judge the credibility of witnesses

5    is there?

6                    MR. KLEIN:       Objection.          Asked and answered

7    but you can answer.

8                    THE WITNESS:       This letter of engagement

9    engages Guidepost to do an investigation of

10   allegations of being abused by an Executive

11   Committee member.         Part of an investigation is

12   interviewing witnesses and evaluating credibility,

13   and that's exactly what we did.

14   BY MR. MACGILL:

15          Q        Want when did Pastor Johnny Hunt cease

16   to be a representative of the Executive Committee?

17          A        I don't know the answer to that.

18          Q        Well, wait a minute, ma'am, you said

19   that you've done it -- you made a report about

20   Pastor Johnny Hunt and your investigatory period

21   for Executive Committee period of members was

22   what, ma'am?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 208 of 386 PageID #:
                                      4262
                                                                     Page 208

1            A       I'm sorry.       What did you say?

2            Q       What is the period of time of the

3    investigation that you were to conduct?                        What

4    years?

5            A       From 2000 to June of 2021.

6            Q       It's written right here in Exhibit 2,

7    isn't it?

8            A       Yes.

9            Q       And what you were charged with was to

10   investigate allegations of -- abuse allegations by

11   Executive Committee member between January 1,

12   2000, and January 14, 2021; is that correct?

13           A       Yes.

14           Q       Was Pastor Johnny Hunt a member of the

15   Executive Committee during that period of time?

16           A       Johnny Hunt, I believe, was the

17   president of the SBC.              And in 2010 he became the

18   immediately past president I believe in June of

19   2010 of that year.

20           Q       When was the alleged assault.

21           A       July of 2010.

22           Q       Was the Pastor Johnny Hunt a member of




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 209 of 386 PageID #:
                                      4263
                                                                     Page 209

1    the Executive Committee during the alleged

2    assault?

3            A       I think that he was the immediate past

4    president.        He was not acting SBC president at the

5    time.

6            Q       So he what -- to repeat -- let me make

7    sure we're crystal clear.              Pastor Johnny Hunt was

8    not a member of the Executive Committee on

9    July 28, 2010, agreed?

10           A       I do not think that he was.

11           Q       You do not think that he was.                 Well,

12   wait a minute, ma'am.             You written a report that

13   has a specific time frame in it.                     And are you

14   telling this jury and this judge that you don't --

15   that are admitting that he was not a member of the

16   Executive Committee at the time of the alleged

17   assault?

18                   MR. KLEIN:       Objection.          Asked and

19   answered.        Now just asked in a different way.                   Same

20   question.        You can answer if you can.

21                   THE WITNESS:       He was not a member of the

22   Executive Committee in July of 2010.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 210 of 386 PageID #:
                                      4264
                                                                     Page 210

1    BY MR. MACGILL:

2           Q        All right.       And you knew that at the

3    time that you did your investigation?

4           A        Yes.

5           Q        So let's talk about what you did and

6    whether it was authorized by the metes and bounds,

7    so to speak, of the engagement letter.                      Let's look

8    at the engagement letter together.                     Look at the

9    bullet point number two.

10                   Bullet point number two says:                 Mishandling

11   of abuse allegations by Executive Committee members

12   between January 1, 2020, and June 14th 2021.                         Do you

13   see that?

14          A        Yes.

15          Q        Who was it -- with respect to the

16   mishandling component of this, who at the SBC

17   mishandled incident associated with Johnny Hunt?

18                   MR. KLEIN:       Objection as to form.              No

19   foundation.        But you can answer.

20                   THE WITNESS:       I don't believe that that

21   was a situation because it was unknown.                       His

22   situation was unknown to the Executive Committee.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 211 of 386 PageID #:
                                      4265
                                                                     Page 211

1    BY MR. MACGILL:

2            Q       So at the time you authored -- strike

3    that.

4                    At the time that you did your

5    investigation, you understood at all times that as

6    far as the alleged assault committed, that Pastor

7    Johnny Hunt was not in the Executive Committee at

8    the time of the alleged sexual assault?

9                    MR. KLEIN:       Objection.          Asked and

10   answered.        You can answer.

11                   THE WITNESS:       Johnny -- Mr. Hunt was not a

12   member of the Executive Committee in July of 2010.

13   However, there was an ongoing relationship over the

14   years between the REDACTED and Mr. Hunt where REDACTED

15   REDACTED    shared with us several time frames when she

16   was made to feel uncomfortable by the attention that

17   Mr. Hunt showed her.             So he was in the capacity of

18   Southern Baptist Convention president when some of

19   these things took place.

20   BY MR. MACGILL:

21           Q       Back to Exhibit 27.           Is this REDACTED

22                REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 212 of 386 PageID #:
                                      4266
                                                                     Page 212

1           A        It's                   REDACTED

2               REDACTED

3                    MR. KLEIN:       Rob, I would just say, before

4    you get into any specifics of the document, it is

5    designated as attorney eyes only.                    We don't have to

6    have our back and forth about our positions on that.

7    That's already on the record, but I would ask if you

8    are going to read from it -- and also

9    Ms. Kilpatrick, if you are going to read from it --

10   that we do that outside the presence of Mr. Hunt.

11   BY MR. MACGILL:

12          Q        Did you understand, ma'am, that --

13   specifically that the REDACTED wanted the Southern

14   -- wanted the SBC to compensate them?

15                   MR. KLEIN:       Again, without referring to

16   the document, you can certainly answer that question

17   if you can.

18                   THE WITNESS:       Please ask your question

19   again.

20   BY MR. MACGILL:

21          Q        Did you understand that the REDACTED in

22          REDACTED           -- strike that.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 213 of 386 PageID #:
                                      4267
                                                                      Page 213

1                     Did you understand that as of REDACTED

2                                REDACTED

3                    REDACTED

4           A                            REDACTED

5    REDACTED   So no.

6           Q         Did the                    REDACTED

7                                  REDACTED

8                     MR. KLEIN:       Again, Ms. Kilpatrick, I ask

9    you if you can -- very simple.                   If you can answer it

10   without reading from the document, based on your own

11   memory, then you are free to answer.                      If you are

12   unable to from your own memory answer that question,

13   then just advise Mr. MacGill, and he'll either ask a

14   different question or we'll separate Mr. Hunt out.

15   So just however you can answer in that capacity you

16   can do so.

17                    THE WITNESS:       I do recall the

18                      REDACTED                           shared, and I took

19   the recommendations to mean, as we ask every

20   survivor that we talk to in this investigation, we

21   ask for general recommendations for the SBC for us

22   to consider in our report.                I took the




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 214 of 386 PageID #:
                                       4268
                                                                      Page 214

1                    REDACTED                conveyed to us as those

2    being general recommendations to survivors of abuse

3    in general.

4    BY MR. MACGILL:

5               Q     Did                   REDACTED

6                                  REDACTED

7                                  REDACTED

8    REDACTED



9               A     I don't recall whether               REDACTED

10                                REDACTED

11       REDACTED

12                    (KILPATRICK Exhibit Number 28 was marked

13                    for identification.)

14   BY MR. MACGILL:

15              Q     I'm going to hand you Exhibit 28.                  Did

16   you see this document -- strike that.

17                    Is exhibit 28                      REDACTED

18   REDACTED

19              A     Yes, it is.

20              Q     And was this                REDACTED

21                                 REDACTED

22   REDACTED




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 215 of 386 PageID #:
                                       4269
                                                                      Page 215

1            A       Yes.                     REDACTED

2                            REDACTED

3            Q       And this was                  REDACTED

4                REDACTED

5            A       That's correct.

6            Q       And this is REDACTED prior to the

7    publication of the Guidepost report?

8            A       Roughly.     I mean,             REDACTED             yes.

9            Q       So when you received this on                 REDACTED

10   you understand that there was financial motivation

11   in Mr. REDACTED in terms of collecting

12   information -- I'm sorry --                           REDACTED

13   Pastor Johnny Hunt?

14                   MR. KLEIN:       Before you answer that,

15   Ms. Kilpatrick -- Rob, again, this is an attorney's

16   eyes only document.           I just want to make sure

17   neither you nor Ms. Kilpatrick are reading or

18   quoting from it.           You, of course, can ask general

19   questions about refreshing her memory about it.                           I

20   would ask that if you want to have her get more

21   specific that you do so with Mr. Hunt in a breakout

22   room.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 216 of 386 PageID #:
                                      4270
                                                                     Page 216

1                    MR. MACGILL:       Yeah.      Well, we're going to

2    come back.        Let's get the court ruling, then we'll

3    redepose the witness on these topics.                      But let me do

4    what I can --

5                    MR. KLEIN:       That is not going to happen,

6    Rob.

7                    MR. MACGILL:       It's going to happen.

8                    MR. KLEIN:       You had your -- let me just

9    say one thing on the record then, Rob.                      You had your

10   opportunity, Rob.         There's a mechanism in the

11   protective order that explains how to challenge

12   designations.        You have exercised that right.                   You

13   had that opportunity then to wait to depose these

14   witnesses until that motion was decided of your own

15   choosing, which is certainly your prerogative.                          You

16   chose to go forward with them now.                     And if you now

17   have to live with that decision.                     All I'm saying is

18   we have an ability, as we did yesterday and earlier

19   today, to question this witness sufficiently and

20   adequately with this information with your client

21   not present.        And if in fact your motion is granted,

22   your client will not be prejudiced at all because he




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 217 of 386 PageID #:
                                      4271
                                                                      Page 217

1    will then be able to read the exact transcript and

2    be shown those documents.               So he will not be

3    prejudiced if in fact the ruling is in your favor.

4    You have this witness now.                You can ask her

5    questions about this document now.                      All we are

6    asking and we agreed yesterday and earlier today is

7    that you, for the moment, move Mr. Hunt to a Zoom

8    private room so you can ask this witness anything

9    you want and nothing will be prejudiced if you are

10   successful in the motion.

11                    MR. MACGILL:       Disagree.         Now, what you all

12   have done -- and we'll make a record of this -- you

13   have been unfair with us in your production of

14   documents.         You produced 10,000 pages a week ago.

15   You should have produced those documents last year.

16   You refused to produce documents for months upon

17   months.         We've been prejudiced by that.                 You

18   designated AEO materials without any basis in the

19   law, and the court will so rule we hope.                        Right?

20                    You are making claims of attorney's eyes

21   only on documents that have nothing to do with the

22   designation itself.           It's prejudiced our ability




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 218 of 386 PageID #:
                                       4272
                                                                     Page 218

1    to talk to our client during the deposition

2    proceedings, and we're not going to have it

3    anymore.

4                    We're going to ask the court to

5    resume -- once we get the ruling -- to bring both

6    witnesses back.         And if we have to bring the CEO,

7    Julie Wood, back, we're going to do that too.                         But

8    we're not putting up with this anymore.                       We have

9    the right to consult with our client live during

10   the deposition itself about these documents.

11   You've prevented that.             We're not going to allow

12   it.    The judge will tell us what's allowed.

13                   With respect to documents that have been

14   destroyed, you've never answered our question of

15   who destroyed what when.              You've refused to answer

16   the question.        We've asked you repeatedly, and now

17   we've asked for a court order to have you confirm

18   who destroyed what when.              All right?

19                   So we can all make our arguments.                  I'm

20   just putting you on notice that we intend to come

21   back, okay?        And that's -- we're going to bring the

22   witness yesterday back, and we're going to bring




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 219 of 386 PageID #:
                                      4273
                                                                     Page 219

1    this witness back if the court rules in our favor.

2    If we lose that's it.

3                    MR. KLEIN:       Okay.     Well, I will just

4    disagree with that.          And we will, of course, oppose

5    such application.         I'm just putting a record now

6    that you are not being prejudiced by asking this

7    witness any questions you want about these documents

8    just outside the presence of Mr. Hunt for now.                          And

9    I think our record is made, Rob.

10                   MR. MACGILL:       It's clear.          You provided

11   our ability to consult with our client on important

12   documents in the case and on this one as well, and

13   we deal with -- the court will make a ruling.

14   BY MR. MACGILL:

15          Q        Now, ma'am, this is -- you've heard the

16   exchange with counsel.             Your counsel is refusing

17   to allow Pastor Johnny Hunt to hear the content of

18   Exhibit 28.        You understand that, right?

19          A        Yes.

20          Q        And it's not your decision.                That's

21   Guidepost and its counsel making that decision,

22   right?     That's not your decision.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 220 of 386 PageID #:
                                      4274
                                                                      Page 220

1                     MR. KLEIN:       Objection as to that.             I told

2    you, Rob, that that's our decision as counsel.                           I'm

3    not going to reveal those communications.                         But yes,

4    you can take me that it's our decision to do this.

5    BY MR. MACGILL:

6           Q         When you saw on             REDACTED             Exhibit

7    28, you understood that                REDACTED          is a

8    gentleman who wanted to                       REDACTED

9            REDACTED              right?

10                    MR. KLEIN:       I'm going to ask you, though,

11   the same admonition earlier.                 If you can answer

12   that -- you can use the document to refresh your

13   memory.         If it refreshes your memory, you, of

14   course, can and must answer Mr. MacGill's question.

15   It is doesn't, just let us know that.                       And then

16   we'll go from there.

17                    THE WITNESS:       Please ask your question

18   again.

19   BY MR. MACGILL:

20          Q         You understood when you received Exhibit

21   28 on REDACTED that               REDACTED            wanted REDACTED

22                     REDACTED




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 221 of 386 PageID #:
                                       4275
                                                                      Page 221

1            A       I recall receiving these emails and

2    recall that they mentioned                    REDACTED

3    REDACTED    among other things.             I remember reading

4    about                             REDACTED

5                               REDACTED

6                    REDACTED

7                    But my understanding also of these

8    documents is that these documents were never -- like

9    they were dated prior to us speaking with the

10   REDACTED    and I have no information that they were

11   ever sent to Mr. Hunt.

12           Q       Okay.    But you knew, just as any citizen

13   walking down the street would know that on

14                       REDACTED                             and he had

15                     REDACTED                          right?

16           A       I think that's a part of                REDACTED

17   yes.

18           Q       You understood that he                 REDACTED

19                           REDACTED                                Right?

20           A       I do not recall that piece sitting here

21   right now.

22           Q       Well, don't you -- didn't you have the




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 222 of 386 PageID #:
                                       4276
                                                                     Page 222

1    understanding that there was a request that --

2    well, let me ask it this way:                      Didn't you

3    understand that his                          REDACTED

4                            REDACTED                                those

5    kinds of things?

6                    Didn't you understand that?

7            A       I do recall him talking about his

8                                 REDACTED

9            Q       He                    REDACTED                          too,

10   as you understood it on                     REDACTED             right?

11           A       Yes.     But I don't know REDACTED -- I

12   don't know              REDACTED

13           Q       Yes, you do.         You read it with your own

14   eyes.       He had told you -- you read in this

15   document, Exhibit 28, what                             REDACTED

16   You saw that, ma'am.              Right?

17                   MR. KLEIN:        Objection.           Compound

18   questions.           You can answer if you can.

19   BY MR. MACGILL:

20           Q       You saw with your own eyes his REDACTED

21   REDACTED    in Exhibit 28, right?

22           A       I saw the document, and right now




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 223 of 386 PageID #:
                                      4277
                                                                     Page 223

1    sitting here, I can't recall what it is.                       I'll

2    take a look.

3           Q        All right.       Let's take a look at page

4    554.

5                    MR. KLEIN:       Again, we cannot speak to this

6    document specifically with Mr. Hunt -- Dr. Hunt

7    present.        So Mr. McGill, I would ask if you want to

8    reference it specifically, then we have a breakout

9    room for Dr. Hunt.

10                   MR. MACGILL:       Look at page 554.

11                   MR. KLEIN:       Rob, are you going -- I just

12   want to know if you are going to ignore my request.

13                   MR. MACGILL:       No, I'm not.          That's why

14   we're coming back.           No.    I'm not going to ignore

15   your request.

16                   MR. KLEIN:       That's fine.          I disagree with

17   the coming back part but I respect your saying

18   you're not going to read from it.                    That's fine.

19   Thank you.

20                   MR. MACGILL:       We're coming back as far as

21   I'm concerned.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 224 of 386 PageID #:
                                      4278
                                                                       Page 224

1    BY MR. MACGILL:

2            Q        Now, ma'am, do not ref -- we're going to

3    follow the demands of the counsel.                        Okay?     He's

4    demanding that we not speak the words on the

5    record.         You understand that.

6            A        Yes.

7            Q        You should not in answering my questions

8    speak the words that are contained in this

9    document.         Okay?

10           A        Okay.

11           Q        Now, with that in mind, you understood

12   and you had read with your own eyes                           REDACTED

13                               REDACTED

14               REDACTED              right?

15           A        Yes.     I had read this document.                 Sitting

16   here today, I did not have an independent

17   recollection of           REDACTED         that was listed in this

18   document.

19           Q        Now, without mentioning the content of

20   the document, it was                          REDACTED

21                                  REDACTED

22   REDACTED    as you understood it.




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                      888-391-3376
                                                            Page 225 of 386 PageID #:
                                       4279
                                                                     Page 225

1                    MR. KLEIN:       Objection.          Asked and

2    answered.        She said she didn't recall.

3    BY MR. MACGILL:

4            Q       She recalls now.         She's just read it.

5    You just read to refresh your recollection as to

6    the                 REDACTED                         wrote on Bates

7    number 554, Exhibit 28.             Right?

8                    MR. KLEIN:       I don't know -- are you going

9    to ask -- I'm not sure it's refreshed her memory,

10   Rob.        You certainly can ask her if it's refreshed

11   her memory.

12                   THE WITNESS:       It is not -- I don't recall.

13   I mean I don't recall              REDACTED            of my

14   independent recollection.              I did read these emails.

15   BY MR. MACGILL:

16           Q       Great.   Let's read it together.                 Not out

17   loud.        Please read paragraph number two on the

18   bottom of page 554.           Do not read it aloud, but

19   read it to yourself.

20           A       I can read.

21           Q       Now, you've read a reference by

22                        REDACTED                              right?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 226 of 386 PageID #:
                                      4280
                                                                       Page 226

1           A        I have.

2           Q        Does this refresh your memory that on

3    April 1st, 2022, you knew that Mr. REDACTED was

4    interested in                            REDACTED

5    REDACTED from Pastor Johnny Hunt?

6           A        It refreshes my recollection as to Mr.

7                       REDACTED

8           Q        Now, as a lawyer, you were admitted to

9    the bar in 1990, right.

10          A        Yes.

11          Q        As a lawyer, you could look at the

12   information on this, 554, and see that when

13   somebody makes a reference to                         REDACTED         that

14   that has a meaning in the law, right?

15          A        Yes.

16          Q        And if you've                    REDACTED

17   REDACTED   that you could be -- if there was a legal

18   right, you could be                           REDACTED

19                          REDACTED                            right?

20                   MR. KLEIN:       Objection.           Calls for a legal

21   conclusion.        You can answer if you can.

22                   THE WITNESS:       I can't make that legal




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                       888-391-3376
                                                            Page 227 of 386 PageID #:
                                      4281
                                                                     Page 227

1    conclusion.        I see the REDACTED that are written on

2    this document, and that's what's here.                      And I can't

3    read it, but that's what here.

4    BY MR. MACGILL:

5           Q        Of course, it is.          Now, you as a lawyer

6    understand that if somebody says that I've REDACTED

7                       REDACTED                             as a matter

8    of just an approach in court, then that person

9    would come to the court and say I want REDACTED

10    REDACTED        right?

11                   MR. KLEIN:       Objection.          Calls for a legal

12   conclusion.        You can answer.

13                   THE WITNESS:       I can't give you a legal

14   conclusion.        And I can't read what's on this -- this

15   -- this paper.        I mean, I think that -- I cannot say

16   what these REDACTED are, but I do not agree with what

17   you're saying.

18   BY MR. MACGILL:

19          Q        But you know -- okay.              Well, let's just

20   make sure -- let's see if we can do two things.

21   You knew that         REDACTED         -- you knew it as of

22       REDACTED         that        REDACTED          wanted a




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 228 of 386 PageID #:
                                      4282
                                                                      Page 228

1                    REDACTED                  from Pastor Johnny

2    Hunt.

3                    MR. KLEIN:        Objection asked and answered.

4    You can answer.

5                    THE WITNESS:        He wanted REDACTED from Johnny

6    Hunt.

7    BY MR. MACGILL:

8            Q       Okay.    Now let's talk about math.                 Let's

9    do some math together.              I want you to assume --

10   don't read the document -- I want you to assume

11   that Mr. REDACTED told you on                   REDACTED            that

12   he had                  REDACTED                    and that that

13                            REDACTED                                  he'd

14   had a                REDACTED                       Right?

15                   I want to make those two assumptions.                      If

16   the conduct by Pastor Johnny Hunt were found to be

17   wrongful, the               REDACTED                   of the claim

18   would be        REDACTED     on my assumptions, wouldn't it?

19                   MR. KLEIN:        Objection.          Calls for

20   speculation.         Calls for a legal conclusion.                  You can

21   answer.

22                   THE WITNESS:        First off, Mr. REDACTED didn't




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 229 of 386 PageID #:
                                       4283
                                                                     Page 229

1    say what you just said to me.                 And so I -- he

2    didn't -- he didn't tell me over a period of time

3    and document it all out.              He just gives these

4    REDACTED and I can't read to you what it says.                          He

5    is requesting -- he is -- he is talking about REDACTED

6     REDACTED       and you are trying to get me to say that

7    it's significant.         And what's on this document is

8    not significant.         I'm not going to say it's

9    significant.

10   BY MR. MACGILL:

11          Q        You say it's not significant?

12          A        Well, when you look at other situations

13   in cases involving reporters of sexual abuse,

14   that's not a significant                  REDACTED

15          Q        Okay.   Now, Pastor Johnny Hunt, I know

16   you are on the line, I would like to speak to you

17   about these circumstances, but what I'd like to do

18   now, you need to see the content of this letter in

19   order for us to do our job here today.                      We're not

20   able to do it without speaking to you about what

21   is in this letter directed to you, this draft

22   letter, but I'm going to proceed by asking you now




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 230 of 386 PageID #:
                                      4284
                                                                     Page 230

1    to leave the meeting, and I'm going to ask this

2    witness now some questions even though I don't

3    have the ability to speak with you about it.

4    We'll ask the court to authorized this witness to

5    return once they have the opportunity to get your

6    counsel and guidance on the meaning and effect of

7    this document.

8                    MR. KLEIN:       We're going to object to that,

9    if that application is made.                I appreciate you

10   letting Dr. Hunt leave the video room.

11                   Warren, if you can assist in having

12   Johnny Hunt.

13                   VIDEOGRAPHER:       I'll give it a try again.

14   BY MR. MACGILL:

15          Q        So ma'am, I've made my record about

16   this, but I want to now talk about what you knew

17   on         REDACTED          You had a             REDACTED       from

18      REDACTED       , did you not?

19          A        Yes.

20          Q        And we'll put in front of the jury what

21   your counsel has refused Dr. Hunt to see, but I'm

22   going to do this for now, and we're going to come




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 231 of 386 PageID #:
                                      4285
                                                                     Page 231

1    back if the court allows.                Turn to 544.

2            A       I'm there.

3            Q       The    REDACTED          from        REDACTED         , your

4    witness in your investigation, ma'am, that you met

5    with not one time but perhaps as many as nine

6    times informs you that he wants -- he's demanding

7    from Dr. Hunt a                       REDACTED                    .

8                    Do you see that?

9            A       I see where Mr. REDACTED is saying he

10   would                        REDACTED                             , and

11   he lists               REDACTED                      under that.

12           Q       Well, let's not use your

13   characterization.          Let's look at the words, the

14   actual words that you were provided at the time

15   that you were conducting your work as a lead

16   investigator.         Your star witness, ma'am, the

17   witness that you relied on from the beginning to

18   the end of your work says the following on page

19   554:                             REDACTED

20                                    REDACTED

21                               REDACTED

22                               REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 232 of 386 PageID #:
                                      4286
                                                                     Page 232

1                    Do you see that?

2                    MR. KLEIN:       Objection as to form.             But you

3    can answer the question.

4                    THE WITNESS:       Yes.

5    BY MR. MACGILL:

6           Q        And that he has also claimed on the next

7    page that he, Johnny Hunt, has caused him to REDACTED

8            REDACTED          .      Do you see that?

9           A        I do.

10          Q        Now, how many                REDACTED                do

11   you read that as a lawyer practicing for decades?

12          A        So I would apologize.              You were

13   referencing me to the Bates number 14554, and I

14   did not see the                    REDACTED                    listed

15   in his list.

16          Q        So the REDACTED -- let's just do some doe

17   math together, ma'am, now that we're looking with

18   our own eyes and not tethered by what these

19   lawyers are doing to us.              I want to just focus on

20   what the reality is in terms of what you knew on

21    REDACTED         Your star witness, ma'am,                 REDACTED

22   wanted a                         REDACTED                          He




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 233 of 386 PageID #:
                                      4287
                                                                      Page 233

1    wanted               REDACTED                , didn't he?

2                     MR. KLEIN:       Objection as to form.             Lack of

3    personal knowledge.            You can answer.

4                     THE WITNESS:       I can only testify and talk

5    about what is in this letter.                  And so he says that

6                        REDACTED

7                                      REDACTED

8                                  REDACTED

9            REDACTED               That's what I know from this

10   letter.         But I will also tell you that our witness

11   that you are talking about was not                       REDACTED        .    It

12   was     REDACTED       .

13   BY MR. MACGILL:

14          Q         Now -- we'll get to that, ma'am.                  But

15   let's just do some math so the jury knows what you

16   knew at the time.          What you know is, if you just

17   did simple math on the                 REDACTED           of his

18   claim, the unvarnished truth of this is he was

19   asking for                        REDACTED                         in

20   this       REDACTED        wasn't he?

21                    MR. KLEIN:       Objection as to form.             Calls

22   for a speculation.            Lack of personal knowledge.                    You




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 234 of 386 PageID #:
                                       4288
                                                                     Page 234

1    can answer.

2                    THE WITNESS:       I can only tell you what the

3    REDACTED    states that he was asking for.                 He didn't

4    give a          REDACTED            I mean you can multiply it

5    out.       It's a                REDACTED

6    BY MR. MACGILL:

7           Q        Let's do the math together.                He was

8    asking for a                     REDACTED                   ; is that

9    right?

10                   MR. KLEIN:       Objection as to form.              You can

11   answer.

12   BY MR. MACGILL:

13          Q        Is that right?

14          A        A          REDACTED

15      REDACTED         .

16          Q        All right.       Now, how many years?

17      REDACTED         ?

18          A        I mean if you are talking                 REDACTED

19      REDACTED         .

20          Q        Yeah.

21          A        Yes.

22          Q        So let's just do the math together while




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 235 of 386 PageID #:
                                      4289
                                                                     Page 235

1    we're here together this afternoon.                        REDACTED

2          REDACTED        , isn't it?

3           A        I agree with your math.

4           Q        Okay. now, on the            REDACTED            of his

5    claim, you knew on REDACTED that your witness, your

6    star witness, ma'am, in this matter,                      REDACTED         ,

7    was asking for, at least on the                      REDACTED         of

8    his potential claim for             REDACTED , right?

9                    MR. KLEIN:       Mischaracterizes her

10   testimony, but she can answer.

11                   THE WITNESS:       So to start with, REDACTED

12   REDACTED   was not our star witness.                  REDACTED        was

13   our star witness.         And the answer to your math

14   question is, yes, I knew that he had REDACTED and he

15   was asking Mr. Hunt to                 REDACTED

16   BY MR. MACGILL:

17          Q        But it wasn't just           REDACTED       , he also

18   wanted REDACTED on top of that, right?

19                   MR. KLEIN:       Objection as to form.             You can

20   answer.

21                   THE WITNESS:

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 236 of 386 PageID #:
                                      4290
                                                                      Page 236

1    BY MR. MACGILL:

2            Q       In this       REDACTED

3            A       In this       REDACTED             I'm aware of --

4    that he mentions a                     REDACTED                 and a

5             REDACTED            .

6            Q       And in this draft letter that you saw

7    with your own eyes on             REDACTED            you now know that

8    he is asking for in these two elements alone,

9      REDACTED .          Is that right?

10           A       The math would be correct, and that's

11   what's in this REDACTED that he gave us that I have

12   no information that it was ever asked for.                           But

13   that's what's in this REDACTED

14           Q       Okay.     Now, we don't want to short

15   Mr. REDACTED on what he was planning to do at the

16   time that he informed you about his intentions on

17   REDACTED        His          REDACTED                   could have been

18   more than REDACTED , right?

19                   MR. KLEIN:       Objection.            Calls for

20   speculation.           You can answer.

21                   THE WITNESS:        It's possible.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 237 of 386 PageID #:
                                      4291
                                                                       Page 237

1    BY MR. MACGILL:

2           Q        Yeah.    Because it would be -- his REDACTED

3    REDACTED   could extend beyond 2022, right?

4                    MR. KLEIN:       Objection.           Same objection.

5    You can answer.

6                    THE WITNESS:       It's possible.

7    BY MR. MACGILL:

8           Q        Right.    And so you knew on REDACTED

9    having read this with your own eyes as a lawyer

10   who's practiced law for decades, as a sole

11   proprietor and otherwise, that this gentleman,

12   your star witness, ma'am, is a person who could

13   have a demand for perhaps                             REDACTED

14           REDACTED              right?

15                   MR. KLEIN:       Objection.           Intentionally

16   Mischaracterizing the testimony, but you can answer.

17                   THE WITNESS:       So again, Mr. REDACTED is not

18   my star witness.            REDACTED           is the significant

19   main witness in this matter.                 And yes, we were aware

20   by these                  REDACTED                        that Mr. REDACTED

21   was                REDACTED

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                       888-391-3376
                                                            Page 238 of 386 PageID #:
                                      4292
                                                                     Page 238

1    BY MR. MACGILL:

2            Q       Okay.   Now, so did you make -- I just

3    want to know -- and I think this jury is entitled

4    to know, did you make reference to Exhibit 28 in

5    the Guidepost report?

6            A       No, I don't believe we did.

7            Q       Now, ma'am, to be fair and to be

8    independent as an investigator, didn't you feel an

9    obligation as a citizen, not to mention as a lead

10   investigator, to make sure that the details of

11   Exhibit 28 were found to the text of your report

12   and included in the text of your report?

13           A       No, I did not.

14           Q       You said that Johnny Hunt was not

15   credible, ma'am.          Do you remember those words?

16   That's what Guidepost said in the report?

17           A       Yes.

18           Q       Do you think this gentleman, Mr. REDACTED ,

19   is credible when he's sharing with you a document

20   that says that he may demand                          REDACTED

21   from Pastor Johnny Hunt.               Do you think he's

22   credible in those circumstances?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 239 of 386 PageID #:
                                      4293
                                                                      Page 239

1            A       I think that the story and the -- the

2    testimony we received about                   REDACTED          about her

3    encounter with Mr. Hunt was credible.

4            Q       Now, let's talk about the star witness.

5    I've used the term star witness,                       REDACTED         , and

6    you don't like it when I do that, right?                          You

7    don't think that's fair for me to use star witness

8    in connection with               REDACTED       ?

9            A       I just disagree.

10           Q       Okay.     That's fine.          Let's agree to

11   disagree.        Let me ask you about his role as a

12   witness then.           Let's not use an adjective.                  Okay?

13   I won't use an adjective in my question.

14                    REDACTED          is the person who first

15   reached out to Guidepost; is that correct?

16           A       I believe that that's correct, but he

17   did not reach out to me.

18           Q       The majority of the communications with

19   Guidepost were from               REDACTED          , were they not?

20           A       I don't know that I could calculate

21   that.       The majority of my interactions were with

22      REDACTED       .




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 240 of 386 PageID #:
                                      4294
                                                                     Page 240

1            Q       The volume of materials -- the volume of

2    written materials -- we have them right here.                          We

3    could go through the pages if you like, but the

4    volume, the majority of the pages written to

5    Guidepost came from              REDACTED       , right?

6                    MR. KLEIN:       Objection as to form.             You can

7    answer.

8                    THE WITNESS:       Yes.

9    BY MR. MACGILL:

10           Q       Now, with respect to the                  REDACTED

11   report -- this is Exhibit 7, right?                     You

12   understood that this had been generated -- this

13   had been prepared by             REDACTED            as well as his

14   wife?

15           A       I believe that's correct.

16           Q       What was the role of               REDACTED       in

17   this document.        Was he the author primarily?

18                   MR. KLEIN:       Objection as to form.             You can

19   answer.

20                   THE WITNESS:       My understanding was that

21   they prepared the document together.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 241 of 386 PageID #:
                                      4295
                                                                     Page 241

1    BY MR. MACGILL:

2           Q        This is what you referred to as REDACTED

3    REDACTED isn't it?

4                    MR. KLEIN:       Objection.          You can answer if

5    you know.

6    BY MR. MACGILL:

7           Q        Let me ask a better question.                 This

8    document, Exhibit 7, is                       REDACTED

9    isn't it?

10          A        I think that parts of Exhibit 7 towards

11   the back of Exhibit 7 where he -- where he, I

12   believe starts           REDACTED           is potentially

13   REDACTED        But I believe there was another REDACTED

14   that was provided to us in electronic form.

15          Q        Now, ma'am, I've looked through the

16   report from beginning to end, and I have not seen

17   any reference that Guidepost had the interest in

18   making this report have REDACTED                      Do you agree

19   that you didn't make reference to that interest of

20   Guidepost wanting this report to have REDACTED ?

21                   MR. KLEIN:       Objection as to form.               You can

22   answer.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 242 of 386 PageID #:
                                      4296
                                                                      Page 242

1                    THE WITNESS:       Can you ask the question

2    again.     I'm not sure what you're asking.

3    BY MR. MACGILL:

4           Q        Did Guidepost disclose that one of the

5    lead investigators in this report wanted it to

6    have REDACTED ?

7                    MR. KLEIN:       Objection.           Asked and answered

8    you can answer.

9                    THE WITNESS:       No.

10   BY MR. MACGILL:

11          Q        Why not?

12          A        I'm not sure what you are asking me.

13          Q        Well, ma'am, you -- you are talk -- you

14   talked from the beginning of this deposition ask

15   throughout that this was an independent report,

16   right?

17          A        Yes.

18          Q        But you have your co-lead investigator

19   saying to you that the draft that he had seen did

20   not have REDACTED            Do you remember that?

21                   MR. KLEIN:       Objection.           Asked and

22   answered.        We went over this this morning.                   But you




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 243 of 386 PageID #:
                                      4297
                                                                     Page 243

1    can answer again.

2    BY MR. MACGILL:

3           Q        Why didn't you disclose in the written

4    materials at Guidepost that in fact one of the

5    lead investigators wanted this report to have

6    REDACTED ?

7                    MR. KLEIN:       Objection as to form.             You can

8    answer.

9                    THE WITNESS:       I'm still unsure what you

10   are actually asking me.

11   BY MR. MACGILL:

12          Q        You talked about credibility being

13   important?

14          A        Yes.

15          Q        Guidepost credibility was important in

16   terms of this report also, right?

17          A        Yes.

18          Q        Is Guidepost independent if it's wanting

19   its report to have REDACTED ?

20          A        I think it depends on how you define

21   REDACTED .


22          Q        How did your co-lead investigator define




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 244 of 386 PageID #:
                                      4298
                                                                       Page 244

1    REDACTED    to your knowledge?

2                     MR. KLEIN:       Objection.

3                     THE WITNESS:        I don't know.

4                     MR. KLEIN:       I'm sorry.           Let me just

5    object.         You said you don't know.                 The answer will

6    stand.       My apologies.

7                     (KILPATRICK Exhibit Number 29 was marked

8                     for identification.)

9    BY MR. MACGILL:

10           Q        I'm going to hand you Exhibit 29.                     Now,

11   ma'am, I just want to identify this document,

12   Exhibit 29, is this a                           REDACTED

13        REDACTED

14           A        Yes.

15           Q        And is the                  REDACTED

16           A        Only the             REDACTED                which I

17   think you're referring to, is                           REDACTED

18   REDACTED

19           Q        Okay.   Mr. Holske, it's his beginning

20     REDACTED

21           A        Yes.

22           Q        That's his REDACTED        And then you REDACTED




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                      888-391-3376
                                                            Page 245 of 386 PageID #:
                                       4299
                                                                      Page 245

1    REDACTED

2            A       Yes.

3            Q       And this was                 REDACTED                is

4    that right?

5            A       Yes.

6            Q       And this would have been -- this would

7    have been          REDACTED             you interviewed Pastor

8    Johnny Hunt.

9            A       Yes.

10           Q       And you're learning that                     REDACTED

11                          REDACTED                                   Right?

12   Yes?

13           A       Yes.

14           Q       And then you        REDACTED          did you not?

15           A       I did.

16           Q       You said                    REDACTED

17                    REDACTED

18                                 REDACTED

19                   REDACTED

20                   Are those your words?

21           A       Yes.

22           Q       Are those words to you do you think




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 246 of 386 PageID #:
                                      4300
                                                                         Page 246

1    fairly placed in context to be that of an

2    independent investigator?

3               A       I don't think that they speak to

4    independence or nonindependence.

5                       MR. MACGILL:       Let's go ahead and take a

6    break.

7                       VIDEOGRAPHER:        We're going off the record

8    at 2:54 p.m.

9                       (Whereupon, a brief recess was taken.)

10                      VIDEOGRAPHER:        We're now back on the

11   recorded at 3:15 p.m.                You may proceed.

12   BY MR. MACGILL:

13              Q       I want to focus for a few more minutes

14   on the role of              REDACTED         in your investigation.

15   So     REDACTED            , we've reviewed the REDACTED

16   REDACTED       document that he was a part of.                 Do you

17   remember that?

18              A       Yes.

19              Q       That was Exhibit 7; is that right?

20              A       Yes.

21              Q       Okay.    Now, in addition to that your

22   report also -- the Guidepost report also cites




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Case 3:23-cv-00243      Document 219-7    Filed 07/03/24                      888-391-3376
                                                              Page 247 of 386 PageID #:
                                         4301
                                                                       Page 247

1    that there was witness one, two, and three that

2    validated or corroborated what                         REDACTED       or

3       REDACTED          said, right?

4            A         Yes.

5            Q         Now, witness one and witness two were

6    unnamed pastors; is that right?

7            A         Yes.

8            Q         And witness three, was that a pastor

9    also?

10           A         I believe he had some sort of pastoral

11   type of job.

12           Q         Not a pastor himself?

13           A         I think he had been a pastor maybe.

14           Q         Okay.   Fair enough.           So three pastors

15   were the independent witnesses who validated REDACTED

16   REDACTED    and      REDACTED         had to say in your view as

17   a lead investigator; is that right?

18           A         Well, in addition -- yes.                 But in

19   addition I would say that Mr. blankenship also did

20   the same thing and to a certain extent Mr. Hunt in

21   his second interview corroborated some details.

22           Q         You didn't call them corroborating




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Case 3:23-cv-00243     Document 219-7    Filed 07/03/24                     888-391-3376
                                                            Page 248 of 386 PageID #:
                                        4302
                                                                      Page 248

1    witnesses, did you?

2           A        The three that you are talking about?

3           Q        No.     Did Roy Blankenship -- did you

4    indicate that he validated the report of the

5    REDACTED   in the report?          Do you recall?

6           A        I don't think we used those words, but

7    we used his testimony or his interview with us to

8    display those facts that were similar to what the

9    REDACTED   had shared.

10          Q        All right.       But I want to focus now on

11   the role of           REDACTED       and the words that he

12   spoke to different people?

13          A        Okay.

14          Q         REDACTED         had a conversation with

15   witness one in the year 2010; is that right?

16                   MR. KLEIN:       Objection as to form.              You can

17   answer.

18                   THE WITNESS:       Yes.      I believe that's

19   correct.        And I may need to confirm one, two, and

20   three, the names, to kind of keep it straight.

21                   MR. MACGILL:       Okay.

22                   MR. KLEIN:       But the names cannot be




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 249 of 386 PageID #:
                                      4303
                                                                     Page 249

1    revealed publicly.

2                    THE WITNESS:       Right.       Correct.

3                    MR. KLEIN:       So if you need to reveal the

4    names or if documents can refresh your memory

5    without revealing the names --

6    BY MR. MACGILL:

7           Q        Would the report help you, to see the

8    report and the references to witness one, two, and

9    three?

10          A        Yes.

11          Q        All right.       I'm going to hand you -- why

12   don't you hand me back the exhibits you have and

13   I'm going to hand you back the report.

14                   All right.       I'm going to turn exhibit --

15   I'm going to hand over Exhibit 8 and going to

16   page 158.        I'm going to ask you to find the witness

17   one, two, and three references that you think would

18   help you.

19          A        Okay.

20          Q        All right.       What page are you on?

21          A        Hunt 286.

22                   MR. KLEIN:       She's referring to the Bates




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 250 of 386 PageID #:
                                      4304
                                                                      Page 250

1    number.

2                    THE WITNESS:        I started on 156.

3    BY MR. MACGILL:

4            Q       Page 156.        All right.           Okay.    So on

5    page 156 of the Guidepost report, which is Exhibit

6    8, you have made -- the Guidepost company makes

7    reference to witness one, right?

8            A       Correct.

9            Q       And this witness one, there was a

10   conversation with pastor in 2010.                       Right?

11           A       That's what witness one shared.

12           Q       So witness one repeated a conversation

13   with Pastor REDACTED back in 2010; is that right?

14           A       Yes.   That's what witness one shared

15   with us.

16           Q       All right.        Now, you said he had a

17   conversation with pastor in 2010 and said it was

18   like an atomic bomb.              Do you see that?

19           A       Yes.

20           Q       And then you report various things.                      He

21   said that pastor -- that Dr. Hunt had made

22   advances is, et cetera.               That's the report, right?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 251 of 386 PageID #:
                                      4305
                                                                     Page 251

1            A       Yes.

2            Q       All right.        Then we get to witness two.

3    And this is talking about -- witness two said that

4    the pastor that is               REDACTED          had told him about

5    Dr. Hunt "using survivor."                Do you see that?

6            A       Yes.

7            Q       All right.        Then again, this is a 2012

8    report where you are making reference here in the

9    Guidepost or the Guidepost is making reference to

10   a sexual abuse involving the survivor; is that

11   right?

12           A       Yes.   That's what witness number two

13   shared with us, the conversation that witness two

14   had with Pastor REDACTED .

15           Q       And Pastor REDACTED , as we can see by

16   reading this part of the document, Pastor REDACTED ,

17      REDACTED        had said that in 2012 the witness two

18   that there had been sexual abuse involving

19   survivor.        Right?

20           A       Yes.

21           Q       I'd like to go back to witness one and

22   look at what's referenced here in the description




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 252 of 386 PageID #:
                                      4306
                                                                      Page 252

1    with witness one in 2010 there's a reference

2    pastor told him that it had happened at a beach

3    condo and that Dr. Hunt kissed her, touched her

4    breasts, undid her shorts, and it may have stopped

5    there.

6                    Do you see that?

7            A       Yes.

8            Q       And using your definition of sexual

9    abuse that you provided to this court and jury

10   earlier, you would characterize the report by

11   Pastor             REDACTED                  as reporting a sexual

12   abuse in 2010 in witness one, right?

13           A       That's what we understood from witness

14   one.

15           Q       Let's move to witness three.                   And

16   witness three we see a reference on witness three

17   on page 157.           Do you see that?

18           A       Yes.

19           Q       And it is reported here that, again, it

20   was      REDACTED        , once again, speaking to witness

21   three, right?

22           A       That is correct.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 253 of 386 PageID #:
                                      4307
                                                                      Page 253

1           Q        And     REDACTED        said, "Pastor told him

2    about Dr. Hunt making advances on survivor and

3    groping her and then subsequently covering it up."

4                    Do you see that?

5           A        Yes.

6           Q        All right.       And so again, it is Pastor

7       REDACTED           making a report to witness three that

8    there had been, in your view as you define it, a

9    sexual abuse report?

10          A        Correct.

11          Q        Right?

12          A        Yes.

13          Q        All right.       So let's summarize.              So in

14   connection with your work, you relied on REDACTED

15   REDACTED   and his reports to you in writing and by

16   his spoken word, right?

17                   MR. KLEIN:       Objection as to form.              You can

18   answer.

19                   THE WITNESS:       We interviewed Mr. REDACTED

20   and took documents from Mr. REDACTED , and those were

21   part of our consideration in the investigation.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 254 of 386 PageID #:
                                      4308
                                                                     Page 254

1    BY MR. MACGILL:

2            Q       And you relied on what                REDACTED         told

3    you; is that fair?

4            A       Yes.

5            Q       All right.       And you also relied on

6    witnesses who reported -- witness one who reporter

7    what        REDACTED      told him in 2010, right?

8            A       Yes.

9            Q       You relied on witness two, who reported

10   what        REDACTED      told him about a sexual abuse in

11   2012, right?

12           A       Yes.

13           Q       And third, you relied on witness three

14   who had been told by              REDACTED           that there had

15   been a sexual abuse as described by you in this

16   report?

17           A       Yes.

18           Q       So     REDACTED        is -- is -- you rely on

19   him by his direct communications to you, and then

20   you rely on his communications that he made to

21   witness one, two, and three.                  Right?

22           A       Yes.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 255 of 386 PageID #:
                                      4309
                                                                     Page 255

1           Q        All right.       Now, the reality is that in

2    2010       REDACTED      at the time that he may have had

3    the conversation with witness one,                      REDACTED

4    didn't believe there had been a sexual abuse,

5    right?

6                    MR. KLEIN:       Objection as to form.             You can

7    answer.

8                    THE WITNESS:       I don't have any knowledge

9    of exactly what          REDACTED          believed in 2010, that

10   he didn't believe it was that.

11   BY MR. MACGILL:

12          Q        Do you have knowledge specifically --

13   and I want you to be very precise in your

14   testimony to the jury -- do you have evidence

15   specifically, ma'am, based on your work in this

16   case that in 2012          REDACTED           did not consider

17   there to have been a sexual abuse of his wife?

18                   MR. KLEIN:       Objection as to form.             You can

19   answer.

20                   THE WITNESS:       What was shared with us by

21   the REDACTED is that they felt like what had happened

22   was wrong, but they didn't have the words to




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 256 of 386 PageID #:
                                      4310
                                                                     Page 256

1    describe it.

2    BY MR. MACGILL:

3            Q       Okay.    But he did describe it in words

4    as we just reviewed.

5            A       The specific definition words to

6    describe it as sexual abuse or sexual assault.

7            Q       Right.    But       REDACTED           didn't -- he

8    himself described this, and you characterized what

9    he described as sexual abuse, right?

10           A       Yes.

11           Q       But did you say in your report that

12      REDACTED        did not believe -- never used the

13   word sexual abuse when he described the 2010

14   incident to this pastor?

15                   MR. KLEIN:       Objection.          The document

16   speaks to itself.          You can answer.

17                   THE WITNESS:        Restate your question,

18   please.

19   BY MR. MACGILL:

20           Q        REDACTED          never told witness one

21   there had been sexual abuse, did he?

22           A       Witness one told us that -- what REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 257 of 386 PageID #:
                                      4311
                                                                     Page 257

1    told him.

2           Q        He never told witness one that there had

3    been a sexual assault, did he?

4                    MR. KLEIN:       Objection as to form.             Lack of

5    personal knowledge.          You can answer.

6                    THE WITNESS:       So witness one did not use

7    the word sexual abuse.

8    BY MR. MACGILL:

9           Q        And   REDACTED         never -- you had no

10   information that          REDACTED          had told witness one

11   there had been either a sexual abuse or a sexual

12   assault, right?

13          A        I do not.    But the witness told us that

14   it was not appropriate behavior, and that it

15   happened in a condo and Mr. Hunt had kissed her,

16   touched her breasts, undid her short and that it

17   may have stopped there.

18          Q        Let's focus on witness two.                Witness two

19   never reported that              REDACTED          had reported to

20   him that there had been either a sexual abuse or

21   sexual assault, right?

22                   MR. KLEIN:       Objection as to form.             You can




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 258 of 386 PageID #:
                                      4312
                                                                     Page 258

1    answer.

2                    THE WITNESS:       I don't believe that witness

3    two used the word sexual assault or sexual abuse,

4    but said that he told him about Dr. Hunt abusing

5    survivor and did not give specific details but

6    shared it was sexual in nature.

7    BY MR. MACGILL:

8           Q        And so to your knowledge,                REDACTED

9    never told witness two that there had been a

10   sexual abuse or sexual assault in his conference

11   with him -- or communication with him in 2012.

12                   MR. KLEIN:       Objection.          Asked and

13   answered.        You can answer again.

14                   THE WITNESS:       He talked to witness two --

15   or witness two shared with us that Mr. REDACTED shared

16   with him about Dr. Hunt abusing survivor and also

17   shared that it was sexual in nature.

18   BY MR. MACGILL:

19          Q        Okay.   So do you conclude that that was

20   a report of sexual abuse by                 REDACTED        ?

21          A        What witness two reported to us was a

22   report that        REDACTED         had reported to him




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 259 of 386 PageID #:
                                      4313
                                                                       Page 259

1    sexual abuse of Mrs. REDACTED .

2            Q        Witness three.          Did        REDACTED        report

3    to witness three that there had been sexual abuse

4    or sexual assault of his wife?

5            A        Witness three did not use the words

6    sexual abuse or sexual assault.                        He told us that

7       REDACTED         told him about Dr. Hunt making

8    advances on survivor and groping her and then

9    subsequently covering it up.

10           Q        Were you told after the publication of

11   this report by             REDACTED         that Guidepost report

12   causes the readers to think that he had known it

13   was a sexual assault at the time?

14           A        I don't recall that statement.

15                    (KILPATRICK Exhibit Number 30 was marked

16                    for identification.)

17   BY MR. MACGILL:

18           Q        I'm going to hand you Exhibit 30.                           I'm
                                                                         REDACT
19   going to ask you about               REDACTED            This is
                                                                            REDACTED
20      REDACTED          Did you receive -- looking at

21                     REDACTED                       did       REDACTED

22                   REDACTED




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                      888-391-3376
                                                            Page 260 of 386 PageID #:
                                       4314
                                                                      Page 260

1            A        Yes.

2            Q        And then on REDACTED did                REDACTED        --

3    did he                               REDACTED

4                                 REDACTED

5    REDACTED

6                     Do you see what I'm referring to.

7            A        Yes.

8            Q        I'm just referring to -- did you get

9    that            REDACTED

10           A        Yes, I did.

11           Q        All right.       I'm going to ask you,

12   Exhibit 31.

13                    (KILPATRICK Exhibit Number 31 was marked

14                    for identification.)

15   BY MR. MACGILL:
                                                                              REDACT
16           Q        Exhibit 31, is this the article that

17          REDACTED

18           A        Let me go back.          I'm not sure -- I

19   received this article at some point.                        I'm not sure

20   if it was originally sent to me or if it was a

21   part of                    REDACTED                         you are

22   referencing on REDACTED                 I'm not sure.




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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 261 of 386 PageID #:
                                       4315
                                                                        Page 261
                                                                              REDACTED
1                  Q   You're not sure.          Okay.       Focusing on
     REDACT
2             --

3                      MR. KLEIN:       Before you ask, the document

4    you just gave us, is this Exhibit 32?

5                      MR. MACGILL:       31.

6                      MR. KLEIN:       31.     Hold on.        This does not

7    have a Bates number.               Was this produced by someone

8    or did you find this --

9                      MR. MACGILL:       Yeah.       It was produced by

10   you as a part of this document -- not produced by

11   you, but it's referenced here.

12                     MR. KLEIN:       Okay.

13   BY MR. MACGILL:

14                 Q   All right.       Now, sir, do you -- ma'am,

15   do you see -- is this -- you can't tell us whether

16   31, exhibit 31, is the REDACTED or is the article

17   attached to this REDACTED ?

18                 A   No.

19                     MR. KLEIN:       You can answer if you know.

20                     THE WITNESS:       I don't know.            I don't know

21   if that is.             It may be.       I don't know.

22




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Case 3:23-cv-00243     Document 219-7    Filed 07/03/24                      888-391-3376
                                                             Page 262 of 386 PageID #:
                                        4316
                                                                      Page 262

1    BY MR. MACGILL:

2           Q        Now, is this -- do you recognize this

3    article as to who the author -- where was this

4    article published.           Do you know?

5           A        I don't.     I mean I can read here that it

6    says Protestia.com.

7           Q        Do you know an entity called Protestia?

8           A        It does not ring a bell.

9           Q        Now, can you lock at this article at 31,

10   exhibit 31, is this the kind of article that you

11   anticipated as one of the investigators here that

12   you would have within a few days a headline

13   entitled op-ed "Johnny Hunt assaulted a young

14   pastor's wife.        Her husband should be disqualified

15   from the ministry."           Do you anticipate that kind

16   of press associated with the work that you had

17   done, ma'am?

18                   MR. KLEIN:       Objection.           Calls for

19   speculation.

20                   THE WITNESS:       I don't know.            I don't -- I

21   don't know what I anticipated.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 263 of 386 PageID #:
                                      4317
                                                                     Page 263

1    BY MR. MACGILL:

2           Q        It's just logical, isn't it, that

3    somebody like you doing the kind of work that you

4    did, making the statements that you made, that the

5    logical extension of what you did was articles

6    like this, Exhibit 31, right?

7                    MR. KLEIN:       Objection.          Argumentative.

8    You can answer.

9                    THE WITNESS:       I -- I don't know what I

10   expected the articles would be.                    There would be

11   articles on all sides of the issue.

12   BY MR. MACGILL:

13          Q        How in the world, ma'am, could you not

14   have expected a media firestorm in relation to the

15   Guidepost report that you were a lead investigator

16   on.    Are you telling us you had no expectation of

17   a press firestorm?

18                   MR. KLEIN:       Objection.          Compound.     You can

19   answer.

20                   THE WITNESS:       I had an expectation that

21   the report would generate media.                     I did not have an

22   expectation for specifically this article or what




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 264 of 386 PageID #:
                                      4318
                                                                     Page 264

1    the articles would actually be like.                       I expected

2    them to be all over the spectrum.

3    BY MR. MACGILL:

4            Q       All over the media spectrum.

5            A       Yes.

6            Q       You expected that the results of your

7    report would be on national news of different

8    types, right?

9            A       I mean I expected that -- yeah, I

10   expected it would be out there.

11           Q       Okay.   It would be out there.                 You

12   expected it would be, for example, on NBC Nightly

13   News, didn't you?

14           A       I don't know if I expected it to be on a

15   news channel, but I expected it to be out there in

16   the public space.

17           Q       National news.         You expected your report

18   to be national news, right?

19                   MR. KLEIN:       Objection.          Asked and

20   answered.        You can answer.

21                   THE WITNESS:        I expected it to be out in

22   the national news.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 265 of 386 PageID #:
                                      4319
                                                                     Page 265

1    BY MR. MACGILL:

2           Q        And you know, we've seen some of your

3    texts.     We'll get more of them, I'm sure, if we --

4    if the court so orders.             But some of your texts

5    you were starting to congratulate yourself and

6    your co-investigator, lead investigator, even

7    before the report, right?

8                    MR. KLEIN:       Objection as to form.             You can

9    answer.

10                   THE WITNESS:       I -- I don't recall.              I'm

11   happy to take a look at the texts and explain --

12   BY MR. MACGILL:

13          Q        Now, wait a minute.           Before the break we

14   showed you one text.             You don't think that was

15   self-congratulatory, that text that I showed you

16   before the break, where you and Mr. Holske are

17   exchanging the information that you did?

18          A        I would not describe it as

19   self-congratulatory.

20          Q        You wouldn't?

21          A        No.

22          Q        Okay.   Well, but look at yourself here




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 266 of 386 PageID #:
                                      4320
                                                                     Page 266

1    and your role here.          You and the people you work

2    in concert with, you expected that you would have

3    REDACTED from the moment this report was

4    published, didn't you?

5                    MR. KLEIN:       Objection.          Mischaracterizes

6    her testimony and asked and answered.                      You can

7    answer.

8                    THE WITNESS:       I think I said earlier in my

9    testimony it depends on what you define REDACTED to

10   mean.

11   BY MR. MACGILL:

12           Q       National news, ma'am.              NBC national

13   news, ABC national news, Fox national news.

14   That's what I'm indicating when I talk about the

15   kind of REDACTED that you anticipated from what you

16   called an "investigation"?

17                   MR. KLEIN:       Objection.          Argumentative.

18   You can answer.

19                   THE WITNESS:       We expected for this to be a

20   very important report that would be out in the

21   national media and that people were going to -- like

22   people were interested in it.                 People were following




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 267 of 386 PageID #:
                                      4321
                                                                      Page 267

1    it the whole time.           They were -- you know, they were

2    -- we had an email for people to contact us if they

3    wanted to participate in the investigation.                         There

4    was news media all around it from the beginning.

5    BY MR. MACGILL:

6           Q        What evidence did you have that people

7    would have any interest in a 12-year-old event

8    between         REDACTED      and Pastor Johnny Hunt?                 What

9    indication did you have that that would be of

10   interest to anyone?

11                   MR. KLEIN:       Objection.           Mischaracterizes

12   her statement.           You can answer.

13                   THE WITNESS:       I'm saying the engagement as

14   a whole was of interest to people who were in the

15   Southern Baptist Convention and people who followed

16   the denomination.           There has been, for several

17   years, a reform on sexual abuse, and there were a

18   lot of people that were interested in what the

19   investigation would find.

20   BY MR. MACGILL:

21          Q        Right.     And you found nothing, ma'am.

22   You and your co-investigator, you found nothing




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 268 of 386 PageID #:
                                      4322
                                                                     Page 268

1    new of import to anybody or any person in the

2    United States except a 12-year-old allegation by

3       REDACTED        and her husband, right?

4                    MR. KLEIN:       Objection.          Argumentive.       You

5    can answer.

6                    THE WITNESS:       I would say we found a

7    number of things.         The only thing that fell under

8    that first prong of abuse by an Executive Committee

9    member was the situation involving Mr. Hunt.

10                   MR. MACGILL:       There was no Executive

11   Committee member at the time of this incident.                          He

12   wasn't an Executive Committee member, ma'am.                         You've

13   already admitted that.

14                   MR. KLEIN:       Objection.          Asked and

15   answered.        You can answer again.

16   BY MR. MACGILL:

17          Q        You've admitted already he was not an

18   Executive Committee member at the time of this

19   incident, right?

20                   MR. KLEIN:       Objection.          Asked and

21   answered.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 269 of 386 PageID #:
                                      4323
                                                                     Page 269

1    BY MR. MACGILL:

2           Q        Right?

3                    MR. KLEIN:       You can answer.

4                    THE WITNESS:       At the time of the assault

5    Mr. Hunt was not an Executive Committee member.                          But

6    what I also told you was prior to that.                       While he

7    was an Executive Committee member, there were

8    instances in time where he showed special treatment

9    and attention to          REDACTED          -- kisses on the hand,

10   statements about, hey, hang back with me on the golf

11   cart, and different things.                And I would say in my

12   experience that those indicate grooming.

13   BY MR. MACGILL:

14          Q        Grooming.    Now, that's a term.               So is

15   grooming a term of art, ma'am, in your business?

16          A        Grooming is -- yeah, I would say it's a

17   term of art that's part of different types of

18   abuse.

19          Q        Ma'am, on Exhibit 30, Mr. REDACTED on

20   REDACTED   this is          REDACTED            the publication of

21   the report says:                         REDACTED

22                            REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 270 of 386 PageID #:
                                      4324
                                                                          Page 270

1    REDACTED

2                      Do you see that?

3                  A   Yes.

4                  Q   And what is your understanding he meant
          REDACT
5    by            .

6                      MR. KLEIN:       Objection.           Calls for

7    speculation.             Lack of firsthand knowledge and this

8    is an attorney's eyes only document.                            I ask that we

9    not refer to the specific quotes of this document,

10   which you hadn't done earlier.                     And I'd ask if we do

11   that, if you need to do that, then we very shortly

12   remove Dr. Hunt, or you can ask general questions

13   about refreshing her memory.

14   BY MR. MACGILL:
                                                                         REDACT
15                 Q   There's a reference to the word                            .
                                                          REDACT
16   What did you understand the word                              to mean in

17   Exhibit 30?

18                 A   I could understand that to mean one of

19   two things.          So I don't know exactly what he meant

20   by that.

21                 Q   What did you think at the time?

22                 A   It could have been -- he could have been




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Case 3:23-cv-00243     Document 219-7    Filed 07/03/24                        888-391-3376
                                                               Page 271 of 386 PageID #:
                                        4325
                                                                     Page 271

1    using it to abbreviate               REDACTED           or REDACTED

2    REDACTED .

3            Q       Now, based on this, based on Mr. REDACTED

4    writing to you on this day, did you understand

5    that Mr. REDACTED now had doubts about whether there

6    was      REDACTED       or        REDACTED             involved in the

7    information that he had reported to you?

8            A       Can you ask that question again?

9            Q       Did you understand based on this email

10   that Mr. REDACTED himself had doubts as to whether

11   or not there was           REDACTED           or        REDACTED

12   involved in this matter?

13           A       No, I did not.         I think earlier in my

14   testimony I explained to you that at the time back

15   in 2010, the REDACTED described to us what happened

16   -- REDACTED explained in detail what happened to her

17   and how Mr. Hunt had assaulted her and that they

18   didn't know exactly what to call it.                       They felt

19   like that it was wrong, but they didn't know what

20   to call it because they were convinced by Mr. Hunt

21   and Mr. Blankenship that because she didn't fight

22   it off that it was consensual.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 272 of 386 PageID #:
                                      4326
                                                                     Page 272

1            Q       But you -- you now know that your

2    witness, the person you were relying on in your

3    report was undermining the information that you

4    reported to millions of people, ma'am, in terms of

5    what had been said to witness one, witness two,

6    and witness three, right?

7                    MR. KLEIN:         Objection.        Mischaracterizes

8    the statement.

9                    THE WITNESS:         I don't have any knowledge

10   of that.

11   BY MR. MACGILL:

12           Q       Ma'am, it's confirmed to you by your own

13   -- by       REDACTED         on              REDACTED                 the

14   report that there had had been REDACTED --

15                   MR. KLEIN:         Objection.        Please do not read

16   from this document.

17   BY MR. MACGILL:

18           Q       I'm going to read two words -- only

19          REDACTED          .        Do you see those two words?

20   Do you see those two words?

21           A       Yes, I do.

22




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Case 3:23-cv-00243   Document 219-7      Filed 07/03/24                   888-391-3376
                                                          Page 273 of 386 PageID #:
                                        4327
                                                                      Page 273

1           Q        All right.       Now, so the core witness --

2    can I use the word core and not -- will you agree

3    with the word that            REDACTED           was a core witness

4    supporting your report?              Is that fair?

5           A        Sure.

6           Q        Your core witness --

7                    MR. KLEIN:       Objection.           I'm sorry.      I'll

8    let you finish your sentence.

9    BY MR. MACGILL:

10          Q        Your core witness is indicating that

11   with respect to witness one, two, and three there

12   had been            REDACTED            , right?

13                   MR. KLEIN:       Objection as to form.              You can

14   answer.

15                   THE WITNESS:       That's what this REDACTED says.

16   BY MR. MACGILL:

17          Q        And the REDACTED also informed you -- I'm

18   just going to quote part of it -- that your core

19   witness confirms that witness one, two, three had

20   only been given information in                         REDACTED

21   right?

22          A        Correct.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 274 of 386 PageID #:
                                      4328
                                                                     Page 274

1            Q       Now, at this point, ma'am, you had every

2    reason to know that your core witness had

3    undermined the core elements of your report that

4    had been punished now to millions of people.

5    Right?

6                    MR. KLEIN:       Objection.          Mischaracterizes

7    her statement.         You can answer.

8                    THE WITNESS:        That's incorrect.

9    BY MR. MACGILL:

10           Q       What steps did you take for your part,

11   ma'am, after you received this Exhibit 30 to see

12   if you could stop the media fire form that had

13   been created by your work?

14                   MR. KLEIN:       Objection.          You can answer.

15                   THE WITNESS:        I did not do anything as a

16   result of this email.              I did not talk to anybody.

17   BY MR. MACGILL:

18           Q       All right.       Let's talk about the

19   firestorm created by the SBC and the Executive

20   Committee.        You understood that they were going to

21   release the report as well as your own company,

22   right?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 275 of 386 PageID #:
                                      4329
                                                                     Page 275

1                    MR. KLEIN:       Objection as to form.

2    Compound.        You can answer.

3                    THE WITNESS:       Yes.

4    BY MR. MACGILL:

5           Q        You understood that the Executive

6    Committee authorized publication of your report?

7                    MR. KLEIN:       Objection.          You can do it in

8    your independent memory --

9                    THE WITNESS:       Yeah.      I --

10                   MR. KLEIN:       Let me finish the objection.

11   Just for clarity you are speaking on behalf of your

12   yourself, not on behalf of Guidepost.                      In that

13   capacity you can answer Rob's question.

14                   THE WITNESS:       Please ask your question

15   again.

16   BY MR. MACGILL:

17          Q        You understood the Executive Committee

18   was going to publish the Guidepost report,

19   correct?

20          A        I don't know -- I don't have any -- I

21   don't have independent recollection of actually

22   who was publishing the report as far as the SBC




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 276 of 386 PageID #:
                                      4330
                                                                     Page 276

1    was concerned.

2            Q       Did you understand the SBC was going to

3    on publish the report?

4            A       I understood that some part within that

5    was to publish the report.

6            Q       All right.       And did you understand there

7    had been some board members associated with either

8    entity that resigned for the reason that the

9    report was going to be published?

10           A       Do you have a time frame?

11           Q       No.   I -- let's first, did you

12   understand there had been board resignations based

13   on the idea that your report would be published?

14           A       I know that there were board

15   resignations but I'm not -- I don't know

16   specifically the reasons behind.                     I don't have

17   personal knowledge.

18           Q       All right.       Which board -- what boards

19   members do you know in terms of resignations that

20   occurred that were associated with the prospect of

21   publishing the report of Guidepost?

22                   MR. KLEIN:       Objection.          Mischaracterizes




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 277 of 386 PageID #:
                                      4331
                                                                     Page 277

1    her statement.        You can answer.

2    BY MR. MACGILL:

3           Q        What do you know about board

4    resignations?

5                    MR. KLEIN:       You can answer.

6                    THE WITNESS:       I know that there were board

7    members who resigned.             Sitting here at this table, I

8    don't know -- I don't recollect the names of board

9    members who resigned.             I think there's over 80,

10   maybe close to hundred maybe total.

11   BY MR. MACGILL:

12          Q        How many resigned?

13          A        I don't recall.

14          Q        When did you learn that there were going

15   to be board resignations that were related to

16   these events of your report?

17                   MR. KLEIN:       Objection.          Mischaracterizes

18   her statement.

19   BY MR. MACGILL:

20          Q        That's fair.       That's fair.

21                   You understood there were board of

22   directors resignations based on the Guidepost




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 278 of 386 PageID #:
                                      4332
                                                                     Page 278

1    report, right?

2                    MR. KLEIN:       You said board of directors

3    now?

4                    MR. MACGILL:       Yeah.

5                    MR. KLEIN:       You can answer that question

6    if you know.

7                    THE WITNESS:       I don't know about that.                I

8    know -- I know that earlier in the engagement there

9    were resignations, but I'm not sure about what

10   you're talking about right this minute.

11   BY MR. MACGILL:

12          Q        You get Exhibit 30 and your core

13   witness, Mr.         REDACTED         is --

14                   MR. KLEIN:       I ask you not -- it looks like

15   you're about to read from it, Rob.                     I'm going to ask

16   again that you don't read from it.                     You've read a

17   portion that I allowed as a professional courtesy.

18   I ask you not to read from it any further.                        You

19   certainly can, I would just ask that before you do

20   that Dr. Hunt move into a separate Zoom room.

21   BY MR. MACGILL:

22          Q        Your core witness has provided the




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 279 of 386 PageID #:
                                      4333
                                                                     Page 279

1    information that we see in this Exhibit 30.                        All

2    right?     Agreed?

3           A        Yes.

4           Q        Now, we're displaying this for the court

5    and jury here so they can read along with us.

6    With respect to this REDACTED did you at this time,

7    based on the information in this email, suggest to

8    anybody at Guidepost or for your own part, provide

9    notice immediately to the Executive Committee of

10   the content of this REDACTED

11          A        No, I did not.

12          Q        And that's true with respect to the SBC.

13   You didn't take any steps to immediately advise

14   them of this information in Exhibit 30; is that

15   right?

16          A        No, I did not.

17          Q        When did you, ma'am, or your company to

18   your knowledge, submit this REDACTED to the SBC

19   and/or the Executive Committee?

20                   MR. KLEIN:       Objection as to form you can

21   answer.

22                   THE WITNESS:       I did not submit this REDACTED




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 280 of 386 PageID #:
                                      4334
                                                                      Page 280

1    to anyone.        I don't have any knowledge of whether

2    someone else submitted it or not.

3    BY MR. MACGILL:

4           Q        Now, Mr. Holske responded to this REDACTED

5    from       REDACTED        to you and the CEO of the

6    company, did he not?

7           A        Yes.   It appears that he did.

8           Q        And do you why Mr. Holske responded to

9    the CEO of your company?

10          A        I don't.     You would need to ask him.

11          Q        Now, Mr. Holske indicated -- I don't --

12   to the CEO of the company and with a copy to you

13   in the manner that we can see on the court's

14   screen, right?

15                   MR. KLEIN:       Objection to what's being seen

16   action on the court's screen, but you can answer.

17                   THE WITNESS:       What's the question?

18                   MR. MACGILL:       That's your problem.               That's

19   your fault.        That's what you've caused here.

20                   MR. KLEIN:       No, I'm just saying we're not

21   in the courtroom.           I have no idea --

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 281 of 386 PageID #:
                                      4335
                                                                     Page 281

1                    MR. MACGILL:       I'm read it.

2                    MR. KLEIN:       That's all.

3                    MR. MACGILL:       I'll read it.

4                    MR. KLEIN:       Rob, you are missing my point.

5    I wasn't --

6                    MR. MACGILL:       Enough.

7                    MR. KLEIN:       I was just saying you're

8    talking about a courtroom.               We don't know what's

9    going to be on the court screen.                     I just want to

10   make it easier for the witness so she knows what

11   you're saying.        That's all.

12   BY MR. MACGILL:

13          Q        Ma'am, I'm going to -- the jury is going

14   to see the following words on the court's screen.

15                   MR. KLEIN:       Rob, please.          I object.       I

16   wasn't trying to be tricky or anything.                       I just

17   wanted to point out you were saying what's being

18   shown on a screen in the courtroom.                     I just wanted

19   to say we're not in a courtroom now.                     That's all.

20   BY MR. MACGILL:

21          Q        Ma'am, I want you to know that we can't

22   compel you to come testify to defend what you did




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 282 of 386 PageID #:
                                      4336
                                                                     Page 282

1    here in the courtroom in this case.                       Do you

2    understand that?          We do not have the power to

3    compel your testimony in the court.                       Do you

4    understand that?

5            A       Yes.

6            Q       So do you understand that we'll be

7    utilizing your testimony to display the video of

8    your testimony to this court and this jury?                          Do

9    you understand that?

10           A       I understand that could be a

11   possibility, yes.

12           Q       Do you understand also that in order for

13   the jury to see what you did or failed to do, as

14   we say, that we're going to be displaying actual

15   court documents -- actual exhibits to the jury so

16   they can read along in the exhibits, so they can

17   see what we're asking you about simultaneously?

18                   MR. KLEIN:       Objection.          Argumentative.

19   You can answer.

20                   THE WITNESS:        Yes.

21   BY MR. MACGILL:

22           Q       Now, your counsel is not allowing us to




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 283 of 386 PageID #:
                                      4337
                                                                     Page 283

1    communicate Mr. Holske's information, but let me

2    just tell you this.          We're going to put it up so

3    the jury can see it and the judge of this Court

4    can see it.        Now, looking at this statement, would

5    you agree that the REDACTED that               REDACTED          sent to

6    you was a viewpoint.

7                    MR. KLEIN:       Objection.          Lack of personal

8    knowledge.        You can answer.

9                    THE WITNESS:       I think my understanding of

10   this REDACTED is that the news article is being

11   referred to as a viewpoint, but I have personal

12   knowledge of what Russ Holske was talking about.

13   But that would have been my interpretation.

14   BY MR. MACGILL:

15          Q        The jury can what Exhibit 30 means and

16   particularly the                 REDACTED                But it's

17   fair to say, ma'am, that you understand for your

18   part when you received this REDACTED that Mr. REDACTED

19   REDACTED   was not communicating some type of

20   viewpoint.        He was communicating facts to you,

21   wasn't he?

22                   MR. KLEIN:       Objection as to form.             Lack of




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 284 of 386 PageID #:
                                      4338
                                                                     Page 284

1    knowledge.        You can answer.

2                    THE WITNESS:       I think Mr. REDACTED was

3    communicating his thoughts and feelings and facts

4    about the articles that he was seeing and about the

5    report.

6    BY MR. MACGILL:

7           Q        He was disclosing facts about what he

8    said to witness one, two, and three, wasn't he?

9                    MR. KLEIN:       Objection.          Asked and

10   answered.        You can answer.

11                   THE WITNESS:       Yes.

12                   MR. MACGILL:       Go to the next exhibit,

13   ma'am.

14                   (KILPATRICK Exhibit Number 32 was marked

15                   for identification.)

16   BY MR. MACGILL:

17          Q        I'll hand you Exhibit 32?               Now, is this

18        REDACTED         involving you -- well, let me ask

19   you.       Who is this -- strike that.

20                   Is this      REDACTED           involving you and

21   certain people at Guidepost?

22          A        It appears to be           REDACTED           between




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 285 of 386 PageID #:
                                      4339
                                                                     Page 285

1    Julie Myers Wood, Krista Tongring, and myself.

2            Q       Did you initiate this?

3            A       I'm not sure.          I'm not sure.            I don't

4    know the answer on that.

5            Q       Now, sir -- I'm sorry -- ma'am, on

6                                REDACTED

7    says in part:                              REDACTED

8                REDACTED

9                    Do you see that?

10           A       Yes.

11           Q       Do you know who is writing that?

12           A       I don't.

13           Q       Do you know why?

14           A       Why?    I don't know.

15           Q       Do you know why             REDACTED          is sending

16   a text to your co-lead investigator on May 24,

17   2022, pertaining to Johnny Hunt?

18                   MR. KLEIN:        Objection.           Calls for

19   speculation.

20   BY MR. MACGILL:

21           Q       Did he say why he was doing this?

22           A       I don't recall.           I don't recall.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 286 of 386 PageID #:
                                      4340
                                                                     Page 286

1           Q        Okay.   And then this -- is this -- let

2    me use a common phrase, if you don't mind, is this

3    a victory lap for the three of you -- the CEO of

4    your company, Ms. Tongring, and yourself -- where

5    you are congratulating yourself on what you've

6    done in relation to your report?

7           A        I wouldn't call it a victory lap.                  I

8    think it was just information of what was going on

9    in real time.

10          Q        Well, the CEO says                   REDACTED

11   right?

12          A        Yes.

13          Q        Did you speak to the CEO of your company

14   about that?

15                   MR. KLEIN:       Objection.

16                   THE WITNESS:       I don't recall us having --

17   I don't recall us having a conversation about that,

18   but I knew that            REDACTED

19   BY MR. MACGILL:

20          Q        All right.       Did do speak -- did you

21   speak at any time to the CEO of your company about

22   the results of your investigation in terms of the




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 287 of 386 PageID #:
                                      4341
                                                                     Page 287

1    press.

2                    THE WITNESS:       I do not think -- I don't

3    recall any conversations with Ms. Wood about the

4    results out in the press.              I mean I had multiple

5    conversations with Ms. Wood over the course of

6    working for her, and I don't specifically recall us

7    talking about the press.

8    BY MR. MACGILL:

9           Q        All right, now, ma'am, you know, God

10   willing and this court providing, we're hoping to

11   get the text strings of you and all the people

12   involved here.        And so perhaps we'll know more

13   once we get the text information and we get your

14   phone and everybody else's phone imaged properly.

15   But we don't have that right now.                    All we have is

16   your recollection.          Okay?

17          A        Uh-huh.

18          Q        Do you recall, ma'am, separate and apart

19   from seeing what your phone has to say and those

20   on the phones of everybody else in your company,

21   can you tell us whether you recall having any text

22   exchanges where you were congratulating one




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 288 of 386 PageID #:
                                      4342
                                                                      Page 288

1    another on the press results of the work by

2    Guidepost?

3            A       I do not recall text exchanges

4    congratulating each other on the media.

5            Q       Next question.           Do you recall any text

6    exchanges where you communicated with the CEO of

7    your company and others about any press coverage

8    associated with this report?

9                    MR. KLEIN:        Objection.            Asked and

10   answered.        You can answer again.

11                   THE WITNESS:          I don't recall.

12   BY MR. MACGILL:

13           Q       Now, in terms of looking at Exhibit 32,

14                              REDACTED

15                                    REDACTED

16                          REDACTED

17                   Do you see that?

18           A       Yes.

19           Q       Okay.     Now, was that -- was having

20   something that was            REDACTED          was that something

21   that you intended, ma'am, based on your work as

22   colead investigator here?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 289 of 386 PageID #:
                                      4343
                                                                     Page 289

1            A       I didn't intend anything except to

2    perform an independent investigation and follow

3    the facts where they led.

4            Q       Now, based on this investigation, was

5    there follow-on work in the religious community

6    for Guidepost?

7            A       I'm sorry.       Repeat that.

8            Q       Based on this -- well, strike that.

9    After this report was published, was there

10   follow-on business that you received that

11   Guidepost associated with religious organizations?

12           A       I was an independent contractor at that

13   time and continued to work with Guidepost.                          I

14   wasn't always privy to what was coming in the door

15   as a result of that until I became a full-time

16   employee.

17           Q       Once you became a full-time employee,

18   was there additional business that came in the

19   religious sector associated with investigations as

20   you described at the outset of this testimony

21   today?

22           A       I don't know the answer to that.                    I do




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 290 of 386 PageID #:
                                      4344
                                                                     Page 290

1    know that Guidepost has always worked in this

2    sector, so I don't know if it's additional

3    business or it's just the normal course of what

4    comes over the course of the year.                        I don't have

5    an answer for that.

6            Q       So have you done any metrics on that at

7    all in your work to find out whether as a matter

8    of looking at this longitudinally.                        That is, over

9    time, that the business has increased in this

10   sector?

11           A       I have not.

12           Q       Okay.    Now, I'm guessing, sir, that --

13   we've seen some news accounts regarding the

14   building of a database by your company after this

15   report was published.               Do you remember that?

16           A       Yes.

17           Q       What is the entity ARITF?                  What does

18   that stand for, that acronym?

19           A       The abuse reform implementation task

20   force.

21           Q       Is that an independent organization of

22   some entity?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 291 of 386 PageID #:
                                      4345
                                                                     Page 291

1           A        I believe it's a task force, and I'm

2    not -- I'm not sure exactly where it sits.                        But

3    it's related to the Southern Baptist Convention.

4           Q        Okay.    And after this initial report,

5    did the ARITF recommend Guidepost for further work

6    after the report?

7                    MR. KLEIN:       Objection.          You can answer.

8                    THE WITNESS:       Yes, they did.

9    BY MR. MACGILL:

10          Q        Now, after this -- let's talk about you

11   now, if you don't mind, ma'am, for a few minutes.

12   I want to talk about how you were impacted or

13   affected by this report.              Once this report was

14   published, it's a fact, isn't it, that you became

15   a leader of a new division at your company, right?

16                   MR. KLEIN:       Objection as to form.             At what

17   point, Rob?

18   BY MR. MACGILL:

19          Q        After this report was published.

20          A        In November of 2022.

21          Q        Yes.    You did.

22          A        The report was published in May of 2022.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 292 of 386 PageID #:
                                      4346
                                                                     Page 292

1            Q       Right.   And that's why -- I just want to

2    make sure the jury understands.                    So within how

3    many months, within six months of the publication

4    of this report -- within six months, there's a new

5    division created at Guidepost; is that right?

6            A       The division had always been there, but

7    they asked me to lead it.

8            Q       Well, I'm reading what Mr. Blalock said.

9    Mr. Blalock said that Guidepost has established a

10   faith-based division of their firm called

11   faith-based solutions.             Is that right?

12                   MR. KLEIN:       Objection as to form.             Lack of

13   personal knowledge.          You can answer.

14                   THE WITNESS:       Yeah.      I'm not sure -- those

15   things were done before I came on in November of

16   2022.       Guidepost has always been involved in faith

17   work and has always had a core group of people that

18   do that.        And we have started to call ourself the

19   faith-based solutions kind of group.                     That's what we

20   call ourselves.

21   BY MR. MACGILL:

22           Q       But did you tell Mr. Blalock that you --




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 293 of 386 PageID #:
                                      4347
                                                                     Page 293

1    did you tell the Executive Committee of the SBC

2    that you led a new division?

3            A       I may have said that to Mr. Blalock.

4    Mr. Blalock interviewed me at some point.

5            Q       But in any event, you became head of

6    this division within six months of the publication

7    of this report?

8            A       That's correct.

9            Q       Now, the Guidepost report included

10   information about convicted child molesters; is

11   that right?

12           A       I believe so, yes.

13           Q       It talked about -- it also contained

14   information about convicted sexual abusers; is

15   that right?

16           A       You are talking about.

17           Q       The report itself.

18           A       Exhibit 8?

19           Q       Yeah.

20           A       Yes.

21           Q       Now, with respect to the Houston

22   Chronicle article as one example, there wasn't




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 294 of 386 PageID #:
                                      4348
                                                                     Page 294

1    reference to convicted child molesters in the

2    report, but instead the Houston Chronicled focused

3    exclusive on -- exclusively on Pastor Johnny Hunt,

4    did it not?

5                    MR. KLEIN:       Objection as to form.             You can

6    answer.

7                    THE WITNESS:       I haven't read those

8    articles in a while.             I'm not sure what all they

9    did, but I know that they did write an article, as

10   you've given me these text messages, about the

11   matter involving Mr. Hunt.

12   BY MR. MACGILL:

13          Q        Now, your company Guidepost Solutions,

14   does it have a code of commitment?

15                   MR. KLEIN:       Objection as to form.             You can

16   answer.

17                   THE WITNESS:       I'm not sure.

18   BY MR. MACGILL:

19          Q        You have not seen what your company

20   designates as its code of commitment?

21          A        If you are talking about a code of

22   commitment or code of conduct, I think they do




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 295 of 386 PageID #:
                                      4349
                                                                     Page 295

1    have that, yes.

2           Q        And there's a code of commitment at

3    Guidepost that you are familiar with, right?

4           A        I believe so.

5           Q        And integrity is at the heart of

6    everything we do.         That's what you say.                That's

7    what Guidepost says; is that right?

8           A        That's correct.

9           Q        Okay.   And with respect to that code of

10   commitment, did you endeavor to follow that in

11   terms of your work on the Guidepost work for --

12   associated with this investigation that's the

13   subject of this lawsuit?

14          A        Yes.

15          Q        Did you understand that the code of

16   commitment obligates you to act ethically and

17   honestly and with integrity in your work?

18          A        Yes.

19          Q        Now, you wrote in the report -- or

20   strike that.

21                   Guidepost wrote in its final report that

22   "state licensing records from the time indicate that




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 296 of 386 PageID #:
                                      4350
                                                                     Page 296

1    Mr. Blankenship was not a licensed counselor."

2                    Do you remember that.

3           A        Yes.

4           Q        Now, in fact, it's a reality that

5    Mr. Blankenship did not need a professional

6    counseling license in 2010, did he?

7           A        I'm not aware of whether he needed

8    REDACTED   or not.     That's a legal conclusion.

9           Q        Why would you say in the report that he

10   was not a licensed counselor without looking to

11   whether it was required that he would be a

12   licensed counselor?

13          A        Because that's the information that we

14   had, that he was not a licensed counselor.

15          Q        But the fact of the matter is he was

16   providing counseling under an exception to the

17   counseling license agreement -- licensing

18   requirements, wasn't he?

19                   MR. KLEIN:       Objection as to form.             You can

20   answer.

21                   THE WITNESS:       I'm not sure about exactly

22   how he was practicing at that time.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 297 of 386 PageID #:
                                      4351
                                                                     Page 297

1    BY MR. MACGILL:

2            Q       Ma'am, you said he was not a licensed

3    counselor in the report, the Guidepost --

4            A       He did not hold a state license.                  That's

5    all that we said in the report.                    That's what we

6    said.

7            Q       Right.   But if you were going to be fair

8    about it, ma'am, you would have confirmed by your

9    own writing at Guidepost that he was authorized

10   specifically by Georgia law to do what he did as a

11   counselor, right?

12                   MR. KLEIN:       Objection.          Calls for a legal

13   conclusion.        You can answer.

14                   THE WITNESS:       We did not -- we did not

15   include Georgia law in the report describing an

16   exception.

17   BY MR. MACGILL:

18           Q       You did no investigation as to whether

19   he was exempted from any licensing requirement,

20   that is Mr. Blankenship, as a part of your report,

21   right?

22                   MR. KLEIN:       Objection as to what she did




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 298 of 386 PageID #:
                                      4352
                                                                     Page 298

1    versus what Guidepost did.                You can ask her

2    certainly what she did.

3    BY MR. MACGILL:

4            Q       Let's make sure -- you took no steps.

5    You did nothing yourself to determine whether

6    licensing was required for Mr. blankenship; is

7    that right?

8            A       I did not, but I will also tell you that

9    the REDACTED were under the impression or told us

10   that they were impression that he was a licensed

11   counselor.

12           Q       Now, let's continue based on the

13   counsel's objection, not only did you fail to take

14   any investigatory steps to determine whether

15   licensing was required for Mr. Blankenship, your

16   colead investigator didn't do so either to your

17   knowledge, did he?

18                   MR. KLEIN:       Objection.          You can answer.

19                   THE WITNESS:        I'm not sure what, if

20   anything, Mr. Holske did as well.

21   BY MR. MACGILL:

22           Q       And as a matter of fact, to your




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 299 of 386 PageID #:
                                      4353
                                                                     Page 299

1    knowledge, Guidepost the company, the entire

2    company, did nothing -- to repeat -- nothing to

3    determine whether or not Mr. Blankenship required

4    a licensure to be a counselor under Georgia law?

5           A        I do not know of anything -- I do not

6    know of anything that Guidepost did -- anybody in

7    the company did in that regard.

8           Q        But nevertheless, what Guidepost said to

9    the public published to millions of people, "State

10   licensing records from the time indicate that

11   Mr. Blankenship was not a licensed counselor.

12   That's what the report says, right?

13                   MR. KLEIN:       Objection.          Mischaracterizes

14   the statement, but you can answer.

15                   THE WITNESS:       The report does say that he

16   was not a licensed counselor.

17   BY MR. MACGILL:

18          Q        One more exhibit and then I think we're

19   finished.

20                   (KILPATRICK Exhibit Number 33 was marked

21                   for identification.)

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 300 of 386 PageID #:
                                      4354
                                                                          Page 300

1    BY MR. MACGILL:

2               Q       Ma'am, I'm going to hand you Exhibit 33.

3    And my question first is if you look at                             REDACTED

4    REDACTED       on Exhibit 33, this                    REDACTED

5      REDACTED
                                                                                    REDACT
6               A       At the very bottom it looks like it's

7                                        REDACTED

8          REDACTED

9               Q       My mistake.         Now, what role did Sunny

10   Lee have?

11              A       Sunny Lee works in our -- she works on

12   faith-based matters and worked on this engagement

13   as well.

14              Q       So, ma'am, I want to look at the REDACTED

15                                REDACTED                                  Do you

16   see that?

17              A        REDACTED

18              Q      REDACTED


19              A       Yes.

20              Q       Mr. Holske says to you:                       REDACTED

21                                REDACTED

22    REDACTED




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Case 3:23-cv-00243      Document 219-7    Filed 07/03/24                       888-391-3376
                                                               Page 301 of 386 PageID #:
                                         4355
                                                                      Page 301

1                    Do you see that?

2            A       Yes.

3            Q                   REDACTED

4            A       Yes.

5            Q       Then you responded on REDACTED

6           REDACTED

7                                 REDACTED

8                                 REDACTED

9                       REDACTED

10                   Is that your REDACTED

11           A       Yes.

12           Q       And by                REDACTED

13       REDACTED

14           A       The REDACTED .

15           Q       Now, I want to go back to the REDACTED

16                       REDACTED                               that you

17   identified earlier.              In this REDACTED she says in

18   the last sentence at the bottom of the first

19   paragraph.                              REDACTED

20                                    REDACTED

21               REDACTED

22                   REDACTED                       Do you see that?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                      888-391-3376
                                                           Page 302 of 386 PageID #:
                                      4356
                                                                     Page 302

1           A        I do see it.

2           Q        Now, focusing on her words, REDACTED

3                       REDACTED                             do you agree

4    with her characterization that the Guidepost

5    report had as its                      REDACTED

6                REDACTED

7                    MR. KLEIN:       Objection as to form.             Lack of

8    personal knowledge.          You can answer.

9                    THE WITNESS:       I don't know what Ms. Lee

10   meant by this, but the way that I read it is that

11                                REDACTED

12                             REDACTED

13              REDACTED

14                   MR. MACGILL:       Take a short break.             I think

15   we're virtually finished.

16                   VIDEOGRAPHER:       We're off the record at

17   4:10 p.m.

18                   (Whereupon, a brief recess was taken.)

19                   VIDEOGRAPHER:       We're now back on the

20   record at 4:17 p.m.          You may proceed.

21   BY MR. MACGILL:

22          Q        Ma'am, just a few more questions.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 303 of 386 PageID #:
                                      4357
                                                                     Page 303

1           A        With respect to the event involving

2       REDACTED        and Pastor Johnny Hunt that is the

3    subject of the Guidepost report, if you as an

4    investigator, ma'am, had concluded that the

5    interactions between them were consensual, would

6    you have left Johnny Hunt out of the report.

7                    MR. KLEIN:       Objection.          Calls for

8    speculation, but you can answer.

9                    THE WITNESS:       Yes.

10   BY MR. MACGILL:

11          Q        One final question, ma'am.               If you had,

12   based on your investigation, determined that the

13   events between         REDACTED           and Pastor Johnny Hunt

14   in 2010 were likely consensual, would you have

15   left the reference to this event out of the

16   Guidepost report?

17                   MR. KLEIN:       Objection.          Calls for

18   speculation.        You can answer.

19                   THE WITNESS:       Do you have a definition for

20   likely?

21   BY MR. MACGILL:

22          Q        Yes, I do.       More likely than not.




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 304 of 386 PageID #:
                                      4358
                                                                     Page 304

1                    MR. KLEIN:       Same objection, but you can

2    answer.

3                    THE WITNESS:       So you are saying if it was

4    more likely than not that it was consensual.

5    BY MR. MACGILL:

6           Q        Right.

7           A        Yes.

8           Q        Then you would have let it out of the

9    report?

10          A        Yes.

11                   MR. MACGILL:       Okay.      That's all we have,

12   sir.

13                   MR. KLEIN:       I believe Brandon has a couple

14   of questions.

15                   EXAMINATION BY COUNSEL FOR THE EC

16   BY MR. BUNDREN:

17          Q        Ms. Kilpatrick, my name is Brandon

18   Bundren.        You understand that I represent the

19   Executive Committee in this lawsuit?

20          A        Yes.

21          Q        And earlier today plaintiff's counsel

22   asked you about the meeting between yourself and




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 305 of 386 PageID #:
                                      4359
                                                                     Page 305

1    Mr. Holske and Dr. Hunt that occurred on May 12,

2    2022, correct?

3            A       Yes.

4            Q       And that was the second meeting that you

5    had with Dr. Hunt?

6            A       That's correct.

7            Q       And in that meeting that was when you

8    and Mr. Holske discussed the specifics of the

9    incident that took place between Dr. Hunt and

10   Ms. REDACTED on July 25th, 2010; is that right?

11   That's correct.

12           A       That's correct.

13           Q       And that's when you confronted Dr. Hunt

14   about those allegations that Ms. REDACTED made; is

15   that right?

16           A       Yes.

17           Q       Did Dr. Hunt during that interview ever

18   tell you on May 12, 2022, that he had kissed

19   Ms. REDACTED ?

20           A       No.

21           Q       During that interview did Dr. Hunt ever

22   tell you that he awkwardly fondled Ms. REDACTED ?




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 306 of 386 PageID #:
                                      4360
                                                                     Page 306

1            A       No, he did not.

2            Q       In fact, I believe whats in your report

3    is he told you there was no contact whatsoever

4    between himself and Ms. REDACTED ; is that right?

5            A       That's what he told us.

6            Q       Did Dr. Hunt ever tell you during that

7    interview that it was Mrs. REDACTED who initiated

8    the encounter between him and Dr. Hunt?

9            A       No, he did not.

10           Q       Are you aware that less than a year

11   after your conversation with Dr. Hunt that he told

12   the world that he kissed Mrs. REDACTED , awkwardly

13   fondled her and that Ms. REDACTED initiated the

14   contact between he and Mrs. REDACTED ?

15           A       Yes.   I am aware of that.

16           Q       But Hunt -- Dr. Hunt never told you that

17   during your conversations with you, did he?

18           A       No, he did not.

19                   MR. BUNDREN:        Pass the witness.

20                   MR. KLEIN:       I have no questions.               Thank

21   you.

22




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 307 of 386 PageID #:
                                      4361
                                                                      Page 307

1    BY MR. MACGILL:

2            Q       So ma'am, let's be more specific.                    Let's

3    now -- Mr. Bundren has had a chance to ask you

4    some questions about May 12, 2022.                      I'd like you

5    to tell this court and jury exactly what you asked

6    Pastor Johnny Hunt on May 12, 2022.                       Your

7    questions of him when you quote "confronted him."

8    Tell the court and jury exactly what you asked

9    him?

10                   MR. KLEIN:       Objection.          Asked and

11   answered, but you can answer again.

12                   THE WITNESS:        Mr. Holske led that

13   interview and so I asked follow-up questions as

14   necessary but I did not ask the specific questions

15   of him.

16   BY MR. MACGILL:

17           Q       What specifically, ma'am, did Mr. Holske

18   ask Pastor Johnny Hunt?

19           A       I believe that he asked him --

20           Q       You believe or know?

21           A       I do not have an independent

22   recollection apart of notes as to the specific




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 308 of 386 PageID #:
                                      4362
                                                                     Page 308

1    questions that Mr. Holske asked.

2            Q       One minute.       So you, ma'am, have no

3    independent recollection of the specific questions

4    that Mr. Holske asked Pastor Johnny Hunt on

5    May 12, 2022?

6            A       That's correct.

7            Q       Did you take contemporaneous notes of

8    that?

9            A       Yes, I did.

10           Q       Did Mr. Holske?

11                   MR. KLEIN:       Objection as to form.             You can

12   answer.

13                   THE WITNESS:       That interview, as we said

14   earlier, was conducted virtually, and Mr. Holske was

15   in a different location than I was.                     And so I'm not

16   sure if he took them.             I didn't see -- I wasn't able

17   to see what he was taking.               I think that afterwards

18   we compared our reports.

19                   MR. MACGILL:       Give us one minute, if you

20   would.

21                   VIDEOGRAPHER:       Off the record at 4:26 p.m.

22                   (Whereupon, a brief recess was taken.)




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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 309 of 386 PageID #:
                                      4363
                                                                     Page 309

1                    VIDEOGRAPHER:       We are now back on they

2    record at 4:40 p.m.          You may proceed.

3                    MR. MACGILL:       We have no further

4    questions.        Thank you.       Thank you, everyone.

5                    VIDEOGRAPHER:       This now end the deposition

6    Samantha Kilpatrick.             We are off the record at 4:40

7    p.m.

8                    (Whereupon, at 4:40 p.m., the deposition

9                    of SAMANTHA KILPATRICK was concluded.)

10                               * * * * *

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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 310 of 386 PageID #:
                                      4364
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24   Page 311 of 386 PageID #:
                                      4365
                                                                          Page 311

1                                Veritext Legal Solutions

                                    1100 Superior Ave

2                                         Suite 1820

                                  Cleveland, Ohio 44114

3                                  Phone: 216-523-1313

4    February 22, 2024

5    To: Mr. Klein

6    Case Name: Hunt, Johnny M.      v. Southern Baptist Convention; Et Al.

7    Veritext Reference Number: 6438470

8    Witness:     Samantha   Kilpatrick           Deposition Date:     2/2/2024

9    Dear Sir:

10   Enclosed please find a deposition transcript.            Please have the witness

11   review the transcript and note any changes or corrections on the

12   included errata sheet, indicating the page, line number, change, and

13   the reason for the change.      Have the witness’ signature notarized and

14   forward the completed page(s) back to us at the Production address

     shown

15

     above, or email to production-midwest@veritext.com.

16

     If the errata is not returned within thirty days of your receipt of

17

     this letter, the reading and signing will be deemed waived.

18

     Sincerely,

19

20   Production Department

21

22   NO NOTARY REQUIRED IN CA

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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                       888-391-3376
                                                             Page 312 of 386 PageID #:
                                       4366
                                                                          Page 312

1                          DEPOSITION REVIEW
                      CERTIFICATION OF WITNESS
2
                ASSIGNMENT REFERENCE NO: 6438470
3               CASE NAME: Hunt, Johnny M.       v. Southern Baptist Convention;
     Et Al.
                DATE OF DEPOSITION: 2/2/2024
4               WITNESS' NAME: Samantha       Kilpatrick
5               In accordance with the Rules of Civil
         Procedure, I have read the entire transcript of
6        my testimony or it has been read to me.
7               I have made no changes to the testimony
         as transcribed by the court reporter.
8
         _______________           ________________________
9        Date                      Samantha     Kilpatrick
10              Sworn to and subscribed before me, a
         Notary Public in and for the State and County,
11       the referenced witness did personally appear
         and acknowledge that:
12
                They have read the transcript;
13              They signed the foregoing Sworn
                      Statement; and
14              Their execution of this Statement is of
                      their free act and deed.
15
                I have affixed my name and official seal
16
         this ______ day of_____________________, 20____.
17
                      ___________________________________
18                    Notary Public
19                    ___________________________________
                      Commission Expiration Date
20
21
22
23
24
25

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Case 3:23-cv-00243   Document 219-7     Filed 07/03/24                       888-391-3376
                                                             Page 313 of 386 PageID #:
                                       4367
                                                                          Page 313

1                          DEPOSITION REVIEW
                      CERTIFICATION OF WITNESS
2
                ASSIGNMENT REFERENCE NO: 6438470
3               CASE NAME: Hunt, Johnny M.       v. Southern Baptist Convention;
     Et Al.
                DATE OF DEPOSITION: 2/2/2024
4               WITNESS' NAME: Samantha       Kilpatrick
5               In accordance with the Rules of Civil
         Procedure, I have read the entire transcript of
6        my testimony or it has been read to me.
7               I have listed my changes on the attached
         Errata Sheet, listing page and line numbers as
8        well as the reason(s) for the change(s).
9               I request that these changes be entered
         as part of the record of my testimony.
10
                I have executed the Errata Sheet, as well
11       as this Certificate, and request and authorize
         that both be appended to the transcript of my
12       testimony and be incorporated therein.
13       _______________           ________________________
         Date                      Samantha     Kilpatrick
14
                Sworn to and subscribed before me, a
15       Notary Public in and for the State and County,
         the referenced witness did personally appear
16       and acknowledge that:
17              They have read the transcript;
                They have listed all of their corrections
18                    in the appended Errata Sheet;
                They signed the foregoing Sworn
19                    Statement; and
                Their execution of this Statement is of
20                    their free act and deed.
21              I have affixed my name and official seal
22       this ______ day of_____________________, 20____.
23                    ___________________________________
                      Notary Public
24
                      ___________________________________
25                    Commission Expiration Date

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Case 3:23-cv-00243   Document 219-7     Filed 07/03/24                       888-391-3376
                                                             Page 314 of 386 PageID #:
                                       4368
                                                                     Page 314

1                              ERRATA SHEET
                     VERITEXT LEGAL SOLUTIONS MIDWEST
2                        ASSIGNMENT NO: 6438470
3      PAGE/LINE(S) /                  CHANGE                 /REASON
4      ___________________________________________________
5      ___________________________________________________
6      ___________________________________________________
7      ___________________________________________________
8      ___________________________________________________
9      ___________________________________________________
10     ___________________________________________________
11     ___________________________________________________
12     ___________________________________________________
13     ___________________________________________________
14     ___________________________________________________
15     ___________________________________________________
16     ___________________________________________________
17     ___________________________________________________
18     ___________________________________________________
19
       _______________                  ________________________
20     Date                             Samantha          Kilpatrick
21     SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
22     DAY OF ________________________, 20______ .
23                      ___________________________________
                        Notary Public
24
                        ___________________________________
25                      Commission Expiration Date

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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 315 of 386 PageID #:
                                      4369
 [& - 20]                                                                      Page 1

         &             1100 311:1           131,000 231:22         18 4:17 120:16
  & 2:9,13 6:1         11:59 155:15           235:18 236:5           120:17,19
                       11th 139:20          13507 119:9            180 234:14
          0
                         144:10,12          13510 119:10           180,000 231:21
  0000243 1:5          12 56:18,21,22       13573 310:18             233:1 234:8
  000434 75:18           57:3,3,7 67:14     139 4:8                  235:1
  0024 5:9               67:17 68:7,15      13:50 285:6            1820 311:2
  05/12 129:10           69:7 72:15         13th 142:17            19 11:10
          1              81:4 121:2,8         147:20,22            1990 226:9
  1 4:15 37:12           128:14 129:5         176:21               1993 9:18
    67:10 77:8           132:10 133:2       14 208:12              1996 10:9,18
    108:8 176:6,11       134:3 137:8        14554 232:13           1997 11:10
    208:11 210:12        139:11 140:1       149 183:14             1:18 156:2,4
    227:22 235:5         141:9 153:9        14th 117:6             1st 215:4,9
    236:17 237:8         175:19 176:12        210:12                 220:6,21
  1,200,000              228:14 233:1       151 36:15 38:9           221:14 222:10
    228:18               234:18 235:2       153 31:10,12,16          226:3 228:11
  10 67:2 108:5          236:18 267:7         32:4 38:9              230:17 232:21
    108:16 109:4         268:2 305:1,18       41:14                  236:7
    133:3 301:5          307:4,6 308:5      156 2:4 250:2,4                2
  10,000 217:14        1200 2:5               250:5
                                                                   2 1:13 4:16
  100,000 228:12       1221 2:21            156,000 231:20
                                                                     42:13 46:3
  10016 2:10           1250 1:15,21         157 252:17
                                                                     77:8 203:17,17
  103 4:7                5:11               158 66:1 69:14
                                                                     207:3 208:6
  10:35 88:10          129 4:8                69:22 71:12,14
                                                                   2,160,000
  10:53 88:13          12:38 142:21           71:15 75:4
                                                                     233:19 235:2,8
  10th 300:15,17       12th 116:21            249:16
                                                                   2,291,000 236:9
  11 101:6               121:13 130:10      15:25 129:20
                                                                   2.1 235:17
    102:15 103:15        139:1,16           16 21:8,10
                                                                   2/2/2024 311:8
    104:7,13 105:7       175:16 177:15        245:3
                                                                     312:3 313:3
    105:14 107:3       13 142:21            1600 2:18
                                                                   20 4:18 16:7,9
    107:19 109:15        145:15,16          161 205:6
                                                                     16:18,22 18:9
    111:6,6 113:7        147:18,21          17 147:5,21
                                                                     19:1 20:1,6,8,9
    137:12 145:1         148:1 151:18         149:8,11
                                                                     20:13,16,19
                         231:22               153:11,20
                                                                     23:20 24:5,6
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 316 of 386 PageID #:
                                      4370
 [20 - 29]                                                                     Page 2

    24:19 27:16          211:12 228:13        108:5,16 121:2         116:22 119:15
    28:12,13 29:1        234:19 248:15        121:8 129:5            120:8 137:16
    30:7,10,12,22        250:10,13,17         133:3 137:12           137:21 138:15
    33:5 34:5,15         252:1,12 254:7       145:1,15,16            138:22 144:7
    35:16 36:2           255:2,9 256:13       147:7 163:21           145:12 285:6
    163:20 164:18        271:15 296:6         164:7 167:19           285:16
    165:7,10             303:14 305:10        171:5 175:16         2400 2:21
    166:11,13          2011 40:15             175:19 212:22        244 4:11
    167:10 312:16        41:8 45:15           213:2 215:4          25 4:8 129:1,4
    313:22 314:22        231:22               220:6 222:10           130:8 145:9
  2000 208:5,12        2012 11:16,17          226:3 227:22         25433 2:18
  20005 1:16,22          11:18,20 62:16       228:11,13            259 4:11
  2001 11:10,11          64:4,20 251:7        230:17 234:19        25th 32:15
    11:12,16             251:17 254:11        237:3 240:10           189:19 305:10
  2009 40:19,22          255:16 258:11        245:3 246:16         26 4:8 65:13
    41:8 44:14         2020 210:12            259:21 283:16          66:21 76:4
    45:2,2,14          2021 8:17,18           285:6,17               139:6,7 145:14
  2009-2011              9:4 12:7,8           291:20,22              145:16
    41:17                90:16 92:12          292:16 300:15        260 4:12
  201 4:9                208:5,12             300:18 305:2         26th 59:14
  2010 24:11             210:12               305:18 307:4,6         158:2,4
    25:17 27:18        2022 8:14 9:5          308:5                27 4:9 201:2,5
    40:4,15 41:8         16:1,4 17:7,16     2024 1:13 5:3            211:21
    42:3,13 44:12        30:4 49:8,9          311:4                28 4:10 209:9
    46:3 51:3            51:16 53:19        2028 310:21              214:12,15,17
    56:10 57:13,19       54:6 55:3          214 4:10                 219:18 220:7
    63:6,17 64:11        56:15 57:9,16      216-523-1313             220:21 222:15
    64:17,18 66:17       58:13 59:1,14        311:3                  222:21 225:7
    68:10,13,22          62:20 64:22        22 49:10 311:4           238:4,11
    69:9 80:16           65:13 67:2,8       22nd 107:5             284 4:12
    83:4 84:1            67:17 68:15          157:15               286 249:21
    86:19 148:1          69:7 72:15         23 4:7 75:14,15        29 4:11 244:7
    189:21 208:17        73:5 76:4 87:7     24 4:7 103:8,11          244:10,12
    208:19,21            90:5,16 91:8         103:12,13              259:21
    209:9,22             92:12 104:7,13       107:1,2 112:22

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 317 of 386 PageID #:
                                      4371
 [2908 - above]                                                                Page 3

  2908 2:14            32 4:12 261:4        5/31/22 4:11             249:15 250:6
  299 4:13               284:14,17          544 231:1                293:18
  2:14 129:10            288:13             554 223:4,10           80 277:9
    130:10             33 4:13 299:20         225:7,18             8:06 139:11
  2:54 246:8             300:2,4              226:12 231:19          141:9
  2nd 5:3 40:4         36 157:14,22         5:12 300:18                    9
    42:3 44:12         37203 2:14,22        5th 21:3 22:15
                                                                   9 4:17 38:18,18
          3            3:15 246:11            24:6,18 26:5
                                                                     38:19,21 40:18
                       3:23 1:5               26:13 27:13
  3 77:17 237:13                                                     42:9 44:10,12
                       3:25 121:8             28:6
  3.1 204:4                                                          45:1,14 46:1
                       3:33 5:9                     6
  3/31 164:14                                                      901 1:16 5:11
  30 4:11 90:16                4            6 4:3 77:22            9:06 260:3
    91:8 92:12         4 67:12 212:22         78:5                 9:12 1:14 5:3
    167:19 259:15        213:1              600 2:9                9:17 10:12
    259:18 260:2,9     4/4/22 4:9           6438470 311:7          9:18 10:15
    261:2 269:19       40,000 29:15           312:2 313:2          9:32 121:2
    269:20 270:17        30:19 32:20          314:2                        a
    272:13 274:11      441 61:15                    7              a.m. 1:14 5:3
    278:12 279:1       44114 311:2
                                            7 18:14,21               10:12,15 88:13
    279:14 283:15      46204 2:5
                                              19:17 20:5,12          142:21 260:3
    283:16             4:10 302:17
                                              21:1,10 26:19        abbreviate
  304 4:4              4:17 302:20
                                              28:10,22 29:11         271:1
  30th 260:22          4:26 308:21
                                              35:17 36:2,3         abc 266:13
  31 4:12 16:1,4               5              36:22 147:4          abided 165:17
    17:6,15,15
                       5 24:10 25:17          157:16,22            ability 103:5,7
    18:13 20:3
                         26:8,11,20           158:5 240:11           161:9 216:18
    30:3 147:7
                         27:15,17 29:1        241:8,10,11            217:22 219:11
    163:21 164:7
                         29:10 32:11          246:19                 230:3
    185:1 240:10
                         152:5              75 4:7                 able 52:13
    246:15 260:12
                       5/10/22 4:13         7651 167:11              100:20 192:4
    260:13,16
                       5/12/22 4:17                 8                217:1 229:20
    261:5,6,16,16
                       5/16/22 4:11                                  308:16
    262:9,10 263:6                          8 4:16 31:8,11
                       5/24/22 4:12                                above 311:15
    310:21                                    31:15 32:11
                                              36:15 71:15
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 318 of 386 PageID #:
                                      4372
 [absent - agree]                                                              Page 4

  absent 140:22        abused 207:10        actions 152:2            197:18
    141:18             abusers 179:11         221:6 231:19         admitted 87:1
  absolutely 44:5        179:13 182:14        233:7                  196:19 197:15
  abuse 12:4 25:2        293:14             activity 26:1            226:8 268:13
    25:9,12 49:3       abusing 258:4          79:12 80:3             268:17
    51:7 52:11           258:16             actual 231:14          admitting
    60:12,20 62:14     accordance             282:14,15              128:21 164:3
    81:9 90:7,14         312:5 313:5        actually 22:1            209:15
    91:7 92:10         account 152:21         27:10 29:8           admonition
    103:15 104:1       accounts               38:9 76:15             220:11
    104:11,21            290:13               86:18 122:8          advances
    105:6,13 106:5     accredited             130:3 169:4            250:22 253:2
    106:8,13             101:16               179:9 182:10           259:8
    178:12 179:8       accurate 16:14         197:3 243:10         advise 96:11
    182:1,3,5,5,12       20:20                264:1 275:21           97:9 123:15
    182:14,18          accusation           add 50:15                137:7,10
    183:11,15            173:8                120:7 126:19           213:13 279:13
    193:2 202:14       acknowledge          addition               advised 101:15
    202:21 203:20        72:1 312:11          103:16 246:21          163:12
    204:6,16 205:3       313:16               247:18,19            aeo 217:18
    208:10 210:11      acknowledged         additional             affected 291:13
    214:2 229:13         68:15 72:15,20       38:13 104:11         affection
    251:10,18          acronym                289:18 290:2           154:12
    252:9,12 253:9       290:18             address 311:14         affixed 312:15
    254:10,15          act 117:7            addressed                313:21
    255:4,17 256:6       295:16 312:14        107:16 111:17        afternoon
    256:9,13,21          313:20             adequately               235:1
    257:7,11,20        acted 75:2             216:20               ago 57:8
    258:3,10,20        acting 35:1          adjective                217:14
    259:1,3,6            69:20 70:15          239:12,13            agree 25:2,7
    267:17 268:8         72:11 87:5         admit 34:2               36:21 134:10
    269:18 271:1,6       116:14 209:4         93:13 94:9             184:9,11,15
    271:11 290:19      action 110:8,14        96:10 154:10           198:18,19
    301:21 302:3,6       113:19 280:16        154:11,17              199:2,7 200:6
    302:13               310:12,16            155:10 196:18          201:17 227:16

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 319 of 386 PageID #:
                                      4373
 [agree - answer]                                                              Page 5

    235:3 239:10        REDACTED              200:16 208:20        angry 155:11
    241:18 273:2                              209:1,16 211:6         162:11 168:17
    283:5 302:3                               211:8                announced
  agreed 33:7,19                            allow 31:19              158:5
    34:1 36:18                                50:10 112:17         annual 222:15
    38:7 79:21                                167:6 218:11           225:6 226:19
    184:14 186:6,7                            219:17                 227:9
    198:14 200:2                            allowed 166:12         answer 19:3
    209:9 217:6                               218:12 278:17          23:12,22 25:4
    279:2                                   allowing 110:1           28:19 29:4,19
  agreement                                   282:22                 31:21 33:10
    184:19 296:17                           allows 231:1             34:7 37:4 39:5
  ahead 88:7                                aloud 225:18             41:10 43:9
    246:5                                   amends 221:2             44:4,16 45:4
  aim 20:20                                 america 7:21             45:17 46:11
  al 311:6 312:3                              7:22                   48:8 50:10,11
    313:3                                   american                 50:14,17 53:21
  alex 2:8 5:22        allegation 91:7        158:11                 57:11 58:16,16
    13:12,13,15,21       104:12 105:13      amount 224:12            58:21 63:10
  alex's 13:17           197:19 202:22        224:17 226:4           65:16 66:4
   REDACTED              268:2                226:18 228:1           67:20 69:4
                       allegations            229:14 233:9           73:7 74:8,18
                         49:4,19 67:1,7       234:5                  75:7 80:20
                         68:4,17 82:14      amounts                  82:18 83:6
                         90:7 92:10           237:20                 84:8,9 85:1,9
                         104:1,3,21         analysis 40:9            87:11,16 88:4
                         105:6 106:5          204:12                 89:8 90:10,20
                         159:20 183:15      anderson 3:4             91:12,13,19
                         203:20 204:6       anger 158:21             93:19 94:5
                         204:16,18            160:18 161:6           95:12 96:15
                         205:3 207:10         161:11,13              98:18 99:21
                         208:10,10            162:11,20              100:14 101:19
                         210:11 305:14        169:17 170:18          103:20,21
                       alleged 118:7          171:12                 105:16,16,21
                         199:22 200:13                               106:1,19,21

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 320 of 386 PageID #:
                                      4374
 [answer - appreciate]                                                         Page 6

    110:10 111:21        211:10 212:16        302:8 303:8,18       anticipate
    113:10 114:1         213:9,11,12,15       304:2 307:11           262:15
    114:16 116:2         215:14 218:15        308:12               anticipated
    119:2 120:11         220:11,14          answered 37:3            138:20 262:11
    121:16 122:5         222:18 226:21        41:10 44:4             262:21 266:15
    123:5,21             227:12 228:4         45:17 57:11          anybody 98:2
    124:14 125:13        228:21 232:3         58:9 59:4 73:7         124:3 136:11
    127:5,17,18,19       233:3 234:1,11       74:18 80:19            171:13 268:1
    130:19 132:2         235:10,13,20         83:6 88:4              274:16 279:8
    132:18 133:8         236:20 237:5         90:20 92:13            299:6
    134:6,19 135:8       237:16 240:7         103:19 110:10        anymore 218:3
    135:9 136:1,21       240:19 241:4         111:20 119:20          218:8
    138:1 140:4,11       241:22 242:8         120:11 125:4         apart 162:4
    141:3 142:4          243:1,8 244:5        127:5,17 134:6         287:18 307:22
    143:17 144:3         248:17 253:18        134:18 136:21        apologies
    145:4 148:12         255:7,19             140:3 143:17           132:17 159:6
    149:1,19 151:2       256:16 257:5         144:3 169:20           244:6
    152:19 153:13        258:1,13             170:7 177:17         apologize 89:16
    153:22 161:7,8       261:19 263:8         184:6 196:6            124:10,21
    162:16 164:12        263:19 264:20        198:17 207:6           125:2 232:12
    169:20 170:9         265:9 266:7,18       209:19 211:10        apology 124:11
    174:11 182:22        267:12 268:5         218:14 225:2           125:16 221:5
    183:5 184:6          268:15 269:3         228:3 242:7,22       appear 76:5
    185:15 186:14        273:14 274:7         258:13 264:20          312:11 313:15
    187:12 188:7         274:14 275:2         266:6 268:15         appeared 35:8
    188:20 189:7         275:13 277:1,5       268:21 284:10        appears 31:4
    189:15 190:19        278:5 279:21         288:10 307:11          151:19 280:7
    191:4 193:7,17       280:16 282:19      answering                284:22 310:5
    193:18 196:13        283:8 284:1,10       37:10 71:16          appended
    198:8,17             285:4 288:10         128:6 224:7            313:11,18
    199:10,17            289:22 290:5       answers 37:13          application
    203:2 204:1          291:7 292:13         37:15 67:11            219:5 230:9
    205:1 206:1,20       294:6,16             75:5 78:19           appreciate
    207:7,17             296:20 297:13        79:9 199:20            118:18 230:9
    209:20 210:19        298:18 299:14

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 321 of 386 PageID #:
                                      4375
 [approach - assailant]                                                        Page 7

  approach             area 7:9               36:17 37:3             204:17,19
    88:16 95:22        argue 190:3            38:6 41:9 44:3         205:2 207:6
    96:22 227:8          200:10               45:16 46:17            209:18,19
  appropriate          argumentative          47:21 50:2             211:9 218:16
    96:11 98:11          87:10 133:7          51:1,6,17 56:5         218:17 225:1
    100:11,21            152:11,15            57:7,10,12,16          228:3 236:12
    187:19 257:14        193:6 203:8          57:21 58:4,9           242:7,21
  approval               205:22 263:7         58:12 59:1,3,6         258:12 264:19
    137:21 138:3         266:17 282:18        59:7 60:15,18          266:6 268:14
    300:22             argumentive            64:18 69:9             268:20 284:9
  approve 137:15         88:3 268:4           73:6,19 74:10          288:9 292:7
  approving            arguments              74:17 77:12            304:22 307:5,8
    186:1                165:22 201:7         78:10 79:14,17         307:10,13,19
  approximately          202:3 218:19         79:20,20 80:17         308:1,4
    89:11,21           aritf 290:17           81:3,7 82:17         asking 47:4
  april 49:8,10          291:5                83:5,18 84:1           50:5 52:6,8
    51:16 53:18        arm's 48:6             85:22 88:4             55:2 64:16
    54:6 55:3 57:9     art 269:15,17          90:19 91:12            77:19 81:4
    58:13 59:1,13      article 4:11,12        102:14 103:18          86:19 87:8
    62:11,20 65:13       259:22 260:4,5       110:9,13               88:2 92:9 99:7
    66:21 73:5,15        260:16,19            111:20 113:16          104:15 106:1
    76:4 86:6 87:7       261:16 262:3,4       116:16 119:19          109:21 110:3,4
    90:5,16 91:8         262:9,10             120:10 122:9           111:5 113:6
    92:12 171:22         263:22 283:10        127:4,16 134:5         114:11 139:9
    212:22 213:1         288:14,15            134:18,18              180:19 217:6
    215:4,9 220:6        293:22 294:9         136:20 138:14          219:6 229:22
    220:21 221:14      articles 263:5         138:21 140:2           233:19 234:3,8
    222:10 226:3         263:10,11            143:16 144:2           235:7,15 236:8
    227:22 228:11        264:1 284:4          156:14,15              237:21 242:2
    230:17 232:21        294:8                167:13 169:19          242:12 243:10
    235:5 236:7,17     ascertained            170:7 177:16           282:17
    237:8                41:5                 178:15 179:1         asks 91:14
  arant 2:21           asked 13:4             184:5 196:5,21       assailant
  arbitration            25:14 33:6,18        198:4,16               200:16
    221:4                33:22 34:17          199:11 200:1,5

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 322 of 386 PageID #:
                                      4376
 [assault - back]                                                              Page 8

  assault 25:12        associated 26:5      attorney's 11:4        ave 311:1
    26:2 178:12          72:13 76:3           11:8,9 61:2          avenue 2:9,14
    184:2,10,11,20       210:17 262:16        62:3 146:7           aware 40:8
    184:21 185:10        276:7,20 288:8       159:3 215:15           41:11 46:20
    185:18 186:1,7       289:11,19            217:20 270:8           47:1,7,8 96:2
    186:18,21            295:12             attribute 22:9           104:2 109:17
    187:5,7,10,15      assume 194:2,3       attributed               128:9 135:12
    187:20,22            228:9,10             25:17                  136:18 137:1,6
    188:1,21,22        assumption           august 12:8              137:13 145:19
    198:4,12,15,21       194:5                21:3 22:14,14          236:3 237:19
    199:3,8,14         assumptions            24:6,10,18             296:7 306:10
    200:1,13 202:9       194:7 228:15         25:17 26:5,8           306:15
    208:20 209:2         228:18               26:11,13,20          awkwardly
    209:17 211:6,8     atomic 250:18          27:13,15,17            305:22 306:12
    256:6 257:3,12     attached 4:22          28:6 29:1,10                 b
    257:21 258:3         107:12 109:11        32:10,11 40:4
                                                                   b 55:11
    258:10 259:4,6       109:12 119:14        42:3,13 44:12
                                                                   ba 9:20
    259:13 269:4         140:14,16            46:2 147:18,20
                                                                   back 10:14
    271:2,6,11           261:17 313:7         147:21,22
                                                                     19:8 28:10
  assaulted            attachment             148:1 151:18
                                                                     37:18,21 39:2
    200:21 262:13        130:7 139:16         158:1,4 181:11
                                                                     50:13,17,20
    271:17             attachments          author 240:17
                                                                     58:5 67:10
  assess 153:7           215:1                262:3
                                                                     75:10 88:12
    206:18             attempted            authored 211:2
                                                                     103:14 115:1
  assessed 43:17         132:7              authority 166:2
                                                                     131:17 138:19
    44:9               attempting             206:14
                                                                     138:22 139:22
  assessing 48:12        75:1 123:1,1       authorization
                                                                     143:2 144:7
  assessments          attended 9:15          207:2
                                                                     146:21 156:3
    206:15             attention 90:8       authorize
                                                                     156:13 164:18
  assigned 43:10         211:16 269:9         313:11
                                                                     175:18 183:6
  assignment           attitude 152:1       authorized
                                                                     200:12,16
    312:2 313:2        attorney 11:19         210:6 230:4
                                                                     203:6,17
    314:2                13:14,16             275:6 297:9
                                                                     211:21 212:6
  assist 230:11          164:21 212:5       available
                                                                     216:2 218:6,7
                         310:14               117:13,14
                                                                     218:21,22
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 323 of 386 PageID #:
                                      4377
 [back - bold]                                                                 Page 9

   219:1 223:14          51:8 86:6,7        behavior                 161:9
   223:17,20             92:11 118:9          257:14               better 69:6
   231:1 241:11          133:22 142:14      believe 15:9             82:22 100:20
   246:10 249:12         150:21 154:2         48:4,5,9 49:7          118:4 178:7
   249:13 250:13         165:16 167:1,5       51:3,6 53:10           241:7
   251:21 260:18         199:4,14             54:21 55:14          beyond 237:3
   269:10 271:14         213:10 255:15        58:8 61:6            biblical 221:4
   301:15 302:19         271:3,3,9            67:14 69:17          bit 101:4 132:8
   309:1 311:14          276:12 277:22        81:15 83:14            132:10
  background             279:7 288:21         93:8 95:18           bits 273:20
   9:12 90:4             289:4,8 292:10       98:9,14 100:9        blair 2:13
   148:13                292:11,19            105:20 108:7         blalock 292:8,9
  balcony 190:7          298:12 300:12        116:20 119:16          292:22 293:3,4
   196:22 197:1,4        303:12               121:4 127:4          blame 22:6
   197:5               basis 11:13            136:22 137:6         blank 13:18
  baptist 1:6,8          65:8 99:16           137:13 160:1         blankenship
   2:12 5:7 7:20         217:18               176:7 177:5            22:17,20,21
   51:19 52:21         bates 24:7             178:13 195:18          25:18 32:11,18
   54:17,18 55:8         61:13 75:18          197:12 200:3           36:16 41:18
   55:12,13,18,19        167:11 225:6         208:16,18              79:21 181:6,21
   56:6 57:18            232:13 249:22        210:20 238:6           247:19 248:3
   60:12,19 62:13        261:7                239:16 240:15          271:21 296:1,5
   63:1,16 78:1        battery 185:4          241:12,13              297:20 298:6
   79:4 80:4           beach 252:2            247:10 248:18          298:15 299:3
   211:18 267:15       began 228:13           255:4,10               299:11
   291:3 311:6         beginning              256:12 258:2         blurted 26:21
   312:3 313:3           29:11 45:2           291:1 293:12           27:5 36:4,11
  baptists 21:13         231:17 241:16        295:4 304:13         board 158:11
   30:21                 242:14 244:19        306:2 307:19           168:2,3,4
  bar 70:8 226:9         267:4                307:20                 276:7,12,14,18
  base 185:16          behalf 2:2,7,12      believed 51:9            277:3,6,8,15,21
  based 7:2,3,4,5        2:16 84:8            255:9                  278:2
   7:7,8,10,12,14        135:5 275:11       bell 262:8             boards 276:18
   7:18 8:5,6,7,10       275:12             best 52:9              bold 244:15,17
   29:21 30:2                                 100:10 148:4           245:17

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 324 of 386 PageID #:
                                      4378
 [bomb - ceo]                                                                Page 10

  bomb 250:18          bring 32:14            285:8 286:7          cart 269:11
  boss 98:21             37:20 218:5,6        292:18,20            case 1:4 5:9
    100:18,19            218:21,22            301:8                  17:2 37:10
  bothering            broadway 2:21        callas 2:17 6:2          42:20 62:16
    191:6              brought 32:11          6:2                    71:13 99:15
  bottom 77:7            68:22 90:8         called 6:10              116:9 123:9,19
    139:9,10 158:1     building               113:18 117:3           154:11 178:12
    225:18 259:21        290:14               128:4 156:7            179:20 193:21
    300:3,6 301:16     bullet 27:17           174:20 262:7           194:3 205:12
    301:18               30:13 167:14         266:16 292:10          219:12 255:16
  boult 2:21             210:9,10           calling 110:7            282:1 311:6
  bounds 101:14        bundren 2:20         calls 48:7 93:11         312:3 313:3
    101:22 210:6         6:4,4 61:13,17       93:12 94:2           cases 7:9 99:13
  boys 60:13,21          119:4,7,11           106:13 133:6           229:13
    62:14,22             180:8 304:16         175:2 185:14         cast 46:9
  brackets 21:11         304:18 306:19        194:6 226:20         cause 152:16
  bradley 2:21           307:3                227:11 228:19          174:7
  brandon 2:20         bush 64:4,6,8,9        228:20 233:21        caused 204:12
    6:4 304:13,17        64:10                236:19 262:18          231:20 232:7
  branson 59:19        business 70:17         270:6 285:18           233:7 280:19
  break 88:8             84:4,14,17           297:12 303:7         causes 259:12
    155:13 156:15        188:16 269:15        303:17                 269:21
    192:3 246:6          289:10,18          camps 8:1              caution 161:1
    265:13,16            290:3,9            capacity 84:8          cautious 35:21
    302:14             bylaws 79:1            135:9 182:22         cease 207:15
  breakout                      c             211:17 213:15        ceo 76:18,20
    146:14,18                                 275:13                 77:3 99:1
                       c 2:1 4:1 5:1
    215:21 223:8                            care 113:6               100:16 136:18
                       ca 311:22
  breast 185:6                              career 182:8             137:1,7,10
                       calculate
  breasts 252:4                             careful 35:21            138:3,6 143:5
                         239:20
    257:16                                    160:22                 143:6,7 144:11
                       call 110:14
  brey 5:12                                 carefully 36:1           144:22 145:8
                         141:17 174:19
  brief 10:13                               carolina 9:8,9           171:3 218:6
                         175:4,10
    88:11 246:9                               9:16 10:6              280:5,9,12
                         176:17 247:22
    302:18 308:22                             12:22 55:1             286:3,10,13,21
                         271:18,20
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 325 of 386 PageID #:
                                      4379
 [ceo - closure]                                                             Page 11

    288:6              chapel 10:6            53:11,12,13            54:12 65:9
  ceo's 137:21         characterizati...      54:13,16,17,18         179:7 228:17
  certain 47:5           33:10 87:13          54:22 55:2,5,7         233:18 235:5,8
    99:18 100:5,5        88:6 231:13          55:8,12,13,18        claimed 232:6
    115:11 161:19        302:4                55:19 56:6           claiming 198:2
    162:5 164:15       characterize           57:14,18 60:12         198:3
    247:20 284:21        182:18 194:22        60:19 62:13          claims 43:2
  certainly 119:2        252:10               63:16 65:4             217:20
    166:22 175:8       characterized          73:20 74:3,10        clarification
    212:16 216:15        183:10 256:8         80:4,22                106:22 131:17
    225:10 278:19      charge 204:15        churches 7:21          clarifications
    298:2              charged 208:9          7:22 29:15             102:20 111:3
  certificate          charleston 2:18        30:19 32:21            113:20 114:12
    310:1 313:11       check 131:16           53:14 63:1             138:14
  certification        chief 188:15         circle 152:5           clarity 275:11
    312:1 313:1        child 293:10         circulate 17:5         clause 112:5
  certify 310:4          294:1                76:9                 clear 33:12
  cetera 250:22        children 12:16       circumstance             91:21 93:22
  chain 98:16            12:18                156:20                 112:19 209:7
    259:20             choosing             circumstances            219:10
  challenge 22:22        216:15               64:10,16 65:2        cleveland 311:2
    23:6,13,18         chose 216:16           70:16 71:1           client 61:11
    44:11 216:11       christ 21:12           74:1 80:15,21          128:13 161:1
  chance 103:1           30:20                87:22 132:13           216:20,22
    307:3              christian 12:5         170:5 171:1,5          218:1,9 219:11
  change 102:6         christianity           229:17 238:22        clients 8:9 96:5
    311:12,13            7:18               cites 246:22             96:6
    313:8 314:3        chronicle            citizen 71:5           close 191:20
  changed                288:14 293:22        113:5 221:12           277:10
    115:12             chronicled             238:9                closer 197:10
  changes 114:7          294:2              city 181:11              197:13
    114:20 311:11      chronology           civil 312:5            closing 81:11
    312:7 313:7,9        175:19               313:5                  81:13 82:9
  channel 264:15       church 7:19,20       claim 25:2             closure 32:14
                         51:19 52:22          53:16,16,21

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 326 of 386 PageID #:
                                      4380
 [code - compelled]                                                          Page 12

  code 294:14,20         223:17,20            209:1,8,16,22          254:19,20
    294:21,22            289:14               210:11,22            community
    295:2,9,15         command                211:7,12 268:8         289:5
  colead 288:22          98:16                268:11,12,18         company 13:5
    298:16             comment 83:9           269:5,7 274:20         40:6 43:19
  colleague 39:11      commentary             275:6,17 279:9         44:22 45:13
    92:6                 260:4                279:19 293:1           46:18 47:22
  collecting           comments               304:19                 48:4 70:11,12
    215:11,12            81:12,13 103:1     committing               76:19 89:2
  collectively           114:6                301:21 302:3,6         97:8 98:11
    97:20              commercial             302:13                 100:10,16,21
  college 9:15           70:10              common 178:3             103:15 122:2
  collura 188:16       commission             186:11,15              124:22 128:12
  colon 167:14           310:20 312:19        286:2                  135:2 138:7
  columbia               313:25 314:25      communicate              144:11 165:5
    310:19             commitment             171:3 180:14           171:3,4,20
  combined 89:5          294:14,20,22         283:1                  202:19,20
  come 40:11             295:2,10,16        communicated             204:15 250:6
    41:4 46:16         committed              93:4,8 200:4           274:21 279:17
    80:9 130:1           183:15 211:6         288:6                  280:6,9,12
    134:12 179:20      committee 1:7        communicating            286:4,13,21
    190:13 197:3,9       2:16 6:3,5 78:2      96:7 101:20            287:20 288:7
    216:2 218:20         78:16 95:16,20       137:1 283:19           290:14 291:15
    227:9 230:22         96:12 97:4,9         283:20 284:3           294:13,19
    245:19 281:22        97:22 98:3         communication            299:1,2,7
  comes 71:17            104:22 105:5         79:5 116:9           compare 35:15
    91:18 290:4          105:12 106:6         133:4 135:11           35:17 36:13
  comfortable            123:16 124:4         135:12 168:22          94:15
    85:18 204:1          124:21 125:3         180:12 258:11        compared
  coming 65:3            125:18 135:18      communicati...           100:12,22
    74:2 80:22           135:19 136:8         15:10 47:14            190:16 308:18
    117:5 159:19         170:4 183:16         104:16 124:15        compel 281:22
    160:2 163:22         204:7 205:4          125:20 170:8           282:3
    164:8 174:22         207:11,16,21         170:11,16            compelled
    197:6 223:14         208:11,15            220:3 239:18           122:21

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 327 of 386 PageID #:
                                      4381
 [compensate - consideration]                                                Page 13

  compensate           concern 45:22        conducted 40:6         confront 172:3
    212:14               134:4,8 152:16       67:16 88:21          confronted
  compensated            159:22 179:16        97:17 308:14           305:13 307:7
    226:18             concerned            conducting             confused 89:16
  compensation           94:20 144:22         231:15               congratulate
    163:14 213:3         160:7 161:19       confer 63:14             265:5
    220:8 222:4          162:14 163:1       conference             congratulating
    228:17 231:21        171:2,14             172:7,15               286:5 287:22
    232:10,22            223:21 276:1         174:20 175:22          288:4
    233:19 234:15      concerning             176:1 258:10         congratulatory
  competence             77:19 78:10        conferences              265:15,19
    29:18 44:16        concert 35:1           94:1                 connection
    100:14               69:20 72:11        confessed                13:5 16:22
  competent              88:17 266:2          62:21                  34:22 39:19
    100:16             conclude             confidential             76:19 97:11
  complainant            258:19               52:11,13 61:8          239:8 253:14
    108:5,15           concluded              61:9 62:4,5,7        connie 5:14
    109:20               133:1 303:4        confirm 47:4           consensual
  complainant's          309:9                67:12 69:12            26:1 271:22
    101:17             conclusion 48:8        83:3 130:14            303:5,14 304:4
  complaining            133:7 134:13         159:15,15            consent 185:8
    117:9                185:15 226:21        167:18 218:17          189:1,4,13
  completed              227:1,12,14          248:19                 190:4,17
    311:14               228:20 296:8       confirmation             195:17 196:4
  comply 198:10          297:13               29:8                   200:8,10,17,19
  component            condo 154:4          confirmed                200:20 201:8
    210:16               190:13 197:1         18:15 28:16,22         201:10,17,19
  compound               252:3 257:15         41:15 86:11,20         202:4
    123:5 188:6        condominium            88:22 147:14         consented
    191:22 202:15        196:20 197:7,9       197:14 201:8           197:6,10,15
    206:1,19             197:16               272:12 297:8         consider 46:4
    222:17 263:18      conduct 165:21       confirming               102:12 132:6
    275:2                170:18 171:12        64:13                  213:22 255:16
  computer 34:4          196:4 208:3        confirms 121:6         consideration
                         228:16 294:22        273:19                 253:21

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 328 of 386 PageID #:
                                      4382
 [considered - couch]                                                        Page 14

  considered             179:11 245:18        190:12 197:16          118:9 121:7
    46:5 86:4            298:12               248:14 250:10          133:21 139:2
    115:4 149:3        continued              250:12,17              144:19 145:15
    154:5 179:15         11:21 86:3           251:13 255:3           149:17 167:2
    202:4,6              156:7,11             286:17 306:11          189:2 203:12
  considers              289:13             conversations            204:14 205:10
    179:18             continuing             101:22 170:20          208:12 215:5
  consistent 30:6        109:10 190:12        287:3,5 306:17         236:10 239:15
    182:1,2              197:15             convey 75:3              239:16 240:15
  constance 1:19       contract 33:3        conveyed 214:1           248:19 249:2
    310:2,18           contractor 9:1       convicted                250:8 252:22
  constantly             9:3,7 11:22          293:10,14              253:10 273:22
    127:10               289:12               294:1                  275:19 293:8
  consult 218:9        contrast 33:4        convinced                295:8 305:2,6
    219:11               63:4                 271:20                 305:11,12
  contact 179:10       contributions        copy 61:21,22            308:6
    267:2 306:3,14       131:18               76:1 107:9           corrected 68:2
  contained            control 83:15          280:12               corrections
    224:8 293:13         96:21              core 171:15              102:19 110:16
  contemporan...       controlling            273:1,2,3,6,10         110:20,21
    308:7                150:22 151:4,5       273:18 274:2,3         113:20 114:12
  content 219:17         151:7 152:2          278:12,22              138:14,17
    224:19 229:18      convention 1:6         292:17                 311:11 313:17
    279:10               1:8 2:12 5:7       correct 10:19          corroborate
  contents 135:3         78:2 211:18          28:17 38:10            52:13 86:3
    135:20 136:9         267:15 291:3         42:4 46:9 52:4       corroborated
    165:6                311:6 312:3          57:19 59:20            247:2,21
  context 31:21          313:3                67:14 70:14          corroborates
    45:20 68:21,22     conversation           73:2 74:4              41:17
    107:18 116:13        57:2,6 128:14        79:10,16,22          corroborating
    120:7,14 246:1       135:7 141:6          81:10 82:10,15         247:22
  continue 34:12         143:10 144:5         84:2 85:17           corroboration
    50:21 72:3           175:15 177:4         98:8 102:10            174:15
    141:16 146:12        177:10,14,19         104:6 111:8          couch 190:16
    146:13 159:7         178:19 180:9         112:8 117:3            190:17 191:20

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 329 of 386 PageID #:
                                      4383
 [couch - date]                                                               Page 15

    191:21 192:5,9      county 11:3            281:8,18,19            207:4,12
    192:14,17,20          312:10 313:15        282:1                  243:12,15
    193:5,22 194:1      couple 41:19         coverage 288:7         credible 48:17
    194:13 195:8          122:14 141:11      covered 31:4             83:12 153:7,16
    195:20 196:2          304:13               66:22 80:1             202:7 203:7,11
    197:11              course 16:19         covering                 205:7,13 206:8
  counsel 4:3,4           58:18 106:12         136:15,17              238:15,19,22
    5:5,16 6:12           215:18 219:4         253:3 259:9            239:3
    19:20 35:22           220:14 227:5       create 19:7,10         critical 43:17
    37:11 47:14,15        287:5 290:3,4        19:14 59:22            43:21,22 44:9
    47:16 104:9         court 1:1 5:8          75:1,7 87:18           133:18 145:18
    128:7 156:10          5:13 6:6 27:16       122:3,7 123:1          169:11,13
    165:21 166:10         39:9 42:1 47:2       123:2 172:22         cross 197:4
    219:16,16,21          52:5 54:4 58:6     created 16:17          crystal 209:7
    220:2 224:3           83:10 90:14          18:9 20:1,16         cummings 2:21
    230:6,21              112:4 129:7          40:7,13,14,18        cv 1:5 5:9
    282:22 304:15         131:10 147:14        40:22 41:7,16                d
    304:21 310:10         165:15,16,17         44:13 45:1,14
                                                                    d 2:3 5:1 77:5
    310:14                166:2 216:2          46:7 59:21
                                                                    damage 21:12
  counsel's 68:2          217:19 218:4         76:3,6 140:8
                                                                      30:20 226:19
    198:11 298:13         218:17 219:1         140:13 274:13
                                                                      237:2
  counseling              219:13 227:8,9       274:19 292:5
                                                                    data 41:6,16
    32:13 41:17           230:4 231:1        creating 18:22
                                                                      152:21 154:5
    296:6,16,17           252:9 265:4          20:6 23:19
                                                                    database
  counselor               279:4 281:9        credibility
                                                                      290:14
    296:1,10,12,14        282:3,8,15           43:14,18 44:1
                                                                    date 1:13 40:3
    297:3,11              283:3 287:10         44:6,10 45:22
                                                                      42:5 44:12
    298:11 299:4          307:5,8 312:7        47:20 48:13
                                                                      47:10 67:5,13
    299:11,16           court's 280:13         133:12,15,17
                                                                      67:15,15 68:6
  count 118:11            280:16 281:14        134:4,7,14
                                                                      104:13 105:7
    119:13 201:14       courtesy 88:1          145:18 147:9
                                                                      105:14 311:8
  counterintuiti...       173:9 278:17         154:2,7 169:14
                                                                      312:3,9,19
    179:7               courtroom              203:15,19
                                                                      313:3,13,25
  country 187:3           33:16 36:9,9         205:18 206:13
                                                                      314:20,25
                          130:6 280:21         206:16,18

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 330 of 386 PageID #:
                                       4384
 [dated - details]                                                           Page 16

  dated 16:1 46:2      dear 311:9           demanding                171:21 179:21
    129:5 145:1        decades 232:11         224:4 231:6            184:21 185:4
    147:7 221:9          237:10             demands 224:3            185:19 186:17
  dates 101:11         decide 112:13        demeanor                 187:4 198:20
    175:12 241:12        112:16               126:11,20              254:15 256:8,9
  david 62:16          decided 216:14       denied 74:15             256:13 271:15
  day 17:19 18:1       decision 102:7       denomination             289:20
    26:8,10 59:6         103:2 216:17         267:16               describes
    107:20 115:18        219:20,21,22       deny 132:22              288:15
    142:1 175:10         220:2,4            denying 177:13         describing
    175:22 176:21      decisions 115:5      department               202:8 297:15
    177:1 178:15       deed 312:14            311:20               description
    178:18 197:20        313:20             depends 243:20           24:21 126:11
    198:1,2,4          deemed 311:17          266:9                  126:19 152:15
    199:22 260:3       defend 281:22        depose 216:13            251:22
    269:20 271:4       defendant 4:4        deposition 1:11        designate 213:7
    312:16 313:22      defendants 1:9         4:6 5:5,10           designated
    314:22               123:9,19             61:10 91:4             62:3 212:5
  days 101:6           define 243:20          218:1,10               217:18
    102:15 104:10        243:22 253:8         242:14 309:5,8       designates
    104:10 107:3         266:9                310:3,5,9,12           294:20
    109:15 111:6       defined 185:2          311:8,10 312:1       designation
    113:7 133:3          185:11 187:8         312:3 313:1,3          217:22
    142:2 173:7        definitely 169:5     describe 15:1          designations
    179:1 245:7        definition             24:6 25:11,22          216:12
    262:12 272:13        185:12,17,18         70:16 72:10,12       destroy 46:18
    311:16               186:17,20            180:2 185:9          destroyed 47:6
  dc 1:16,22 5:12        187:1,4,6,10,14      256:1,3,6              218:14,15,18
  deadlines              187:17 252:8         265:18               detail 195:16
    117:16               256:5 303:19       described 17:1           271:16
  deal 44:18           degree 151:8           26:14 27:14          detailed 68:21
    194:11 219:13      degrees 187:6          29:1 62:7 65:9         85:15
  dealing 68:4         demand 236:17          130:15 149:7         details 31:2,3
  dealt 104:21           237:13 238:20        153:9,10 154:3         93:6 103:12,13
                                              169:12 171:6           134:1 190:2,3

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 331 of 386 PageID #:
                                      4385
 [details - documentation]                                                   Page 17

    196:15 201:7       directed 204:5       discuss 99:15     134:2,8,12,16
    201:15 238:10        229:21               152:6 175:5     135:3,15,16,20
    247:21 258:5       directing            discussed 99:10   136:7,9 140:8
    301:22               199:16               305:8           140:21 141:2
  determinating        direction 310:8      display 248:8     145:2 146:7,11
    43:13              directive              282:7           147:16 148:1
  determination          144:17 145:8       displaying        149:13 151:4
    122:13             directives             279:4 282:14    151:18,19
  determinations         99:14              disqualified      152:4 154:16
    154:1 206:12       directly 44:18         262:14          154:20 155:7
  determine 44:1         163:18 214:10      dissolved 12:12   157:12 158:4
    44:6 100:10,21     director 7:1         distinct 25:1     159:3,7 160:20
    106:14 122:15        8:14,21            district 1:1,1    160:21 161:4,8
    202:6 205:12       directors              5:8,8 11:3,8,9  161:22 162:3
    298:5,14 299:3       277:22 278:2         310:19          163:5 164:20
  determined           disagree 23:6        division 1:2      165:2 167:12
    303:12               87:12 88:5           291:15 292:5,6  183:4,7 203:22
  determining            166:5 196:7,9        292:10 293:2,6  212:4,16
    182:5 187:18         199:14 217:11      document 19:7     213:10 214:16
  different 34:3,8       219:4 223:16         19:10,16 20:6   215:16 217:5
    34:13,14 36:22       239:9,11             22:18 26:16     220:12 222:15
    37:5 53:14         disclose 73:4          28:12,19,22     222:22 223:6
    103:17 113:17        87:7 95:19           29:21 30:11     224:9,15,18,20
    116:9,15 125:8       97:16 182:15         31:20 37:16,17  227:2 228:10
    127:10,17            242:4 243:3          40:6,17,22      229:3,7 230:7
    175:2 187:5        disclosing             42:6,7,15       238:19 240:17
    201:14,15            284:7                44:13,19 46:6   240:21 241:8
    209:19 213:14      disclosure             60:16 61:1      244:11 246:16
    248:12 264:7         86:18 272:19         75:22 76:12,14  251:16 256:15
    269:11,17            273:12               76:22 84:19     261:3,10 270:8
    308:15             discovered             100:1,8 107:13  270:9 272:16
  dilemma                75:10 91:8           108:13 114:8   documentary
    301:19             discovery              115:1 116:4     194:4
  direct 138:2           15:15                118:16,19,22   documentation
    199:9 254:19                              119:2 133:13    162:4

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 332 of 386 PageID #:
                                      4386
 [documented - either]                                                       Page 18

  documented             34:17 36:17          214:6,21             eastern 54:22
    194:3                38:6 65:21           224:21 229:21        ec 4:4 104:1
  documents              66:2,15 69:15        230:17 231:3           124:16 125:7
    13:12 14:5,22        72:1,5,19,22         233:20 236:2,3         125:21 135:11
    15:1,4,12,13         73:19 74:19          236:6 242:19           170:8,11
    37:20 40:1           118:6 203:7,11     drafted 221:15           301:20 302:3,5
    46:19 47:5           205:7,13 206:8     drafts 94:2,10           302:12 304:15
    61:17 91:5           223:6,9 230:10       96:7 136:19          ed 4:12 262:13
    92:20 101:10         230:21 231:7         137:5 144:12         edit 301:6
    124:7 160:11         250:21 251:5       drawing 13:18          edited 4:13
    160:16 217:2         252:3 253:2        drive 41:6,16          edits 115:21
    217:14,15,16         258:4,16 259:7       152:2                  121:9,14,15
    217:21 218:10        270:12 278:20      driving 97:2             122:16,20
    218:13 219:7         305:1,5,9,13,17    duly 6:10 156:8          126:2 127:2,8
    219:12 221:8,8       305:21 306:6,8       310:5                  127:13 128:12
    249:4 253:20         306:11,16                  e                130:13,15
    282:15             draft 4:7,8                                   131:2,5,11
                                            e 2:1,1 4:1 5:1,1
  doe 232:16             93:15 94:16,20                              138:9,13 139:1
                                              11:6 55:11,11
  doing 11:12            94:21 95:4,5,6                              140:1,1,8
                                              156:1,1
    48:16 83:1           95:8,22 96:13                               141:9,11 143:3
                                            earlier 50:1
    97:3 98:15           101:7,9,16                                  143:15 144:1
                                              88:22 133:17
    112:20 134:11        102:5,18                                    144:18 145:11
                                              147:14 159:2
    166:3 173:11         109:11,12,21                              educated 9:14
                                              168:10 201:8
    175:14 232:19        110:2 112:17                              education 9:11
                                              216:18 217:6
    245:19 263:3         115:15,21                                   10:1
                                              220:11 252:10
    285:21               116:17 117:4,9                            effect 165:19
                                              266:8 270:10
  dollars 221:19         117:20 118:14                               221:15 230:6
                                              271:13 278:8
    224:21 238:20        119:14,18                                 effort 93:3
                                              301:17 304:21
  door 197:3,8           120:2 131:21                              efforts 64:3
                                              308:14
    289:14               137:8,11,14                                 80:10
                                            early 11:10
  doubt 46:9             138:8,12,16                               eight 269:20
                                              301:8
  doubts 271:5           139:19 140:13                               272:13
                                            ears 27:3 28:5
    271:10               142:10 143:7                              either 204:21
                                            easier 281:10
  dr 32:12,18,21         143:13,22                                   213:13 257:11
                                            east 2:4
    33:6,18,22           144:10,15                                   257:20 276:7

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 333 of 386 PageID #:
                                      4387
 [either - event]                                                            Page 19

    298:16               273:15,17          engaged 17:15          environments
  elected 97:19          274:16 279:6,7       122:2                  12:5
  electronic             279:10,18,22       engagement             equivocation
    75:18 241:14         280:4 283:5,10       4:16 98:10             34:3
  element 228:17         283:16,18            104:1 106:4,12       err 173:19
    233:17 235:4,7       284:18 300:4,4       202:12,19              174:1
  elements 236:8         300:7,14             203:13 205:16        errata 311:12
    274:3                301:10,15,17         206:16 207:3,8         311:16 313:7
  eligible 177:11        311:15               210:7,8 267:13         313:10,18
  ella 3:4             emailed 93:15          278:8 300:12           314:1
  elmo 130:6             94:2,9 214:9       engages 207:9          error 173:21
  else's 287:14        emailing             enjoyed 155:4            174:8
  email 4:9,11,13        115:14             entered 313:9          esquire 2:3,3,8
    39:14 93:5         emails 15:3,7,8      enterprise               2:8,13,17,20
    94:1,16 101:5        15:9,11,14           123:17               essence 131:21
    102:22 107:3         93:11 94:7         entire 203:21          essentially
    107:19 108:19        221:1 225:14         299:1 312:5            132:7
    109:8,11 113:2     emphasize              313:5                established
    113:14,15,17         43:21              entirety 147:12          199:19 292:9
    113:22 114:3       employed 6:19        entities 95:20         esteemed 95:15
    115:19 119:7         6:21 8:13 12:4     entitled 238:3         et 250:22 311:6
    130:1,9 137:18       310:11,14            262:13                 312:3 313:3
    139:9,10,14        employee             entity 171:21          ethically
    140:16 141:5,8       289:16,17            262:7 276:8            295:16
    141:14,20,21         310:13               290:17,22            evaluate 46:13
    142:5,14           enclosed             entreaty               evaluated
    143:10,18            311:10               124:20                 152:16
    145:1,9,15,16      encounter            entries 39:17          evaluating
    211:21 212:1         154:3 189:5        entrusted                207:12
    213:5 214:5,17       239:3 306:8          98:11                evening 180:3
    215:3 259:19       encounters           entry 21:3 24:5          189:5,18,20
    259:20,21            48:22 49:2           24:10 27:17          event 26:6
    260:3,9,21,21      endeavor 16:13         29:1,10 147:20         56:13 66:17
    261:16,17            295:10               158:1,4,17             118:7 179:21
    267:2 271:9                                                      180:13 182:19

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 334 of 386 PageID #:
                                      4388
 [event - exhibit]                                                           Page 20

    183:10 267:7         207:13 255:9         78:16 95:16,20         21:1,10 23:20
    293:5 303:1,15       270:19 271:18        96:12 97:4,9           24:5,6,19
  events 24:7,18         291:2 296:21         97:16,22 98:2          26:19 27:16
    26:13 27:15          307:5,8              104:22 105:5           28:10,12,13,14
    32:14 57:7         examination            105:11 106:6           28:21 29:1,10
    81:4 118:12          4:2 6:12 40:5        123:16 124:4           30:7,10,12,22
    125:19,21            40:12,17 156:7       124:21 125:2           31:8,11,15
    136:14 144:21        156:10 304:15        125:18 135:17          32:11 33:5
    189:17 277:16      examined 6:11          135:19 136:8           34:5,15 35:16
    303:13               156:8                170:4 171:4            35:17 36:2,3
  everybody            example                183:16 204:6           36:15,22 37:12
    61:19 70:3           264:12 293:22        205:3 207:10           38:18,18,19,21
    287:14,20          except 174:13          207:16,21              40:18 42:9
  evidence 86:9          268:2 289:1          208:11,15              44:10,12 45:1
    178:10 189:4       exception              209:1,8,16,22          45:14 46:1
    189:11 190:4         296:16 297:16        210:11,22              67:10 71:15
    193:21 194:4       exchange 4:11          211:7,12 268:8         75:14,15 103:8
    195:16 200:7,8       4:12,17 219:16       268:10,12,18           103:11,12,13
    200:9,17,18,20       244:12               269:5,7 274:19         107:1,2 108:8
    201:9,10,15,16     exchanged              275:5,17 279:9         112:22 116:22
    201:16,19            115:17 129:12        279:19 293:1           119:15 120:8
    255:14 267:6       exchanges              304:19                 120:16,17,19
  exact 58:15            137:4 287:22       exempted                 129:1,4 130:8
    59:5 60:14           288:3,6              297:19                 137:16,21
    67:5 83:15         exchanging           exercised                138:15,22
    89:22 125:5          265:17               216:12                 139:6,7 144:7
    217:1              exclusive 294:3      exhibit 4:7,7,8          145:9,12,14,16
  exactly 46:6         exclusively            4:8,9,10,11,11         147:4 157:16
    52:17 53:1           294:3                4:12,12,13,15          157:17,21
    58:6,11,22         executed               4:16,16,17,17          158:5 163:20
    69:1 76:15           313:10               4:18 16:7,9,18         164:18 165:7
    86:21 102:14       execution              16:22 18:9,14          165:10 166:11
    107:22 144:4         312:14 313:19        18:21 19:1,17          166:13 167:10
    164:13 169:3       executive 1:7          20:1,5,6,8,9,12        176:5,11 201:2
    172:21 176:4         2:16 6:3,5 78:2      20:13,16,19            201:5 203:16

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 335 of 386 PageID #:
                                      4389
 [exhibit - fair]                                                            Page 21

    203:17 207:3         264:9,10,12,14     extend 237:3           factor 179:14
    208:6 211:21         264:15,17,21       extension 263:5        factors 178:2
    214:12,15,17         266:2,19           extent 50:14           facts 4:7,8,8
    219:18 220:6       experience             247:20                 33:10 71:1,8
    220:20 222:15        48:14,16           eye 1:21 245:17          93:15 94:3,11
    222:21 225:7         269:12             eyes 26:12 61:2          94:16,20,21
    238:4,11           expiration             62:3 89:1              95:2,4,6,8,22
    240:11 241:8         312:19 313:25        122:18 134:16          96:7,13 101:8
    241:10,11            314:25               146:7 157:7            101:10,17
    244:7,10,12        expires 310:20         159:3 164:21           102:10,18
    246:19 249:14      explain 85:22          169:7 212:5            107:13 109:11
    249:15 250:5         148:5,15             215:16 217:20          109:12,17
    259:15,18            265:11               222:14,20              110:20,22
    260:12,13,16       explained 69:7         224:12 232:18          112:18 115:7
    261:4,16             271:14,16            236:7 237:9            116:16,17
    262:10 263:6       explaining             270:8                  117:9,20
    269:19 270:17        148:9                      f                118:14 119:8,8
    274:11 278:12      explains 216:11                               119:9,14,18
                                            f 156:1
    279:1,14           explicitly                                    121:21 126:4,7
                                            facing 7:17
    283:15 284:12        205:15                                      128:1,3,5,8,9
                                            fact 24:21 30:9
    284:14,17          explosive                                     131:16 136:19
                                              41:7,13,16
    288:13 293:18        288:16,20                                   137:5,8,11,14
                                              43:16 45:11,13
    299:18,20          explosiveness                                 138:13,16
                                              52:21 60:19
    300:2,4              124:10 125:1                                139:16,20
                                              75:10 113:16
  exhibits 4:6,14      express 82:12                                 140:13 142:10
                                              115:14 124:18
    4:22 37:18,21        82:13 163:17                                142:17 143:7
                                              125:4,18
    146:21 157:18      expressed                                     144:10,12,15
                                              131:16,20
    176:8 249:12         160:9,14,15,17                              174:15 191:19
                                              142:9 166:12
    282:15,16            161:6,10,14                                 206:11 248:8
                                              167:5 191:12
  expect 202:2           163:7                                       283:20 284:3,7
                                              195:15 200:1
  expectation          expressive                                    289:3
                                              216:21 217:3
    263:16,20,22         150:15                                    fail 298:13
                                              243:4 291:14
  expected             expressly                                   failed 282:13
                                              296:4,15
    131:19 263:10        138:21                                    fair 8:11 14:1
                                              298:22 306:2
    263:14 264:1,6                                                   35:9 36:1

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 336 of 386 PageID #:
                                      4390
 [fair - five]                                                                Page 22

    67:22 69:20,21         211:6 223:20        33:20 34:22             275:10
    71:1,8 88:17           275:22              36:15 37:1,15        finished 50:9
    91:20 92:7,22       fashion 39:13          38:8 41:13              117:18 299:19
    93:1 96:3,4,11      fault 280:19           42:16 65:22             302:15
    96:18 98:1          favor 201:7            66:14 69:11,12       fire 274:12
    101:2 112:2            217:3 219:1         101:3 102:7          firestorm
    127:22 155:2        fbc 79:17              103:2 109:14            263:14,17
    172:20 173:19       fbcw 158:5             125:22 198:12           274:19
    173:20 176:18       features 161:19        198:15,19            firm 5:14 11:1
    192:3 198:10           162:5               199:8 295:21            12:10,12
    201:8 202:17        february 1:13          303:11                  292:10
    238:7 239:7            5:3 311:4         financial              first 4:15 6:10
    247:14 254:3        feel 65:10 66:4        159:16,20               14:8 22:13
    273:4 277:20           71:18 121:9         162:13 163:2,9          27:17 37:9
    277:20 283:17          122:20 126:2        163:14,22               47:18 49:8
    297:7                  211:16 238:8        164:5,9 167:13          50:22 54:17,18
  fairly 70:16          feeling 122:19         167:21 168:7            66:10 69:18
    101:13 246:1           132:9 150:14        168:21 169:1,4          71:22 72:22
  faith 7:2,4,5,7,8        222:8               169:17 170:18           73:13 75:18
    7:10,12,14,18       feelings 284:3         171:12 215:10           78:8,9 83:18
    8:5,6,7,10          feels 31:20          financially               86:1,2 106:5
    70:15 292:10        fell 268:7             310:15                  159:22 173:2
    292:11,16,19        felt 54:8 115:7      find 34:21 78:4           179:5 180:13
    300:12                 132:8 202:6         109:10 161:1            228:22 239:14
  fall 8:17,18 9:4         205:18 206:5        187:9 205:7             244:16 268:8
  false 87:18              255:21 271:18       206:7 249:16            269:21 276:11
  familiar 295:3        field 9:19             261:8 267:19            300:3 301:18
  family 11:1           fight 271:21           290:7 311:10         firsthand 270:7
    150:11 182:11       figuratively         findings 75:10         fit 106:14
  fantastic                171:6               170:13                  185:19 186:17
    141:10              figure 222:21        fine 150:11               186:20
  far 94:19 141:6          301:9               223:16,18            five 89:11,13
    144:21 160:7        filed 5:7              239:10                  170:5 171:1,1
    161:18 162:13       final 4:16 31:4      finish 50:11              199:10 201:14
    162:22 171:2           31:15 32:10         87:16 273:8             201:15

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 337 of 386 PageID #:
                                       4391
 [flow - frames]                                                             Page 23

  flow 123:6           foregoing          114:15 116:1             forth 212:6
  focus 33:3,17          310:3,5 312:13   122:4 123:4              forthright
    35:12,14 67:21       313:18           132:1,18 133:6             70:12 75:5
    68:9 88:20         forensic 40:5,8    142:3 145:3              forward 103:6
    116:15 204:3         40:12,16 41:4    148:22 149:18              107:1 112:16
    232:19 246:13        45:5             151:1,15                   112:18 113:1,4
    248:10 257:18      forensically       152:18 153:12              113:8,14,18
  focused 43:6           41:15 45:13      153:21 160:10              128:17 159:19
    294:2              forgave 28:1,14    162:15 163:14              160:2 163:22
  focusing 31:14         31:14 34:19      164:11 168:9               164:9 216:16
    32:2 60:9          forgive 26:21      174:10 180:15              259:22 260:21
    72:21 261:1          27:5,19 28:7     186:14 187:11              311:14
    302:2                28:15 34:15      189:6,14                 forwarded
  folder 39:15           36:4,10,11       190:18 191:3               214:10 260:17
  folks 80:9           forgiveness        193:18 203:1             forwarding
  follow 53:16           29:15 30:18      204:22 210:18              215:2 260:4
    122:14 140:20        31:16 32:7       213:2 232:2              found 115:8
    141:22 170:22        33:6,18 34:1     233:2,21                   183:20,21
    224:3 289:2,5        34:18 36:17      234:10 235:19              203:6,11
    289:10 295:10        37:2 38:6        240:6,18                   228:16 238:11
    307:13             form 19:2          241:14,21                  267:21,22
  followed               23:11,21 25:3    243:7 248:16               268:6
    267:15               34:6,18 38:22    253:17 255:6             foundation
  following 33:17        39:4 41:9 43:8   255:18 257:4               210:19
    36:16 73:22          44:15 45:3       257:22 265:8             founded 54:14
    121:8 146:3          46:10 48:7       273:13 274:12            four 29:9 73:18
    231:18 266:22        53:20 65:15      275:1 279:20               143:1 245:7
    281:14               69:3 70:18       283:22 291:16            fox 266:13
  follows 6:11           74:7,17 82:20    292:12 294:5             frame 12:2
    148:10 156:9         84:7,22 85:8     294:15 296:19              40:15 50:5
  fondled 305:22         86:13,22 89:7    302:7 308:11               51:3 175:3
    306:13               95:11 96:14    formed 11:18                 180:18 209:13
  force 290:20           98:17 99:20      11:19 152:22               276:10
    291:1                100:13 101:18 forms 171:1                 frames 211:15
                         103:18 113:9

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 338 of 386 PageID #:
                                      4392
 [frankie - going]                                                           Page 24

  frankie 62:15          232:22 233:8         127:11 130:2,2       godly 12:4
  free 66:5 71:18        236:17               142:16 164:9         going 5:2 10:11
    213:11 312:14              g              164:18 173:9           13:4 16:7,8
    313:20                                    174:7 180:1            18:7 31:8,9,18
                       g 5:1
  french 200:12                               227:13 230:13          35:18 37:12
                       gcallas 2:19
    200:15                                    234:4 258:5            38:1,17,18
                       general 13:7
  friday 14:12,14                             300:21 308:19          46:13 48:21
                         48:14 58:15
    14:15 147:22                            given 29:8 40:2          61:9,11 63:21
                         83:2 145:19
    245:11                                    42:10 59:6             63:21 67:10,11
                         185:18 186:17
  front 18:2,5,8                              199:19 273:20          69:21 71:13,14
                         186:20 213:21
    18:13,14,21                               294:10 310:9           71:15,21 74:14
                         214:2,3 215:18
    32:3,4 37:19                            gives 165:20             75:13,14,17,21
                         270:12
    40:18 66:6                                229:3                  84:20 85:5,12
                       generally 58:11
    75:22 107:1                             giving 103:6             85:14,21 91:5
                         89:11
    108:8 120:17                              109:19                 91:11 94:20
                       generate
    144:8 157:18                            go 9:11 11:2,11          96:4 103:3,11
                         263:21
    197:3 230:20                              11:17 36:1             109:14 115:6,6
                       generated
  frustrated                                  78:21 88:7             117:14 118:19
                         240:12
    131:13,14                                 91:5 92:19             130:5,7 137:11
                       gentleman 14:2
  full 11:13 71:8                             103:5,14               137:14 141:22
                         153:10 195:21
    86:17,17                                  116:13 144:7           142:15 148:4
                         220:8 237:11
    117:17 289:15                             146:18 151:18          157:22 160:22
                         238:18
    289:17                                    159:1 171:13           164:18 165:4
                       gentlemen 14:2
  fully 70:16                                 178:16 179:2           165:21,22
                       georgia 51:19
    91:13 128:9                               198:5 200:2,5          167:4,7,10
                         52:21 54:14
    152:8                                     201:6 205:20           168:2 172:20
                         55:21,22 56:1
  fundamentally                               216:16 220:16          173:3 175:1
                         63:1 297:10,15
    173:1                                     240:3 246:5            176:10 195:4
                         299:4
  further 68:21                               251:21 260:18          200:4 201:5
                       getting 35:7
    72:21 156:9                               284:12 301:15          202:1 203:14
                         117:15 164:19
    159:1 278:18                            goal 163:21              203:17 204:3
                       give 14:6 15:1
    291:5 309:3                             goals 159:19             212:8,9 214:15
                         21:5,6 59:5
    310:13                                    164:8                  216:1,5,7
                         61:13 67:5
  future 179:10                             god 287:9                218:2,4,7,11,21
                         74:14 87:22
    222:9 232:8,14                                                   218:22 220:3
                         95:7 103:1,1
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 339 of 386 PageID #:
                                      4393
 [going - hand]                                                              Page 25

    220:10 223:11      gp7650 24:8            37:1 38:8              251:9 259:11
    223:12,14,18       gps 269:21             41:13,15 42:16         263:15 275:12
    224:2 225:8        grace 12:4             45:9,12 47:22          275:18 276:21
    229:8,22 230:1     graduate 9:17          66:14 67:17            277:22 279:8
    230:8,22,22          10:5                 69:21 70:22            284:21 288:2
    244:10 246:7       graduated              75:2,3 76:10           289:6,11,13
    249:11,13,14         10:17                84:3,9,20 85:5         290:1 291:5
    249:15,15,16       graduation             90:6,9 93:3            292:5,9,16
    259:18,19            10:21,22             95:21 98:2,6           293:9 294:13
    260:11 266:21      granted 216:21         98:16 100:11           295:3,7,11,21
    272:18 273:18      gratuitous             102:19 104:9           297:3,9 298:1
    274:20 275:18        205:17               111:7 112:10           299:1,6,8
    276:2,9 277:14     great 118:21           112:12 114:7           300:8 302:4
    278:15 281:9         225:16               114:13,20              303:3,16
    281:13,13          gretchen 2:17          123:10 124:3         guidepost's
    282:14 283:2         6:2                  135:8,19               47:16 61:18
    286:8 297:7        grooming               136:11 137:10          90:17 198:7
    300:2                269:12,14,15         138:7,8 166:19       guideposts 6:22
  gold 2:9 6:1           269:16               167:6 171:14                 h
  golf 269:10          groping 253:3          177:11 178:22
                                                                   h 1:19 55:11,11
  good 5:2,18            259:8                181:15 183:10
                                                                     55:14,17
    6:14,15 48:9       group 7:9 79:1         183:20,21,22
                                                                   hand 16:7 31:8
    52:22 53:3,5         292:17,19            184:3 188:13
                                                                     37:12,18,21
    53:17 54:5,11      guess 183:12           188:14 198:11
                                                                     38:1,17,18
    56:3,21 65:11      guessing               199:4,8 202:10
                                                                     67:10 69:22
    65:11 70:15          290:12               203:10 204:5
                                                                     71:15 75:13
    83:11,16,21        guidance 230:6         204:21 205:2
                                                                     103:11 120:16
    84:4,15 85:19      guidepost 1:7          207:9 215:7
                                                                     122:21 123:11
    87:20 108:10         4:15,16 6:21         219:21 238:5
                                                                     123:15 139:6
    115:10               8:9,12,13,22         238:16 239:15
                                                                     147:4 167:10
  gotten 102:10          9:3,6 12:1 13:1      239:19 240:5
                                                                     171:7 176:5,10
    121:14               13:15 16:19,21       241:17,20
                                                                     201:5,20
  gp 75:18               17:7 31:4            242:4 243:4,15
                                                                     203:14,17
  gp0000444              32:10 33:21          243:18 246:22
                                                                     214:15 244:10
    75:19                35:14 36:14,14       250:5,6 251:9
                                                                     249:11,12,13
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 340 of 386 PageID #:
                                      4394
 [hand - hunt]                                                               Page 26

    249:15 259:18      heads 285:7           88:17 89:3            hour 92:3
    269:9 284:17       hear 25:20 27:3       101:1 111:16           172:9,11,12
    300:2                128:4 165:9         112:10,12             hours 14:16
  handed 31:11           167:7 219:17        115:3,14,19,20         92:11 143:1
    157:21             heard 20:10           116:14 120:21          172:9
  handwriting            28:4,5 34:17        122:8,16,22           house 231:22
    15:19                154:2 168:13        126:2 129:12           236:4
  hang 269:10            201:13 219:15       130:16,18             houston 288:14
  happen 181:8,9       hearing 166:14        136:16 139:6           288:14 293:21
    216:5,7              166:21,22           139:15 142:9           294:2
  happened             heart 295:5           174:6 212:2           huh 9:10 27:11
    32:19 53:11        heave 52:20           214:11 244:13          36:20 38:3
    69:2 93:7          help 21:5 31:20       244:15,18,19           70:1 92:4,8
    114:19 115:13        64:2 65:3 74:2      265:16 280:4,8         126:6 287:17
    124:19 138:11        80:9,22 231:10      280:11 283:12         human 173:19
    142:9 180:3          233:6 235:15        298:20 300:5,7         174:1,5,5
    181:10 192:19        249:7,18            300:15,20             hundred
    196:10 201:20      helped 53:9           301:6,16 305:1         277:10
    202:21 252:2       hey 269:10            305:8 307:12          hundreds
    255:21 257:15      hi 285:7              307:17 308:1,4         84:18 221:19
    271:15,16          highlight 21:15       308:10,14              224:20
  happy 60:16          hill 10:7            holske's 140:19        hunt 1:3 3:5
    100:2,8 116:3      hired 9:5 96:19       283:1                  4:7,13 5:6,20
    116:11 154:21      history 60:12        honest 54:6             13:7 22:3,3,4,5
    157:12 191:16        60:20 62:13         65:13 75:5             28:2,7,16
    265:11               80:4                87:22                  30:17 32:12,18
  hard 41:6,16         hoe 74:14            honestly                32:21 33:6,18
  harm 163:17          hold 50:16            295:17                 33:22 34:16,17
  he'll 213:13           60:22 146:15       hope 32:13              34:19 36:17
  head 293:5             147:1 261:6         217:19                 38:6 43:3,7
  heading 42:12          297:4              hopefully               49:3,7,19,21
    72:4 183:14,17     holske 4:13           200:22                 50:2,22 51:9
  headline               17:10 39:12        hoping 127:17           51:15 52:19
    262:12               46:18 47:4,21       127:22 287:10          53:8,9,18 54:5
                         58:3 76:13                                 55:6 56:4,12

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 341 of 386 PageID #:
                                      4395
 [hunt - import]                                                              Page 27

    57:3,7,16            176:12 177:2          258:16 259:7         identify 90:13
    58:13 59:1,6         177:11,15,19          262:13 267:8            104:11 105:19
    59:10,13 60:11       178:4,11,16           268:9 269:5             244:11
    60:19 62:12,20       179:1,21 180:2        270:12 271:17        identifying
    63:15 64:16          180:13,22             271:20 278:20           73:20 74:11
    65:2,12,21           181:5,21              285:17 294:3            83:19
    66:2,15 67:2,7       182:17 184:1          294:11 302:11        ignore 223:12
    67:16 68:3,13        185:5 200:1           303:2,6,13              223:14
    68:15 69:7,15        201:21 203:7          305:1,5,9,13,17      ii 77:10,17
    72:1,5,15,20,22      203:11 204:11         305:21 306:6,8       iii 77:22 78:5,6
    73:19 74:19          204:13 205:7          306:11,16,16         imaged 287:14
    78:10,15,22          205:13 206:8          307:6,18 308:4       immediate
    79:11 81:8           207:15,20             310:2,18 311:6          209:3
    82:5 83:3,12         208:14,16,22          312:3 313:3          immediately
    83:22 86:1,20        209:7 210:17        hunt's 53:12              208:18 279:9
    87:21 94:17,22       211:7,11,14,17        61:17                   279:13
    95:1 97:18           212:10 213:14       husband 11:19          impact 32:20
    104:5 105:2          214:8,22              12:10 101:17            115:15,22
    109:13 116:10        215:13,21             181:1 262:14            121:10 122:7
    116:18 117:1         217:7 219:8,17        268:3                   122:17,20
    117:10,13,14         220:9,22                     i                123:1,12,17
    118:6,13,15          221:11 222:8                                  124:9 125:1
                                             idea 85:11
    120:4,9 131:6        223:6,6,9                                     126:3 130:16
                                               276:13 280:21
    134:15 140:16        226:5,7 228:2                                 241:18,20
                                             identification
    146:13,17            228:6,16                                      242:6,20 243:6
                                               75:16 103:9
    154:4 155:1          229:15 230:10                                 243:19,21
                                               129:2 139:8
    159:4,9,20           230:12,21                                     244:1 266:3,9
                                               201:3 214:13
    161:14,20            231:7 232:7                                   266:15
                                               244:8 259:16
    162:6,14,22          233:6 235:15                               impacted
                                               260:14 284:15
    163:3,7 165:6        238:14,21                                     291:12
                                               299:21
    166:11 167:6         239:3 245:8,11                             impacts 122:3
                                             identified 45:1
    172:1,4,21           247:20 249:21                              implementati...
                                               45:13 61:2
    173:2,10 174:9       250:21 251:5                                  290:19
                                               90:15,17
    174:21 175:9         252:3 253:2                                import 268:1
                                               301:17
    175:16,20            257:15 258:4

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 342 of 386 PageID #:
                                       4396
 [important - informed]                                                      Page 28

  important              311:12               225:14 238:8         individually
    33:14 43:16        includes 182:12        242:15 243:18          97:20
    44:6 177:8         including 25:12        246:2 247:15         infection
    191:12 219:11        88:17 133:19         275:8,21 289:2         156:16
    243:13,15            137:4 174:16         289:12 290:21        influence 58:20
    266:20             income 222:9           307:21 308:3         inform 96:6
  impression             224:14 225:6       independently            98:2
    75:1,6 86:2          225:22 226:13        143:9                information
    87:18 298:9,10       226:16,19          indiana 2:5              16:15 46:1
  inappropriate          227:7 231:7,11     indianapolis             51:8 52:12,18
    22:16 23:3,8         231:20 232:8         2:5                    52:22 53:3,6
    24:15,22 25:8        232:14,22          indicate 46:1            53:17 54:5,12
    25:11,13,14,18       233:8,8 234:8        65:20,21               56:4 65:11,12
    25:21 95:7           234:14 235:7         163:21 172:22          74:5 76:18,20
  incident 43:2          236:17 237:14        178:2 200:17           76:21 77:1,3
    49:11 68:5         inconsistent           200:19 248:4           83:11,17,22
    72:14 97:18          182:3                269:12 295:22          84:4,15,18
    103:16 117:2       incorporate            299:10                 85:19 86:4,4
    117:11,21            81:8               indicated 59:12          87:21 90:6
    120:3 134:15       incorporated           66:1 157:4             118:10 130:2
    153:8,18 172:4       82:5 313:12          189:12 204:4           133:22 136:13
    178:21,21          incorrect 274:8        280:11                 164:9 167:14
    179:20 180:21      increased            indicating               173:8 182:13
    182:16 184:1         290:9                266:14 273:10          214:6 215:12
    192:6 201:21       independence           311:12                 216:20 221:10
    202:14 210:17        246:4              indication 52:2          226:12 236:12
    256:14 268:11      independent            58:15 267:9            257:10 265:17
    268:19 305:9         9:1,3,7 11:22      indicative               271:7 272:3
  include 85:19          96:19 117:8          196:3                  273:20 279:1,7
    187:19 297:15        121:18 123:2       indicia 54:12            279:14 283:1
  included 60:12         123:18 142:18        179:17,19              286:8 287:13
    60:20 62:14          154:22 155:8       individual 7:19          293:10,14
    168:15,17,19         174:14,19            84:8 135:5,9           296:13
    168:21 222:3         178:2,5,10           182:22               informed
    238:12 293:9         192:21 224:16                               236:16 273:17

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 343 of 386 PageID #:
                                      4397
 [informs - investigation]                                                   Page 29

  informs 231:6        intentions             17:6 49:10,16          97:5 116:18
  initial 291:4          236:16               49:18,21 50:1          117:1,10 118:6
  initiate 285:2       interacted 90:2        50:22 54:7,19          176:11 245:7
  initiated 306:7      interaction            54:21 58:13            253:19 293:4
    306:13               97:21                59:10,12,18          interviewers
  initiatives 81:8     interactions           60:10,11,18            174:2
    82:5 106:9           239:21 303:5         61:10 62:11          interviewing
  inquiry 55:3,20      interest 168:21        64:7,21,22             49:1 56:12
    56:13 58:7           169:2 170:19         65:1,13,20             207:12
  insecure 153:2         222:3 241:17         66:19,21,22          interviews
  inserted 132:3         241:19 267:7         67:3,6,9,15,16         49:14,14 89:2
  inside 70:11           267:10,14            67:21 68:3,9           89:5,12 97:11
    98:16              interested             68:14,16 69:18         97:19 102:1
  insisted 35:22         174:18 226:4         71:22 72:13,14         109:18 173:6
  insisting 92:1         266:22 267:18        72:19,22 73:15         173:14 174:3
  instances 90:1         310:15               73:22 76:2,3,7         205:8,13 206:8
    90:14 269:8        interesting            77:18 78:7,9         introduce 5:16
  institution 7:12       21:16                78:14,22 79:6        investigate
  institutions         interests              80:2 82:6 83:1         204:6,16 205:3
    7:10,14              167:20               83:18 86:1,2,3         208:10
  instruct 138:7       interim 64:2           86:6 87:6            investigating
  instructed             80:9                 96:22 97:1,17          206:11
    202:20             internally             108:15 116:20        investigation
  integrity 295:5        171:3                117:15 126:4           8:16 17:2
    295:17             interpretation         126:12,20              43:11 71:2
  intend 218:20          166:5 167:1          171:22 173:3           75:11 77:7
    289:1                283:13               175:5 178:4            86:7 97:12
  intended 113:3       interpreted            206:11 247:21          99:5,9 100:6
    288:21               213:4                248:7 301:9            105:11 106:7
  intent 131:15        interrogatories        305:17,21              117:8,18
  intention              4:15 37:10           306:7 307:13           121:18 134:12
    140:17,19            67:11 108:4,4        308:13                 149:4 174:14
  intentionally          109:7              interviewed              193:1 199:4
    237:15             interview 4:7          44:7 48:17,20          202:5 204:12
                         4:18 16:4,6          49:7 59:13             207:9,11 208:3

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 344 of 386 PageID #:
                                      4398
 [investigation - johnny]                                                    Page 30

    210:3 211:5          206:7 242:5        ipad 75:22               205:12 206:18
    213:20 231:4         243:5 262:11       issue 17:2 37:1          229:19 247:11
    246:14 253:21      investigatory          49:11 68:9,12        jog 178:16
    266:16 267:3         48:16 98:12          133:12,15              179:2
    267:19 286:22        100:12,22            134:13 152:5         johnnie 29:11
    288:16 289:2,4       101:13,15            169:11,11              29:14 175:6
    295:12 297:18        207:20 298:14        263:11               johnny 1:3 3:5
    303:12             invited 196:19       issued 42:16             4:7 5:6,20 13:7
  investigations       inviting 190:6       issues 10:10             22:3,4,5,17
    289:19             involve 7:10           116:19 134:14          23:4,10 24:17
  investigative          81:9 120:3         iv 79:1                  26:21 27:5
    88:16 90:5,15      involved 8:16                j                28:2,7,15
    95:21                40:10 73:17                                 30:17 34:16,19
                                            j 2:3,8 22:1
  investigator           99:4 105:12                                 36:4,11 43:3,7
                                            jacksonkelly
    42:18 43:16,22       153:8 203:19                                49:2,19 51:15
                                              2:17
    44:21 45:21          204:10 271:6                                53:8,18 54:5
                                            jacksonkelly....
    71:9 93:2 95:9       271:12 287:12                               55:6 56:4,12
                                              2:19
    96:20 107:9          292:16                                      57:3,16 58:12
                                            january 208:11
    113:5 117:8        involvement                                   59:1,6,10,13
                                              208:12 210:12
    120:20 123:11        90:18                                       60:10,18 62:12
                                              310:21
    131:9 148:19       involving 8:16                                62:20 63:15
                                            jealous 146:1,4
    169:16 171:20        43:2 49:12                                  64:15 65:1,12
                                              150:3,18
    191:12 205:19        82:14 104:1                                 67:1,4,7,16
                                              154:18 155:3
    206:6,10 207:4       106:5 118:13                                68:3,13,15
                                              157:4,8 168:15
    231:16 238:8         134:14 136:15                               69:7 72:15
                                              168:16
    238:10 242:18        136:16 153:18                               78:9,15,22
                                            jealousy 160:9
    243:22 246:2         163:7 172:4                                 81:8 83:3,12
                                              160:12,15
    247:17 263:15        180:12,22                                   83:22 86:20
                                              162:10,21
    265:6,6 267:22       182:17 183:11                               87:21 94:17,21
                                              163:4 169:17
    285:16 288:22        184:1 229:13                                97:18 104:5
                                              170:18 171:12
    298:16 303:4         251:10,18                                   109:13 116:18
                                            jh 22:1,2 27:19
  investigators          268:9 284:18                                117:1,10 118:6
                                              28:1,7,14
    42:19 43:1           284:20 294:11                               118:13,15
                                              30:17
    73:19 99:6           302:11 303:1                                120:4,9 134:15
                                            job 42:18 47:22
    101:1 205:7                                                      154:13,19
                                              121:17 122:7
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 345 of 386 PageID #:
                                      4399
 [johnny - klein]                                                            Page 31

    155:4 156:17         307:6,18 308:4       53:15 54:4             213:8 214:12
    157:4 158:5          311:6 312:3          58:6,12,22             215:15,17
    159:4,20 160:1       313:3                83:10 107:18           244:7 259:15
    161:14,14,20       johnny's               122:12,15              260:13 284:14
    162:6,14,22          155:11 157:8         131:10 153:19          299:20 304:17
    163:3 165:6        joined 11:22           168:1,3,4              309:6,9 311:8
    166:10,14          jon 3:4                169:6 171:19           312:4,9 313:4
    167:6 171:22       journal 4:17           176:18 179:18          313:13 314:20
    172:4,21 173:1       38:14,16 39:3        187:9 190:22         kind 24:13
    173:10 174:8         39:7,17,19,22        192:4 193:4            131:16 132:16
    174:21 175:9         40:3,13 41:7         201:13 202:11          196:3 221:5
    175:16,20            42:2 241:3,8         202:13,20              248:20 262:10
    176:12 177:1         241:13,13            203:3 204:17           262:15 263:3
    177:10,15,19       judge 202:11           204:19 209:14          266:15 292:19
    178:4,11,16          202:13,20            230:20 233:15        kinds 187:13
    179:1,21 180:2       203:3,15,19          238:3 252:9            222:5
    180:12,22            204:17,19            255:14 279:5         kissed 200:12
    182:17 184:1         207:4 209:14         281:13 282:8           200:15 252:3
    196:19 200:1         218:12 283:3         282:13,15              257:15 305:18
    201:21 204:11      julie 98:22 99:1       283:3,15 292:2         306:12
    204:13 207:15        100:15 143:2,4       307:5,8              kisses 269:9
    207:20 208:14        143:11 145:9               k              kissing 185:7
    208:16,22            218:7 285:1                               klein 2:8,10 3:3
                                            k 11:6
    209:7 210:17       july 32:15                                    5:21,22 13:14
                                            kathy 3:3
    211:7,11 214:7       181:11 189:19                               14:9 19:2
                                            keep 52:10,12
    214:21 215:13        208:21 209:9                                23:11,21 25:3
                                              197:20 245:17
    219:17 220:9         209:22 211:12                               26:7 28:18
                                              248:20
    220:22 226:5         231:22 305:10                               29:3,18 31:18
                                            kilpatrick 1:11
    228:1,5,16         june 208:5,18                                 33:9 34:6 35:2
                                              2:7 4:6,9 5:5
    229:15 230:12        210:12                                      35:6 37:3
                                              5:22 6:9,18
    232:7 238:14       jurisdiction's                                38:22 39:4
                                              75:15 103:8
    238:21 245:8         185:17                                      41:9 43:8 44:3
                                              119:1 128:5
    262:13 267:8       jury 33:15,17                                 44:15 45:3,16
                                              129:1 139:7
    285:17 294:3         34:21 36:3,10                               46:10 48:7
                                              156:6 165:1
    303:2,6,13           48:2 52:5                                   50:9,16 53:20
                                              201:2 212:9
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 346 of 386 PageID #:
                                      4400
 [klein - knew]                                                              Page 32

    56:17 57:10         128:13,16,22          199:16 202:15         273:13 274:6
    58:8,14 59:3        129:17 130:17         203:1,8,21            274:14 275:1,7
    60:22 61:4,20       132:1,14,17           204:22 205:22         275:10 276:22
    62:2,6 63:9         133:6 134:5,17        206:19 207:6          277:5,17 278:2
    65:15 66:4          135:4,7,22            209:18 210:18         278:5,14
    67:19 69:3          136:20 137:22         211:9 212:3,15        279:20 280:15
    70:18 71:16         140:2,10 141:1        213:8 215:14          280:20 281:2,4
    73:6 74:7,17        142:3 143:16          216:5,8 219:3         281:7,15
    75:6 76:21          144:2 145:3           220:1,10              282:18 283:7
    77:14 81:15,18      146:6,16 147:1        222:17 223:5          283:22 284:9
    81:21 82:20         148:11,22             223:11,16             285:18 286:15
    83:5,14 84:7        149:18 151:1          225:1,8 226:20        288:9 291:7,16
    84:22 85:8          151:15 152:18         227:11 228:3          292:12 294:5
    86:13,22 87:10      153:12,21             228:19 230:8          294:15 296:19
    87:15 88:3          157:18 159:1          232:2 233:2,21        297:12,22
    89:7,13,16          159:11 160:10         234:10 235:9          298:18 299:13
    90:19 91:11         160:19 161:7          235:19 236:19         302:7 303:7,17
    92:13,16 93:18      161:21 162:15         237:4,15 240:6        304:1,13
    94:4 95:11          164:11,19             240:18 241:4          306:20 307:10
    96:14 98:17         165:15 166:4          241:21 242:7          308:11 311:5
    99:20 100:13        166:20 169:19         242:21 243:7         knew 44:22
    101:18 103:18       170:7 174:10          244:2,4 248:16        51:17,20 53:1
    103:21 104:14       176:7 177:16          248:22 249:3          64:16,19 68:17
    105:20 108:7        178:6,18 180:4        249:22 253:17         68:20 72:16,20
    108:11 110:9        180:6,15              255:6,18              81:3 82:18
    111:20 113:9        182:21 183:4          256:15 257:4          83:3 85:14,21
    113:22 114:15       184:5 185:14          257:22 258:12         87:2 104:12,22
    116:1 118:16        186:13 187:11         261:3,6,12,19         105:5 117:4,13
    118:21 119:19       188:6 189:6,14        262:18 263:7          149:11,15
    120:10 122:4        190:18 191:3          263:18 264:19         160:8,14,17
    123:4,20            191:22 193:6          265:8 266:5,17        161:3,4,13,17
    124:13 125:4        193:11,17             267:11 268:4          162:3,12,20,20
    125:12 126:13       194:6,14,17,21        268:14,20             162:21 164:14
    126:17 127:4        195:3 196:5,12        269:3 270:6           166:12 168:6
    127:16 128:2,9      198:6,16 199:9        272:7,15 273:7        169:15 210:2

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 347 of 386 PageID #:
                                      4401
 [knew - lead]                                                               Page 33

   221:12 226:3         164:7 167:17          290:1,2 294:9        laidley 2:18
   227:21,21            172:13 173:2          299:5,6 301:3        language 22:13
   230:16 232:20        180:6,7,16            302:9 307:20           33:20 109:13
   233:16 235:5         181:17 183:1        knowing 51:10            109:16 131:6
   235:14 237:8         188:14,20             74:15                  140:15 184:3,9
   269:22 286:18        190:2 191:18        knowledge                184:11 186:1
  know 31:7             192:18,19             97:9 98:1,4          lap 286:3,7
   39:14 44:17          193:10,15             130:18 141:2         lasted 172:8,10
   46:5,5 50:6          194:12,12,16          148:12,16            late 143:1
   51:4,5,21,21         195:2,7,9,11          151:2,16             law 9:8,12 10:3
   52:16,20 61:1        196:9,16              152:19 153:22          10:5,17,20,22
   64:10 66:2,15        201:18 207:17         188:13 233:3           11:1,18 12:10
   67:3 69:8,15         220:15 221:13         233:22 244:1           12:12 185:3,11
   72:6 73:1            222:11,12             255:8,12 257:5         185:17 186:9
   74:20 80:15          223:12 225:8          258:8 270:7            217:19 226:14
   89:22 90:10,12       227:19 229:15         272:9 276:17           237:10 297:10
   90:13 92:15,19       231:19 233:7,9        279:18 280:1           297:15 299:4
   95:19 97:13          233:16 236:7          283:8,12 284:1       lawsuit 295:13
   102:19 105:4,7       238:3,4 239:20        292:13 298:17          304:19
   105:8,10,14,15       241:5 244:3,5         299:1 302:8          lawyer 48:15
   105:16,22            261:19,20,20        known 62:21              58:19 70:5
   106:19,19            261:21 262:4,7        164:14 259:12          71:5 226:8,11
   110:15 113:19        262:20,21           knows 233:15             227:5 232:11
   115:10 121:16        263:9 264:14          281:10                 237:9
   124:7 127:19         265:2 267:1         krista 285:1           lawyers 58:20
   128:1,7,8            270:19 271:18               l                70:4,4 92:1
   130:20,21            271:19 272:1                                 95:16,17 96:4
                                            lack 133:4
   135:7 136:11         274:2 275:20                                 96:5 97:5
                                              148:11 151:15
   141:15 142:12        276:14,15,19                                 122:11 166:18
                                              152:18 153:21
   142:12,15,16         277:3,6,8                                    166:18 167:5
                                              233:2,22 257:4
   144:4,16 148:4       278:6,7,8,8                                  232:19
                                              270:7 283:7,22
   151:3,4 152:11       281:8,21 285:4                             lead 42:19,22
                                              292:12 302:7
   158:10 160:11        285:11,13,14                                 43:16,22 44:21
                                            ladies 285:7
   162:10 163:1,4       285:15 287:9                                 45:21 107:9
                                            laid 191:10
   163:5,7,15,17        287:12 289:22                                120:20 123:11

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 348 of 386 PageID #:
                                      4402
 [lead - longstanding]                                                       Page 34

    169:15 193:12         188:5,9 226:17    licensure 299:4        listening 18:17
    193:14 231:15         226:20,22         lied 128:14               18:22
    238:9 242:5,18        227:11,13         light 62:16            listing 241:12
    243:5,22              228:20 296:8         92:11                  313:7
    247:17 263:15         297:12 311:1      likely 111:9           lists 231:11
    265:6 285:16          314:1                303:14,20,22        literal 35:22
    292:7              length 48:6             304:4               literally 171:6
  leader 291:15        letter 4:16          line 26:20             litigate 165:19
  leading 140:3           202:12 203:13        48:15 73:18         little 93:4 101:4
  leaned 195:11           203:16 205:16        97:14 111:18           131:12,12
    195:20,22             206:17 207:3,8       112:21 114:22          132:8,10
  learn 40:21             210:7,8 214:6        115:2,4,4           live 12:20
    47:20 170:6           214:21 221:15        133:19 138:9,9         216:17 218:9
    179:20 180:11         221:16 224:22        138:13,13,17        llc 1:7
    277:14                229:18,21,22         138:17,22,22        llp 2:9,21
  learned 47:18           230:17 231:3         139:22 140:1,1      located 55:19
    163:13                233:5,6,10,20        140:8,8 143:3       location 1:15
  learning                234:3 236:2,3        143:3,15,15            5:10 308:15
    245:10                236:6,11,13          144:1,1,18,18       locations 192:9
  leave 166:6             237:21 311:17        145:11,11           lock 262:9
    230:1,10           letters 215:1           156:17 159:5        logic 178:3
  leaving 65:3            237:20               229:16 311:12       logical 263:2,5
    74:2 80:21         letting 230:10          313:7 314:3         logistical 93:10
    158:5                 231:19            lined 115:7            logistically
  led 289:3 293:2      license 205:19       lines 29:10 72:5          128:13
    307:12                296:6,17 297:4       114:13              logistics 94:1,7
  lee 300:10,11        licensed 182:10      REDACTED               long 8:11 9:2
    301:16 302:9          296:1,10,12,14    list 232:15               11:7 14:14,17
  left 64:11,17,19        297:2 298:10      listed 160:2              172:7,8 179:12
    80:16 194:1           299:11,16            201:9,14               181:12,13,14
    303:6,15           licenses 34:21          224:17 232:14       longer 66:6
  legal 1:15,21        licensing               313:7,17            longitudinally
    5:13,15 48:8          295:22 296:17     listen 182:15             290:8
    133:7 185:14          297:19 298:6      listened 28:5          longstanding
    185:22 186:2,3        298:15 299:10                               52:18

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 349 of 386 PageID #:
                                      4403
 [look - macgill]                                                            Page 35

  look 21:10 24:4        283:4 288:13         14:11 18:11           222:16 224:2
    26:19,20 27:9        290:8 296:10         24:21 25:15           230:15 231:4
    29:9 37:8          looks 176:20           27:4 31:2,8,11        231:16 232:17
    46:16 60:16          278:14 300:6         32:3 33:2,15          232:21 233:14
    61:16 66:1,5       lose 219:2             36:8,21 37:7          235:6 237:12
    67:12 71:11,12       231:20 232:7         37:13 38:12           238:7,15
    100:2,8 103:22       233:7                41:3 44:21            241:15 242:13
    108:3 109:5        losing 222:8           48:14 49:10           244:11 255:15
    116:3,11           loss 222:9             60:17 62:10,11        261:14 262:17
    117:20 129:11        226:13 228:13        63:4 65:5             263:13 266:12
    130:12 131:2         231:7,11,22          69:14 71:13,21        267:21 268:12
    134:12 141:15        232:14,16            72:10 74:13           269:15,19
    144:20 145:11        233:8 234:8,14       75:13,21 76:2         272:4,12 274:1
    147:18 157:13        236:5                84:13 94:16           274:11 279:17
    157:14 176:3       losses 222:4           98:14 113:3           281:13,21
    187:14 191:16        228:14 235:14        115:13 117:7          283:17 284:13
    193:22 203:16      lost 222:4             117:21 121:5,5        285:5 287:9,18
    210:7,8 223:2        224:14 225:22        121:17 122:15         288:21 291:11
    223:3,10             226:16 227:6         130:5 145:17          297:2,8 300:2
    226:11 229:12        228:12 237:14        146:20 147:4          300:14 302:22
    231:13 251:22      lot 25:11 116:8        155:10 156:13         303:4,11 307:2
    265:11,22            267:18               156:19 157:21         307:17 308:2
    300:3,14           lots 70:4              165:4 166:9          macgill 2:3,4
  looked 127:7           221:18               167:5 171:18          5:18,18 6:13
    130:3 153:16       loud 225:17            172:14 173:7          10:16 13:20
    241:15             lunch 155:13           187:18 190:8          19:6 23:15
  looking 17:13          156:14 159:8         191:11 192:5          24:3 25:6 26:9
    28:10 69:11        luncheon               192:15 193:1          28:20 29:6
    77:5,22 104:18       155:16               193:21 195:8          30:1 32:1
    110:13 124:22              m              195:19 199:13         33:11 34:9
    127:14 133:1                              201:6 202:10          35:4,9,10 37:6
                       m 1:3 2:17
    133:11 163:16                             203:5 205:14          39:1,8 41:12
                         311:6 312:3
    174:15,15                                 206:15 207:18         43:12 44:8,20
                         313:3
    189:22 192:14                             207:22 209:12         45:7,19 46:15
                       ma'am 6:14,20
    232:17 259:20                             212:12 219:15         48:11 50:12,19
                         9:14 12:21
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 350 of 386 PageID #:
                                      4404
 [macgill - made]                                                            Page 36

    51:12 54:1          126:16,18             193:13,20             262:1 263:1,12
    56:20 57:15         127:12,21             194:10,15,19          264:3 265:1,12
    58:10,17 59:8       128:6,10,15,19        195:1,5,6             266:11 267:5
    61:3,7,15,18        129:3,18 131:1        196:8,17 198:9        267:20 268:10
    62:1,4,8,9          132:5,15,21           199:1,12,21           268:16 269:1
    63:13 65:18         133:10,16             201:4 202:16          269:13 270:14
    66:7 67:22          134:9,21 135:6        203:4,9 204:2         272:11,17
    68:1 69:5           135:14 136:5          205:5 206:4           273:9,16 274:9
    70:20 71:19         137:3 138:5           207:1,14 210:1        274:17 275:4
    73:10 74:12,21      140:6,12 141:7        211:1,20              275:16 277:2
    75:12,20 77:1       142:7 143:20          212:11,20             277:11,19
    77:4,16 81:17       144:6 145:6           213:13 214:4          278:4,11,21
    81:20 82:1,21       146:15,17,19          214:14 216:1,7        280:3,18 281:1
    83:8,20 84:12       147:3 148:18          217:11 219:10         281:3,6,12,20
    85:3,13 86:16       149:5 150:1           219:14 220:5          282:21 283:14
    87:4,14,17          151:6,11,21           220:19 222:19         284:6,12,16
    88:7,14 89:9        153:1,15 154:9        223:10,13,20          285:20 286:19
    89:15,18,19         155:13 156:12         224:1 225:3,15        287:8 288:12
    91:1,15 92:15       157:20 159:10         227:4,18 228:7        291:9,18
    92:18,21 93:21      159:12 160:13         229:10 230:14         292:21 294:12
    94:8 95:14          161:2,12 162:1        232:5 233:13          294:18 297:1
    96:17 98:20         162:19 164:16         234:6,12              297:17 298:3
    100:3,17            165:3,18 166:7        235:16 236:1          298:21 299:17
    102:13 103:10       166:8 167:3           237:1,7 238:1         300:1 302:14
    103:20 104:4        170:1,12              240:9 241:1,6         302:21 303:10
    105:3 106:2         174:17 176:5,9        242:3,10 243:2        303:21 304:5
    108:10,14           177:20 178:7,9        243:11 244:9          304:11 307:1
    110:12 112:1        178:14,20             246:5,12              307:16 308:19
    113:12 114:4        180:5,10,20           248:21 249:6          309:3
    114:18 116:5        183:2,8 184:8         250:3 254:1          macgill's 119:3
    118:20 119:4,6      185:21 186:19         255:11 256:2          220:14
    119:9,12 120:1      187:16 188:10         256:19 257:8         macgilllaw.c...
    120:13 122:10       189:10,16             258:7,18              2:6
    123:7 124:1,17      190:21 191:8          259:17 260:15        made 13:6 26:3
    125:7,9,15          192:2,10 193:8        261:5,9,13            26:4,15 38:7

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 351 of 386 PageID #:
                                      4405
 [made - means]                                                              Page 37

   43:2 54:3 55:3       125:10,10,16        manner 97:15            235:13 236:10
   58:7 62:16           128:20 137:13        99:4 280:13           matt 2:13,15
   78:14 82:13          159:22,22           march 16:1,4           matter 5:6 7:18
   83:10 84:6           160:3 163:16         17:6,15,15             7:19 15:6,8,9
   85:15,21             164:1,6 165:22       18:13 20:3             44:10 45:21
   114:20,21            167:20 170:4         30:3 147:7             95:10,21
   115:5 124:5,11       171:18 174:3         157:15 163:21          116:19 152:22
   136:22 141:10        178:4 186:8          164:7 167:19           154:6,7 227:7
   153:17 154:1         194:4 205:18         185:1 240:10           235:6 237:19
   163:8 173:21         205:19 206:15        246:15                 271:12 290:7
   184:19 207:19        209:6 215:16        marchetti 2:13          294:11 296:15
   211:16 219:9         217:12 218:19       mark 75:14              298:22
   230:9,15 250:6       219:13 226:22       marked 4:14            matters 7:20,21
   250:21 254:20        227:20 228:15        16:8 75:15             7:21 15:5 93:5
   263:4 305:14         238:2,4,10           103:8 119:7            99:10 116:10
   312:7                241:19 281:10        129:1 139:7            163:6 300:12
  main 237:19           292:2 298:4          146:7 164:20          mcgill 223:7
   301:20 302:2,5       301:21               201:2 214:12          mean 24:4
   302:11              makes 31:16           244:7 259:15           81:16 89:13
  majority              147:20 150:18        260:13 284:14          116:8 125:5
   239:18,21            226:13 250:6         299:20                 129:17 137:1
   240:4               making 35:20         market 2:4              141:4 154:21
  make 20:2,5           56:13 65:4,6        marriage                184:20 185:2
   24:13,17 25:16       122:19 124:20        182:10                 186:5 187:13
   35:6,11 39:16        206:12 217:20       married 12:14           196:4 213:19
   43:17 51:13          219:21 221:2        material                215:8 225:13
   55:4 56:2            241:18 251:8,9       196:11                 227:15 234:4
   58:19 62:19          253:2,7 259:7       materials 17:6          234:18 262:5
   63:7,19,20           263:4                18:13,21               264:9 266:10
   66:20 72:5          man 195:20            156:21 217:18          270:16,18
   73:14,15 90:4       management            240:1,2 243:4          287:4
   102:8,9 103:2        171:14              math 56:22             meaning 62:2
   104:14,15,18        managing 7:1          228:8,9 232:17         226:14 230:6
   108:11 112:19        8:14,21              233:15,17             means 96:20
   118:4,7 122:12                            234:7,22 235:3         283:15

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 352 of 386 PageID #:
                                      4406
 [meant - mischaracterizes]                                                  Page 38

  meant 110:19         members 104:2        meredith 9:15           224:11 286:2
   122:8,16             104:22 105:5        merritt 3:4             291:11
   163:18 270:4         106:6 125:2         message 46:20          mine 108:8
   270:19 302:10        183:16 204:7         46:21 47:4,7,9         129:15
  mechanism             205:4 207:21         47:11,12,18           minister 60:21
   216:10               210:11 276:7         116:11 129:9           61:1,5 62:15
  media 5:4             276:19 277:7,9       130:15 244:16          62:22 80:4
   263:14,21           memorandum           messages 94:7          ministries
   264:4 266:21         163:20,20            294:10                 155:5
   267:4 274:12         166:11              messaging 93:9         ministry 32:14
   288:4               memories             met 14:2 104:8          225:22 231:7
  meet 99:15            194:8                118:14 120:8           231:11,20
   187:1,4             memory 60:10          179:5 184:22           233:7 234:14
  meeting 14:12         67:4 83:15           231:4                  262:15
   14:13,14,15,17       138:3 164:22        metadata 121:6         mintz 2:9 6:1
   17:19 18:1,14        167:8,18             121:6                 mintzandgol...
   19:8,11 20:3         191:17 213:11       metes 210:6             2:10
   20:10 32:13          213:12 215:19       methodist 7:19         minute 28:12
   59:2,22 62:19        220:13,13           methodology             61:16 123:9
   176:16 180:22        225:9,11 226:2       96:21 98:5,6           134:22 146:15
   181:9 230:1          249:4 270:13        metrics 290:6           170:2 171:7
   304:22 305:4,7       275:8               mid 11:10               191:15,18
  meetings 14:8        men 145:21           middle 1:1 5:8          207:18 209:12
   14:10,19 94:2        146:5 150:7,10       50:16                  265:13 278:10
   181:4,18,19,20      mention 63:19        midwest                 308:2,19
   181:22 182:2         63:20 104:17         311:15 314:1          minutes 76:1
  member 70:8           104:19 205:18       million 235:17          146:18 246:13
   105:12 207:11        238:9                237:13                 291:11
   208:11,14,22        mentioned 38:4       millions 84:6          mischaracteri...
   209:8,15,21          51:11 163:5          84:15 85:6,6           63:10 102:11
   211:12 268:9         221:2                193:3 205:21          mischaracteri...
   268:11,12,18        mentioning            238:20 272:4           67:19 74:8
   269:5,7 300:7        224:19               274:4 299:9            86:14 94:5
   301:21 302:3,6      mentions 236:4       mind 45:20              123:20 124:13
   302:13                                    91:18 190:17           137:22 162:16

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 353 of 386 PageID #:
                                      4407
 [mischaracterizes - need]                                                   Page 39

   194:17 196:12       molesters            move 106:22            names 52:10
   235:9 266:5          293:10 294:1         112:16,22               248:20,22
   267:11 272:7        moment 59:9           113:4,8,14,18           249:4,5 277:8
   274:6 276:22         128:5 217:7          128:17 140:4          naming 51:1
   277:17 299:13        266:3 270:1          159:9 199:11          nashville 1:2
  mischaracteri...     monday 14:13          199:18 217:7            2:14,22
   237:16               14:17                252:15 278:20         national 264:7
  miscommuni...        money 213:7          moving 112:18            264:17,18,22
   119:20               215:12 220:21        215:8                   266:12,12,13
  mishandled            221:14,19           multiple 48:20           266:13,21
   210:17               222:3 224:13         48:22 63:1            nature 85:4
  mishandling           226:5,7 228:1        171:10 287:4            93:10 145:18
   106:7 210:10         228:5 229:6,14      multiply 234:4           152:2 169:13
   210:16               234:5 237:20        murray 3:3               258:6,17
  misrepresent         months 11:1          music 60:21            nbc 264:12
   177:10,21            217:16,17            62:15,22 80:4           266:12
  misrepresented        292:3,3,4           myers 98:22            near 59:22 76:7
   177:14               293:6                99:1,11 285:1         necessarily
  missing 115:21       morning 5:2,18              n                 151:22
   121:9 122:17         6:14,15 14:13                              necessary
                                            n 2:1 4:1,1 5:1
   122:20 126:3         47:2 48:3                                    307:14
                                             156:1,1,1
   281:4                242:22                                     necklace
                                            namb 158:6,9
  mission 158:11       motion 165:16                                 190:15 191:1,2
                                             245:18
  missouri 59:19        166:7 204:5                                  191:6,14
                                            name 5:12 6:16
  misstated             216:14,21                                    193:16 195:12
                                             8:7 13:17
   111:1 125:11         217:10                                       195:21 196:1
                                             21:12 30:20
  mistake 81:20        motivated                                     196:10,15
                                             51:11 52:3,6
   124:5 126:16         174:6,12,13                                need 48:21
                                             52:15,15 54:16
   158:15 159:2        motivation                                    50:17 60:17
                                             61:5 73:4,16
   300:9                168:7 170:19                                 61:6 66:5
                                             91:17 304:17
  mistaken 112:3        215:10                                       70:12,15 71:17
                                             311:6 312:3,4
  mistreatment         motivations                                   91:12 111:10
                                             312:15 313:3,4
   106:8                159:16 162:13                                123:15 148:19
                                             313:21
  molested 62:21        163:2                                        171:7 194:20
                                            named 60:21
                                                                     203:21 229:18

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 354 of 386 PageID #:
                                      4408
 [need - objection]                                                           Page 40

    248:19 249:3        night 108:19,22      notepad 20:2             24:7 61:14
    270:11 280:10         109:4 143:1        notes 4:7,18             75:15 89:22
    296:5 300:20          192:5               15:4,15,16              103:8 119:13
    301:6               nightly 264:12        16:3,5,9,12,13          129:1 139:7
  needed 70:22          nine 48:18,20         16:18 17:5,13           167:11 201:2
    71:7 296:7            48:21 89:5,14       18:4 19:15,16           210:9,10
  needs 48:17,19          89:20,20,21         19:18,20,21,22          214:12 225:7
    140:21 141:17         97:10,19            20:2 21:20              225:17 232:13
  negatively              119:16,17,22        24:18 26:5,19           234:4 244:7
    32:20                 120:2 231:5         27:15 59:9,16           250:1 251:12
  neither 164:22        non 35:3              59:21 60:3              259:15 260:13
    215:17 310:10       nonconsensual         61:10 64:21             261:7 268:7
  never 32:19             26:2,6,15           65:1,5,7,19,20          284:14 299:20
    74:15 94:21           202:8               73:22 76:2,6            311:7,12
    95:1,3,5            nonindepend...        77:7 82:11            numbers
    124:15 144:22         246:4               109:5 126:4,12          225:13 227:1
    163:9 199:3         normal 290:3          147:15,18,19            227:16 229:4
    218:14 221:8        north 9:8,9,16        173:16 174:4            313:7
    256:12,20             12:22 54:22         175:7,14,17           numeral 81:16
    257:2,9,19            158:11              177:5 191:17          nw 1:15
    258:9 306:16        northwest 1:21        307:22 308:7                  o
  nevertheless            5:11               notice 135:2,2
                                                                    o 4:1 5:1 55:11
    109:19 299:8        notarized             135:19 136:8
                                                                      156:1,1,1
  new 2:10,10             311:13              159:5 218:20
                                                                    oath 54:3 93:14
    10:6 90:6 91:7      notary 1:19           279:9
                                                                    object 31:18
    92:10 268:1           310:1,19           notwithstandi...
                                                                      35:2 230:8
    291:15 292:4          311:22 312:10       153:18
                                                                      244:5 281:15
    293:2                 312:18 313:15      november 8:14
                                                                    objection 19:2
  news 158:12,17          313:23 314:23       9:4 291:20
                                                                      23:11,21 25:3
    264:7,13,15,17      notation 65:4,7       292:15
                                                                      28:18 29:3,18
    264:18,22           note 19:17,19        nuance 131:17
                                                                      33:9,13 34:6
    266:12,13,13          58:14 74:14        nuanced
                                                                      37:3 38:22
    266:13 267:4          141:11 164:20       102:11
                                                                      39:4 41:9 43:8
    283:10 290:13         311:11             number 5:9
                                                                      44:3,15 45:3
                                              7:16 21:5,6,8
                                                                      45:16 46:10
                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 355 of 386 PageID #:
                                       4409
 [objection - okay]                                                           Page 41

    48:7 53:20           151:1,15              253:17 255:6         obligation
    56:17 57:10          152:18 153:12         255:18 256:15          238:9
    58:8 59:3 62:8       153:21 160:10         257:4,22             observations
    63:9 65:15           160:19 162:15         258:12 262:18          194:8
    67:19,22 69:3        164:11 169:19         263:7,18             obviate 33:13
    70:18 73:6           170:7 174:10          264:19 265:8         occasions 97:6
    74:7,17 75:6         177:16 178:6          266:5,17             occurred 22:16
    82:20 83:5,14        180:15 182:21         267:11 268:4           23:3,9 24:16
    84:7,22 85:8         183:4 184:5           268:14,20              27:4 29:17
    86:13,22 87:10       185:14 186:13         270:6 272:7,15         144:5 153:9
    88:3 89:7            187:11 188:6          273:7,13 274:6         175:8 182:6
    90:19 93:18          189:6,14              274:14 275:1,7         189:17 197:21
    94:4 95:11           190:18 191:3          275:10 276:22          276:20 305:1
    96:14 98:17          191:22 193:6          277:17 279:20        october 90:15
    99:20 100:13         193:11,17             280:15 282:18          92:12
    101:18 103:18        194:6,14,17           283:7,22 284:9       offended 13:19
    105:20 110:9         196:5,12 198:6        285:18 286:15        offhand 177:6
    111:20 112:2         198:11,16             288:9 291:7,16       office 11:4,8,10
    113:9,22             199:9,16              292:12 294:5           182:8
    114:15 116:1         202:15 203:1,8        294:15 296:19        officer 188:16
    118:16,22            204:22 205:22         297:12,22              310:2
    119:19 120:10        206:19 207:6          298:13,18            official 312:15
    122:4 123:4,20       209:18 210:18         299:13 302:7           313:21
    124:13 127:4         211:9 220:1           303:7,17 304:1       offline 128:18
    127:16 128:2         222:17 225:1          307:10 308:11        ohio 311:2
    130:17 132:1         226:20 227:11       objections             okay 8:6,11
    132:14,17            228:3,19 232:2        194:20                 14:1 17:13
    133:6 134:5,17       233:2,21            objective 124:6          24:9 27:12
    135:4,22             234:10 235:19         201:18                 34:10,12 35:5
    136:20 137:22        236:19 237:4,4      objectively              35:14,18 36:12
    140:2,10 141:1       237:15 240:6          132:12                 37:7 38:2,11
    142:3 143:16         240:18 241:4        objectivity              42:12 47:19
    144:2 145:3          241:21 242:7          133:5                  50:20 51:13
    146:6 148:11         242:21 243:7        obligates                54:11 56:11
    148:22 149:18        244:2 248:16          295:16                 57:2,21 60:8

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 356 of 386 PageID #:
                                       4410
 [okay - page]                                                               Page 42

    65:8 68:11           264:11 265:22        165:20 166:4,6         216:14 222:13
    69:19,22 78:6        286:1 287:16         167:1 216:11           222:20 224:12
    81:21 82:5           288:19 290:12        218:17 229:19          232:18 236:7
    85:14 88:7,20        291:4 295:9          282:12                 237:9 272:12
    90:13 91:4,9         304:11             ordered 165:16           274:21 279:8
    91:10,20,20        old 267:7 268:2      orders 265:4             297:9
    92:3,9,22          once 19:8 86:11      ordinary 16:18                 p
    93:22 94:9           108:12 135:15        71:5
                                                                   p 2:1,1 5:1
    106:11,22            135:20 136:6       organization
                                                                   p.m. 129:10
    109:10 112:9         218:5 230:5          101:16 290:21
                                                                     130:10 139:11
    126:17 127:22        252:20 287:13      organizations
                                                                     141:9 155:15
    128:1,20 132:9       289:17 291:13        289:11
                                                                     156:2,4 246:8
    135:17 138:11        301:8              originally
                                                                     246:11 302:17
    138:20 139:5       ones 7:17              260:20
                                                                     302:20 308:21
    141:8 142:20         190:14             otchy 2:8 5:22
                                                                     309:2,7,8
    144:16 151:7       ongoing 211:13         13:19,21 14:9
                                                                   pad 19:17,19
    151:22 155:2       op 4:12 262:13       ourself 292:18
                                                                   page 4:2 21:5,6
    157:14 160:6       open 31:9            outcome
                                                                     21:8,10 31:10
    162:10 164:6         71:14                310:16
                                                                     31:12,15 32:4
    165:11 167:9       opened 31:12         outset 289:20
                                                                     36:15 38:9,9
    171:18 189:3         157:22             outside 70:11
                                                                     41:14 66:1
    192:19 194:4       operating              105:4 212:10
                                                                     67:12 69:14,22
    194:11 199:7         188:16               219:8
                                                                     71:11,12,14,15
    218:21 219:3       opinion 132:20       own 15:19 24:5
                                                                     75:4,18,19
    221:12 224:3,9     opinions               24:18 26:12
                                                                     77:8,8,14,17,22
    224:10 227:19        152:22               27:3,14 28:5
                                                                     78:5,21 147:5
    228:8 229:15       opportunity            34:4 44:22
                                                                     147:21 149:8
    235:4 236:14         31:19 216:10         58:22 65:20
                                                                     149:11 153:3
    238:2 239:10         216:13 230:5         79:14 89:1
                                                                     153:11,20
    239:12 244:19      oppose 219:4           122:18 134:16
                                                                     157:14,22
    246:21 247:14      opposite 196:2         140:8,13 149:7
                                                                     183:14 205:6
    248:13,21          options 146:12         149:15 157:7
                                                                     223:3,10
    249:19 250:4       order 62:7             163:20 169:7
                                                                     225:18 231:18
    256:3 258:19         110:22 117:12        185:13 190:16
                                                                     232:7 249:16
    261:1,12             165:17,18,19         213:10,12
                                                                     249:20 250:4,5
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 357 of 386 PageID #:
                                      4411
 [page - pastor]                                                             Page 43

   252:17 311:12        160:5 163:13        parts 127:10             80:10,15,21
   311:14 313:7         164:14 169:14        171:10 241:10           81:7 82:17,19
   314:3                169:15 184:19       party 96:20              83:2,12,19,22
  pages 78:19           186:2 203:22         174:14 288:16           84:1 86:11,19
   154:21 217:14        205:8,12,17         pass 306:19              86:20 87:2,8
   240:3,4              207:11 221:16       passing 214:20           87:21 88:1
  panama 181:11         223:17 246:16       past 8:9 76:16           94:16,21 104:5
  pants 185:6           251:16 253:21        208:18 209:3            109:13 116:18
  paper 76:1            260:21 261:10       pastor 5:19              117:1 118:13
   148:15,17            269:17 273:18        13:6 22:4 28:1          118:14 120:4,9
   227:15               274:10 276:4         30:17 32:12             134:15 146:17
  papers 37:19          279:8 283:18         33:7,18 34:1            154:13,18
  paragraph             285:7 297:20         36:17 38:7              155:4,11
   71:22 72:4,19        313:9                43:3,7 49:18            156:16 157:4,8
   73:13 74:6          partial 272:19        50:2,6 51:2,4           159:20 161:14
   75:4 77:5 87:3       273:12               51:15,18,21             162:5,22 163:3
   118:5,5,6           participate           52:3,6 53:1,18          165:5 166:10
   225:17 301:19        37:9,13 103:3        54:5,14,20              166:14 167:6
  paragraphs            267:3                55:4,5,6 56:4,6         171:22 172:3
   118:11,12           participated          56:14 57:3,4,6          173:1,10 174:8
   119:14,18            37:14                57:8,12,16,17           174:20 175:9
   120:2               particular            58:12 59:1,10           175:16,20
  pardon 49:17          35:15 41:7           59:13 60:10,18          176:11 177:1
   82:2 137:8           68:16 72:14          62:11,20 63:6           177:10,14,19
  part 15:11,15         73:16 76:22          63:14,18,20             178:16 180:22
   26:4,14 28:21        87:8 113:2           64:3,11,15,17           181:21 182:17
   30:12 34:3           135:20 140:21        64:18 65:1,3            184:1 200:1
   43:11,15 44:14       145:9 147:15         65:12 66:3,16           201:21 204:10
   52:9 58:22           185:17 186:8         67:1,7,16 68:3          204:13 207:15
   69:17 73:14         particularly          68:10,12,15,17          207:20 208:14
   78:7,8,9 79:5        283:16               69:7,8,16 72:6          208:22 209:7
   82:6 85:18,19       parties 117:9         72:15,16,20             211:6 214:7,21
   102:4 103:3          170:3 310:11         73:1,5,16,20            215:13 219:17
   137:19 141:14        310:14               74:1,11,15,20           220:9,22 226:5
   149:3 153:6                               78:9,15,22              228:1,16

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 358 of 386 PageID #:
                                      4412
 [pastor - pllc]                                                             Page 44

    229:15 238:21        248:12 266:1         276:17 283:7           191:1,13
    245:7 247:8,12       266:21,22,22         283:11 292:13          193:16 195:21
    247:13 250:10        267:2,6,14,15        302:8                  196:16 246:1
    250:13,17,21         267:18 272:4       personally             places 187:14
    251:4,14,15,16       274:4 284:21         40:10 184:22           192:8
    252:2,11 253:1       287:11 292:17        312:11 313:15        plaintiff 1:4 2:2
    253:6 256:14         299:9              pertaining               4:3 5:6,19 6:12
    267:8 294:3        perform 289:2          15:22 21:3             156:10
    303:2,13 307:6     period 69:9            49:19 68:5           plaintiff's 4:15
    307:18 308:4         179:12 207:20        79:1 93:6 94:1         304:21
  pastor's 33:6          207:21 208:2         109:13 116:19        planning 171:8
    33:18 34:1           208:15 226:16        204:13 285:17          173:7 236:15
    36:17 38:6           226:19 227:7       phone 93:11            please 5:16 6:7
    73:20 74:10          228:14 229:2         95:17 96:5             6:17 21:4,7
    83:4 262:14          237:3                140:20 175:2,4         27:16 34:12
  pastoral 247:10      periodically           287:14,14,19           37:21 38:1
  pastors 247:6          92:2                 311:3                  42:7 50:20
    247:14             person 17:16         phones 287:20            55:10 58:12,22
  patrick 2:3            44:7 48:15         photocopied              59:9 66:13
    5:19 92:6            57:22 91:17          15:14                  73:9 84:10
  pause 28:11            105:10,18          phrase 25:8              86:15 96:9
  pc 2:4                 109:20 133:1         186:7 286:2            109:10 110:4,8
  pca 7:20               134:11,11          pics 245:19              110:14,15
  peace 159:22           150:22 153:7       piece 148:14             111:2 113:11
    159:22               154:3 172:1          154:7 221:20           113:19 133:9
  peacemaking            179:6 200:21       pieces 273:20            136:3 153:14
    4:10                 227:8 237:12       pietsch 2:13             162:17 176:6
  pending 166:7          239:14 268:1       pigue 2:13               206:2,21
  people 48:22           272:2              pitman 62:16             212:18 220:17
    76:9 84:6,15       personal 44:16       place 24:1               225:17 256:18
    84:18 85:7,11        130:17 141:1         59:18 60:1             272:15 275:14
    106:17 124:3,4       148:11 151:2         166:4 195:12           281:15 311:10
    132:12 135:8         151:16 152:19        211:19 305:9           311:10
    175:3 193:3          153:22 233:3       placed 147:15          pllc 2:13,17
    203:19 205:21        233:22 257:5         154:12 156:16

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 359 of 386 PageID #:
                                      4413
 [plus - prior]                                                              Page 45

  plus 29:15           position 52:20       prca 7:21              president 77:12
    30:19 231:22         100:10             preaching                77:20 78:11
    236:5              positions 53:9         245:17                 158:6 208:17
  point 30:13            212:6 222:8        precise 66:21            208:18 209:4,4
    32:3 33:14         possessive             255:13                 211:18
    35:13 46:17          149:16             prejudiced             press 79:4
    47:3,21 51:8       possibility            216:22 217:3,9         262:16 263:17
    52:11 77:14          154:15 174:2         217:17,22              287:1,4,7
    101:14 102:2,2       282:11               219:6                  288:1,7
    102:15 104:2       possible 236:21      prep 13:11             pretty 52:22
    104:22 112:15        237:6              preparation              53:3,5,17 54:4
    115:18 121:15      post 79:12 80:2        60:4                   54:11 56:3
    122:18 124:2         245:18             prepare 13:9             65:11,11 83:11
    125:16 127:8       postgraduate           14:3,6                 83:16,21 84:4
    142:13 143:11        9:22               prepared 16:10           84:15 85:19
    152:5 167:15       poston 2:14            16:22 20:19            87:20 185:18
    176:18 180:4       potential              30:11 104:8            245:16
    200:12 203:18        200:16,18            214:7,21             prevented
    210:9,10             201:7,19 202:3       240:13,21              218:11
    260:19 274:1         235:8              preparing              previously 4:14
    281:4,17           potentially            16:13 37:13            156:8
    291:17 293:4         138:13 190:6,9     prerogative            primarily 7:9
  pointed 22:5           195:16 201:10        216:15                 49:22 240:17
  points 152:21          241:12             presbyterian           principal 99:6
    154:5              power 282:2            7:20,22              prior 42:15
  police 89:18         practice 7:2,5,6     presence                 81:5 90:8,17
  politely 199:11        7:7,8 9:8,12         212:10 219:8           91:8 101:6
  political 9:20         11:13,15,18,20     present 3:2              102:2,15 107:3
  portion 28:13          11:21 182:9          22:15 23:2,8           111:6 112:18
    77:18 78:13,21     practiced              216:21 223:7           133:3 137:7
    80:2 104:20          237:10             presented                144:11 149:11
    204:11 278:17      practicing 70:5        152:21                 149:13 153:9
  portions 31:20         70:6,7 232:11      presidency               156:21 157:2,9
    71:17 132:4          296:22               79:12 80:2             158:16 160:7
                                                                     161:4,17 162:4

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 360 of 386 PageID #:
                                      4414
 [prior - pulling]                                                           Page 46

    163:11 168:14      production           protective 62:7         314:23
    169:10 170:6         217:13 311:14        216:11               publication
    170:16 171:21        311:15,20          protestia 4:12          45:12 85:5
    215:6 221:9        professional           262:7                 101:6 107:3,5
    269:6                278:17 296:5       protestia.com.          111:6 113:7
  private 182:9        professionally         262:6                 133:3 149:12
    217:8                199:18             provide 38:15           149:14 156:22
  privilege            progressing            47:13 76:1            157:3,10
    166:20 180:8         19:8,11              91:17 121:18          158:16 160:8
  privy 289:14         prohibit 166:10        137:11,14             161:5,18
  probably 93:11       prohibition            142:1 174:14          168:14 169:10
    172:10 175:6         145:12               279:8                 169:14 170:6
  problem              prong 106:5,15       provided 16:15          170:17 215:7
    132:11 146:16        268:8                17:6 38:14            259:10 269:20
    280:18             proof 128:20           40:9 47:5 87:2        275:6 292:3
  problems 148:5       proper 31:21           101:7 102:5           293:6
    148:9,15,21          193:12,14            131:3 134:1          publications
    149:7 152:6          194:9                142:9 190:2           13:6
  procedural           properly 195:3         219:10 231:14        publicly 249:1
    91:22                287:14               241:14 252:9         publish 275:18
  procedure            proposal 4:10          278:22                276:3,5
    312:5 313:5        proposed             providing              published 45:9
  proceed 10:15          109:12,16            37:14 101:9,16        66:20 84:20
    88:13 156:4          131:6 140:15         136:18 137:4          85:12 102:16
    229:22 246:11      proprietor             214:6 287:10          109:15 159:14
    302:20 309:2         237:11               296:16                163:12 262:4
  proceedings          prosecutor           psychology              266:4 276:9,13
    218:2                187:3                9:21                  289:9 290:15
  process 17:14        prosecutor's         public 7:17             291:14,19,22
    160:7                182:8                61:12 62:17           299:9
  produce 173:8        prospect               84:6 85:16,21        publishing
    217:16               276:20               264:16 299:9          84:14,17
  produced             protect 102:8          310:1,19              275:22 276:21
    217:14,15          protection             312:10,18            pulling 185:5,7
    261:7,9,10           165:20               313:15,23

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 361 of 386 PageID #:
                                      4415
 [punished - read]                                                           Page 47

  punished 274:4        97:14 103:14          300:3 303:11           123:10,14
  purposes              105:9,17 106:1      questioning              171:6
   185:13               108:12 112:20         156:17 159:6         raised 63:3
  pursuant 98:15        113:11 114:1        questions 60:14        raleigh 9:15
  pursue 9:22           114:16 118:5          73:19 74:10            12:22 19:9
  push 152:6            119:5,21 120:8        77:11,19 78:1        rapport 48:10
  put 15:16 21:11       123:5,14 125:6        78:2,10,15,18        rather 201:1
   36:8,13 74:5,9       125:14,22             79:5,8 91:19         reach 85:6,12
   75:21 97:1           127:18 133:9          102:20 111:7           124:3 125:17
   102:6 114:2          134:17 136:1,3        113:21 119:3           136:7 239:17
   130:5,7 135:1        138:20 140:3          122:14 138:14        reached 239:15
   135:2,19 136:8       153:14 156:19         156:14 167:13        reaction 131:10
   146:13 168:2,4       161:9 162:17          192:1 199:20           132:16 162:21
   190:15 191:16        170:15,22             206:20 215:19        reactions
   195:22 198:11        171:9 177:8           217:5 219:7            162:12
   230:20 283:2         178:8 180:18          222:18 224:7         read 26:12
  putting 218:8         186:13 188:6          230:2 270:12           27:16 31:19
   218:20 219:5         189:8,20              302:22 304:14          50:13,17,20
         q              193:11,12,14          306:20 307:4,7         69:13 119:1
                        194:9 195:4           307:13,14              122:18 134:16
  quest 32:13
                        198:8 199:10          308:1,3 309:4          139:9 146:8,14
  question 19:4
                        199:17 201:17       quick 108:11             147:10,12
   31:21 35:3,3,7
                        202:15 204:1        quickly 200:22           148:4 149:13
   38:5 39:18
                        206:3,21            quiet 194:20             149:20 150:2,4
   43:5 45:4
                        209:20 212:16       quotation 38:6           150:6,8 156:21
   50:13,18 52:3
                        212:18 213:12       quote 41:14              157:2,7,9,12
   58:16 60:15
                        213:14 216:19         53:17 118:19           158:16 162:4
   63:12 66:13
                        218:14,16             273:18 307:7           165:1 167:7
   68:22 69:6
                        220:14,17           quotes 270:9             168:4,16
   71:16 73:8,12
                        232:3 235:14        quoting 215:18           181:17 200:11
   75:8 80:13,14
                        239:13 241:7                r                203:6,21,22
   80:17 81:4
                        242:1 256:17                                 205:6 212:8,9
   82:16,22 84:10                           r 2:1,20 5:1
                        271:8 275:13                                 217:1 222:13
   86:15 91:12,14                             55:11 156:1
                        275:14 278:5                                 222:14 223:18
   92:6,13,17                               raise 49:11
                        280:17 288:5                                 224:12,15
   93:19 96:9                                 63:2 122:21
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 362 of 386 PageID #:
                                      4416
 [read - record]                                                             Page 48

    225:4,5,14,16      realm 105:4            221:20 222:7         recognized
    225:17,18,19       reask 133:9            223:1 225:2,12         64:3 80:10
    225:20,21            171:9 180:17         225:13 248:5         recollect 277:8
    227:3,14           reason 22:22           259:14 265:10        recollection
    228:10 229:4         25:15 52:16          277:13 285:22          137:20 141:6
    232:11 237:9         132:10 199:13        285:22 286:16          142:19 154:22
    262:5 272:15         274:2 276:8          286:17 287:3,6         155:6,9 175:13
    272:18 278:15        311:13 313:8         287:18,21              192:22 224:17
    278:16,16,18         314:3                288:3,5,11             225:5,14 226:6
    279:5 281:1,3      reasonable           recalling                275:21 287:16
    282:16 294:7         132:22 134:10        107:22                 307:22 308:3
    302:10 312:5,6       134:11 179:6       recalls 225:4          recollections
    312:12 313:5,6     reasons 160:2        receipt 311:16           20:15 173:16
    313:17               276:16             receive 38:19          recomendatio...
  reader 201:18        recall 17:12           259:20                 4:9
    202:1,1              27:8 37:15         received 9:20          recommend
  readers 73:3           40:16 47:17,18       39:12,13               213:6 291:5
    259:12 269:22        48:1 55:21           106:13 114:13        recommendat...
  reading 102:21         60:14 62:18          114:20,22,22           82:9
    146:6,10,12,13       63:3 76:15           129:22 131:5         recommendat...
    159:4 167:12         89:20,22 90:21       133:13 135:15          81:11,12
    213:10 215:17        91:2 99:14           135:21 136:6           213:18,19,21
    221:3 251:16         100:7 101:5,9        215:9 220:20           214:1,2
    292:8 311:17         133:19 137:17        239:2 260:19         recompense
  reads 141:10           137:18,19            274:11 283:18          160:4 163:16
  real 286:9             138:2,6,10           289:10                 164:1 168:9,22
  reality 74:13          143:9 144:14       receiving 221:1          169:4,18
    86:17,21             146:2,3 156:15     recess 10:13             170:19 171:13
    232:20 255:1         156:19 157:11        88:11 155:16         reconciliation
    296:4                157:11 176:4         246:9 302:18           221:4
  realize 144:21         176:22 177:4,6       308:22               record 5:3,17
    178:1                183:9,16 191:5     recited 30:12            6:17 10:11,15
  really 35:21           191:15 195:14      recognize                17:1 56:17
    41:1 141:10          196:14 213:17        15:19 147:5            81:19 88:9,12
    192:19               214:9 221:1,2        262:2                  146:8 155:14

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 363 of 386 PageID #:
                                      4417
 [record - relationship]                                                     Page 49

    156:4 166:1        reference 21:17      referencing            refusing 219:16
    172:22 173:3,4       24:2,17 25:16        64:4,6 160:21        regard 145:7
    173:12,12            26:3,4,15 27:7       161:8 232:13           170:8 194:9
    212:7 216:9          31:10,16 32:6        260:22                 299:7
    217:12 219:5,9       32:9 38:7          referred 241:2         regarded
    224:5 230:15         47:22 55:4           283:11                 109:20
    246:7 302:16         62:19 63:7         referring 27:21        regarding
    302:20 308:21        72:5 73:14,15        53:6 94:6              39:17 44:18
    309:2,6 310:9        78:14 80:13          111:14,15,19           167:12 290:13
    313:9                82:13 89:10          112:6,9 114:9        regardless
  recorded 5:4           118:7,12             115:16 126:7           166:9
    30:21 246:11         122:19 160:12        161:21 212:15        regularly 137:2
  recording              165:1 170:4,17       244:17 249:22        rehobeh 55:18
    64:20 65:1           171:11 180:1         260:6,8 301:13         55:19 56:6
    173:6 174:8          183:19,22          reflect 56:18          rehobet 55:12
  records 295:22         186:2,3,8          reflected 20:16          55:13
    299:10               188:4,8 206:17     reflects 129:9         rehobeth 50:3
  recovering             223:8 225:21       reform 7:22              51:19 55:8
    226:4                226:13 238:4         267:17 290:19          57:18 60:11,19
  recovery               241:17,19          refresh 164:21           62:13 63:7,16
    167:21               250:7 251:8,9        167:8 175:12           63:18 64:2,17
  red 114:13,22          252:1,16             191:17 220:12          80:3,9,16
    115:2                270:15 294:1         225:5 226:2          related 15:5
  redepose 216:3         303:15 311:7         249:4                  49:22 51:6
  redline 114:7          312:2 313:2        refreshed 67:5           222:8 277:15
  redlined 4:8         referenced             167:18 225:9           291:3 310:11
  reduced 310:7          66:16 72:4           225:10               relation 202:21
  ref 224:2              78:8 156:20        refreshes                263:14 286:6
  refer 21:1,2,22        193:2 224:13         220:13 226:6         relationship
    22:2,12 24:7         251:22 261:11      refreshing               22:16 23:3,9
    50:3 71:21           312:11 313:15        215:19 270:13          24:16,22 25:8
    158:9 162:3        references           refuse 167:6             25:14,19,21
    183:6 195:4          69:18 169:17       refused 217:16           26:16 41:18
    270:9                249:8,17             218:15 230:21          48:6 52:19
                                                                     53:8 211:13

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 364 of 386 PageID #:
                                      4418
 [relationships - report]                                                     Page 50

  relationships         remembering            65:22 66:5,9           174:16 175:1
    70:11 179:12          99:22                66:11,15,20            177:9,11 178:4
  relative 310:13       remembers              69:11,12,13,14         178:22 179:19
  release 274:21          65:3 74:2            69:18,22 71:18         181:15,16,17
  relied 173:15           80:22                72:11,12,17,18         182:14,20
    187:21 231:17       remind 30:9            73:4 74:9 75:9         183:3,19,22
    253:14 254:2,5        36:3 92:7            84:5 85:15,20          184:4,13 186:4
    254:9,13              108:18 164:17        86:5,5 87:3,19         186:6 188:19
  religious 289:5       remotely 13:1          93:16 94:3,11          193:2 198:12
    289:11,19           remove 270:12          96:1,13 97:1           198:15,15,19
  rely 187:18           removed 191:1          101:7 102:3,15         199:4,8 200:11
    254:18,20           rendition 29:17        103:16 104:21          205:9,20
  relying 272:2         repeat 23:5            107:4 109:14           207:19 209:12
  remain 62:6             25:20 31:3           111:7 112:14           213:22 215:7
  remember                64:12 85:6           113:8 114:14           238:5,11,12,16
    13:17 41:1,20         86:15 96:9           115:15 117:5           240:11 241:16
    53:11 60:17           122:1 125:5          121:21 123:2           241:18,20
    64:4,6,13,15,20       130:8 200:7          123:18 127:9           242:5,15 243:5
    64:22 65:2,4,6        206:21 209:6         127:10 131:21          243:16,19
    66:3,8,10,12,14       289:7 299:2          131:21 132:4,7         246:22,22
    74:1 76:19          repeated 30:16         133:4 138:8            248:4,5 249:7
    77:2 80:21            97:6 250:12          140:14 145:8           249:8,13 250:5
    83:12 89:11         repeatedly 92:5        147:5 149:12           250:20,22
    92:3,9,20             218:16               149:14,20              251:8 252:10
    100:2,4 116:6       report 4:16            153:11 154:8           253:7,9 254:16
    116:7 124:20          22:14 23:19          156:22 157:3           256:11 258:20
    127:6 139:5           24:13 25:15          157:10,15,16           258:22 259:2
    142:8 154:14          27:14 31:4,6         158:12,14,15           259:11,11
    156:17 172:1,8        31:15 32:10          158:16,22              263:15,21
    175:14 177:3          33:5,21,22           159:14 160:8           264:7,17 265:7
    193:18,19             34:22 35:14          161:5,18 162:5         266:3,20
    201:11 221:3          36:14,15,19          163:11,19              269:21,21
    238:15 242:20         37:1 38:8            168:14 169:8           272:3,14 273:4
    246:17 290:15         41:13,21 42:16       169:11,15              274:3,21 275:6
    296:2                 45:9 49:22           170:6,17               275:18,22

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 365 of 386 PageID #:
                                       4419
 [report - return]                                                            Page 51

    276:3,5,9,13,21       185:13 253:15      requires                 218:13 223:17
    277:16 278:1          308:18               188:21                 240:10 273:11
    284:5 286:6         represent            res 177:13               279:6,12
    288:8 289:9           29:16 30:19        reservations             293:21 295:9
    290:15 291:4,6        166:1 177:18         26:22 27:6             303:1
    291:13,13,19          304:18               36:5,12              respects 20:20
    291:22 292:4        representation       resignation              38:13
    293:7,9,17            71:8                 68:10,14 69:1        respond 116:12
    294:2 295:19        representative         83:4                 responded
    295:21 296:9          207:16             resignations             126:3 142:20
    297:3,5,15,20       represented            276:12,15,19           244:22 245:14
    299:12,15             32:21 45:12          277:4,15,22            280:4,8 301:5
    302:5 303:3,6         190:3                278:9                response 12:4
    303:16 304:9        representing         resigned 50:3          responses 4:15
    306:2                 5:12,19,21           51:2 57:13,18        responsibility
  reported 1:19           13:15 95:16,17       72:7 74:20             221:6
    20:21 24:14           104:9                276:8 277:7,9        restate 33:12
    25:16 26:13         request 95:1,3         277:12 286:10          43:5 54:2
    44:2 52:10            114:20 167:1         286:18                 63:11 73:8,12
    163:19 178:22         222:1 223:12       resistance               114:19 118:4
    181:18 252:19         223:15 313:9         106:9                  125:8 153:14
    254:6,9 257:19        313:11             respect 12:9             162:2 198:10
    257:19 258:21       requested 47:6         16:12 18:12            206:2 256:17
    258:22 271:7          95:6                 41:3 43:1            result 274:16
    272:4 302:12        requesting             63:16 64:9             289:15
  reporter 1:19           229:5                68:8 72:21           results 264:6
    5:14 6:6 254:6      requests 39:16         82:16 97:15            286:22 287:4
    312:7               required               101:12 102:8           288:1
  reporters               296:11 298:6         115:13 122:13        resume 218:5
    106:13 229:13         298:15 299:3         126:1 132:9          resurfaced
  reporting 84:4          311:22               159:13 169:13          158:21
    124:6 132:12        requirement            170:3,15,22          retaliation
    252:11                297:19               173:10 182:16          106:8
  reports 43:18         requirements           196:10,11            return 230:5
    153:2,17              91:22 296:18         197:19 210:15

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 366 of 386 PageID #:
                                       4420
 [returned - right]                                                           Page 52

  returned               19:1 20:10,17         111:7 113:21           184:12 188:17
    311:16               20:19 22:8            114:21 115:15          189:1 190:13
  reveal 105:11          24:7 26:16            115:22 118:8           191:9,15 194:1
    220:3 249:3          28:2,8 29:2           120:4,6,9              194:13 196:20
  revealed 61:5,9        30:7,22 35:20         121:13,17,19           197:11,16,21
    249:1                36:19 37:2,17         121:21 126:21          198:5,12,15
  revealing              38:17 42:13,20        128:11 129:21          199:15 202:13
    104:16 249:5         43:4,19 44:2          129:22 130:10          202:14,22
  review 15:13           45:2,9,15 46:8        131:20,22              203:7,10
    45:6 60:3            49:12,20 50:13        132:13 139:14          204:13 205:8
    71:17 79:11          52:1,3 53:19          139:17,19,20           206:5,17 208:6
    102:17 109:21        54:7,9,19 55:9        140:1,7,9,17,22        210:2 216:12
    110:1,4,4,8,15       56:7 57:4             141:19 142:21          217:19 218:9
    111:2 138:12         59:19 61:19           144:18 147:16          218:18 219:18
    142:11 149:10        62:10 65:14           147:21 148:19          219:22 220:9
    201:6 311:11         67:2,18 69:2          148:21 150:22          220:22 221:15
    312:1 313:1          69:16 70:5,8          151:14 152:3           221:19,21
  reviewed 13:12         70:17 71:2,5,9        154:17 158:21          222:10,16,21
    14:5,22 15:1,3       71:11,20 73:1         159:8,13 160:3         222:22 223:3
    15:12 40:1           73:21 74:3,16         160:9 161:6,15         224:14 225:7
    83:2 116:16,17       74:22 77:20           161:20 162:7           225:22 226:9
    127:2 246:15         78:2,3,11,16,19       162:14 163:8           226:14,18,19
    256:4                79:9,15,18            163:14,16,22           227:10 228:14
  reviewing              80:5,11 81:5,5        164:1,6,10             234:9,13,16
    76:17                81:9 82:4,6,9         166:3,10,15,18         235:8,18 236:9
  rewrite 4:8            82:14,19 84:21        166:21 167:4           236:18 237:3,8
    132:7                85:7,16 86:9          167:17,21              237:14 239:6
  rewrote 131:21         86:12 87:5,9          168:1,9 169:6          240:2,5,11
  rhodes 1:19            88:2 89:3 90:3        169:8,18               242:16 243:16
    5:14 310:2,18        92:7 93:13,17         170:14 173:17          245:4,11
  right 6:19             94:22 98:7            173:22 174:9           246:19 247:3,6
    10:18 12:9,20        99:13,19              175:20 176:2           247:17 248:10
    13:21 14:3           103:17 107:2,4        176:10,12,14           248:15 249:2
    16:1 17:3,17         107:10,13,21          176:15 177:6           249:11,14,20
    18:2,14,15           110:5,8 111:2         178:5,12 179:8         250:4,7,10,13

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 367 of 386 PageID #:
                                       4421
            REDACTED
 [right -              ]                                                           Page 53

    250:16,22                  159:2 160:20         24:14 79:21            REDACTED
    251:2,7,11,19              160:22 164:19        181:5,21 248:3
    252:12,21                  195:3 199:11       rpt 4:13
    253:6,11,13,16             199:18 212:3       rule 217:19
    254:5,7,11,21              215:15 216:6,9     rules 219:1
    255:1,5 256:7              216:10 219:9         312:5 313:5
    256:9 257:12               220:2 223:11       ruling 216:2
    257:21 260:11              225:10 278:15        217:3 218:5
    261:14 263:6               281:4,15             219:13
    264:8,18 265:7             291:17             run 198:5
    267:21 268:3             rob's 275:13           200:2,4
    268:19 269:2             robert 2:3 61:2      russ 17:10
    272:6 273:1,12           robert.macgill         76:16 143:10
    273:21 274:5               2:6                  283:12
    274:18,22                role 6:22 8:20       russell 17:10
                                                   REDACTED
    276:6,18 278:1             8:20 16:22                   39:12
    278:10 279:2               43:15 45:20          58:3 76:13
    279:15 280:14              122:13 202:10        115:3 212:2
    286:11,20                  239:11 240:16        244:17 300:7
    287:9,15                   246:14 248:11       REDACTED
    291:15 292:1,5             266:1 300:9
    292:11 293:11            roman 77:10
    293:15 295:3,7             77:17,22 78:5
    297:7,11,21                78:6 79:1,12
    298:7 299:12               81:11,14,16,17
    304:6 305:10               82:2,3,8
    305:15 306:4             room 58:21
  ring 262:8                   70:3 95:15
  rob 5:18 35:7                96:4 146:14,18
    50:10 81:16                159:9 215:22
    87:16 89:14                217:8 223:9
    91:14 92:14                230:10 278:20
    104:15 108:9             roughly 215:8
    108:12 118:18            roy 22:15,17,19
    128:17 146:12              22:21 23:2,7

                                     Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243         Document 219-7    Filed 07/03/24                     888-391-3376
                                                                Page 368 of 386 PageID #:
                                            4422
  REDACTED
 [             - see]                                                            Page 54

        273:3 278:13       saw 131:11           sbc 4:9 8:16           screen 33:16
        280:5 283:5,18       134:2 158:17         77:12,19 78:11         36:9 130:7
        285:8,15             158:20 187:19        90:8,17 95:16          143:3,14,22
        300:21               220:6 222:16         95:18,20 96:11         144:17 145:10
     REDACTED
              's 241:2       222:20,22            97:5,10,13,17          147:2 153:19
     REDACTE

            27:19,20         236:6                97:22 98:3             168:3 280:14
        28:14 34:15        saying 56:3            103:17 104:12          280:16 281:9
                 s           66:15 87:20          105:6,13               281:14,18
                             92:19 113:19         106:18,18            seal 312:15
     s 2:1 4:1 5:1
                             116:8 126:4          123:15 124:4,5         313:21
        156:1,1,1
                             142:14 152:17        124:12,16            searched 124:9
        311:14 313:8,8
                             154:14 155:7         125:7,19,21            124:9
        314:3
                             186:5 216:17         135:1,1,2,11         searching
     sa 269:22 270:5
                             223:17 227:17        136:8 170:16           123:12
        270:15,16
                             231:9 242:19         170:21 204:5         seated 192:4
     sabbatical 51:2
                             267:13 280:20        208:17 209:4           194:1,13 195:7
        51:18 57:13,17
                             281:7,11,17          210:16 212:14          195:9,10,19
        63:21 68:10,14
                             301:6 304:3          213:3,7,21             196:2
        69:1 79:15
                           says 30:17 33:5        274:19 275:22        second 17:19
        83:4
                             33:5,22 34:15        276:2 279:12           26:19 61:20
     salary 222:4,15
                             36:3,15,16,19        279:18 293:1           67:9 72:14,19
        222:20 231:21
                             37:1 41:14,14      scene 56:11              78:7 82:8 87:3
        233:17,19
                             72:19 73:18        schedule 176:3           87:3 142:17
        235:4
                             77:10 126:2,14     scheduled                147:1 177:4
     sale 236:4
                             141:5,20 142:6       175:4,5,6              247:21 305:4
     samantha 1:11
                             143:18 151:18      school 10:3,5          secretary 15:9
        2:7 5:5,22 6:9
                             183:15 210:10        10:17,20,22          section 77:18
        6:18 156:6
                             227:6 229:4        schools 8:1,3,4          78:13 79:4
        309:6,9 311:8
                             231:18 233:5         8:5,6,7,10             105:2 131:6
        312:4,9 313:4
                             238:20 262:6       scope 77:6               204:4
        313:13 314:20
                             269:21 273:15        104:1 106:4          sector 289:19
     sanders 2:3
                             285:7 286:10       scott 2:8 3:3            290:2,10
        5:19 75:17,21
                             286:10 295:7         5:22 13:11,13        see 21:18 24:5
        92:6
                             299:12 300:20        13:14                  24:10 27:1,7
     saved 148:1
                             301:17                                      29:11 30:14

                                   Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243       Document 219-7    Filed 07/03/24                     888-391-3376
                                                              Page 369 of 386 PageID #:
                                          4423
 [see - sexual]                                                              Page 55

    31:6,12 32:6,9       250:18 251:5         260:3                sequence 127:7
    32:16,22 33:8        251:15 252:6       sending 76:19            144:20 176:4
    33:15 35:11          252:16,17            77:2 95:22           series 68:17
    36:6,10 42:7         253:4 260:6          96:12 107:8            156:14
    46:2 47:10           261:15 270:2         137:7 145:1          sessions 13:11
    66:9 71:21           272:19,20            285:15               set 56:11
    72:8 79:2 81:1       274:11 279:1       senior 7:1 8:14          107:18 117:17
    82:11 93:3           280:13 281:14        8:21 158:6             142:17
    95:2,6 100:2         282:13,17          sense 114:12           seven 72:5
    101:10 103:2         283:3,4 285:9        122:21 178:5           78:19
    106:16,21            288:17 300:16        301:21               several 7:19
    108:15 109:1         301:1,22 302:1     sensitive 95:10          60:13,20 62:14
    110:17 111:11        308:16,17          sent 4:7 47:4            73:19 90:1
    112:17 121:1       seeing 37:15           76:18 116:22           211:15 267:16
    121:11 124:18        124:7 159:2          116:22 120:6,8       sex 197:19
    126:5 129:4,15       166:11 284:4         129:7,9,14             202:14
    130:12 133:15        287:19               134:3 137:15         sexual 25:2,9
    139:12 141:12      seek 168:8             137:19,21              25:12,12 26:1
    141:15 147:19      seeking 168:12         139:15,15              26:2 49:3 51:7
    148:1,6 150:12       213:2 224:21         141:8 144:10           81:9 90:7,14
    150:16 151:9       seen 89:1              145:1 175:7            91:7 92:10
    152:9,13 153:4       169:16 241:16        215:3 221:11           103:15 104:11
    153:19 158:7         242:19 265:2         260:20 283:5           105:13 178:11
    158:13 164:17        280:15 290:13        288:15                 178:12 179:8
    165:6 167:14         294:19             sentence 21:11           182:1,3,4,5,18
    168:3 169:6        self 152:15            22:13 29:11            183:11,20,21
    172:14 175:11        265:15,19            33:2,17 35:15          184:2,10,11,18
    175:12 192:18      sell 231:21            158:20 206:7           184:20,21
    204:8 210:13       send 76:12             273:8 301:18           185:4,5,9,18
    214:16 226:12        117:9 129:12       separate 159:9           186:1,7,18,20
    227:1,20             129:16 131:16        162:3 192:8,9          187:5,6,10,14
    229:18 230:21        138:8,12,16,18       213:14 278:20          187:20,21
    231:8,9 232:1        143:3,13,14,22       287:18                 188:1,21,22
    232:8,14             144:12,15,18       separately               193:2 198:2,4
    245:18 249:7         145:10 214:7         136:7                  198:12,15,20

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 370 of 386 PageID #:
                                      4424
 [sexual - sooner]                                                            Page 56

    199:2,8,14,22       shirt 185:7          signature              sits 291:2
    200:13 202:21       short 12:2             310:18 311:13        sitting 191:19
    203:20 211:8          231:21 236:4       signed 312:13            191:20 196:15
    229:13 251:10         236:14 257:16        313:18                 221:20 223:1
    251:18 252:8          302:14             significant              224:15 277:7
    252:11 253:9        shorten 111:10         132:3 154:7          situation 105:2
    254:10,15           shortened              229:7,8,9,11,14        188:22 210:21
    255:4,17 256:6        34:18 112:13         234:5 237:18           210:22 268:9
    256:6,9,13,21       shortly 270:11       signing 311:17         situations
    257:3,7,11,11       shorts 252:4         similar 27:13            105:1 229:12
    257:20,21           shoulder 185:8         248:8                six 11:1 78:19
    258:3,3,6,10,10     show 61:22           simple 213:9             81:15,18 215:6
    258:17,20             108:4,8 121:5        233:17                 292:3,4 293:6
    259:1,3,4,6,6         154:20 245:11      simply 173:11          sliding 197:10
    259:13 267:17       showed 40:12         simultaneously         small 11:1
    271:1,1,6,6,11        40:17 41:6           282:17                 141:11
    271:11 293:14         45:6 190:4         sincerely              sole 237:10
  share 143:2,14          211:17 265:14        311:18               solely 118:9
    143:22 144:17         265:15 269:8       single 86:6            solicited 114:6
    145:10 179:4        showing 147:2          97:17 103:15         solo 11:12,15
    182:14 231:10         301:20 302:5         112:21               solutions 1:7
  shared 39:15            302:12             sir 10:4 14:4,7          1:15,21 5:13
    53:7 76:13,14       shown 78:14            15:21 16:2,11          5:15 6:21
    76:15 115:8           133:4 217:2          16:16,20 17:4          292:11,19
    139:19 179:3          281:18 311:14        18:3 20:7              294:13 311:1
    211:15 213:18       shows 178:11           23:17 24:20            314:1
    248:9 250:11        side 128:4             28:3 35:19           somebody
    250:14 251:13         190:16,16            177:22 261:14          47:15,16
    255:20 258:6          192:12,14,15         285:5 290:12           226:13 227:6
    258:15,15,17          192:16,20            304:12 311:9           263:3
  sharing 143:7           193:4 194:1        sit 47:1 104:7         somewhat
    238:19                195:9 196:2          145:7 183:9            18:11
  sheet 311:12          sides 263:11           192:22 197:13        soon 128:8
    313:7,10,18         sign 188:19          site 245:18            sooner 201:1
    314:1

                                Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243    Document 219-7    Filed 07/03/24                     888-391-3376
                                                           Page 371 of 386 PageID #:
                                       4425
 [sorry - statement]                                                         Page 57

  sorry 13:18            141:2 183:5          212:4 305:8            237:12,18
    38:11 55:16          256:16             spectrum 25:22           239:4,5,7
    73:11 77:13        special 269:8          264:2,4              start 111:10,13
    103:21 145:14      specific 18:12       speculation              111:19 112:6
    157:15 208:1         22:13 24:1           194:7 228:20           117:15 235:11
    215:12 244:4         26:18 29:7           233:22 236:20        started 11:12
    273:7 285:5          31:16 51:3           262:19 270:7           42:3 146:9
    289:7                55:5 73:14,16        285:19 303:8           159:5 192:7,8
  sort 106:14            93:4 100:7           303:18                 250:2 292:18
    247:10               101:5 117:21       spell 55:9,10          starting 265:5
  source 20:12           118:2 155:1        spent 92:2             starts 40:3
  sources 20:8,9         171:5 209:13       spoke 80:3,7             241:12
  southern 1:6,8         215:21 256:5         98:5 107:22          state 6:16
    2:12 5:7 21:13       258:5 270:9          108:1,18 109:3         63:15 295:22
    30:21 63:1           307:2,14,22          145:14 163:9           297:4 299:9
    78:1 211:18          308:3                175:15 176:19          312:10 313:15
    212:13 267:15      specifically           176:20,22            stated 22:15
    291:3 311:6          21:2 35:12           177:1,6 206:13         23:2,7 24:14
    312:3 313:3          41:5 44:22           248:12                 27:19 28:7,14
  space 264:16           46:18 47:1         spoken 18:22             28:15 32:18
  speak 15:17            52:7 63:14,15        22:9 107:20,21         34:15,19 42:3
    29:19 88:15          63:17 64:8           143:6 253:16           51:4 65:21
    108:22 123:11        65:6,19 68:4       sponsor 206:6            66:2,15 69:15
    123:15 124:21        72:12 80:7         sporadic 99:16           72:6 73:1
    166:13 210:7         100:1,6 102:17     staff 300:8              74:19 101:13
    223:5 224:4,8        116:7 156:20       stamp 129:15           statement
    229:16 230:3         157:5 159:18       stand 244:6              34:16 35:8
    246:3 286:13         165:1 168:9          290:18                 54:3 67:20
    286:20,21            191:13 212:13      standard                 94:5 101:2
  speaking 58:19         223:6,8 255:12       185:22 188:5,9         150:2 173:19
    64:8 135:4           255:15 263:22      standpoint               205:20 259:14
    221:9 229:20         276:16 287:6         131:18                 267:12 272:8
    252:20 275:11        297:10 307:17      star 231:16              274:7 277:1,18
  speaks 113:22        specifics 91:3         232:21 235:6           283:4 299:14
    118:17,22            127:11 159:7         235:12,13              312:13,14

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 372 of 386 PageID #:
                                      4426
 [statement - survivor's]                                                    Page 58

    313:19,19          stream 284:22        substance 93:6           43:17 47:10
  statements           street 1:15,21       substantial              51:13 56:2
    43:1 178:3           2:4 5:11             226:4 228:1            58:19 66:20
    263:4 269:10         221:13               233:9                  90:4 93:18
  states 1:1 234:3     strike 43:14         success 155:4            99:7 102:8,9
    268:2                48:4,13 49:15        155:11 157:9           104:15,16,18
  stating 64:15          64:14,21 65:21     successful               114:9 115:16
  status 137:2           137:9 140:18         217:10                 122:6,7 125:11
  stenotypy              159:17 169:12      sufficiently             164:6,13 169:3
    310:7                183:21 211:2         216:19                 171:11,18
  stepped 63:7,18        212:22 214:16      suggest 53:17            174:3 175:4
  stepping 63:20         284:19 289:8         279:7                  180:17,18
    63:22                295:20             suggestions              181:13 201:22
  steps 100:5          string 120:19          131:18                 201:22 209:7
    125:17 136:6         284:18,20          suite 1:16 2:5           215:16 225:9
    274:10 279:13      strings 287:11         2:21 5:11              227:20 238:10
    298:4,14           stripping              311:2                  242:2,12
  stipulate 56:18        301:19             sum 229:5                260:18,19,22
    128:11,20          studies 9:20         summarize                261:1 265:3
  stipulation          study 9:19             77:6,11 79:8           273:5 278:9
    128:17             stuff 163:9            253:13                 285:3,3 291:2
  stone 117:17         subject 15:6,8       summarized               292:2,14 294:8
  stop 122:22            153:8 295:13         78:18 81:12            294:17 296:21
    132:11 146:11        303:3              summarizing              298:4,19
    274:12             submit 279:18          77:6,17                308:16
  stopped 252:4          279:22             summary 59:7           surprise 179:14
    257:17             submitted              77:11                surreptitiously
  story 15:16,20         15:15 117:18       sunny 300:9,11           87:6
    16:1 18:2,5,8        175:1 280:2        superior 311:1         survivor 32:12
    52:14 102:9        subscribed           supporting               213:20 251:5
    147:7 239:1          312:10 313:14        273:4                  251:10,19
    301:20 302:3,5       314:21             suppressed               253:2 258:5,16
    302:11             subsequently           158:21                 259:8
  straight 248:20        253:3 259:9        sure 9:13 35:6         survivor's
                                              35:11,20 39:13         52:10

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 373 of 386 PageID #:
                                      4427
 [survivors - terms]                                                         Page 59

  survivors 103:4      taken 5:5 10:13        189:20 191:5           154:2 164:4
    106:8 179:10         15:4 57:17           222:7 229:5            176:18 189:3
    182:7,13 214:2       88:11 113:6          233:11 234:18          189:11 190:22
  swear 6:7              127:2 155:17         248:2 251:3            192:4,16 193:3
  sworn 6:11             195:22 246:9         278:10 281:8           202:12 204:3
    156:8 310:5          302:18 308:22        283:12 287:7           218:12 229:2
    312:10,13            310:3,7,12           293:16 294:21          233:10 234:2
    313:14,18          talk 9:12 29:7       taped 175:14             261:15 283:2
    314:21               32:19 34:20          175:17                 287:21 292:22
  system 130:6           38:12,13 69:19     task 290:19              293:1 298:8
          t              102:14 128:18        291:1                  305:18,22
                         134:22 145:17      taylor 2:13              306:6 307:5,8
  t 4:1,1 11:5
                         150:10 170:2       team 41:4 90:5         telling 88:1
    55:11 156:1
                         175:6,18             90:15 93:12            100:4 102:22
  table 191:10,11
                         179:17 187:2         112:11,12              128:7 139:5
    191:13,16
                         193:9 210:5        teams 93:12              143:10 144:14
    192:20 193:15
                         213:20 218:1         301:8                  165:13,14
    195:12 196:1
                         228:8 230:16       technical 10:10          209:14 263:16
    196:16 277:7
                         233:4 239:4        technique              ten 173:7 227:7
  tables 193:4
                         242:13 266:14        100:12,22              227:10
  take 19:15
                         274:16,18            101:13,15            tennessee 1:1
    43:15 59:9
                         291:10,12          techniques               2:14,22 5:8
    61:22 62:1
                         301:8                98:12                term 186:12
    88:8 100:5
                       talked 106:17        teen 152:12              187:10 199:14
    108:3 116:3
                         106:18 108:5       telephone                239:5 269:14
    125:17 136:6
                         112:14 181:4         108:6 176:1            269:15,17
    141:15 155:13
                         190:1 202:3        tell 39:9 47:15        terminology
    157:13,14
                         242:14 243:12        48:2 52:5 58:6         182:19,21
    172:15 174:4
                         258:14 293:13        58:12,22 73:3        terms 16:14
    191:16 220:4
                       talking 26:7           97:3,4,7 99:8          23:18 40:12
    221:5 223:2,3
                         52:17 55:5,7         99:12 111:5            70:10 74:22
    246:5 265:11
                         59:11 130:21         113:7 127:14           86:19 98:10
    274:10 279:13
                         130:22 145:20        129:7,14 131:9         100:11 124:19
    298:13 302:14
                         160:20 161:4         140:20 141:17          145:19 153:17
    308:7
                         166:21 189:19        143:12,12,21           163:2 182:5

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 374 of 386 PageID #:
                                      4428
 [terms - third]                                                             Page 60

    186:6 215:11         271:14 282:3,7       119:17 147:2           93:9 100:15
    224:14,21            282:8 289:20         159:11 223:19          112:2 116:21
    232:20 243:16        310:4,6,9            306:20 309:4,4         119:19 123:8
    272:4 276:19         312:6,7 313:6      therapist                123:12 125:8
    286:22 288:13        313:9,12             182:11                 126:10,14,14
    295:11             tethered             thereto 310:15           126:19 127:13
  terrible 124:5         232:18             thing 47:19              141:16 149:2
  testified 6:11       text 4:11,12,17        123:3 124:8            152:1,20 160:3
    42:1 63:5            46:21 47:7,9         125:13 216:9           160:4 168:10
    82:13 120:7          47:11,12,18          247:20 268:7           172:10 177:3
    133:17 156:9         93:9 94:6            302:12                 187:2 189:22
  testify 104:8          116:11 120:19      things 25:12             190:14,20
    128:4 233:4          121:3,7 125:22       37:8 43:7              192:7 199:19
    281:22               126:1,1 127:2        46:12 97:3             200:18 209:3
  testifying 47:2        127:15 128:12        99:18 100:5            209:10,11
    128:3                129:11,13,14         106:7,10               219:9 221:16
  testimony              129:16,17,19         117:16,16              227:15 238:3
    13:10 14:6           129:20 130:15        124:10 125:1           238:18,21
    15:2 33:14           132:4 238:11         137:2 149:3            239:1,7 241:10
    35:13 60:4           238:12 244:12        154:5,10 160:3         243:20 244:17
    63:10 65:10          244:16,22            163:8,16 164:1         245:22 246:3
    74:8 83:13           245:3 265:14         185:19 186:16          247:13 248:6
    86:14 88:22          265:15 284:20        190:1,9 200:22         249:17 259:12
    93:19 105:21         284:22 285:6         202:2,4,5              265:14 266:8
    112:7 123:21         285:16 287:11        211:19 221:3,3         269:22 270:21
    124:14 133:20        287:13,21            222:5 227:20           271:13 277:9
    136:1,17 138:1       288:3,5 294:10       250:20 268:7           283:9 284:2
    166:14 168:11      texting 115:19         269:11 270:19          286:8 287:2
    171:22 186:21      texts 115:17           292:15                 294:22 299:18
    194:18 195:3         121:8 265:3,4      think 14:15              300:20 301:3,6
    199:15 201:11        265:11               25:7 38:4              302:14 308:17
    201:13 202:7       thank 11:7 22:2        40:15 48:19          third 2:9 17:22
    235:10 237:16        29:14 30:18          50:9 52:1              30:13 49:17
    239:2 248:7          42:9 55:18           55:17 60:7             72:18 87:19
    255:14 266:6,9       108:21 119:11        88:22 90:11            96:20 174:14

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 375 of 386 PageID #:
                                      4429
 [third - top]                                                               Page 61

    254:13 288:16       58:11 59:7,22         290:9 295:22           166:17,18,19
  thirty 311:16         63:6,17 68:16         296:22 299:10          181:10 192:8
  thought 21:16         68:20 72:20         times 25:21              196:21 197:2
    52:16 125:12        74:15 76:7            48:18,20,21            197:12,13,18
    154:12 156:16       91:7 99:2,18          99:10,17               197:22 200:3
    179:6               103:14 108:22         125:13 197:20          220:1 222:14
  thoughts 284:3        115:18 116:14         199:11 211:5           228:11 245:10
  thousands             116:16 117:4,5        227:10 231:6           251:4 252:2
    221:19 224:20       121:15 124:8          233:1 235:1            253:1 254:2,7
  three 14:16           127:1,7,9,14        today 7:18 13:4          254:10,14
    20:9 82:18          129:14,15             13:10 15:2             256:20,22
    83:1 146:18         133:2,13              33:16 42:1             257:1,2,10,13
    197:19 247:1,8      134:15,19             60:4 63:5 65:9         258:4,9 259:6
    247:14 248:2        144:13,15             76:17 91:4             259:7,10 269:6
    248:20 249:9        157:9 166:1,6         104:8 145:8            298:9 306:3,5
    249:17 252:15       171:4 172:3           192:16,22              306:11,16
    252:16,16,21        173:8 174:22          193:18 196:15        tomorrow
    253:7 254:13        175:3 179:5,12        199:15 216:19          301:8
    254:21 259:2,3      180:4,18,21           217:6 224:16         tone 115:11
    259:5 272:6         181:11 184:16         229:19 289:21        tongring 285:1
    273:11,19           184:18 198:17         304:21                 286:4
    284:8 286:3         208:2,15 209:5      together 55:9          tonight 301:7
  thursday 22:14        209:13,16             71:12 97:1           took 18:4 19:16
    26:20 139:11        210:3 211:2,4         101:21 119:13          19:18 34:21
    141:9               211:8,15 213:7        203:16 210:8           57:13 59:18
  time 1:14 11:13       226:17 227:7          225:16 228:9           60:1 61:11
    12:2 16:17          229:2 231:5,14        232:17 234:7           140:7 152:21
    17:22 18:9,20       233:16 236:16         234:22 235:1           196:16 211:19
    23:14,16 26:16      255:2 259:13          240:21                 213:18,22
    27:12 30:3          267:1 268:11        told 30:3 47:12          253:20 298:4
    40:15 42:16         268:18 269:4,8        53:10 69:1             305:9 308:16
    46:17 47:3          270:21 271:14         80:8 86:20           top 71:22 75:4
    49:17 50:5          276:10 279:6          97:13 99:18            77:8 106:15
    51:3 53:2           286:9,21              102:2 112:15           235:18
    54:19,21 55:20      289:13,15,17          144:11 160:5

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 376 of 386 PageID #:
                                      4430
 [topic - understand]                                                        Page 62

  topic 31:14          traumatized            142:2 172:9          unable 213:12
    59:2 86:10           179:11               174:2 178:15         uncomfortable
  topics 83:2          treatment              178:18 181:18         211:16
    216:3                269:8                181:19,20            under 27:17
  total 119:17         tricky 281:16          210:9,10              54:3 80:1
    222:4 231:21       troy 64:4,6,8,9        225:17 227:20         93:14 98:9
    234:14 277:10      true 40:20             228:15 236:8          231:11 268:7
  totality 86:7          42:21 45:18          247:1,5 248:19        296:16 298:9
    190:1                71:4,7 135:17        249:8,17 251:2        299:4 310:8
  touched 252:3          140:22 141:18        251:3,12,13,17       undermined
    257:16               168:6 193:15         254:9,21              274:3
  touching 185:5         194:2 279:12         257:18,18            undermining
    185:6                310:9                258:3,9,14,15         272:3
  towards 12:3         truth 174:7            258:21 270:19        understand
    161:14 241:10        233:18               272:5,18,19,20        13:3 17:14
  tower 2:18           truthful 16:14         273:11,19             35:12,18 39:18
  tpmblaw.com            83:17 84:1,5         284:8                 40:11 41:4
    2:15                 84:16 85:20        type 59:16              45:11 51:13
  training 182:4       try 49:17 52:9         247:11 283:19         52:7 54:13
    182:11               197:20 230:13      types 106:9             56:2 64:1
  trainings 182:9      trying 52:12           116:10 125:1          84:13 88:18
  transactions           75:3,7,9 78:4        175:3 201:15          90:4 106:11,21
    70:13                152:7,7 200:21       264:8 269:17          141:21 148:20
  transcribed            229:6 281:16       typewriting             155:3 159:18
    312:7              turn 19:19 21:4        310:8                 164:7 165:5,7
  transcript 4:22        102:3 117:5        typewritten             165:12 184:2
    217:1 311:10         167:11 231:1         16:3,5,9              184:20 190:22
    311:11 312:5         249:14                     u               191:13 197:21
    312:12 313:5       turned 127:9                                 212:12,21
                                            uh 9:10 21:17
    313:11,17          turning 185:6                                213:1 215:10
                                              21:22 27:11
  transmitted          twelve 234:17                                219:18 222:3,6
                                              36:20 38:3
    94:10              twice 134:18                                 224:5 227:6
                                              70:1 92:4,8
  trauma 182:10        two 12:19 14:1                               270:16,18
                                              126:6 287:17
    182:12               14:10,18 49:5                              271:4,9 276:2
                                            ultimately
                         82:2 104:10,10                             276:6,12 282:2
                                              205:20
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 377 of 386 PageID #:
                                      4431
 [understand - videographer]                                                 Page 63

   282:4,6,9,10,12      277:21              unvarnished            validation
   283:17 295:15       undid 252:4            174:7 233:18           178:5
   304:18               257:16              update 4:9             variety 201:9
  understanding        unfair 217:13        use 20:2,5             various 250:20
   13:7 39:6,10        unit 5:4               39:19,22 47:21       verbally 152:6
   39:11 152:8         united 1:1 7:18        98:11 115:6,6        verify 101:10
   159:14,16            268:2                 185:13 186:7           141:4
   186:11,16           university 10:6        190:10 198:3         veritext 1:15,21
   187:21 188:1,3      unknown                198:14 200:10          5:12,14 311:1
   188:4 201:19         210:21,22             220:12 231:12          311:7 314:1
   221:7 222:1         unlocked 197:8         239:7,12,13          veritext.com.
   240:20 270:4        unnamed 55:4           257:6 259:5            311:15
   283:9                55:6 56:6,14          273:2 286:2          version 37:15
  understands           57:4,8,17           used 25:11,21            140:22 141:17
   53:15 171:19         247:6                 115:2 160:4            142:1
   292:2               unrelated              164:2,21             versus 5:7
  understood            116:10                168:10 169:4,5         298:1
   22:19,21 29:16      unreliability          182:19 183:13        vi 79:12 81:11
   29:20 30:2           179:18,19             184:3,13,14,15         82:2
   40:14 42:2          unsent 4:10            185:22 186:11        vice 158:6
   45:8 50:18          unsettled              190:4 199:3          victory 286:3,7
   70:22 80:8           162:22 163:6          239:5 248:6,7        video 1:11 5:4
   84:19 85:4          unsettling             256:12 258:3           172:7,14,15,22
   133:11 134:1         158:13,17           using 83:21              173:11,14
   148:8,20 149:6       161:20 162:6,8        251:5 252:8            174:20 176:14
   150:21 151:13        168:19 169:17         271:1                  176:16,17
   154:18 159:10        170:18 171:12       utilized 114:13          230:10 282:7
   159:21 167:19       unsettlings          utilizing 282:7        videoconfere...
   190:11 211:5         162:12                       v               172:5 175:9,20
   220:7,20            unsure 243:9                                videoconfere...
                                            v 311:6 312:3
   221:18 222:10       untruthful                                    172:19
                                              313:3
   224:11,22            51:10,14,15                                videographer
                                            valid 123:2
   240:12 252:13        52:2 53:18                                   5:2,13 6:6
                                            validated 247:2
   274:20 275:5         54:13 56:5                                   10:11,14 88:9
                                              247:15 248:4
   275:17 276:4         86:10                                        88:12 155:14

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 378 of 386 PageID #:
                                      4432
 [videographer - west]                                                       Page 64

    156:3 230:13       wake 11:3,6,8         194:21 201:6          way 26:1 38:4
    246:7,10           walking 221:13        201:18 207:15          44:11 88:20
    302:16,19          want 17:14            215:16,20              94:19 96:21
    308:21 309:1,5      18:11 19:4           217:9 219:7            101:14 102:12
  view 95:2             21:1,12 22:12        223:7,12 227:9         146:22 153:10
    181:22 247:16       24:2 28:11           228:9,10,15            154:3 172:18
    253:8               29:14 30:9,18        230:16 232:19          182:13,14
  viewed 137:18         30:19 33:2,16        236:14 238:3           193:5 209:19
  viewpoint             35:6,12,13,15        244:11 246:13          213:4 222:2
    283:6,11,20         35:16 36:1           248:10 255:13          302:10
  vii 81:14,16,17       37:7,18 38:12        281:9,21              ways 53:14
    82:8                38:13 47:13,13       291:12 292:1           185:5 231:10
  viis 82:3             50:20 53:15          300:14 301:15          233:6
  violate 91:21         58:18,18,19,21      wanted 87:14           we've 8:8 83:2
  virginia 2:18         60:9 61:15,20        87:18 102:7,8          92:2 124:5
  virtual 14:21         68:9 83:9            102:12 112:22          132:11 136:14
    176:16              88:15,20 89:10       113:4,13,18            136:16 199:10
  virtually 14:20       91:21 92:19          115:11 128:7           217:17 218:16
    302:15 308:14       93:3 94:15           163:8,13,18            218:17 246:15
  virtue 87:20          95:19 101:4          168:8 212:13           265:2 290:13
  volume 240:1,1        102:4 103:4,5        212:14 220:8          week 49:8
    240:4               103:13 104:14        220:21 221:14          87:19 127:8
  volunteer 91:6        107:22 112:16        221:18 222:9           217:14
    91:13               113:8 116:10         227:22 228:5          weekly 245:19
  vs 1:5                116:15 122:14        232:22 233:1          weeks 82:18
          w             123:8 134:22         235:18 242:5           83:1 215:6
                        139:10 145:17        243:5 267:3           welcome 66:1
  w 11:5,6
                        146:12,20            281:17,18              156:13
  wait 11:5 171:7
                        147:4 148:15        wanting 226:7          went 11:3,12
    191:18 207:18
                        156:13 159:7         241:20 243:18          51:2 90:3
    209:12 216:13
                        159:15 160:21       wants 231:6             112:13 115:3
    265:13
                        161:3,7 162:2       warren 5:12             160:6 193:2
  waived 311:17
                        165:5,9 166:1        230:11                 242:22
  waiving 166:20
                        171:18 173:2        washington             west 2:18
    180:8
                        183:12 194:2,2       1:16,22 5:11

                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 379 of 386 PageID #:
                                      4433
 [whatsoever - witnesses]                                                    Page 65

  whatsoever            113:11 114:2          217:8 218:22     263:9,20
   306:3                114:17 116:3          219:1,7 220:17   264:21 265:10
  wife 32:12            119:22 120:12         225:12 226:22    266:8,19
   133:2 145:20         122:6 123:6,22        227:13 228:5     267:13 268:6
   153:18 179:22        124:15 127:6          228:22 230:2,4   269:4 272:2,5
   180:2 240:14         127:19 130:20         231:4,16,17      272:5,6,9
   255:17 259:4         132:3,19 133:9        232:4,21 233:4   273:1,3,6,10,11
   262:14               133:14,18             233:10 234:2     273:15,19,19
  wiley 62:15,21        134:7,20              235:5,6,11,12    274:2,8,15
  willing 91:6,17       135:10 136:3          235:13,21        275:3,9,14
   153:6 287:10         136:22 138:2          236:21 237:6     277:6 278:7,13
  witness 5:21          140:5 141:4           237:12,17,18     278:22 279:22
   6:7,10 19:4          142:5 143:18          237:19 239:4,5   280:17 281:10
   23:13 24:1           144:4 145:5           239:7,12 240:8   282:20 283:9
   25:5 29:5,20         148:13 149:2          240:20 242:1,9   284:2,8,11
   31:19 34:8           149:20 151:3          243:9 244:3      286:16 287:2
   37:5 39:6            151:17 152:20         247:1,5,5,8      288:11 291:8
   41:11 43:10          153:14 154:1          248:15,18        292:14 294:7
   44:5,17 45:5         160:11 161:10         249:2,8,16       294:17 296:21
   45:18 46:12          162:17 164:13         250:2,7,9,11,12  297:14 298:19
   48:9,13,17,19        169:21 170:10         250:14 251:2,3   299:15 302:9
   57:12 59:5           174:12 177:18         251:12,13,17     303:9,19 304:3
   63:11 65:17          180:7,17 183:6        251:21 252:1     306:19 307:12
   70:19 73:8           184:7 185:16          252:12,13,15     308:13 310:4,6
   74:9,19 75:9         186:15 187:13         252:16,16,20     310:10 311:8
   77:2 83:7,16         188:8 189:8           253:7,19 254:6   311:10 312:1,4
   84:10 85:2,10        190:20 191:5          254:9,13,21      312:11 313:1,4
   86:15 87:1,12        193:19 194:8          255:3,8,20       313:15
   88:5 90:21           196:7,14              256:17,20,22    witnesses
   93:20 94:6           198:18 203:3          257:2,6,6,10,13  171:15 203:15
   95:13 96:16          205:2 206:2,21        257:18,18        206:12,13,16
   98:19 99:22          207:8 209:21          258:2,2,9,14,14  207:4,12
   100:15 101:20        210:20 211:11         258:15,21        216:14 218:6
   103:22 104:20        212:18 213:17         259:2,3,5        247:15 248:1
   105:22 110:11        216:3,19 217:4        261:20 262:20    254:6

                               Veritext Legal Solutions
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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 380 of 386 PageID #:
                                      4434
 [witness’ - REDACTED ]                                                      Page 66

  witness’ 311:13         REDACTED




                               Veritext Legal Solutions
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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 381 of 386 PageID #:
                                      4435
 [REDACTED - year]                                                           Page 67

   REDACTED             169:3 170:14         8:22 10:22              208:6 209:12
  wood 98:22            184:12,13            11:9 54:22              227:1 240:2,4
   99:1,11 218:7        198:3,7,7,12,14      88:16 154:6             243:3
   285:1 287:3,5        203:6 224:4,8        182:7 290:1           wrong 124:8
  woodstock             231:13,14            300:12                  202:14 255:22
   54:17,18 79:18       238:15 245:20       working 17:1             271:19
  word 25:10            245:22 248:6         62:22 79:1            wrongful
   43:21 46:6           248:11 255:22        93:2 95:9               228:17
   53:20 61:22          256:3,5 259:5        103:4 123:17          wrote 23:19
   62:1 101:3           272:18,19,20         124:22 127:10           27:17 28:11,17
   112:21 115:10        281:14 302:2         287:6                   28:18 30:7,16
   126:21 160:4        work 7:9 9:2,6       works 300:11             34:4 35:16,17
   165:9 168:10         11:7 12:3 13:1       300:11                  36:2,22 73:22
   168:15,17,19         13:4 16:19          world 52:21              148:3,17
   168:21 183:12        21:13 25:10,22       117:7 263:13            150:22 151:13
   184:12 187:19        30:20 37:8,11        306:12                  153:20 166:13
   199:2,8 202:18       38:12 39:20         worse 114:5,10           177:9 225:6
   253:16 256:13        41:3 43:6            114:11                  295:19,21
   257:7 258:3          48:15,16 52:9       write 22:18                    y
   270:15,16            54:20 70:21          27:13 143:2
                                                                   yeah 26:10
   273:2,3              76:20 79:17          214:5 294:9
                                                                     39:2 89:15
  wording               91:9 92:11          writes 147:19
                                                                     100:19 108:10
   115:11               96:22 97:16          148:1 151:4,19
                                                                     110:3 112:2
  words 18:22           98:15 162:6         writing 46:9
                                                                     180:5 181:9
   22:8,9 23:7,19       231:15,18            64:13 101:5
                                                                     189:21 216:1
   25:17,20 27:13       253:14 255:15        146:3 253:15
                                                                     234:20 237:2
   28:16 34:8,12        262:16 263:3         271:4 285:11
                                                                     261:9 264:9
   34:14 37:5           266:1 274:13         297:9
                                                                     269:16 275:9
   41:20 59:6           288:1,21 289:5      writings 165:6
                                                                     278:4 292:14
   65:11 83:15,21       289:13 290:7        written 23:1,7
                                                                     293:19
   113:21 146:4         291:5 292:17         24:22 33:3,4
                                                                   year 10:8 12:6
   149:16 150:19        295:11,11,17         34:16 117:16
                                                                     40:19 44:13,14
   151:12,13,22         301:7                149:11 150:20
                                                                     45:2,2 56:9,9
   164:2 166:13        worked 7:11,15        169:7 187:9
                                                                     57:19 86:12
   167:7,7 168:13       7:16,17 8:1,12       205:11,14,15
                                                                     208:19 217:15
                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 382 of 386 PageID #:
                                      4436
 [year - zoom]                                                               Page 68

    227:7 228:13
    228:14 248:15
    267:7 268:2
    290:4 306:10
  years 11:14
    41:8 45:14
    56:12,16,18,21
    56:22 57:3,3,8
    81:5 152:12
    153:9 208:4
    211:14 232:10
    233:1 234:4,16
    234:17,18
    236:18 267:17
  yesterday 16:8
    31:9 216:18
    217:6 218:22
  york 2:10,10
  young 60:13,21
    62:14,22
    262:13
          z
  zoom 2:13 3:2
    14:20 93:11
    121:3 159:9
    217:7 278:20




                               Veritext Legal Solutions
  www.veritext.com
Case 3:23-cv-00243   Document 219-7    Filed 07/03/24                     888-391-3376
                                                          Page 383 of 386 PageID #:
                                      4437
                        Federal Rules of Civil Procedure

                                         Rule 30



         (e) Review By the Witness; Changes.

         (1) Review; Statement of Changes. On request by the

         deponent or a party before the deposition is

         completed, the deponent must be allowed 30 days

         after being notified by the officer that the

         transcript or recording is available in which:

         (A) to review the transcript or recording; and

         (B) if there are changes in form or substance, to

         sign a statement listing the changes and the

         reasons for making them.

         (2) Changes Indicated in the Officer's Certificate.

         The officer must note in the certificate prescribed

         by Rule 30(f)(1) whether a review was requested

         and, if so, must attach any changes the deponent

         makes during the 30-day period.




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         ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

         THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

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Case 3:23-cv-00243    Document 219-7    Filed 07/03/24   Page 384 of 386 PageID #:
                                       4438
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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24   Page 385 of 386 PageID #:
                                      4439
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Case 3:23-cv-00243   Document 219-7    Filed 07/03/24   Page 386 of 386 PageID #:
                                      4440
